                              SBCFR051622
      WARNING: This report           includes information and
      descriptions related to sexual assault. This may be
      triggering to readers who have had similar experiences.
      We encourage you to care for your safety and well-being.
      The content of this report is not appropriate for children.




  Report of the Independent Investigation

 The Southern Baptist Convention Executive Committee’s
Response to Sexual Abuse Allegations and an Audit of the
  Procedures and Actions of the Credentials Committee




                                                         May 15, 2022




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I.      EXECUTIVE SUMMARY

For almost two decades, survivors of abuse and other concerned Southern Baptists have
been contacting the Southern Baptist Convention (“SBC”) Executive Committee (“EC”) to
report child molesters and other abusers who were in the pulpit or employed as church
staff. They made phone calls, mailed letters, sent emails, appeared at SBC and EC
meetings, held rallies, and contacted the press…only to be met, time and time again, with
resistance, stonewalling, and even outright hostility from some within the EC.


Our investigation revealed that, for many years, a few senior EC leaders, along with
outside counsel, largely controlled the EC’s response to these reports of abuse. They
closely guarded information about abuse allegations and lawsuits, which were not shared
with EC Trustees, and were singularly focused on avoiding liability for the SBC to the
exclusion of other considerations. In service of this goal, survivors and others who
reported abuse were ignored, disbelieved, or met with the constant refrain that the SBC
could take no action due to its polity regarding church autonomy – even if it meant that
convicted molesters continued in ministry with no notice or warning to their current church
or congregation.


As survivors became more vocal and the issue of sexual abuse became more prominent
in the media, divisions became apparent within EC leadership. In recent years, as some
within the SBC have been more open to reforms, they were met with opposition and
antagonism from those resistant to change. Finally, at the 2021 Nashville Convention,
calls for reform reached a crescendo – the Messengers overwhelmingly voted to approve
a Task Force to supervise an independent investigation into the EC’s handling of sexual
abuse allegations. The Motion called for inquiry into the actions and decisions of EC staff
and members from January 1, 2000, to June 14, 2021, with respect to allegations of
abuse, mishandling of abuse, mistreatment of victims, patterns of intimidation of victims
or advocates, and resistance to sexual abuse reform initiatives. Our findings in these
categories are summarized below:




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Allegations of Abuse by EC Staff and Members
As per the Motion, we were asked to examine allegations of abuse committed by EC
members during the relevant time period. During our investigation, an SBC pastor and
his wife came forward to report that SBC President Johnny Hunt (2008-2010) had
sexually assaulted the wife on July 25, 2010. We include this sexual assault allegation in
the report because our investigators found the pastor and his wife to be credible; their
report was corroborated in part by a counseling minister and three other credible
witnesses; and our investigators did not find Dr. Hunt’s statements related to the sexual
assault allegation to be credible.


Mishandling of Abuse Allegations and Mistreatment of Victims
We considered these categories in tandem because abuse allegations were often
mishandled in a manner that involved the mistreatment of survivors. Over the years, the
EC’s response to sexual abuse allegations was largely driven by senior EC staff
members, particularly D. August “Augie” Boto, the EC General Counsel and later Interim
EC President, as well as the SBC’s long-serving outside counsel – James Guenther,
James Jordan, and the firm of Guenther, Jordan & Price (“GJP”). Their status and
longevity in the SBC organization – Mr. Guenther had provided legal advice since 1966
and began in 1998 as Vice President for Convention Policy before becoming General
Counsel in 2004 – enabled them to control decisions about how the SBC EC would deal
with the increasing attention on church sexual abuse.


Their main concern was avoiding any potential liability for the SBC. As this report
documents, those who reported abuse were often ignored or told that the SBC had no
power to take action. Mr. Guenther advised that EC staff should not undertake to elicit
further information or details about reports of abuse, so that the EC not assume a legal
duty to take further action.


Over the years, the existence of these reports of abuse were not shared with EC Trustees.
Nor was the fact that, since 2007, an EC staff member working for Mr. Boto was
maintaining a list of accused ministers in Baptist churches, including the minister’s name,

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year reported, relevant news articles, state, and denomination. In a May 2019 email to
Dr. Ronnie Floyd, the then-EC President, EC Vice President Dr. Roger “Sing” Oldham
acknowledged that “[f]or the past decade, I have been regularly sending Augie news
reports of Baptist ministers who are arrested for sexual abuse, for his awareness. It hasn't
slowed down since the [Houston] Chronicle articles started on February 10.” Mr. Boto
responded that: “Yes. We are collecting them, and may even post them in some way, but
we’d have to really examine the potential liabilities that would stem therefrom.”


Despite collecting these reports for more than 10 years, there is no indication that Dr.
Oldham, Mr. Boto, or anyone else, took any action to ensure that the accused ministers
were no longer in positions of power at SBC churches. The most recent list prepared by
the EC staff member contained the names of 703 abusers, with 409 believed to be SBC-
affiliated at some point in time.


Our investigative team reviewed the list and conducted significant research to assess
whether any of the alleged abusers were still associated with an SBC church. Based on
these efforts, it appears that nine (9) people remain in active ministry or connected to
ministry. Two (2) of those people appear to be associated with an SBC church. The
remaining seven (7) appear to be associated with churches that are not SBC-affiliated.
We will provide this information to the Credentials Committee for further review, including
whether the seven additional churches mentioned above are in fact non-SBC affiliated.
We will also continue to review the latter material to determine whether any referrals or
other action needs to be taken.


Pattern of Intimidation of Victims or Advocates
Rather than focusing on these accused ministers, some EC leaders turned against the
very people trying to shine a light on sexual abuse. The survivors – those persons who
actually suffered at the hands of SBC clergy or SBC church staff or volunteers – who
spoke out the most, and who criticized the SBC’s inaction, were denigrated as
“opportunistic,” having a “hidden agenda of lawsuits,” wanting to “burn things to the



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ground,” and acting as a “professional victim.” In an internal email, Mr. Boto even equated
the focus on sexual abuse with the work of the devil:


              This whole thing should be seen for what it is. It is a satanic scheme
              to completely distract us from evangelism. It is not the gospel. It is
              not even a part of the gospel. It is a misdirection play. Yes, Christa
              Brown [a survivor] and Rachael Denhollander [a survivor advocate]
              have succumbed to an availability heuristic because of their
              victimizations. They have gone to the SBC looking for sexual abuse,
              and of course, they found it. Their outcries have certainly caused an
              availability cascade (just like Lois Gibbs did in the Love Canal
              example). But they are not to blame. This is the devil being
              temporarily successful.


Baptist Press (“BP”), the EC’s communications arm, was also used to portray survivors
in an unflattering light and mischaracterize allegations of abuse. For example, in March
2019, Jennifer Lyell, a senior executive at an SBC entity, was asked by executives at
Lifeway and SBC entity heads to disclose her sexual abuse at the hands of her former
seminary professor through a first-person account to be published in BP. Rather than
publishing Ms. Lyell’s corroborated account as BP staff had originally drafted it, the
account was changed to read as if Ms. Lyell was consensually involved with her alleged
abuser. The article as published reported that Ms. Lyell alleged that she had a “morally
inappropriate relationship” with her former seminary professor, making it appear that she
engaged in a consensual sexual relationship with him. Ms. Lyell was thereafter subject to
vicious attacks, including harsh and hurtful comments on Baptist Press FaceBook – she
was called a bitter jealous woman and an adulterer, and some suggested she should be
fired. After Ms. Lyell expressed her grave concerns about the article, the story was
removed on the advice of outside counsel but not corrected. Finally, after public
recognition that the story was inaccurate, and months of pleas by Ms. Lyell, BP retracted
the story in October 2019 and issued an apology.


Additionally, an article about the 2019 Caring Well conference, written by an Ethics and
Religious Liberty Commission (“ERLC”) staffer, was sanitized before publication. The


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draft article had contained quotes from two survivor advocates who had spoken critically
at the conference about the SBC’s handling of sexual abuse allegations. When the article
was published, some of the story had been deleted, including all references to one of the
advocates and all claims that the SBC had failed survivors.


While stories of abuse were minimized, and survivors were ignored or even vilified,
revelations came to light in recent years that some senior SBC leaders had protected or
even supported abusers:


   •   Former SBC President Steve Gaines admitted that, as senior pastor at Bellevue
       Baptist Church, he had delayed reporting a staff minister’s prior sexual abuse of a
       child of “heartfelt concern and compassion for th[e] minister,” while acknowledging
       that he should have “brought it to the attention of our church leadership
       immediately;”

   •   Former SBC President Jack Graham, when he was pastor at Prestonwood Baptist
       Church, allegedly allowed an accused abuser of young boys to be dismissed
       quietly in 1989 without reporting the abuse to police. The accused abuser, John
       Langworthy, later was charged with abusing young boys in Mississippi in 2011;

   •   Former SBC President Paige Patterson was terminated from his position at
       Southwestern Baptist Theological Seminary in 2018 after it was revealed that he
       told a student not to report a rape in 2003 and, in 2015, emailed his intention to
       meet with another student who had reported an assault, with no other officials
       present, so he could “break her down;”

   •   Former SBC Vice President Judge Paul Pressler is the defendant in a civil sexual
       abuse lawsuit alleging that he repeatedly sexually abused the plaintiff beginning
       when the plaintiff was 14 years old. Two other men submitted separate affidavits
       in the case also accusing Judge Pressler of sexual misconduct; and

   •   Former EC Interim President and General Counsel Augie Boto testified as a
       character witness for Mark Schiefelbein, a gymnastics coach convicted of multiple
       counts of sexual assault against a minor. During his testimony at a post-conviction
       evidentiary hearing in September 2008, Mr. Boto identified himself as general trial
       counsel for the Executive Committee of the Southern Baptist Convention.



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Resistance to Sexual Abuse Reform Initiatives
Over the past twenty years, various reform proposals have been brought to the EC. In
evaluating the EC’s response to these proposals, we recognize that public awareness
about sexual abuse and prevention has changed over time, as people have become more
informed about the severe repercussions on survivors and the key steps that can be taken
to address the problem. Nevertheless, although some proposals may not have been
feasible, it is striking that many reform efforts were met with resistance, typically due to
concerns over incurring legal liability:


   •   A 2007 proposal for an SBC database of accused molesters was rejected in 2008
       based on church autonomy, even though SBC outside counsel had submitted a
       memo to Mr. Boto discussing how it could be accomplished consistent with polity;

   •   A 2014 proposal for the SBC to hold a sexual abuse education conference was
       opposed by Mr. Boto, delayed, and ultimately did not occur;

   •   Some EC leaders and some EC Trustees criticized SBC President J.D. Greear for
       mentioning the names of churches cited in the Houston Chronicle’s series about
       sexual abuse, and outside counsel warned Dr. Greear that such actions could get
       the SBC sued for libel. Mr. Boto even called one of the churches to apologize for
       Dr. Greear’s actions – that church’s music minister later confessed to committing
       abuse and the church voluntarily disassociated from the SBC;

   •   Mr. Boto was resistant to having a Credentials Committee because it might make
       the Convention vulnerable to liability claims;

   •   Some EC leaders clashed with the ERLC over sexual abuse initiatives and some
       opposed funding the Caring Well conference. In addition, when the ERLC was
       putting together a report about sexual abuse, EC leaders and outside counsel
       suggested changes to the report to avoid potential liability, including removing the
       word “crisis” when referring to sexual abuse;

   •   Dr. Floyd and Mr. Addison were opposed to a Task Force to investigate the EC’s
       response, and Dr. Floyd tried to prevent the Motion.

A full discussion of these and other findings can be found in Part V of this report. The
other sections of the report are as follows:

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In Part II.A of this report, we describe the background of the investigation, including the
events that occurred at the June 2021 Nashville Convention, the largest SBC annual
meeting since 1995. Amid calls for an investigation into the EC’s handling of sexual abuse
allegations, Dr. Floyd had announced that an outside firm would conduct a limited review.
At the annual meeting, there was opposition to the prospect of the EC overseeing an
investigation of itself. Tennessee pastor Grant Gaines, with North Carolina pastor Ronnie
Parrot, wrote a Motion for a Task Force to direct any such third-party investigation and
proposed a wider purview. The Messengers – over 15,000 representatives from 5,570
churches – overwhelmingly approved the Motion.


The Task Force officially engaged us on September 9, 2021, although the
commencement of the investigation was delayed due to disagreements within the SBC
EC as to whether attorney client privilege should be waived. No agreement was reached
after an initial series of meetings but on October 5, 2021, the SBC EC held a deciding
vote in favor of waiving privilege. That decision allowed us to perform a more
comprehensive investigation, particularly because, as this report makes clear, outside
counsel were deeply involved in managing the EC’s response to sexual abuse
allegations.


In Part II.B, we describe the scope of our engagement. The Motion directed us to
investigate, for the time period between January 1, 2000, to June 14, 2021: (1) allegations
of abuse by EC members; (2) mishandling of abuse allegations by EC members; (3)
allegations of mistreatment of sexual abuse victims by EC members; (4) patterns of
intimidation of sexual abuse victims or advocates; and (5) resistance to sexual abuse
reform initiatives. We were further directed to perform an audit of the procedures and
actions of the Credentials Committee, which was tasked in mid-June 2009 with making
determinations about, among other subjects, whether churches accused of mishandling
sexual abuse allegations should be considered “in friendly cooperation” with the SBC.


An overriding principle of this investigation was our independence. The Engagement
Letter stipulates that the Task Force, not the EC, is the client for purposes of the

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investigation. A Committee on Cooperation (“CoC”) – comprised of the SBC President
and four EC members appointed to their first term in June 2021 -- was formed to provide
financial oversight of the investigation and to ensure the full cooperation of the SBC EC,
among other things. The Engagement Letter further provides there is no attorney-client
relationship between Guidepost and any other party, and that neither the EC nor the CoC
will conduct, direct, or otherwise manage or influence our investigation in any manner.


In Part II.C, we set forth the investigative practices we employed to collect and review all
relevant information. This was primarily accomplished through a wide-ranging document
review and numerous interviews with current and former EC staff, EC Trustees, other
members of the SBC community such as past Presidents and Task Force members,
witnesses, and survivors of sexual abuse. As was our protocol, we did not affirmatively
contact survivors but rather engaged with them in the manner they chose, with awareness
of best practices for trauma-informed communications.


It should be noted that, due to the large amount of information we collected, we cannot
discuss every interview or document in this report. We interviewed approximately 330
individuals and had access to over five terabytes of data. We wish to thank everyone who
took the time to speak with us, and note that each interview contributed to our
understanding of this matter.


In Part III, we describe the organization of the SBC, which is based upon the principle of
local church autonomy. Unlike hierarchical religious organizations, such as the Catholic
Church, the SBC does not dictate church practices or worship, nor does it ordain pastors.
Rather, local churches voluntarily select to cooperate with the SBC, and continue to
maintain independence to choose their own leaders, bylaws, budget, and policies. An
understanding of SBC polity is essential for understanding the reasons invoked by some
SBC EC leaders as to why the SBC could not, or should not, take certain actions to
address sexual abuse within SBC local churches.




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It is also essential to understand how the SBC is run. Each June, local churches send
representatives, known as Messengers, to the SBC annual meeting. At the annual
meeting, the Messengers elect an SBC President, who typically serves two one-year
terms, and other officers, as well as Trustees to oversee various SBC entities and
committees. Because the Messengers are so numerous and meet only once per year,
the day-to-day functioning of the SBC is managed by an Executive Committee, governed
by a board of 86 EC Trustees. The EC Trustees employ a salaried EC President who is
also CEO and treasurer. The EC President in turn manages a staff of approximately 30
people who carry out the day-to-day functions of the SBC. Among these functions is
running Baptist Press, the SBC news service. Because the EC Trustees only meet three
times per year, many of the decisions at the EC level are made by the EC President and
senior EC staff members.


In Part IV, we lay out the factual findings from our investigation. Part IV.A provides a
timeline of the EC’s response to sexual abuse issues from January 1, 2000, to June 14,
2021. Given the two-decade span, we cannot and do not describe every action or
communication related to sexual abuse allegations. Rather, we have focused on providing
an overview of some of the most relevant events from that period. Where it would be
helpful, we include screenshots of some of the documents discussed.


Part IV.B provides an overview of our interviews with current and former EC Trustees.
We reached out to all individuals who served during the relevant time period and 175 EC
Trustees agreed to speak with us. We want to express our appreciation for their
willingness to share their experiences and their thoughts on how the EC could improve in
the future. Many EC Trustees told us that they were unaware that survivors and others
had been reporting abuse to the EC for years, or that lawsuits had been filed. A common
concern was that EC officers and staff members knew more than the EC Trustees, who
were not provided with enough time or materials to be thoroughly informed about EC
issues. The EC Trustees with whom we spoke were sympathetic to survivors and believed
that they should have been met with greater compassion. In addition to our interviews
with the EC Trustees, we also conducted a social media review of the public Twitter

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accounts of EC Trustees and other key SBC figures. We found that, with one exception,
EC Trustee tweets were largely positive toward survivors and open to addressing sexual
abuse.


Part IV.C contains a discussion of our interviews with approximately 42 current and former
EC staff members, as well as the results of two surveys we conducted to gather
employees’ opinions on how the EC handles issues related to sexual abuse. The surveys
were anonymous, and we would like to thank EC staff members for the high rate of
participation. In our interviews, EC staff members expressed that the EC would benefit
from better openness from its leaders on sexual abuse and other difficult topics. Some
staff members noted that the EC would also benefit from clearer policies and training
about sexual abuse and harassment. We did conduct a review of the Personnel Policies
Manual to examine whether sexual abuse and harassment policies and procedures were
in accordance with best practices. We identified several aspects where the policies were
lacking – such as the absence of written guidance about reporting procedures, escalation,
whistleblower protections, or investigation requirements – and made suggestions for
improvements.


Part IV.D recounts some of the histories that survivors shared with us about their abuse
and their treatment by the SBC EC. During our investigation, we conducted interviews or
meetings with 19 survivors, 14 survivor advocates, and six family members of survivors.
Six additional survivors provided written information to us. While not all wanted to be
named in this report, some survivors expressly wanted their histories to be told. Survivors
expressed to us that they not only suffered trauma from their abuse, but also from the
response, or nonresponse, of the churches and institutions like the SBC that did not
believe them, ignored them, mistreated them, and/or failed to help them.


In Part V, as summarized above, we explain and detail our observations and conclusions
on the Messenger Motion categories: (1) allegations of abuse; (2) mishandling of abuse
allegations and allegations of mistreatment of sexual abuse victims; (3) evidence of



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patterns of intimidation of victims and advocates; and (4) resistance to sexual abuse
reform initiatives.


In Part VI, we include our approximately 65-page report detailing our audit of the
procedures and actions of the Credentials Committee. Among other things, we found that
the Credentials Committee was under pressure almost immediately after its formation to
begin reviewing sexual abuse submissions. Consequently, the Credentials Committee
began operating without adopting any written policies and procedures, such as set
timelines/deadlines, protocols for correspondence with submitters and churches, and
standards for review. At least one outside expert offered help and support in developing
criteria and standards, but the offers were rebuffed. Credentials Committee members
themselves expressed dissatisfaction because they did not receive adequate information
about their role, nor did they have any training. These and other deficiencies led to delays
and communications breakdowns that caused submitters and others to lose faith in the
process, despite what we believe to be good intentions and effort on the part of the
Credentials Committee members. Our findings, as well as an analysis of the submissions
made to the Credentials Committee during the audit period, are set out in that section.


Finally, in Part VII, we set out a comprehensive list of proposed recommendations
intended to provide a pathway for the SBC to improve its response to sexual abuse and
misconduct allegations in the future. The recommendations set out voluntary minimum
standards that churches, local associations, state conventions, and all SBC entities can
implement for the prevention, recognition, and the appropriate handling of sexual abuse
and related misconduct allegations. The recommendations address systemic and cultural
issues from bottom to top, taking into consideration polity, autonomy, and the reality that
this issue needs to be resolved through a willing and voluntary cooperation. Some
recommendations will require a significant amount of work, while other elements
recognize the need for education and cultural change. A comprehensive implementation
of these recommendations should help to create safe spaces for children and all members
of the Convention.



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Our key recommendations include the following:

   •   Upon completion of the SATF duties, first form an Independent Commission and
       later establish a permanent Administrative Entity to oversee comprehensive long-
       term reforms concerning sexual abuse and related misconduct within the SBC;

   •   Create and maintain an Offender Information System to alert the community to
       known offenders. Make the OIS available to churches on a voluntary basis;

   •   Provide a comprehensive Resource Toolbox including protocols, training,
       education, and practical information;

   •   Create a voluntary self-certification program for churches, local associations,
       state conventions, and entities based on implementation of “best practices” to
       bring awareness to, and enhance prevention of, sexual abuse;

   •   Improve governance controls, including the use of enhanced background checks,
       Letters of Good Standing, and Codes of Conduct to voluntarily strengthen hiring
       standards and improve governance;

   •   Restrict the use of nondisclosure agreements and civil settlements which bind
       survivors to confidentiality in sexual abuse matters, unless requested by the
       survivor;

   •   Adopt a “Declaration of Principles” setting out fundamental standards regarding
       how sexual abuse allegations will be handled at every level of the SBC, and how
       those who report will be treated going forward. These Principles may provide a
       model for SBC entities, state conventions, local associations, and local churches
       to adopt and follow; and

   •   Acknowledge those who have been affected by SBC clergy sexual abuse,
       through both a sincere apology and a tangible gesture, and prioritize the
       provision of compassionate care to survivors through providing dedicated
       survivor advocacy support and a survivor compensation fund.

With respect to our Credentials Committee Audit, we propose the following key
recommendations to ensure that the Credentials Committee effectively and transparently
handles submissions relating to sexual abuse:




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      •   Formalize and improve the CC’s processes and procedures, adopt standards for
          CC determinations, and establish standard process timelines in order to provide
          timely and transparent decisions;

      •   Empower the CC to better communicate with survivors and churches by
          providing trauma and sexual abuse training for CC members, and hiring a
          trauma-informed Survivor Care Support Specialist to provide care and open
          communication to submitters/survivors;

      •   Improve the online Reporting Portal to be survivor-care focused and assess the
          technology applications to improve CC functionality, auditability, and response;
          and

      •   If necessary, allow the CC the ability to engage and consult with experts on an
          extensive inquiry for a submission.


II.       BACKGROUND OF THE INVESTIGATION


As this report lays out, for many years survivors and their supporters within the SBC
community have urged the SBC to address the problem of sexual abuse within SBC
churches. These efforts came to a head at the 2021 Nashville Convention, which was the
largest SBC annual meeting since 1995. Over 15,000 Messengers attended the
Convention, representing 5,570 churches.1


The issue of sexual abuse was at the forefront. Although Dr. Ronnie Floyd, the Executive
Committee (“EC”) President and CEO, had earlier announced that an outside firm,
Guidepost Solutions, would conduct a limited scope review of the EC’s response to sexual
abuse allegations under the EC’s supervision, some Messengers contended that the EC
should not oversee an investigation of itself. Tennessee pastor Grant Gaines, with North
Carolina pastor Ronnie Parrot, wrote a Motion for a Task Force to direct any such third-




1 https://www.baptistpress.com/resource-library/news/largest-sbc-gathering-in-25-years-spurred-by-first-
time-messengers-geographical-proximity-to-nashville/.

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party investigation and proposed a wider scope. Pastor Gaines described it as “the least
we can do for abuse survivors.”2


The Motion first was referred to the EC, but Todd Benkert appealed to the Messenger
body, who voted to consider it on the convention floor where it was overwhelmingly
approved. According to the Motion, the Task Force could opt to oversee the independent
review already announced by the Executive Committee or begin a separate third-party
review, and it must ensure that an investigation includes “any allegations of abuse,
mishandling of abuse, mistreatment of victims, a pattern of intimidation of victims or
advocates, and resistance to sexual abuse reform initiatives” as well as an audit of the
procedures and actions of the Credentials Committee.3


The Task Force re-selected Guidepost Solutions to conduct the independent investigation
and on September 9, 2021, Dr. Bruce Frank signed an engagement letter with
Guidepost.4 Although the EC voted to fund the investigation on September 21, 2021, there
were internal disagreements about whether the SBC should waive attorney client privilege
as directed by the Messengers at the June 2021 convention. These disagreements led to
a delay in the commencement of the investigation.5


The Task Force and EC officers convened September 27-28, 2021, and still could not
come to an agreement on the matter of waiving privilege.6 On October 5, 2021, the SBC
EC held another session and ultimately voted in favor of waiving privilege.7 A second
letter of engagement was signed by Pastor Rolland Slade on October 5, 2021. 8 The


2 https://www.baptistpress.com/resource-library/news/motion-spurs-task-force-to-oversee-ec-review/;
https://www.baptiststandard.com/news/baptists/sbc-approves-sexual-abuse-task-force/.
3 Id.

4 SBC EC LOE 20210909.pdf; SBC EC Investigation - SBC EC LOE 20210909.pdf - All Documents

(sharepoint.com).
5 https://www.sataskforce.net/updates/press-release-regarding-ec-meetings.

6 https://www.sataskforce.net/updates/update-to-the-ec.

7 https://religionnews.com/2021/10/05/sbc-committee-waives-privilege-abuse-investigation-moves-

forward/.
8 Guidepost Letter of Engagement SBC Task Force final 10.5.21.pdf; SBC EC LOE 20211005 Signature

Page.pdf.

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Engagement Letter, attached here to as Appendix A, specifies that the Task Force, and
not the EC, is the client for purposes of the investigation.


The Committee on Cooperation (“CoC”)9 was created by virtue of the Guidepost contract
for the purpose of providing financial oversight, electing a liaison between the EC and
Guidepost, receiving periodic monthly updates noting information requests made to the
EC, and ensuring that the EC and SBC are fully cooperative. The CoC was also tasked
with conducting a factual review of the draft factual portion of Guidepost’s report before
the report was due to the Task Force.


We wish to express our gratitude to the CoC and the Task Force for facilitating our access
to information, answering questions, and providing guidance about SBC organization,
polity, and related matters. Their assistance contributed greatly to this investigation.


       A.      Scope of Our Engagement

As directed by the Messengers’ Motion, Guidepost was charged with investigating:

       •    Allegations of abuse by EC members
       •    Mishandling of abuse allegations by EC members between January 1, 2000, to
            June 14, 2021
       •    Allegations of mistreatment of sexual abuse victims by EC members from
            January 1, 2000, to June 14, 2021
       •    Patterns of intimidation of sexual abuse victims or advocates from January 1,
            2000, to June 14, 2021
       •    Resistance to sexual abuse reform initiatives from January 1, 2000, to June 14,
            2021




9 The CoC was comprised of the SBC President and four EC members who were appointed to their first
term in June 2021 (thus outside the scope of the investigation); two members were chosen by the EC and
two were chosen by the Task Force.

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In addition to the foregoing, the Motion directed us to perform an audit of the procedures
and actions of the Credentials Committee (“CC”) after its formation in mid-June 2019,
using best standards and practices designed to ensure accountability, transparency, and
care for the wellbeing of survivors of sexual abuse.

A key component of our investigation was our independence. The investigation was
conducted, and this Report was written without any undue influence; the findings herein
are solely our own. The Engagement Letter expressly provides that, except as noted
above with respect to the CoC’s specific functions, neither the EC nor the CoC will
conduct, direct, or otherwise manage or influence our independent investigation in any
manner. There is no attorney-client relationship between Guidepost and any other party
and none of the communications between Guidepost and the SBC or its entities are
protected by the attorney-client privilege.

The culmination of our engagement was the issuance of this public Report, setting forth
our complete factual findings and a comprehensive recommended framework within
which the SBC can operate in order to continue to address the concerns raised by the
SBC Motion in a transparent, accountable, and scriptural manner that prioritizes survivor
support and care and enhances practices for the prevention of sexual abuse, harassment,
and violence.

       B.       Methodology

During the course of our investigation, we used standard investigative practices to gather
relevant information, including but not limited to preparing and submitting comprehensive
document requests to relevant parties and entities; reviewing and analyzing all relevant
documents obtained from all sources; contacting or attempting to contact and interview
all current and former SBC EC staff and EC Trustees, other high-level SBC official or key
figures, and other relevant witnesses identified through our investigation; and conducting
in-depth witness interviews of survivors, witnesses, and advocates who affirmatively
contacted Guidepost. Of paramount importance was affording survivors and other
witnesses an opportunity to share their histories with us, if they so desired, and providing
transparency to them about the investigative process.

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At the outset of the investigation, we established a dedicated webpage (“Guidepost SBC
webpage”) on the Guidepost website with information about the investigation, including
links to press releases, Task Force updates, and responses to frequently-asked
questions. An investigation-specific email address was created so that survivors or other
interested parties could directly contact the investigative team; this was also publicized
on the Guidepost SBC webpage. The Task Force also provided regular updates on its
own website and likewise publicized the Guidepost SBC email address.


We received approximately 60 communications through the Guidepost SBC email
address in addition to telephone calls made directly to Guidepost. These communications
resulted in the collection of numerous documents and the scheduling of survivor and other
witness interviews. To preserve confidentiality, only certain designated members of the
Guidepost team had access to the emails sent to this address, and any documents
received were uploaded to a secure file serve.


              1.     Collection and Review of Documents and other Evidentiary
                     Items


As part of the investigation, we collected and reviewed an extensive number of
documents and other relevant evidentiary items. In total, we collected approximately five
(5) terabytes of data from all sources, as described further below. Due to the large volume
of materials ultimately gathered, we utilized a secure e-discovery platform for document
storage and review. All evidentiary materials were uploaded to that platform, which
enabled the investigative team to run keyword and other targeted searches to identify and
analyze all potentially relevant documents.


As an initial step, we performed background research to find publicly-available
information, including but not limited to, court filings, sex offender records, social media
postings, and news reports related to how certain sexual abuse allegations were
addressed and handled by the EC.



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Second, we submitted a comprehensive document request to the EC seeking materials
pertaining to relevant matters, including the EC, the CC, the Bylaws Work Group, and
Baptist Press. Among other things, we asked for organizational charts and staff lists,
meeting minutes, policies and procedures, and correspondence and other documents
related to allegations of sexual misconduct. A copy of our document request is attached
as Appendix B.


One of the challenges we faced is that not all SBC EC officers and staff utilized SBC email
accounts for their SBC-related communications. EC Trustees were also not issued SBC
email accounts, so emails between trustees would not be on SBC servers. In addition,
the EC does not have a comprehensive document retention policy so we cannot be sure
that all relevant documents were properly classified and retained, and thus available for
production to us.


The EC produced the requested documents on a rolling basis from October to December
2021. In addition to hard copy documents, our data experts worked with the SBC EC IT
liaison to process and transfer electronic data located on the SBC EC file serves to the
platform, as well as electronic data – including text messages – located on Dr. Ronnie
Floyd’s electronic devices.


We sent a targeted document request to the EC’s outside legal counsel, Guenther, Jordan
& Price (“GJP”), through the Bradley Group in late November 2021. We note that the EC
Trustees’ waiver of attorney-client privilege was integral to our ability to conduct a
thorough investigation. Because outside counsel was closely involved in managing the
EC’s response to sexual abuse allegations, having access to those communications gave
us a more comprehensive understanding of the EC’s actions. We received a limited
production in January 2022, which was followed by a larger production on February 1,
2022. These documents were also uploaded to our e-discovery platform for review and
analysis by the investigative team.




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We visited the Southeastern Baptist Theological Seminary’s Archives and Special
Collections in Raleigh, North Carolina, to review their collection of Judge Pressler’s
papers. We likewise visited the Southern Baptist Historical Library and Archives
(“SBHLA”) to review relevant documents for the following SBC Presidents: James Merritt,
Jack Graham, Bobby Welch, Frank Page, Johnny Hunt, Bryant Wright, and Fred Luter.
While at SBHLA, we also examined records for the Ethics and Religious Liberty
Commission (“ERLC”) and Christian Life Commissions related to clergy sex abuse,
offender registry, child abuse, pedophiles, and violent predators.


We were not permitted to directly review Dr. Paige Patterson’s papers. The SBHLA
Director informed us that, if access was needed to Dr. Patterson’s papers, then they would
need to forward the request to Dr. Patterson, per the procedures. There were no
restrictions on the other SBC Presidential Papers.


While Dr. Patterson declined to provide Guidepost direct access to his documents, Dr.
Patterson agreed to have his personal counsel, Mr. Shelby Sharpe, go through
documents with the Bradley firm to determine which to produce. According to the SBHLA
Finding Aid Summary for Dr. Patterson, there are 4 linear feet (3 boxes) of documents
stored at the Archives.10 We received only two pages from Mr. Sharpe and the Bradley
firm. We were able to obtain a few other documents related to Dr. Patterson from an
outside source, a former employee of Dr. Patterson.11


Survivors and other witnesses provided us with various documents and other items,
including but not limited to, emails and other correspondence alleging abuse and related
misconduct; whistleblower information; emails and written correspondence with the SBC,
EC, Baptist Press, and EC Trustees; news articles; audio recordings; notices against
abusers; affidavits by current and former SBC personnel; notebooks; legal
correspondence with the SBC and the EC; social media threads from, about, and between


10https://sbhla.org/wp-content/uploads/554.pdf.
11https://solutionpointintl.sharepoint.com/:f:/s/SBCECInvestigation/EjDHWLwt0XRAumqs5
aEAgI8BjUUIuqE40O_E2AT-b88FKg?e=pY9rQ7.

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survivors; and screenshots of SMS and IM correspondence. Again, these items, or the
transcripts if appropriate, were uploaded to our e-discovery platform for review and
analysis by the investigative team.


We also reviewed a large sample of Twitter accounts as part of our investigation and in
preparation of recommendations pertaining to staff and EC Trustee conduct online.
Twitter was chosen for our review as it was the most widely used platform by EC Trustees.
We looked for online activity for 202 EC Trustees who served between 2012 to the present
as well as online activity for other prominent SBC leaders.


In order to identify Twitter accounts, Google searches were conducted on the EC Trustee
or leader’s name with the key word SBC (i.e., John Smith SBC). If an account was not
identified after the first step, then the EC Trustee’s current or former church of
employment websites were searched for social media links. If no accounts were found at
this point, third party commercial databases capable of identifying social media accounts
were utilized.


For the identified Twitter accounts, key word searches were conducted to identify relevant
information over the last five years such as: mention of sexual abuse and/or assault;
positive and negative interactions with survivors; advocating for change within the SBC
on their sexual abuse policies; and relevant topics discussed in EC meetings concerning
and addressing sexual abuse. Relevant posts and comments were screen captured to
include the EC Trustee’s name, as well as the time stamp and date of the Tweet. Our
findings are discussed in Section IV.B, infra.


                 2.   Interviews

A key component of our investigation was our interviews with EC staff, EC Trustees, other
members of the SBC community, witnesses, and survivors. We interviewed or attempted
to interview all persons who might have had relevant information regarding the
investigation. In total, we conducted approximately 330 interviews. We did not


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affirmatively contact survivors; rather we engaged with survivors based on their outreach
to our investigative team and in the manner in which they chose to engage with us,
whether it be in-person, by telephone or video conference, and/or by email or providing
written materials. Below is a summary of the categories of people interviewed by our
investigative team.

                      a.    Current and Former EC Staff

In January 2022, the Guidepost investigative team traveled to the SBC EC offices in
Nashville to meet with EC staff. EC staff carry out the day-to-day operations of the SBC,
such as supporting the work of EC committees, handling communications, finance, and
information technology matters.


An in-person Town Hall meeting with all current SBC EC staff and members of the
Guidepost team was held in order to provide information about the investigation. Prior to
the trip, we administered a survey to solicit information from the SBC EC staff to obtain
their experience and understanding of sexual abuse related to the SBC EC, including
their views on training, education, culture, and reporting of allegations, among other
things. We had a 96 percent response rate, the results of which were invaluable in
preparing for the Town Hall and the SBC EC staff interviews. A more detailed discussion
of that survey, as well as our follow-up survey, can be found infra at Section IV.C.


During our time in Nashville, we interviewed 19 current and former SBC EC staff. In the
following weeks, we interviewed an additional 23 current and former SBC EC staff. We
would like to take this opportunity to commend the SBC EC staff not only for their
cooperation during the Town Hall and initial interviews, but for helping to coordinate
interview rooms and other logistical matters for a number of additional Guidepost trips to
the SBC EC offices.




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                        b.      Current and Former EC Trustees and other Key SBC
                                Figures


EC staff provided us with the contact information for all current and former EC Trustees.
The EC Trustees are the “members” of the Executive Committee, and there are 86 EC
Trustees at any given time. They are responsible for selecting the EC President and
electing other EC officers who, along with EC staff, manage the regular affairs of the SBC.


We received information for 332 persons who served as EC Trustees during the relevant
time period, and we attempted to contact each person.12 Initially, we emailed a letter to
each current and former EC Trustee who served during the relevant time period, advising
them of the investigation and its scope, and letting them know that members of our
investigative team would be contacting them in the near future. Each letter explained that,
in order to conduct a full, fair, and comprehensive investigation and assessment, it is
crucial that we speak with all who have first-hand, relevant information, which necessarily
includes current and former EC Trustees. We further explained that the requested
interviews are a two-way street – they also provide an opportunity for EC Trustees to
express their opinions as to how the SBC can create a safer community going forward.


Based on the initial letter and follow-up scheduling calls and emails, the investigative team
interviewed 175 current and former EC Trustees. Twenty-five EC Trustees declined to
speak with us. Ninety-eight EC Trustees were either completely unresponsive to our
outreach, or initially answered but then did not respond to schedule an interview. We
made phone calls to all non-responsive EC Trustees at the end of January. Some EC
Trustees were called multiple times, and were left voicemails and messages as permitted.
Then, in March, we made a final attempt to contact them by reaching out to current EC
Trustees via the CoC, and to former EC Trustees through regular or certified U.S. mail
based on the best address we had for each of them.


12After our first communication, 81 of the emails “bounced back” as undeliverable. Our analyst team worked
to find more updated contact information for those EC Trustees, and were also able to identify 23 EC
Trustees who had passed away.

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All 14 current and former CC members spoke with us in connection with our audit of the
procedures and actions of the CC. We also met with 12 members and staff of the Ethics
and Religious Liberty Commission (“ERLC”).


We reached out to all SBC Presidents and key leadership who served from 2000 to the
present. Three Presidents declined to speak with us: Dr. Bobby Welch, Dr. Jack Graham,
and Dr. Paige Patterson. Dr. Welch cited health reasons. Dr. Graham offered access to
his Presidential Papers in lieu of an interview; after we confirmed that we already had
access to those papers, we received no response to our interview request. A key leader,
Judge Paul Pressler, also declined to speak to us. Judge Pressler is a former SBC Vice
President, a former EC member, and a long-time SBC influencer.


We sent a certified letter to Dr. Patterson on March 12, 2022, and received a certified
signature receipt dated April 1, 2022. However, we did not receive a response to our
letter. We called Dr. Patterson’s three listed phone numbers provided by the EC on March
11, 2022. Guidepost was able to leave a voicemail on one of the phone numbers, but did
not receive a response. The Committee on Cooperation also sent a letter to Dr. Patterson
on March 30, 2022, asking that he allow himself to be interviewed by Guidepost
Solutions.13 On April 6, 2022, Dr. Patterson responded with a letter to Dr. Litton, indicating
that he had not received communication from Guidepost to seek an interview. He stated
in his letter to Dr. Litton that “In an effort to cooperate with the request of Guidepost
Solutions to the Executive Committee, I violated my policy and allowed access [by my
lawyers] to my presidential files in the Southern Baptist Archives. Any questions
Guidepost Solutions would like to ask me can be sent to my attorney Shelby Sharpe for
review; and if he deems them appropriate, I will answer them in writing.”14


In a further effort by Guidepost to pursue an interview with Dr. Patterson, Guidepost asked
the Bradley firm to make a request on their behalf. On April 1, 2022, Gene Besen


13  SBC EC Investigation - CoC Letter to Paige Patterson re GPS INT (1).pdf - All Documents
(sharepoint.com).
14 SBC EC Investigation - Ed Litton.pdf - All Documents (sharepoint.com).



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facilitated an introduction of Guidepost to Dr. Patterson’s counsel, informing him of
Guidepost’s request for an interview.15 Mr. Sharpe replied that “Dr. Patterson has not
given an interview to anyone since leaving Southwestern. He believes all of his papers
there and at all other institutions prior to his time at Southwestern will answer any
questions concerning his service. Additionally, his public statements prior to leaving
Southwestern are available to anyone wishing to know his position on any subject he
addressed. I am pleased to receive any questions from these ladies they would like him
to answer and if I deem them appropriate, I will get him to answer them.”16


On April 6, 2022, Guidepost sent a final letter to Dr. Patterson’s attorney asking that,
although Dr. Patterson does not have a practice of granting interviews, he consider
making an exception due to Dr. Patterson’s role in the EC.17 Mr. Shelby passed on Dr.
Patterson’s response in lieu of an interview, that “the subject of sexual abuse was not
something that came to the Executive Committee or the Credentials Committee to his
best recollection during the last six months of his presidency [which was in the scope of
the investigation].”18


We made multiple attempts to contact Mr. Augie Boto, the former EC General Counsel,
by letter, email, text, and phone. Through SBC records and our own research, we
identified five possible phone numbers for Mr. Boto, which we ultimately learned were not
in service or incorrect. When we called a sixth number, Mr. Boto identified himself on the
voice greeting, but the voice mailbox was full. We sent a text message to that number but
received no response. Finally, on May 6, 2022, Guidepost investigators went to Mr. Boto’s
residence to ask in person for an interview. Mr. Boto initially stated that he did not want
to make a statement, citing his former position as EC General Counsel as the reason he
could not speak to us. However, he did engage in conversation with our investigators for
approximately an hour and give his views on various topics related to the investigation.



15 SBC EC Investigation - Dr. Patterson Introduction (1).msg - All Documents (sharepoint.com).
16 SBC EC Investigation - Re Dr. Patterson Response.msg - All Documents (sharepoint.com).
17 Dr. Patterson 4.6.22 .docx (sharepoint.com).

18 SBC EC Investigation - 1591_001.pdf - All Documents (sharepoint.com).



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As described above, we made significant efforts to interview as many current and former
EC Trustees and other significant SBC figures as possible during our investigation.
Though many people agreed to speak with us, some did not for various reasons. Attached
as Appendix C, we list those people who were contacted and did not meet with us despite
our request, as well as their stated reasons for their decision (if given).


                  c.     Survivor Interviews and Outreach

Background

We are deeply grateful to the survivors of sexual abuse who contacted us to share their
histories and opinions. Because the investigation was widely publicized, many survivors
contacted us directly beginning in September 2021. As discussed above, we created a
dedicated Guidepost webpage with information regarding the investigation, including an
email address to contact Guidepost investigators. Guidepost team members did not
affirmatively contact survivors for interviews or information. All contact originated only
when the survivor reached out to us, either directly by email or phone or through another
witness or Task Force member. In total, we spoke with 22 survivors over the course of
the investigation.

Trauma-Informed Communications

As is a best practice, the investigative team was mindful during the investigation of
communicating with survivors and their loved ones in a trauma-informed manner. All
Guidepost team members received trauma-informed training. Being trauma-informed
requires that we communicate in a way that did not assign guilt or responsibility to the
survivor and did not re-traumatize them. Survivors were offered anonymity and
confidentiality if desired and permitted by law. We prioritized communicating in a prompt
and transparent manner with all witnesses, but particularly so with survivors.


Depending on the preference of the survivor, these meetings were conducted via
telephone, videoconference, or in person. All survivors were permitted and encouraged
to have a support person of their choosing present for the interview. The SBC, Task

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Force, EC, and CC were not given access to the names of, or identifying information
about, survivors or related witnesses without the consent of the survivors or witnesses.


We have been contacted by and corresponded with several survivors who ultimately
chose not to participate in an interview, but contributed to our investigation through email
correspondence, documentary evidence, and suggested recommendations for the future
state of the SBC. We also held listening sessions with survivors and advocates who
provided numerous recommendations.


We realize that participating in the investigation interview process can create added
stress related to underlying trauma. Our desire was to provide survivors a safe and
confidential space to debrief and process their interviews and participation with this
investigation. In order to provide this support to survivors, the Guidepost team engaged
Dr. Phil Monroe of Langberg, Monroe & Associates as a Survivor Care Liaison. Dr.
Monroe is a licensed psychologist who specializes in treating trauma-related problems.
Dr. Monroe was available to survivors to raise questions and talk through their
investigation experience with a professional who is trauma-informed and understands the
process, as well as to provide suggestions for resources for mental health care. Survivors
were provided with contact information for Dr. Monroe, and all interactions with Dr.
Monroe remained confidential. A survivor’s identity or interaction with Dr. Monroe was not
shared with the investigative team without express permission from the survivor. Our
connection with Dr. Monroe has been valuable to our work as it has provided a safe space
for survivors to debrief following the interview process.


                 d.     Survivor Advocates and other Witness Interviews

We also met with advocates for survivors, survivors’ family members, witnesses who
corroborated survivors’ histories, whistleblowers who have reported church clergy and
staff sexual offenders, experts in issues related to sexual abuse and clergy sexual abuse
in particular, and therapists. Survivor advocates, such as Dee Ann Miller and Carol
Shelton, provided many suggestions for how the SBC could improve its response to


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sexual abuse allegations in the future, which we have considered in forming our own
recommendations. We also spoke with Task Force members as well as Messengers and
pastors who brought motions over the years pushing for sexual abuse reform. Their
experience and guidance were likewise extremely helpful in formulating our
recommendations.

In order to assure the accurate application of SBC polity considerations in the proposed
recommendations, we formally consulted with four recognized experts on SBC polity,
including a seminary president, two academics, and an author of a well-known book on
the SBC organization.


III.    SOUTHERN BAPTIST CONVENTION (“SBC”)

The SBC is not a church itself; rather, it is a network of independent churches. 19 The
purpose of the SBC is “to provide a general organization for Baptists in the United States
and its territories for the promotion of Christian missions at home and abroad and any
other objects such as Christian education, benevolent enterprises, and social services
which it may deem proper and advisable for the furtherance of the Kingdom of God.” 20
Currently, over 47,000 Baptist churches in the United States and its territories cooperate
with the SBC.21 In total, the SBC network of churches encompasses over 14 million
persons.22


        A.      Church Autonomy


Unlike hierarchical religious organizations, such as the Catholic Church, where local
churches follow the directives of a primary leader, the SBC does not dictate church


19 https://www.sbc.net/about/what-we-do/fast-facts/.
20 SBC Constitution, Article II. See https://www.sbc.net/about/what-we-do/legal-
documentation/constitution/.
21 https://www.sbc.net/about/what-we-do/fast-facts/. See also

https://research.lifeway.com/2021/05/20/southern-baptist-census-data-reflects-covids-impact-on-
churches/.
22 Id.



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practices or worship. A fundamental principle of the Southern Baptists is local church
autonomy.23 Article IV of the SBC Constitution provides that: “While independent and
sovereign in its own sphere, the Convention does not claim and will never attempt to
exercise any authority over any other Baptist body, whether church, auxiliary
organizations, associations, or convention.”24


Each church cooperating with the SBC functions independently and maintains
responsibility to select its own leaders, adopt its own bylaws, set its own budget,
determine its own policies, and launch its own ministries.25 Local church participation with
the SBC is voluntary and cooperative.26


Because the SBC is not a church, it has no role in ordaining pastors.27 Both initial
ordination and recognition of previous ordination are addressed on a local church level.28
Every cooperating church decides individually whether or not to ordain an individual, or
whether to require ordination of its pastor or ministry staff.29

The SBC does have the right to determine whether local churches are considered “in
friendly cooperation” with the SBC – in other words, whether a specific local church is
remaining in good standing with the SBC.30 To be deemed in friendly cooperation, a
church must: (1) have a faith and practice which closely identifies with the SBC’s adopted
statement of faith, (2) formally approve its intention to cooperate with the SBC, (3) make
financial contributions through the Cooperative Program, the SBC’s Executive Committee


23 Article VI of the Baptist Faith and Message states, in part: “A New Testament church of the Lord Jesus
Christ is an autonomous local congregation of baptized believers, associated by covenant in the faith and
fellowship of the gospel; observing the two ordinances of Christ, governed by His laws, exercising the gifts,
rights, and privileges invested in them by His Word, and seeking to extend the gospel to the ends of the
earth.” See also https://www.baptistpress.com/resource-library/sbc-life-articles/the-church-autonomous-
and-cooperating/.
24 https://www.sbc.net/about/what-we-do/legal-documentation/constitution/.

25 https://www.baptistpress.com/resource-library/news/an-aid-to-understanding-the-sbc/.

26 Id.

27 https://www.sbc.net/about/what-we-do/faq/.

28 Id.

29 Id.

30 https://www.sbc.net/about/becoming-a-southern-baptist-church/faq/.



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for Convention causes, or any other Convention entity during the fiscal year preceding,
(4) not act in a manner inconsistent with the Convention’s beliefs regarding sexual abuse
(emphasis added); and (5) not act to affirm, approve, or endorse discriminatory behavior
on the basis of ethnicity.31


It should be noted that the “sexual abuse” proviso was only recently added to the SBC
Constitution.32 An amendment to that effect was proposed in February 2019 amid media
reports of abuse at SBC churches.33 The proposed amendment would have added
language to Article III of the SBC Constitution that a church be considered in friendly
cooperation if it:


        (4) Has not been determined by the Executive Committee to have
        evidenced indifference in addressing sexual abuse that targets minors and
        other vulnerable persons and in caring for persons who have suffered
        because of sexual abuse. Indifference can be evidenced by, among other
        things, (a) employing a convicted sex offender, (b) allowing a convicted sex
        offender to work as a volunteer in contact with minors, (c) continuing to
        employ a person who unlawfully concealed from law enforcement
        information regarding the sexual abuse of any person by an employee or
        volunteer of the church, or (d) willfully disregarding compliance with
        mandatory child abuse reporting laws.34


However, in its June 2019 meeting, the EC replaced that language with the following:


        (4) Does not act in a manner inconsistent with the Convention’s beliefs regarding
        sexual abuse.35




31 See SBC Constitution Article III.
32 https://www.baptistpress.com/resource-library/news/wrap-up-sex-abuse-prevention-tops-sbc-exec-
comm-agenda/.
33 https://www.baptistpress.com/resource-library/news/wrap-up-sex-abuse-prevention-tops-sbc-exec-

comm-agenda/.
34 https://plusnxt.relativity.one/Relativity/go?id=8252197-1523262.

35 https://plusnxt.relativity.one/Relativity/go?id=8252197-1770976.



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Ultimately, the new amendment was approved by a two-thirds vote at the SBC
conventions in 2019 and 2021.36


In connection with the new amendment, an EC committee – the Credentials Committee
(“CC”) – was tasked with considering issues of whether a church is “in friendly
cooperation” under Article III.37 Prior to June 2019, the CC focused on Messenger
registration and operated only during the annual convention. In the wake of the 2019
Convention, the CC was made a standing committee to carry out this new function. The
formation and purpose of the CC is discussed extensively in Section VII, below.


According to the SBC Bylaws, the CC is to consider the matter of whether a church is in
friendly cooperation with the Convention, review any information available to it, and make
inquires of a church.38 If the CC forms the opinion that a church is not in friendly
cooperation, the CC submits a report to the EC stating the CC’s reasons for its opinion.39
The EC, at its next meeting, considers the CC’s report and renders a decision.40 The
church may appeal or ask for reconsideration of an adverse judgment.41 Otherwise, the
EC’s decision is final, and the church will be “disfellowshipped” from the SBC.42


        B.      The SBC’s Organization


The SBC is under the direction of the Messengers, i.e., the representatives of local
churches that cooperate with the SBC.43 The Messengers convene once a year at a two-

36 https://www.tennessean.com/story/news/religion/2021/06/16/southern-baptist-convention-2021-
stronger-stand-against-sexual-abuse/5294209001/.
37 SBC Bylaw 8(C).

38 Id.

39 Id.

40 Id.

41 Id.

42 See, e.g., https://www.baptistpress.com/resource-library/news/sbc-executive-committee-disfellowships-

four-churches/.
43 Churches may choose to financially cooperate with the SBC either through a State Convention, or at the

national level. More than 99 percent of churches that cooperate with the SBC also maintain a cooperative
relationship with a state or regional Baptist convention. Due to the long-established practice of cooperation


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day meeting in June.44 At the annual meeting, or convention, the Messengers confer and
determine the officers, programs, policies, and budget of the Convention.45


The Messengers elect the officers of the SBC, including the President, 1st and 2nd Vice
Presidents, Recording Secretary, and Registration Secretary.46 The term of office for the
SBC president is limited to two consecutive one-year terms, and a president is not eligible
for re-election until as much as one year has elapsed from the time a successor is
named.47 Messengers also elect Trustees to serve on various SBC entities and
committees, including the EC, as recommended by the Committee on Nominations. In
addition to electing officers, the Messengers approve bylaw changes and the annual
operating budget, and may be called upon to address other special business that arises
at the annual meeting.


       C.      The Executive Committee


Because the Messengers are so numerous and meet only once per year, the day-to-day
functioning of the SBC is managed by the EC, the “fiduciary, the fiscal, and executive
entity of the Convention.”48 The EC’s operations are intended to carry out the business of
the Convention between sessions.49


The EC is governed by a board of 86 EC Trustees chosen from qualified states and
regions.50 EC Trustees currently serve four-year terms, and no EC Trustee can serve



with state Baptist conventions and local associations, the SBC encourages such multi-level cooperation
(local, state, and national) and does not encourage churches to practice national-only cooperation. See
https://www.sbc.net/about/becoming-a-southern-baptist-church/faq.
44 Each cooperating church can send two messengers to the Convention. Cooperating churches may send

additional messengers based on contributions to SBC Cooperative Program, with a maximum of 12
messengers per church. See SBC Constitution Article III.
45 https://sbcannualmeeting.net/messengers/becoming-a-church-messenger/.

46 SBC Bylaw 10.

47 SBC Constitution Article V.

48 https://www.sbc.net/about/what-we-do/sbc-entities/executive-committee/.

49 Id.

50 https://www.sbc.net/about/what-we-do/sbc-entities/.



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more than two consecutive full terms.51 The EC Trustees meet three times per year, in
February, June, and September.


The EC Trustees select and employ an EC President for an indefinite term.52 The EC
President receives a salary and serves as chief executive officer and treasurer, and is an
ex officio member of all committees.53


The EC Trustees also elect officers such as the Board Chairperson, Vice Chairperson,
Secretary, and Chairpersons for the following committees: Committee on Convention
Missions & Ministry; Committee on Convention Finances & Stewardship Development;
Committee on Convention Events & Strategic Planning; Committee on Southern Baptist
Relations.54 These officers are not paid.


According to the SBC, the EC does not control or direct the activities of Convention
entities, although it reviews their financial statements and recommends the Convention
annual operating budget.55 In addition, the EC receives and distributes the monies
Southern Baptists give in support of denominational ministries through the Cooperative
Program,56 acts as the recipient and trust agency for all Convention properties, and
provides public relations and news services, including Baptist Press. 57 To carry out its
function, the EC maintains a professional staff and offices in Nashville, Tennessee.58


51 EC Bylaw 3.4.
52  EC Bylaw 4.8. The president shall serve from the effective date of election until retirement, death,
resignation, or by action of the board of trustees.
53 Id.

54 EC Bylaw 4.1.

55 https://www.sbc.net/about/what-we-do/sbc-entities/executive-committee/.

56 The Cooperative Program was formulated in 1925 as a unified giving plan for Southern Baptists.

Churches support the Cooperative Program by submitting contributions through a network of state and
regional Baptist conventions. Those conventions use a portion of these funds to fuel the ministry and
mission goals established by their churches. Each state Baptist convention then forwards a percentage of
those funds to the Southern Baptist Convention, providing financial support for Convention entities to send
missionaries, train pastors and ministry leaders, plant churches and address ethical and religious liberty
concerns related to our faith. Cooperative Program funds forwarded from the states also provide support
for the SBC operating budget. See https://www.sbc.net/about.
57 Id.

58 Id.



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The EC staff carries out the day-to-day functions of the SBC when the convention is not
formally in session. The staff exists to serve the EC Trustees in fulfillment of the mission
of the EC as set forth in the SBC Organizational Manual.59 The staff is managed by the
President and CEO and assists the various SBC committees in accomplishing their
responsibilities.60


Throughout the scope of this investigation, the organizational structure of the EC has
changed. From 2002-2007, the Executive Committee staff operated with a President/CEO
and five executive vice presidents over these offices – Cooperative Program, Convention
Policy, Business and Finance, News Services, and Convention Relations.61 In 2008, the
organization chart shows the Convention Policy office was renamed as General Counsel.
In 2011, the organizational structure changed from five offices to three offices, with three
executive vice presidents for the offices of Convention Finance, General Counsel
(Convention Policy and Operations), and Convention Communications and Relations. In
2012 another office was added in the organization chart for Convention Advancement.
Again in 2014, another office was added for Cooperative Program and Stewardship. The
most recent EC organizational chart, dated December 2021, shows four staff members
serving the President and CEO and three offices headed by an Executive Vice President.
The three offices are as follows: Great Commission Relations and Mobilization,
Communications, and Finance.62


Great Commission Relations and Mobilization office is responsible for promoting the
Cooperative Program and encouraging Biblical stewardship. This office also promotes
cooperative relationships with state conventions, local associations, entities, and
churches. In addition, this office develops strategies to strengthen relationships with
multiple demographic groups within the SBC and provides assistance to the Executive


59 https://www.sbc.net/about/what-we-do/legal-documentation/organization-manual/.
60 https://www.sbc.net/wp-content/uploads/2021/10/EC-Bylaws-June-16-2020-FINAL.pdf.
61 Documents provided indicated no record for 2000-2001;

https://solutionpointintl.sharepoint.com/:b:/s/SBCECInvestigation/EVlqj4L8EJ5EnBcOEq8W3FUBcvY49E
0aKNVyJiZBQQRBaA?e=JdWWfF.
62 SBC Staff Organization Chart_1206022.pdf.



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Directors of church relations and mobilization for Hispanics, Asian Americans, African
Americas and other church affiliations. The Communications office houses Baptist Press,
the convention news service, as well as general convention communications. The
Finance office is responsible for finance, annual meeting/events planning, information
technology, and facilities. The Chief Financial Officer is the head of the Finance office.


There is currently no individual designated for Human Resources, so Finance handles
HR matters under their oversight of EC staff payroll and benefits. In addition, there is no
designated General Counsel or Chief Compliance/Integrity Officer in the current
organizational structure.


The EC is not presently operating with a full staff due to resignations and staff changes
since 2021. According to the up-to-date EC Staff Directory on the SBC.net website, the
organizational structure is as follows: the President’s Office includes the Interim President
and CEO with three supporting staff members; Communications includes a Vice
President and ten supporting staff members; Finance includes an Interim CFO with five
supporting staff members; and Great Commission Relations and Mobilization has a
vacancy in the Vice President position, but has five supporting staff members.63 In total,
there are currently 26 EC staff members compared to 31 EC staff positions reflected on
the December 2021 organization chart.


The EC also has the responsibility to conduct the general work of promotion and publicity
for the Convention in cooperation with the entities.64 The EC manages and funds Baptist
Press, which provides the convention news service to interpret and publicize the stories
of Southern Baptists in order to keep the more than 47,000 autonomous churches, 41
state conventions, 1,114 local associations and over 14 million members, connected and
informed.



63 https://www.sbc.net/about/what-we-do/sbc-entities/executive-committee/staff/.
64 SBC Bylaw 18E(8);
https://www.baptistpress.com/resource-library/sbc-life-articles/sbc-life-focus-on-your-sbc-entities-the-
executive-committee/.

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        D.      Committee Structure and Governance


In addition to the EC, as described above, the SBC undertakes its work through 11 other
ministry entities, as well as an auxiliary called the Woman’s Missionary Union.65 Like the
EC, the entities are governed by a board of trustees elected by the Convention. 66 The
trustees for the auxiliary are not elected by the Convention.67


GuideStone Financial Resources: GuideStone assists churches, denominational
entities, and other evangelical ministry organizations by making available retirement plan
programs, life and health coverage, risk management programs, and personal and
institutional investment programs.


Ethics & Religious Liberty Commission (ERLC): The Ethics & Religious Liberty
Commission exists to assist Southern Baptist churches in applying the moral and ethical
teachings of the Bible to the Christian life, through the communication and advocacy of
moral and ethical concerns in the public arena. The ERLC assists churches and entities
by promoting religious liberty and with their moral witness in local communities.


International Mission Board (IMB): The International Mission Board exists to assist the
churches of the Southern Baptist Convention by evangelizing persons, planting Baptist
churches, and nurturing church planting movements to the unevangelized world outside
the United States and Canada. The IMB assists churches in sending and supporting
missionaries and volunteers, mobilizing Southern Baptists to be involved in international
missions, and developing global strategies for the purpose of making Christ known among
all people.


Lifeway Christian Resources: Lifeway Christian Resources exists to honor God and
serve churches by designing trustworthy experiences that fuel ministry. Lifeway assists

65 https://www.sbc.net/about/what-we-do/sbc-entities/.
66 The following descriptions of the various entities comes from the SBC ministry reports for each entity's
ministry statements. See https://www.sbc.net/resource-library/ministry-reports/2021-ministry-report/.
67 See https://erlc.com/resource-library/articles/why-southern-baptists-should-value-the-wmu/.



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churches in the development of ministries to men, women, children, and Christian
students of all education levels. Lifeway assists churches through the operation of
conference centers and camps, architecture and capital fund raising consultations,
conducting research, compiling statistics and publication of Christian resources.


North American Mission Board (NAMB): The North American Mission Board exists to
work with churches, associations and state conventions in mobilizing Southern Baptists
as a missional force to impact North America with the Gospel of Jesus Christ through
evangelism and church planting. NAMB assists churches by providing leadership
development, relief ministries, and providing missions education and volunteer missions
opportunities.


Theological Seminaries: There are six Southern Baptist theological seminaries:
Gateway Seminary of the Southern Baptist Convention, Midwestern Baptist Theological
Seminary, New Orleans Baptist Theological Seminary, Southeastern Baptist Theological
Seminary, The Southern Baptist Theological Seminary, The Southwestern Baptist
Theological Seminary. These seminaries provide theological education in order to
prepare students for vocational service in Baptist churches and in other Christian
ministries.


Woman’s Missionary Union: This auxiliary of the SBC assists churches in developing
and implementing a mission strategy for churches to fulfill its total mission in the world.


It should be noted that the chief executives of the EC, the 11 entities, and the Women’s
Missionary Union also comprise the Great Commission Council, whose purpose is to find
ways of mutual re-enforcement in assigned responsibilities and distinctive ministries; to
avoid overlapping endeavors and competitive ministries; and to consider the means for
helping the churches fulfill their mission in Bible teaching and evangelism; world missions,
stewardship, Christian training, education and social service.68



68   SBC Bylaw 23.

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IV.    FACTUAL FINDINGS/INVESTIGATION


       A.     Timeline

In this section, we lay out a chronology of the EC’s response to sexual abuse issues from
January 1, 2000, to June 14, 2021. We cannot and do not describe in detail every EC
action or communication; rather, this timeline aims to provide a concise yet
comprehensive account of the EC’s conduct over those two decades. In Section V supra,
we refer to these and other facts in making our observations and conclusions regarding
the EC’s handling of sexual abuse allegations and treatment of survivors.


For the entire relevant period, survivors and their advocates fought to be heard by SBC
leadership. The very existence of this report is attributable to their perseverance. As this
report makes clear, there were divisions within EC leadership between those who were
open to addressing the survivors’ allegations publicly and instituting reforms, and others
who sought to minimize or ignore allegations in an effort to protect the reputation of the
SBC and avoid the risk of legal liability for sexual abuse at SBC churches.


Although the EC is governed by its 86 Trustees, those EC Trustees serve limited terms
and meet only three times per year. Consequently, they generally are not privy to the day-
to-day decision making by the EC Staff and Officers. During the investigation time period,
those decisions were largely left to the discretion of the EC President/CEO and his closest
advisors on staff, with high-level issues brought to the SBC President. Unlike the term-
limited EC Trustees and even the term-limited SBC Presidents, the EC President/CEO
and staff members could, and did, retain their positions for multiple years, even decades
in some instances. Throughout the time period, there was no apparent effort to inform the
Trustees or involve them in the decision-making process regarding the issue or existence
of sexual abuse in the SBC. For example, EC Trustee Rod Martin noted the following on
Twitter:




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Thus, the EC’s response to sexual abuse allegations over the years was largely driven
by a small cadre of staff as well as the SBC’s long-serving outside lawyers, whose senior
positions and institutional knowledge allowed them to control the information about, and
management of, issues related to sexual abuse at SBC churches. One key figure was
Augie Boto, who was hired in 1998 as Vice President for Convention Policy and became
the EC General Counsel in 2004. In his position as General Counsel, Mr. Boto guided the
EC’s response to sexual abuse allegations, advising the various EC Presidents under
whom he served – Dr. Morris Chapman, Dr. Frank Page, and Dr. Ronnie Floyd. Mr. Boto
and these leaders also relied on the assistance of the SBC’s external counsel: Mr.
Guenther, who had represented the SBC since 1966, and GJP. Even as SBC Presidents
changed and EC staff retired, GJP remained an institutional source of knowledge in terms
of Baptist polity, liability management, and counsel related to sexual abuse.


2000-2002
At the outset of the period under investigation until the June 2000 Convention, the SBC
President was Paige Patterson. As we explained in Section II.B. supra, we were not given
access to the entirety of Dr. Patterson’s presidential papers, so we cannot conclusively
determine what, if any, actions or discussions occurred related to sexual abuse
allegations during that term.69


We did review correspondence from a pastor seeking guidance about sexual abuse topics
from Dr. Patterson. The pastor noted that, several months prior to the date of the letter,
Dr. Patterson had made mention of a program on sexual abuse. The pastor wrote: “I

69 We received only two pages from Mr. Sharpe and the Bradley firm in response to our request. We were
able to obtain a few other documents related to Dr. Patterson from an outside source, a former employee
of Dr. Patterson.

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believe it was in regards to having some type of program or course taught at the church
informing people on either how to prevent sexual abuse or how to spot a child who is
possibly being sexual [sic] abused. It may have been a combination of both of those
topics. I would like information on that program and also any other possible details you
might have about that subject title.”


Dr. Patterson’s response is focused not on the prevention of sexual abuse, but rather on
the benefits of such a program as a defense in litigation. Dr. Patterson wrote that the
matter of sexual abuse to which he referred was “the fact that there are fairly frequent
lawsuits now being filed against churches in sexual abuse cases. Interestingly, to my
knowledge, even to this date, not one of those charges has been successful in those
cases where the churches could document that they had made some effort to educate
those who worked among children as to how to watch for and respond to dangers.”
Patterson noted that this could be achieved by churches holding a lunch and a one-hour
awareness seminar.




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After Dr. Patterson’s term ended, our investigation revealed limited discussion of sexual
abuse or misconduct at the EC-level from mid-2000 to 2003, despite the frequent lawsuits
filed against churches as referenced by Dr. Patterson’s letter. We interviewed the 2000-
2002 SBC President James Merritt, who stated that during his term of service he was not
informed of any sexual abuse allegations nor did he have contact with any survivors.70

The few times the subject of sexual abuse was addressed during the early 2000s are as
follows: (i) a resolution was proposed at the 2000 convention condemning the trafficking
of women and children for sexual purposes;71 (ii) an SBC report in the 2001 convention
materials noted that ministering to persons in need, such as the abused, was a priority
concern;72 and (iii) the SBC adopted a resolution at the 2002 convention on the Sexual
Integrity of Ministers that, among other things, called on civil authorities to punish to the

70 Interview Memorandum of James Merritt.
71 http://media2.sbhla.org.s3.amazonaws.com/annuals/SBC_Annual_2000.pdf.
72 http://media2.sbhla.org.s3.amazonaws.com/annuals/SBC_Annual_2001.pdf.



                                               42

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fullest extent of the law sexual abuse among clergy and counselors, called on SBC
churches to discipline those guilty of any sexual abuse and to cooperate with civil
authorities, called on Southern Baptist seminaries to emphasize integrity in their training
of ministers and others, and extended prayers and support for those who have been
harmed as a result of sexual abuse.73

2004
At the 2004 Convention in Indianapolis, a motion was made for a child abuse study
committee.74 In pertinent part, the motion called for the new committee to:


        [S]tudy the problem of child abuse, incest, and child molestation perpetrated
        by members of the laity and/or staff of Southern Baptist churches. In
        addition, this committee should instruct LifeWay Publishers to produce a
        curriculum that will educate churches concerning this problem and help
        churches in developing guidelines and policies for preventing child abuse
        and sexual molestation and enforce the legal and moral obligation the
        church has in reporting known incidents to the proper authorities.
        Furthermore, this committee should seek some means or ways for
        reproving churches that protect known perpetrators by failing and/or
        refusing to report such crimes to the authorities and/or by intimidating or
        terminating the pastor and/or other members of the church staff when they
        report such crimes to the authorities.75


SBC President Jack Graham ruled the motion out of order.76 According to an EC staff
member, it was likely ruled out of order because a motion cannot instruct an SBC entity
(Lifeway) to take action.77 We were unable to question President Graham about the
motion as he was unresponsive to our interview request. There is no indication in the
documents we reviewed that any attempts were made to revise the motion to overcome
this procedural hurdle.




73 http://media2.sbhla.org.s3.amazonaws.com/annuals/SBC_Annual_2002.pdf.
74 http://media2.sbhla.org.s3.amazonaws.com/annuals/SBC_Annual_2004.pdf.
75 Id.

76 Id.

77 Interview Memorandum of EC Staff Member 1.



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The month after the convention, in July 2004, attorney Deborah Boone Dale, on behalf of
Christa Brown,78 a survivor of clergy sexual abuse, sent a 25-page report by certified mail
to multiple Southern Baptist leaders, including the SBC President Bobby Welch.79 While
Ms. Dale’s cover letter transmitting the report was produced to us by the EC, we were
unable to find the report itself in the document production.


In this correspondence Ms. Brown shared her experience of being sexually abused by
the youth and education minister at her church when she was 16 years old, and the fact
that the alleged abuser had moved on to another SBC church. 80 Dr. Welch did not
respond. Instead, the report was forwarded to the SBC’s outside counsel, Mr. Guenther.81
Mr. Guenther provided advice to Mr. Boto about how they should proceed. Among other
things, Mr. Guenther suggested preparing an answer: “It would be sympathetic, would
describe how the SBC lacks control over ministers and churches in the hiring of ministers,
our appreciation for the national tragedy of clergy sex abuse, but would not respond to
demands specifically. Then we would wait to see what transpired. We may or may not get
sued. There is no explicit threat in that regard.” Mr. Guenther also recommends that he
and Mr. Boto inquire about a list of clergy offenders maintained by the Baptist General
Convention of Texas (“BGCT”), noting that: “We have often worried about a duty to warn
a court might think was owed by the SBC. The BGCT plan may give us some ideas on
that subject.”




78 SBC EC Investigation - REL0000002406.pdf - All Documents (sharepoint.com).
79 SBC EC Investigation - Christa Brown Memo to Guidepost.pdf - All Documents (sharepoint.com). The
SBC President at that time, from 2004-2006, declined to speak with us due to ill health.
80 Id.

81 Id; https://plusnxt.relativity.one/Relativity/go?id=8252197-2481375.


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On July 26, 2004, Mr. Guenther responded by letter to Ms. Brown’s attorney. After
explaining SBC polity in detail, Mr. Guenther stated that he reviewed an “annual
accumulation of church statistics” voluntarily provided to the SBC by SBC churches and
did not see the name of the alleged abuser “as being reported to be in a ministerial
position in any church.”82




82   http://stopbaptistpredators.org/pdf_documents/SBC_letter.pdf.

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                                   46

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A few months later, after continued research on her own, Ms. Brown learned that her
alleged abuser was serving as a children’s minister at an SBC church in Florida.83 The
church was located approximately 51 miles from the church where Dr. Welch was the
pastor.


2005
On April 22, 2005, an attorney for Ms. Brown wrote to the SBC’s Office of Convention
Relations and Mr. Guenther to inform them that the alleged abuser appeared to still be in
ministry.84 The letter noted that the Baptist General Convention of Texas (BGCT) had
added the alleged abuser’s name to their file of ministers who have been involved in
sexual abuse.85 The letter advised that “clergy abusers who prey on the young often have
multiple victims…We hope that you will act in a manner that reaches out to other possible
victims and that works to safeguard against the possibility of additional victims.”86
According to Ms. Brown, the recipients of the letter took no action with respect to the
minister.87




83 SBC EC Investigation - Christa Brown Memo to Guidepost.pdf - All Documents (sharepoint.com).
84 http://stopbaptistpredators.org/documents/SBC042205.pdf.
85 Id.

86 Id.

87 SBC EC Investigation - Christa Brown Memo to Guidepost.pdf - All Documents (sharepoint.com).



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                                   48

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Ms. Brown first filed a lawsuit against her abuser88 and in July of 2005 filed a lawsuit
against the church where the abuse occurred and James Moore, the church music
minister.89




2006
Ms. Brown’s lawsuits were eventually consolidated and resolved when Ms. Brown entered
into a settlement in January 2006 with the church in which (1) the church agreed that its
music minister had “knowledge about Gilmore’s sexual contact with Brown as a minor;”
(2) the church did not deny the allegations of the lawsuit but disclaimed “legal liability;”
and (3) the church agreed to make an apology for the “very serious sexual abuse” with
“remorse and contrition.” 90 On January 18, 2006, the church issued its written apology to
Ms. Brown confirming the conduct of her abuser and authorizing her to publicly share the
written apology.91


On August 2, 2006, Ms. Brown and leaders at the Survivors Network of those Abused by
Priests (SNAP)92 wrote to then-SBC President Dr. Frank Page and described how her
alleged abuser was able to continue in ministry, even though the survivor had notified 18



88 http://stopbaptistpredators.org/pdf_documents/BrownvFirstBaptist.pdf.
89 http://stopbaptistpredators.org/pdf_documents/BrownvFirstBaptist.pdf.
90 http://stopbaptistpredators.org/pdf_documents/settlement.pdf.

91 http://stopbaptistpredators.org/pdf_documents/APOLOGY.PDF.

92 SNAP, established in 1988, is an independent, peer network of survivors of institutional sexual abuse

and their supporters. Although originally focused on abuse by Catholic priests, SNAP now addresses sexual
abuse in other organizations as well. SNAP has more than 25,000 members and its support groups meet
in over 60 cities worldwide. See https://www.snapnetwork.org/about.

                                                   49

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Southern Baptist leaders in four different states.93 The letter requested an immediate
investigation of her case, and called for the establishment of a review board to consider
reports of clergy abuse.94 The letter noted that, even if the SBC cannot remove an abusive
minister, it is at least capable of informing and warning.95




Rather than looking for solutions to address the problem, once again the response from
EC leadership focused on SBC polity and what the organization could not do. Dr. Page’s
response of August 15, 2006, indicated that “[m]any of the things you have asked for me
to do are far beyond my authority and ability.” He then forwarded the letter to the EC Chair
and the ERLC President, who he said “are in positions to be sensitive to your request.” 96
Dr. Page stated that each Baptist entity is autonomous and separate, and that if abuse is
covered up, it is the responsibility of that entity.97 Nonetheless, he stated that he would
“meet with the officials of the Southern Baptist Convention to see if there is some way




93 http://stopbaptistpredators.org/documents/SBCletter02.pdf .
94 Id.
95 Id.

96 Id.

97 Id.



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that we might provide this kind of assistance without infringing upon the autonomy of
these state level or local level entities.”98




On September 7, 2006, SBC outside counsel James Jordan emailed Mr. Boto to note that
he was working on a response to SNAP.99 Mr. Jordan described how the BGCT kept a
confidential list of individuals who are reported for sexual misconduct, and how churches
can inquire as to whether a specific person is on the list.100 He then went on to state:


        This is something the EC could consider. Having a national “bad list” would
        eliminate the opportunity for ministers to “hide” in states that did not keep



98 Id.
99 SBC EC Investigation - SBC_EC_GJPLaw_00024224.pdf - All Documents (sharepoint.com).
100 Id.



                                                51

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         lists. It would also keep churches from having to check lists in many different
         states.101

Mr. Jordan goes on to note that, while he is not sure of a perfect answer, “it may be time
for policy-makers in the SBC to have the discussion.”102


On September 26, 2006, after receiving no response to the early-September
communication, SNAP sent another letter, again to Dr. Page, and including EC President
Morris Chapman, and ERLC President Richard Land, asking for dialogue “to make
Southern Baptist churches safer.”103 SNAP asked the SBC to consider, among other
things: (i) establishing an independent review board to receive and investigate reports of
clergy abuse; (ii) publicizing the existence of the board and contact information for
reporting abuse; (iii) adopting a “zero tolerance” policy to expel churches that hire or retain
a minister or deacon for whom there has been a credible report of having sexually abused
a minor; (iv) withholding financial Mission Board support for such churches; (v) publicizing
the SBC's disapproval of confidential settlements, which should not be enforced against
victims who might choose to disclose abuse.104 Ms. Brown made a trip to Nashville to
hand-deliver the letters, and did a sidewalk media event outside the EC Offices.105


Three days later, on September 29, 2006, Mr. Boto responded to Ms. Brown on EC
letterhead on behalf of all three recipients of the original communication. Not only did Mr.
Boto refuse to discuss the concerns set forth in the letter or the suggested remedies, he
intimated that further communications would not continue.106 In pertinent part, Mr. Boto
wrote that:




101 Id.
102 Id.
103 SBC EC Investigation - 2006 SNAP Letter to SBC.pdf - All Documents (sharepoint.com);

https://www.snapnetwork.org/snap_letters/2006_letters/092606_southern_baptist.htm.
104 Id.

105 https://goodfaithmedia.org/southern-baptist-leaders-challenged-to-get-tough-on-sex-abuse-by-clergy-

cms-7942/ https://goodfaithmedia.org/advocating-for-safety-of-southern-baptist-church-kids/.
106 http://stopbaptistpredators.org/documents/Botoletter.pdf.



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            The use of hyperbole, argumentative language, strident tones, or pejorative
            adjectives is not necessary, and disserves the victims you are seeking to
            help by alienating those with whom you profess to desire to collaborate, and
            from whom you are requesting assistance. Your staging of a ten-minute,
            photo-op mock demonstration in front of our building in an attempt to direct
            press attention to shortcomings you perceive to exist in the Southern Baptist
            Convention is certainly not a backdrop conducive to the continued dialogue
            and joint working relationship you expressed as a desire in the letter you
            hand-delivered at that time. And your use of examples which are inaccurate
            or which have no relevance is also unhelpful.

            Obviously, there may be some ways the Southern Baptist Convention can
            improve awareness of and protection from the problem of sexual abuse,
            and we will be both responsive to our constituency and exhortive toward
            that end, perhaps using portions of your suggestions which find support
            among rank and file Southern Baptists, and which seem workable and
            beneficial under our polity. Nevertheless, the adversarial posture which you
            have assumed is one of several factors leading me to believe that continued
            discourse between us will not be positive or fruitful.107




107   Id.

                                                 53

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Although Mr. Boto was unwilling to engage with Ms. Brown and SNAP, documentary
evidence revealed that Mr. Boto did reach out by letter to the Presbyterian Church USA’s
national organization on October 9, 2006, and requested information on how they respond
to allegations of sexual misconduct.108 The Presbyterian Church USA General Counsel
responded in April 2007, noting that its governing body has authority to handle allegations
of sexual misconduct against local church ministers, and that an independent body was
created to investigate sexual misconduct by missionaries.109


In December 2006, an EC staff member provided Mr. Boto with a memo that the EC staff
member had prepared on the SNAP proposals and how they could fit with SBC polity.110
This memo was prepared on the EC staff member’s initiative and not at Mr. Boto’s
request.111 According to the EC staff member, Mr. Boto was shocked when the memo
was presented to him, and asked if the staff member needed to stop working on this issue
because it was too heavy of a task.112


Among other things, the memo suggested that the SBC could use the cooperation
concept to disallow churches that “hire or retain a minister or deacon for whom there has
been a credible criminal report of having sexually abused a minor.”113 The memo also
suggested that an independent board could receive information about clergy abuse and
maintain a list of those accused.114 There is no indication from our investigation that Mr.
Boto took any action in response to this memo. The EC staff member reported feeling
defeated after making the effort to write the memo to no avail.115




108 SBCEXC0000049921.
109 SBCEC_0000563.
110 Interview Memorandum of EC Staff Member 2.

111 Id.

112 Id.

113 REL0000010201.

114 Id.

115 Interview Memorandum of EC Staff Member 2.



                                                 54

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2007
On January 21, 2007, the same EC staff member provided Mr. Boto with detailed data
and information regarding SBC clergy who may have been involved in sexual abuse from
approximately 1960 to the present time.116 According to the email, the EC staff member
had conducted internet searches about pastors, youth ministers, and deacons of Baptist
churches who had been arrested or the subject of a civil suit regarding sexual crimes with
minors,117 and identified 66 accused individuals who were believed to be Southern
Baptist.118 There is no documentary evidence that Mr. Boto took any action at that time
to ascertain whether these accused abusers were still in ministry. The EC staff member
continued to research and maintain this list through approximately 2022.119


In anticipation of the February Bylaws Work Group meeting, at which Ms. Brown planned
to speak, Mr. Boto provided written materials about SNAP and its requests to the Bylaws
Work Group members.120 In an email exchange with Mr. Boto and Dr. Chapman, the Vice
Chairman of the Bylaws Work Group noted that he studied the materials and that “in every
way possible we should make it clear we find abuse of minors by our Baptist ministers
unacceptable.”121 The Vice Chairman suggested that: “surely we can put some
mechanisms in place to make sure that their future ministries do not include easy access
to minors;” “our denominational polity does hamper our efforts to stop future abuse by
ministers who may return to bad behaviors;” and a “national clearing house for SBC
ministers ‘who have been convicted of abuse’ run by some SBC entity…might actually be
helpful.”122 Mr. Boto responded that he will craft a recommendation eventually but not in
haste, targeting September.123


116 REL0000010204.
117 Id.
118 Id.

119 Interview Memorandum of EC Staff Member 2.

120 SBCEC_0000156, SBC EC Investigation - EM Exchange Boto&BWG Chair.pdf - All Documents

(sharepoint.com)
121 SBCEC_0000153, SBC EC Investigation - EM Exchange Boto&BWG Chair.pdf - All Documents

(sharepoint.com)
122 SBCEC_0000152, SBC EC Investigation - EM Exchange Boto&BWG Chair.pdf - All Documents

(sharepoint.com)
123 Id.



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                                   56

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At the February Bylaws Work Group meeting, Ms. Brown asked to address EC members.
The meeting minutes appear to indicate that Ms. Brown was the only woman present.124
(There are two versions of the meeting minutes. Both are attached at Appendix D.) Mr.
Boto initiated the meeting by referring to Ms. Brown and SNAP making “unusual requests”
and noting that, although Ms. Brown claimed that the EC had not responded to her 2006
letter, she had in fact been sent a response.125 The Chair opened the floor for discussion
on whether to allow Ms. Brown and/or members of SNAP to speak.126 Two members
asked that she not be allowed to speak, with one noting that “they did not appreciate the
spirit in which the group was attacking Mr. Boto and SBC leadership.”127 Others spoke in
favor and Ms. Brown was permitted to address the group.128 The meeting minutes indicate
that Ms. Brown “stated that she was sorry she was unaware of the letter but will not (she
emphasized this) apologize for seeking press coverage.”129


According to Ms. Brown, when she addressed the group and provided details of her
sexual abuse as a child among other things, she was mistreated by some of those
present, including having an EC member turn his back to her while she was speaking,
and another EC member chortling.130 She expressed her feelings about the meeting as
follows:

         I ask you to try to imagine what it’s like to speak about something so painful
         to a room in which men disrespect you in such a way. And I hope that you
         will also try to imagine the long-lasting impact this had on me – to speak
         about this horrific trauma of having my pastor repeatedly rape me as a child,
         only to have religious leaders behave in this way and to have not a single
         other person who thought it mattered enough to speak up. The sharp edge
         of such incivility has never worn off.131



124 SBC EC Investigation - SBCEXC0000038199.pdf - All Documents (sharepoint.com).
125 Id. at p.2.
126 Id.

127 Id.

128 Id.

129 Id. at p.4.

130 SBC EC Investigation - Christa Brown Memo to Guidepost.pdf - All Documents (sharepoint.com)

131 Id.



                                                 57

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When asked about the treatment of Ms. Brown during the meeting, Dr. Chapman and Dr.
Page132 denied that she was mistreated and stated that she was treated with kindness.133


On February 23, 2007, Baptist Press published a story about SNAP, under the byline
“Staff,” which stated: “A child sexual molestation victims’ group apologized to Southern
Baptist leaders…for making false accusations that leaders had not responded to the
group’s letters.”134 The story mentioned Ms. Brown by name.135 According to Ms. Brown,
Baptist Press mischaracterized her apology, claiming she had apologized for making
“false accusations” when in fact she had only apologized for being unaware that Mr. Boto
had responded to her 2006 letter.136 The letter had been sent to SNAP’s Chicago office
where it had been misplaced.137


The EC continued to be confronted with warnings about sexual abuse within SBC
churches. In March 2007, Father Thomas Doyle, a priest and canon lawyer who first
warned of the looming Catholic sex abuse crisis, wrote to the SBC and EC Presidents.138
He expressed his concerns that SBC leaders could be falling into some of the same
patterns as Catholic leaders in not dealing with clergy sex abuse, and he urged that
Southern Baptists should learn from Catholic mistakes and take action early-on to
implement structural reforms so as to make children safer.139 Dr. Page responded in a
short letter that “Southern Baptist leaders truly have no authority over local churches” but
that they would attempt to use their “influence” to provide protections.140 According to a

132 https://solutionpointintl.sharepoint.com/:w:/s/SBCECInvestigation/EZPQI09bOwV
HoV3BFt6xbn8BOw6LQrP-RJCWMZpdAlG1DQ?e=mGCRKx.
133 Interview Memoranda of Chapman and Page.

134 https://www.baptistpress.com/resource-library/news/snap-apologizes-to-sbc-leaders-admits-charges-

of-silence-were-erroneous/.
135 Id.

136 SBC EC Investigation - Christa Brown Memo to Guidepost.pdf - All Documents (sharepoint.com).

137Id.; http://stopbaptistpredators.org/press/southern_baptists_still_unresponsive.html;

https://www.baptistpress.com/resource-library/sbc-life-articles/snap-apologizes-to-sbc-leaders/. The
article was reprinted and published a second time on April 1, 2007, in SBC Life, a subsidiary publication
of Baptist Press, which is also controlled by the EC. See https://www.baptistpress.com/resource-
library/sbc-life-articles/snap-apologizes-to-sbc-leaders/.
138 SBC EC Investigation - 2007 Doyle letter to Chapman and Page.pdf - All Documents (sharepoint.com).

139 Id.

140 http://stopbaptistpredators.org/documents/documents/Page_ltr_Doyle.pdf.



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news source, Father Doyle characterized Dr. Page’s response as dismissive, stating that
such reactions are standard for people in church leadership positions, who tend to place
the needs of the institution before their Christian obligations.141


In April 2007, Dr. Page wrote a Point of View article in the Florida Baptist Witness about
an upcoming segment on the television program 20/20 entitled “Preacher Predators,” for
which he had agreed to be interviewed. Dr. Page wrote:

               Let me also share one other word of clarification. There are many
               people in the news media speaking about this issue. I am thankful
               that any attention to this issue brings a heightened level of
               awareness on the part of our churches and people. However, please
               realize that there are groups who claim to be one thing when in reality
               they are another. It would be great if the many groups who are
               claiming to be groups of advocacy and encouragement in ministry
               were that which they claim. Please be aware that there are groups
               that are nothing more than opportunistic persons who are seeking to
               raise opportunities for personal gain.142


Meanwhile, also in April and May 2007, another survivor, Debbie Vasquez, emailed Dr.
Page and thereafter Mr. Boto detailing her sexual abuse and rape by her pastor when
she was a minor.143 Her sexual abuse resulted in her becoming pregnant with her
abuser’s child. She explained to the SBC leaders that she was concerned about abusers
continuing in ministry with unfettered access to children and proposed some potential
reforms, including that the SBC have an investigative body to examine allegations of
sexual abuse and maintain a list of offenders. 144 She also requested to speak with SBC
leaders at the Convention.145




141https://www.nashvillescene.com/news/what-would-jesus-say/article_74704bcd-f972-52d1-abb9-

4f1c25bc88d1.html.
142 https://christabrown.files.wordpress.com/2014/04/frank-page-florida-baptist-witness.pdf.

143 SBC EC Investigation - Boto EMs with Debbie Vasquez 2007.pdf - All Documents (sharepoint.com).

144 Id.

145 Id.



                                                59

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After an email exchange, Mr. Boto informed her that the EC was assessing the sexual
abuse issue and a report would be forthcoming as a “beginning” and went on to dismiss
her reform ideas.146




146
  https://solutionpointintl.sharepoint.com/:w:/s/SBCECInvestigation/Efa5Xi2xCqlNjH
DUKRmh10wBXVw8mSDArj79_U9BuY-m8A?e=77U1Ub.

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In a memo addressed to Mr. Boto dated April 30, 2007, Mr. Guenther proposed a plan
where the SBC website would have a link to a database that listed the names of
individuals whom the SBC believed had engaged in sexual misconduct.147 Mr. Guenther
advised Boto to place individuals on the list who engaged in sexual misconduct and were
convicted of a felony or criminal misdemeanor, and/or had a judgment in a civil action for
a common tort.148 This database plan would be viewed as a means to “assist churches”
and, according to Mr. Guenther, “it would fit our polity and present ministries to help
churches in this area of child abuse and sexual misconduct.” Mr. Guenther further stated
that “I recommend immediate action to signal the Convention’s desire that the EC and the
entities begin a more aggressive effort in this area.”149 The following day, Mr. Guenther
provided Mr. Boto with another memo, captioned “Very Very Confidential,” assessing the
BGCT model for a database of offenders.150 No action was taken by Mr. Boto on these
memos at that time. (Both memos are attached at Appendix E.) On June 11, 2007, just
prior to the annual meeting, the Bylaws Work Group met and began consideration of the
database issue.


In May 2007, Will Hall, a vice-president for news services of the SBC Executive
Committee, downplayed the SBC sexual abuse problem by telling a Tennessee TV
station that there had been only 40 “incidents” in the last 15 years in the SBC’s 44,000
churches. Hall said this relatively low number over such a long time period showed that
the way Baptists dealt with abuse was working. According to Christa Brown, Hall was
distorting a prior statement she had made to the Associated Press that in “the past six
months SNAP has received reports of about 40 cases of sexual abuse by Southern
Baptist ministers.” The Baptist Center for Ethics publicly called on Hall to issue a
correction, which did not occur.151


147 SBC_EC_GJPLaw_00008031.
148 Id.
149 Id.

150 SBC_EC_GJPLaw_00007709.

151 https://goodfaithmedia.org/sbc-official-says-relatively-low-number-of-cases-proves-system-working-

against-sexual-predators-cms-8916/.

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At the 2007 June Convention in San Antonio, SBC Messenger Wade Burleson presented
a motion to create a Database of Clergy or Staff in SBC Churches Involved in Sexual
Harassment or Abuse:

         That the Southern Baptist Convention request the Executive Committee to
         conduct a feasibility study concerning the development of a database of
         Southern Baptist clergy and staff who have been credibly accused of,
         personally confessed to, or legally been convicted of sexual harassment or
         abuse, and that such a database be accessible to Southern Baptist
         churches in order to assist in preventing any future sexual abuse or
         harassment, and that the Executive Committee report its findings and/or
         recommendations no later than the 2008 Southern Baptist Convention in
         Indianapolis.152

The motion was referred to the EC for consideration and for a report back to the 2008
Southern Baptist Convention.153

In August 2007, the pastor of a church in Tennessee sent a letter to the SBC President,
the EC President, ERLC President, Bylaws Work Group members, and others, which
discussed two allegations of sexual abuse in the past year at Memphis churches.154
Separately, that same month, other persons sent a letter to the above also complaining
of sexual abuse in Oklahoma.155 Guidepost investigators did not find responses to the
pastor or the other persons in documents turned over by the EC, or any indication that
anyone took any action, including any referrals to law enforcement, passed along this
information to any State Conventions or local associations in an effort to have it reviewed,
investigated, and/or resolved, or even acknowledged that such potentially egregious
allegations involving SBC churches were being levied.




152 https://41jmzr10f8zc229tzr2xml7e-wpengine.netdna-ssl.com/wp-
content/uploads/2020/07/2007SBCAnnual.pdf.
153 Id.

154 SBC EC Investigation - SBCDATA0001113748.pdf - All Documents (sharepoint.com).

155 SBC EC Investigation - SBCDATA0001113817.pdf - All Documents (sharepoint.com).



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2008
The database motion from 2007 was to be presented again at the June 2008 Convention
in Indianapolis.156 According to Mr. Burleson, the EC never contacted him about his
motion, nor was he invited to the September 2007, February 2008, or June 2008 EC
meetings, or any of the conference calls related to his motion in between those
meetings.157 (It was during the September 2007 meeting that survivor Christa Brown, who
was an observer, was referred to as a “person of no integrity.”158 This incident is described
in Section IV.C in greater detail below.) Although we interviewed several witnesses that
would have been present during the meetings in 2007 and 2008, those witnesses were
unable to recall details regarding discussions surrounding the database issue, except to
say that it was their opinion that such a database would violate local church autonomy. 159


In the weeks leading up to the Convention, Mr. Guenther, Mr. Jordan, and Mr. Boto
exchanged emails about how the EC would respond to the Burleson motion. Mr. Boto
was preparing a report, which he shared with the two lawyers, that discussed providing
instructional materials to churches but rejected the adoption of an SBC database. Mr.
Guenther emailed on April 21, 2008, that: “I re-read the document again this morning.
When I finished my thought was that it is likely going to be seen as an explanation of why
the EC is not going to do much of anything. 90% turns out to be explanations of why we
are not going to do something.” Mr. Boto responded: “I also believe my long report can
be understood to be subtitled “Reasons Why We Aren’t Going to Do Anything…I do not
expect naysayers will accept either a long or short report, or, in fact, anything we do short




156 http://media2.sbhla.org.s3.amazonaws.com/annuals/SBC_Annual_2008.pdf.
157 Interview Memorandum of Burleson.
158 https://goodfaithmedia.org/clergy-sex-abuse-survivor-questions-fairness-of-sbc-executive-committee-

study-cms-9469/.
159 Interview Memoranda of EC Staff Member 3, Page, Oldham, and EC Officer 1. We interviewed EC

Staff Member 3, who told us that Mr. Boto had asked him to research the feasibility of a sexual abuse
database, including technical requirements and functionality, and to contact all state conventions to get
their current practice and input. EC Staff Member 3 believes he started this discussion with Mr. Boto in
2007 but his work likely occurred around 2011.

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of payment of reparations and admission of institutional fault. Of course, we aren’t going
there.”160

On June 9, 2008, the Bylaws Work Group issued its recommendation on the issue. While
declaring that “utilizing a reliable and authoritative database is an extremely important
initial step of background review Southern Baptist churches should take to provide the
highest degree of protection against sexual predators,” the Bylaws Work Group rejected
the implementation of an SBC-managed database. Rather, the Bylaws Work Group
recommended churches use the Dru Sjodin national sex offender database, maintained
and provided by the United States Department of Justice. The Bylaws Work Group’s
report laid out some perceived practical problems with maintaining an SBC database, and
also stated that SBC polity precluded the Convention from “having any authority to require
local churches to report instances of alleged sexual abuse to their local association, their
state Baptist convention, or the national Convention. In fact, the Convention does not
have the authority to create a centralized investigative body to investigate whether an
individual has been “credibly accused” by someone within a local church in regard to any
matter.” Ultimately, the Bylaws Work Group concluded that: “In summary, prevention of
sexual abuse, and proper response when victimization occurs, are best accomplished by
churches diligently utilizing procedures, information, and resources already readily
available.”161

In our interview with Mr. Boto in May 2022, he said he was against an SBC database
because the EC could not be involved in making judgments about who should be on the
list, which could create a risk of false accusations and liability. He stated that he was in
favor of a database if it had been managed by an outside entity so it would not be on the
SBC to assume the liability.

On June 10, 2008, Dr. Chapman gave a speech reiterating the position of the Bylaws
Work Group, reporting that Southern Baptist polity precluded the possibility of an
independent review board to assess abuse reports and precluded any centralized record-


160   SBC_EC_GJPLaw_00023696.
161   June 9, 2008 Bylaws Work Group minutes.

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keeping on abuse reports. His speech noted that the “world may never understand our
polity” and said that anyone who asserts the SBC is “anemic” in fighting against sexual
abuse is making “a false accusation.”162

A few days later, a church pastor posted on MorrisChapman.com that he was
disappointed that the EC didn’t approve a database. The poster was critical of Dr.
Chapman’s leadership and claimed that the SBC was hiding behind local autonomy to
avoid addressing sexual abuse.163

In November 2008, Ms. Brown and SNAP wrote again to SBC leadership, this time to
SBC President Johnny Hunt, reiterating their request for the SBC to create a safe place
for victims to report abuse, an independent review panel for assessing abuse reports, and
a database.164 On December 18, 2008, Dr. Oldham sent an email to two staff members
at Dr. Hunt’s church, copying Mr. Boto, telling them to check out the Stop Baptist
Predators web page and noting that Dr. Hunt may need to be informed about Christa
Brown. Dr. Oldham offered to be available along with Mr. Boto to speak with him and
bring him up to speed, closing with “dealing with SNAP can be tricky. They have a way of
twisting your words to suit their purposes.” Mr. Boto responded to Dr. Oldham’s email -
“Good job.”165


Almost three months later, Dr. Hunt responded by saying “we are looking into that” but
there was no further follow-up. In an interview, when asked about receiving a letter from
SNAP or Christa Brown, Dr. Hunt responded that he did not recall receiving or responding
to the letter. He also did not recall any interaction with Dr. Oldham or Mr. Boto on the
matter. He said he had a lot going on with his church and travel, and he thinks the letter



162 https://www.baptistpress.com/resource-library/news/stop-sexual-predators-chapman-urges/;
https://plusnxt.relativity.one/Relativity/RelativityInternal.aspx?AppID=8252197&Mode=ReviewInterface&D
ocumentID=1505516&ArtifactTypeID=10&ViewerType=native.
163 Clergy Rebuke SBC Head for 'Harsh Rhetoric' Over Sex Abuse Cases | Church & Ministries News

(christianpost.com). The pastor had previously signed a rebuke of the SBC over the treatment of survivors
in June 2007. SBC EC Investigation - SBCDATA0001116196.pdf - All Documents (sharepoint.com).
164 https://plusnxt.relativity.one/Relativity/go?id=8252197-1507186.

165 https://plusnxt.relativity.one/Relativity/go?id=8252197-2002646.



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would have gone to someone helping him at his church or the EC. It was possible that
someone put a letter in front of him to sign.166


2009
In February 2009, an individual emailed Mr. Boto and another EC staff member to notify
them of a recently-received prayer request. The prayer request was for a church in
Virginia where the chairman of deacons had admitted to sexual misconduct. The email
states “[o]ur chairman of deacons, who has also taught our church’s preschool Sunday
School for decades, has surrendered himself to our county police on charges of
aggravated sexual assault. He has admitted sexual misconduct….” The email later
states, “[a]s a deacon and Sunday school teacher, I fear what the outcome of this potential
scandal could become for our church members, especially if the media perceives that our
church leadership is trying to keep this story under wraps…I believe we need to improve
accountability within local congregations, ours certainly is lacking in the regard.”167


The email was forwarded to Mr. Boto and Mr. Guenther. Mr. Guenther provided the
following guidance to the EC staff member, “I don’t have an opinion on whether you
should contact [the sender] or not. I don’t see any point, I guess in contacting the pastor.
Email communications such as [the sender’s] could be most anything, from totally
legitimate, to something goofy. I might lean toward leaving it alone.” Mr. Boto provides his
concurrence regarding Mr. Guenther’s guidance later in the email chain as “[g]ood
counsel, Jim.”168


2013
In August 2013, Mr. Boto instructed an EC staff member, who had been assembling lists
of ministers accused of sexual abuse, to send those lists to Mr. Guenther as they may
need to be produced in litigation.169 The EC staff member emailed them to Mr. Guenther


166 Interview Memorandum of Hunt.
167 https://solutionpointintl.sharepoint.com/:b:/s/SBCECInvestigation/EVar3S48cQlNvRxGVLOX3
T4BRJDwBmeiQRE1B9ITgyMIgg?e=q4Oc61.
168 SBCFIL0000059060 VirginiaRequestforprayer_Noresponse_February2009.pdf.

169 SBC_EC_GJPLaw_00021985.


                                                66

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and copied Mr. Boto. The EC staff member noted that the more recent list was a “rough
draft” and that the incidents had not yet been confirmed as Southern Baptist. The older
list contained incidents from before 2008, although the EC staff member stated that: “I am
sure there were incidents that I haven’t caught yet.”170 Mr. Boto responded by email to
the EC staff member and told the EC staff member “don’t worry,” explaining that Mr.
Guenther “just needs to see what we have because of a question in an interrogatory about
any lists we might be keeping relating to sexual abuse. We are going to keep doing this
and there is absolutely nothing wrong with our doing it. Basically, we are stuffing
newspaper clippings in a drawer. Anybody could do that.”171 Again, there was no
indication from our document review or interviews that any action was taken at that time
to determine whether any of the accused abusers on those lists were still in ministry.


When we interviewed Mr. Guenther, we specifically asked him whether GJP had ever
received a list of sexual abuse cases. He replied that no running log of cases was reported
to GJP.172




170 SBC_EC_GJPLaw_0002145.
171 REL0000010198.
172 Interview Memorandum of Guenther and Jordan.


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  Case 3:23-cv-00243 Document 1-2 Filed 03/17/23 Page 67 of 288 PageID #: 100
                                    68

Case 3:23-cv-00243 Document 1-2 Filed 03/17/23 Page 68 of 288 PageID #: 101
At the end of 2013, an anonymous complainant, through the SBC website’s “Contact us”
link, alleged that a youth pastor who had abused her was now the pastor at a large SBC
church. This email was forwarded to Mr. Boto and Dr. Oldham.173 No response was
provided to the complainant; she was ignored by EC leadership, and our investigation did
not reveal any action taken by the SBC to determine whether an alleged child sex abuser
remained as a pastor at an SBC church. The details of the SBC leaderships’ decision are
shown below.




173   SBC_EC_GJPLaw_00014397.

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2014
In August 2014, Brad Eubank, a minister for over 30 years who is also a survivor, another
survivor, and Greg Love, an advocate for survivors, met with Dr. Page, Mr. Boto, and
ERLC Executive Vice President Philip Bethancourt to discuss a proposal that the SBC
host a conference to educate SBC members about sexual abuse. Mr. Eubank recounted
his own experience of being sexually abused by Music Minister John Mr. Langworthy from
the ages of 8-12. Mr. Langworthy had moved from Mr. Eubank’s Mississippi church to
Prestonwood Baptist Church in Plano, Texas. In 1989 after several years as the Music
Minister at Prestonwood, church staff discovered that Mr. Langworthy had molested at
least one minor boy. Under Senior Pastor Jack Graham, nobody from Prestonwood
notified the police and Mr. Langworthy was quietly fired as Music Minister. He returned to
Mississippi where, in 2011, he confessed to his congregation at Morrison Heights Baptist
Church in Clinton that he had committed “sexual indiscretions” with teenage boys during
his time at Prestonwood and before when he was in Mississippi. Police arrested and
charged Langworthy with sex crimes and he received a fifty-year suspended sentence.174


According to Mr. Eubank, Mr. Boto controlled the meeting and claimed the EC could not
do anything about sexual abuse allegations as per the SBC constitution. Mr. Eubank
recounted that Mr. Boto rejected every idea that was brought up.175 After the meeting, Mr.
Eubank and Mr. Love followed up with Mr. Boto, Dr. Bethancourt, and Dr. Page but did
not receive any communication until months later, as shown in the below screen shots.




174   Ex-Minister Faces Multiple Sex Charges in Small Mississippi Town | U.S. News (christianpost.com).
175   Interview Memorandum of Eubank.

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Ultimately, on October 3, 2014, Mr. Boto drafted an email to them rejecting the idea that
the EC or ERLC should take a lead role in addressing sexual abuse in ministry settings,
stating: “[c]ertainly, the ministry assignments of the ERLC include addressing the problem
of sex abuse, and the coordinating work of the Executive Committee includes the
ministries of all the SBC entities, but to make headway, any particular issue has to be

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shepherded by those by whom it is seen as primary. Neither the EC nor the ERLC will
have that luxury.”176 In addition, with respect to the proposed conference, Mr. Boto
delayed further meetings by stating, “[a]s for an acceptable meeting date in the months
you mentioned...Our availability this year is not good, and January availability depends
on some factors not yet gelled.”177 Dr. Page authorized Mr. Boto to send the email, despite
Mr. Boto acknowledging it was a little “dark.”178 The EC did not participate in any such
conference.




176 SBC EC Investigation - SBCDATA0001006590.pdf - All Documents (sharepoint.com).
177 Id.
178 Id. The email that Boto ultimately sent can be found at: SBC EC Investigation - Email Thread with Augie

Botos Response_222673832.pdf - All Documents (sharepoint.com).

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2016
On June 3, 2016, David Clohessy, Executive Director of SNAP, emailed Dr. Page and Dr.
Moore requesting a “denominationally-funded safe space” office to which Baptist clergy
abuse survivors may file a report about their alleged perpetrators and that the “safe place”
office be widely publicized. Mr. Boto asked Mr. Guenther and Mr. Jordan for their counsel
regarding Mr. Clohessy’s email and stated that he thought “no response is needed. SNAP
can serve as the ‘safe place’ if it so desires.”179 That same day Mr. Guenther and Mr.
Jordan separately responded to Mr. Boto. Mr. Guenther stated that he agreed with Mr.
Boto that “the best thing to do is to make no response. I will not take the time to describe
the arguments against what he is proposing.”180 Mr. Jordan’s responded, “I don’t see how
the SBC could start receiving reports of clergy abusers and then do nothing with them . .
. No response is required.”181



179 https://solutionpointintl.sharepoint.com/:b:/s/SBCECInvestigation/EaGshfeM5xVNg_7P1
DqTKwkBbQjctkEzqbZe6O_L80U4eA?e=5cBvQa.
180 Id.
181https://solutionpointintl.sharepoint.com/:b:/s/SBCECInvestigation/Efr2fcp4WydDozwo

EcBYquwBBSEOWuB3D2ZgdwoG8bnRiQ?e=1CyG7o.

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2018
In March 2018, Dr. Page announced his retirement as EC president and CEO. EC Chair
Stephen Rummage released a statement on behalf of the EC about the circumstances of
Dr. Page’s retirement:
       Last evening, the officers of the Southern Baptist Convention Executive
       Committee met via phone conference with Dr. Frank Page during which he
       announced his plans for retirement. Today, I spoke with Dr. Page and
       learned that his retirement announcement was precipitated by a morally
       inappropriate relationship in the recent past.182

Dr. Page resigned his position after that disclosure. Dr. Page had maintained an improper
relationship with a female from a church where he had been an interim pastor. After
gossip at the church, Dr. Page was confronted by another pastor and the conduct was
confirmed. Dr. Page stated the relationship was a consensual affair with an adult
woman.183 At the time, the EC conducted no further investigation to verify the accuracy
of Dr. Page’s disclosure or to determine if his conduct carried over into the workplace. 184
In hindsight, Dr. Rummage noted it would have been helpful for the EC to have verified
there was nothing inappropriate done with the staff.185


In 2018, another SBC leader’s conduct was called into question when former SBC
President Paige Patterson was terminated from his position as president of Southwestern
Baptist Theological Seminary (“SWBTS”). In what the Washington Post termed a
“bombshell announcement,” the SWBTS Trustees issued a statement accusing Dr.
Patterson of lying about his treatment of an alleged rape survivor in 2003 and, in 2015, of
emailing his intention to meet with another sexual assault survivor, with no other officials
present, so he could “break her down.”186 The 2003 survivor stated that Patterson and


182 https://www.baptistpress.com/resource-library/news/ecs-frank-page-resigns-over-personal-failing/.
183 Interview Memoranda of Rummage and Witness 1.
184 https://solutionpointintl.sharepoint.com/:w:/s/SBCECInvestigation/EVRud-Wc0-

ROsCbyXMsQOxUB0NAW3e3N0HNhGNMhnfOKmw?e=Z2DFEc.
185 https://solutionpointintl.sharepoint.com/:w:/s/SBCECInvestigation/EVRud-Wc0-

ROsCbyXMsQOxUB0NAW3e3N0HNhGNMhnfOKmw?e=Z2DFEc.
186 https://www.washingtonpost.com/news/acts-of-faith/wp/2018/06/01/southern-baptist-seminary-drops-

bombshell-why-paige-patterson-was-fired/; https://www.christianitytoday.com/news/2018/may/paige-
patterson-fired-southwestern-baptist-seminary-sbc.html.

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fellow officials discouraged her from reporting her rape and urged her to forgive the
perpetrator.187


On the heels of the Patterson revelations, the Messengers at the 2018 Convention
passed three resolutions directly targeted at sexual abuse issues. Specifically, the
resolutions affirmed the dignity and worth of women, denounced all forms of abuse, and
called for sexual purity among Christian leaders.188 One month after the Convention, on
July 26, 2018, Dr. Greear announced the creation of a sexual abuse study group, which
was in response to a Motion at the 2018 Annual Meeting.189 At the September 2018 EC
meeting, the EC Trustees budgeted $250,000 from Cooperative Program overage to fund
a Sexual Abuse Advisory Study for two years, which was to work jointly with the ERLC.190


After J.D. Greear was elected SBC President, Mr. Boto met Dr. Greear and Dr. Greear’s
assistant to orientate Dr. Greear to the role of SBC President. As part of that process, Dr.
Greear and his assistant expressed the desire to run background checks on all trustee
and committee appointments. According to the assistant, Mr. Boto told them that
conducting background checks would not protect one child because these people are not
going to be around children and it would be costly. They were not satisfied with this
answer, so they tried to figure out how they could vet those that Dr. Greear would
nominate to the committees during his tenure.191 They decided that they would add a
question to their vetting process and ask each potential candidate to answer in writing
(electronically) whether he/she had ever been accused, charged, or convicted of any type
of abuse.192 Over the course of Dr. Greear’s service as president, two individuals self-
selected out of being nominated because of that question.193



187 Id.
188 https://www.baptistpress.com/resource-library/news/sbc-resolutions-affirm-women-denounce-abuse/.
189 Greear announces sexual abuse study group | Baptist Press; https://41jmzr10f8zc229tzr2xml7e-

wpengine.netdna-ssl.com/wp-content/uploads/2020/07/2018SBCAnnual.pdf.
190 EC WRAP-UP: Sex abuse prevention, pres. search, DR | Baptist Press.

191 Interview Memorandum of Assistant to Dr. Greear.

192 https://solutionpointintl.sharepoint.com/:u:/s/SBCECInvestigation/EYmo5XvtukJPgiIzvJl2gMIB1BdIZG

Uui-XY80HxUMv9AQ?e=HACO9W.
193 Interview Memorandum of Assistant to Dr. Greear.



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2019
In 2019, during the period when Mike Stone was EC Chairman, a married pastor of an
SBC church in Georgia was accused of having an inappropriate relationship with a single
mother by several members of his congregation. The woman was in counseling with the
pastor who had been sending her text messages and photographs that were sexually
suggestive. These text messages and photographs were viewed by witnesses who were
interviewed during our investigation. According to witnesses, the pastor agreed to
apologize to the congregation and ask for forgiveness. They stated that the apology was
drafted with the assistance of Mr. Stone. The witnesses recounted that the apology made
by the pastor was not accurate, and that the survivor was blamed. The witnesses stated
that they felt intimidated by Mr. Stone for bringing the pastor’s behavior to the attention of
the deacons in the church. One witness attempted to call Mr. Stone and was instead
contacted by Mr. Stone’s assistant who told him that Mr. Stone planned to help the pastor,
not the church.194


After the apology, the pastor took a leave of absence but eventually came back to preach
at the church. The witnesses stated that they were retaliated against by the deacons after
they disclosed the pastor’s behavior. One witness stated that the deacons told him that
an anonymous complaint had been lodged against him for inappropriately touching a
parishioner, which the witness perceived to be retaliation against him. All of the witnesses
and the survivor left the church after the incident due to the way they were treated.195


During his interview with us, Mr. Stone stated that this pastor was a close friend and they
had attended college together. Mr. Stone acknowledged knowing about this pastor’s
inappropriate conduct through text messages but stated that he did not receive
information that the conduct “reach[ed] the level of sexual impropriety.” He stated that he
had not spoken to the pastor in more than a year.196


194 Interview Memoranda of Witness 2 and Witness 3.
195 Id.
196 Interview Memorandum of Stone.



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On February 10, 2019, the Houston Chronicle published the first in a series of six articles
on sexual abuse in the SBC. The series was released in two clusters, in February and
then again in late-May and early-June. The articles identified 10 churches which were
involved in the alleged abuse. The Houston Chronicle reported that, in the past 20 years,
about 380 Southern Baptist church leaders and volunteers have faced allegations of
sexual misconduct, leaving behind more than 700 victims. 197


Only a few days after the first three articles appeared, on February 18, 2019, Dr. Greear
addressed the EC at its regularly scheduled meeting. Dr. Greear specifically named the
10 churches mentioned in the Houston Chronicle, and called for an inquiry into whether
those churches were “operating with a faith and practice that upholds the Baptist Faith
and Message, specifically Article XV, which says that we should seek to provide for the
abused.”198


Early the next morning, Dr. Greear met with EC leadership and attorneys for the SBC,
and was strongly criticized for naming the churches.199 According to Dr. Greear, they told
him that he had set up the Convention because he had accused churches of sexual
abuse, and Mr. Guenther said they were going to be sued for libel. When Dr. Greear
asked how they could be sued if he had just read from the newspaper article, Mr.
Guenther said he was not so sure.200


According to an SBC Senior Staff Member, Mr. Boto was very frustrated that Dr. Greear
announced the churches publicly as it caused an uproar and could lead to lawsuits. 201
According to a former EC Vice President, the EC leadership was concerned that churches
might abstain from sending funds to the Cooperative Program or leave the SBC




197 https://www.houstonchronicle.com/local/investigations/abuse-of-faith/.
198 https://www.christianitytoday.com/news/2019/february/southern-baptists-sbc-expel-churches-abuse-
investigation-jd.html.
199 Interview Memorandum of Greear.

200 Id.

201 Interview Memorandum of EC Staff Member 4.



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altogether. The witness reported that the named churches pressured Mr. Boto and the
Bylaws Work Group Chair to clear the churches’ names quickly.202


Less than one week after Dr. Greear’s report, on February 23, 2019, the Bylaws Work
Group released a statement clearing the majority of the churches from inquiry but noting
that the EC would recommend an amendment to the SBC Constitution that the
Convention does not, and will not, cooperate with a church that clearly evidences
indifference to addressing the crime of sexual abuse.203


The statement condemned abuse but declared that “in virtually all reported cases, the
abuse and cover-up of abuse were criminal acts undertaken by a few individuals” and
that the “church body rarely knew about these actions and even more rarely took any
action to endorse or affirm the wrongful acts or the actors themselves.” Although the
Bylaws Work Group noted that victims “should always be encouraged to report the crimes
against them,” the statement urged EC members and SBC messengers to avoid publicly
naming churches absent prior notice to the church and documentation of criminal
convictions.204


There was an outcry from survivors who believed that the Bylaws Work Group had cleared
the churches too quickly, even as one of the cleared churches had an admitted sex
offender on staff as the Music Director.205 In a later letter to Dr. Greear, ERLC President
Russell Moore characterized the Bylaws Work Group’s decision as a “disastrous move
… to ‘exonerate’ quickly and by fiat churches with credible allegations of negligence and
mistreatment of sexual abuse survivors – even leading to a call of apology from an
Executive Committee official to a church that had, at the time, a sexual offender on
staff.”206 Mr. Boto had called the pastor of one of the named churches to apologize for Dr.


202 Interview Memorandum of EC Staff Member 5.
203 http://m.bpnews.net/52467/sbc-bylaws-workgroup-releases-sexual-abuse-response.
204 Id.

205 https://www.baptistpress.com/resource-library/news/churches-named-by-greear-in-abuse-report-

respond.
206 SBC EC Investigation - ERLC Moore to JD BWG.pdf - All Documents (sharepoint.com).



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Greear naming the church.207 That church ended up withdrawing voluntarily from the SBC
in February 2020 while it was under inquiry by the Credentials Committee.


After Dr. Greear sent a proposal to the Bylaws Work Group for how SBC churches could
take “action steps” to address sexual abuse claims, Mr. Guenther sent Mr. Boto and Mr.
Jordan a memorandum taking issue with Dr. Greear’s approach. In pertinent part, Mr.
Guenther wrote:


          I see Dr. Greear’s communication to the workgroup as that of a gratuitously
          offered document which he thinks “could” be sent to a church by the EC
          when a church is dealing with an incident of sex abuse…. I see a big
          difference between providing churches with generic resources on the one
          hand, and starting to hand churches “instructions” …[t]he latter is a sure-fire
          way to cause the victim to see the SBC as a “party” in the matter.
          …
          So I don’t think we ought to engage in discussions with Dr. Greear about
          the merits of the document. I think we ought to thank Dr. Greear for sharing
          this idea with us, as we would any Southern Baptist who offered thoughts,
          and assure him the EC is working on this. In other words I think we ought
          to tell him “Thank you – we are on it; we welcome ideas.” We ought not
          assume that he thinks as President of the Southern Baptist Convention he
          plays a management role in the Executive Committee.
          ….
          In short, it seems to me we ought not engage with Greear on the wording
          or possible use of his document.208


Jennifer Lyell, a survivor of sexual abuse, agreed in March 2019 to publicly disclose the
details of her abuse. Prior to this time, Ms. Lyell had not disclosed her abuse to anyone
other than her therapist, closest friends, and her pastor and his wife. At the request of
executives at Lifeway as well as SBC entity heads, Ms. Lyell agreed to go public with her
sexual abuse after she learned that her abuser had been appointed as a missionary for
a non-SBC entity and would be in a position to groom and abuse young women again as



207   Interview Memorandum of EC Staff Member 1.
208   SBC_EC_GJPLaw_00008576.pdf.

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he did with her.209 Because Ms. Lyell was a senior executive at Lifeway, an SBC entity,
she worked with her Lifeway supervisor and the entity counsel to determine the best way
to make the disclosure. This disclosure was also coordinated with Dr. R. Albert Mohler,
President of Southern Baptist Theological Seminary (“SBTS”), as her abuser had been
employed at SBTS during his abuse of Ms. Lyell. Dr. Mohler agreed to provide
corroboration of the abuse to BP.


Previously, in March 2018, Ms. Lyell privately disclosed her abuse to her boss at Lifeway
and then to Dr. Mohler, the president of SBTS where her abuser was then employed. She
told Dr. Mohler and her boss at Lifeway that any sexual contact she had with Professor
Sills had been nonconsensual and involved violence, threats of violence against her and
others, and coercion.210 Dr. Mohler clearly understood not only the nature of Ms. Lyell’s
disclosure but expressly stated that he believed Ms. Lyell and stated that that it was his
opinion that she had been abused by Professor Sills.211




209  SBC EC Investigation - Roger_Oldham_2-Story Process - March 5-8_2019.pdf - All Documents
(sharepoint.com).
210 Id.

211 SBC EC Investigation - Mohler 5.23.18 Confirmation Post Confrontation.pdf - All Documents

(sharepoint.com).

                                             81

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As a result of her disclosure, Professor Sills resigned from his position at SBTS after
being confronted by SBTS leadership in a meeting. SBTS stated publicly: “Southern
Seminary is committed to the highest standards of both principle and policy. Our policies
and procedures are clear and are consistently applied. Because this a personnel matter,
we cannot comment further.”212 Professor Sills’ long-time church was advised of Ms.
Lyell’s abuse after which he was no longer a member at that church.213 At Ms. Lyell’s
request, no public disclosures were made of the abuse by Lifeway or SBTS. At that time,
Baptist Press published a story about David Sills’ resignation which did not provide a
reason for his departure.214


Once her boss at Lifeway put Ms. Lyell in touch with BP staff, Ms. Lyell began to
communicate with them regarding the potential BP story. She provided a “first person”
account of her sexual abuse to BP staff which made it clear that any sexual contact

212 https://www.brnow.org/news/David-Sills-resigns-leadership-roles/
213     https://www.courier-journal.com/story/news/religion/2019/03/12/louisville-southern-baptist-seminary-
professor-accused-sex-abuse/3130024002/
214https://www.baptistpress.com/resource-library/news/sbc-digest-seminary-profs-christian-george-david-

sills-resign/.

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between her and Professor Sills was not consensual.215 She recounted that the abuse
began during a mission trip, and continued over a period of many years, despite having
an otherwise close relationship with his family, and a seemingly close relationship with
her abuser.216 Ms. Lyell was clear that any sexual contact she had with her abuser was
nonconsensual and involved violence, threats of violence against her and others, and
coercion.217


As BP staff were preparing to write the story,218 Ms. Lyell had numerous interactions with
BP staff, as indicated in the evidence we reviewed.219 For example, BP staff asked her
follow-up questions regarding her statement, which she answered, and she provided
additional information regarding persons who would corroborate her story and her
statements of abuse, including Dr. Mohler, the pastor at Professor Sills’ former church,
and people at his former missions agency.220 BP staff indicated they were reaching out
for corroboration of Ms. Lyell’s written statement to these people, and in fact we saw
evidence that BP staff contacted these individuals who corroborated her statement.221
We did not see any evidence that was presented to BP that indicated that the interactions
between Ms. Lyell and Professor Sills was anything but sexual abuse.




215  SBC EC Investigation - Roger_Oldham_2-Story Process - March 5-8_2019.pdf - All Documents
(sharepoint.com).
216 SBC EC Investigation - BP Remarks Attached to Email to Mohler from Lyell.pdf - All Documents

(sharepoint.com).
217 Id.

218 https://www.courier-journal.com/story/news/religion/2019/03/12/louisville-southern-baptist-seminary-

professor-accused-sex-abuse/3130024002/.
219 SBC EC Investigation - Roger_Oldham_2-Story Process - March 5-8_2019.pdf - All Documents

(sharepoint.com).
220 Id.

221 Id.



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Nevertheless, we saw evidence that Ms. Lyell was concerned that her abuse would be
characterized as consensual by her abuser and requested the opportunity to respond if
that occurred.222




No one from BP ever raised the issue of consent with Ms. Lyell. Further, our investigation
revealed evidence that people to whom Ms. Lyell disclosed, including Dr. Mohler,
corroborated her abuse,223 and that Dr. Mohler told BP staff that he believed Ms. Lyell
had been abused. Others who were contacted by BP staff and provided corroboration
include people at her abuser’s former mission agency and her employer at Lifeway.224


The evidence we reviewed indicated that one of the first places the potential story was
vetted was with EC outside counsel. A member of BP staff wrote a summary of the
potential story, as well as Ms. Lyell’s “first person” draft, and sent it to Jaime Jordan, Augie
Boto, and Sing Oldham for review.225




222 Id.
223 https://solutionpointintl.sharepoint.com/:b:/s/SBCECInvestigation/EU33c-
_TJ69Jr6wMiySZZh4BFdV3dIk_AMuNAy7PXWu7fA?e=J3230e
224 SBC EC Investigation - Roger_Oldham_2-Story Process - March 5-8_2019.pdf - All Documents

(sharepoint.com).
225 Id.


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Thereafter, Mr. Jordan responded with the following comments:226




226   Id.

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Based on our review of internal SBC BP documents, the BP initial draft of the BP article
described the allegations made by Ms. Lyell against her abuser as sexual abuse in the
opening paragraph:227




227   Id.

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Thereafter, BP personnel, including Dr. Oldham and outside legal counsel, reviewed and
made suggestions on the language of the article.228




There was significant back-and-forth discussion on the use of the words sexual abuse or
assault.229




It was the opinion of certain BP personnel that details about abuse would come out in
other media reports, following the release of the BP story.230




228 Id.
229 Id.
230 Id.



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In none of the emails do BP personnel question whether Ms. Lyell had in fact been
abused.


About 20 minutes before the final article went live online on March 8, 2019,a BP employee
called Ms. Lyell and told her that the lawyers had them pull all uses of the words “abuse”
and “nonconsensual.”231 She was told not to worry because they were using other
portions of her statement. The BP employee made it clear to Ms. Lyell that the decision
was already made and was not a matter for debate.232




231
  Id.
232
  REL0000000045. SBC EC Investigation - Lyell Timeline Overview as Sent to Task Force.pdf - All
Documents (sharepoint.com).

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She was not given the opportunity to respond to the change in language, despite the fact
that it now read that she was alleging a morally inappropriate relationship rather than
sexual abuse. Not surprisingly, the afternoon the article was posted, Ms. Lyell contacted
BP personnel and expressed her concern with the language used in the article.233




As indicated in her email, Ms. Lyell published her full statement disclosing her abuse,
which made it clear that she had been sexually abused, and never had a consensual
sexual relationship with her abuser.234 She was supported in the effort to change the
nature of the story by Lifeway leadership at that time who personally spoke to Dr. Oldham
about the inaccuracies in the story.235


After the final, edited article was posted Ms. Lyell was subject to numerous online attacks,
some of which are reproduced below. The majority of the attacks were based on the
incorrect assumption that Ms. Lyell had consented to the sexual relationship with her
abuser – an assumption which stemmed from the opening paragraph of the article:236




233 Id.
234 Id.
235 https://solutionpointintl.sharepoint.com/:u:/s/SBCECInvestigation/EcVFtvgiE9BAvWgDDxnXoPUB6T

mHaiqFQ_CzHrwjUT3Tcw?e=b14pi9.
236 https://solutionpointintl.sharepoint.com/:f:/s/SBCECInvestigation/Eg4UeftlDI1IlO1YJZBM4Q8BcAHG3

zxXv-wUutW6LjXXRA?e=vb4qSR.

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                                    90

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Many of these attacks were posted on the BP Facebook page, which remained active for
a period of time after the article was posted. As seen in the evidence we gathered, the
attacks were not only personal to Ms. Lyell, but they were also of a professional nature



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and called for her to be fired from her job at Lifeway, an SBC entity. 237 In addition, when
Ms. Lyell attended the June 2019 SBC Annual Meeting, she suffered in-person attacks,
including being physically threatened and called a “whore.”238


The month after the Lyell story was published, Dr. Ronnie Floyd was elected President
and CEO of the Executive Committee. On April 10, 2019, after his election but before he
took office, Dr. Floyd sent an email to Augie Boto, Mike Stone and others setting up a
conference call on sexual abuse. The email, which appears to be authored by Dr. Floyd,
included “10 Calls to Action on Abuse” from the Sex Abuse Advisory Group created by
Dr. Greear, a “Sexual Abuse Inquiry Process Proposal” from Dr. Greear, and a list of
“Possible Action Steps on Abuse” which could be taken prior to the upcoming convention
in Birmingham.239 The last list raised the notion of making the Credentials Committee a
standing committee for “faith and practice issues” as many state conventions had done.
The possible action steps also referred to a database and a reporting procedure. Although
there was no mention of the precise nature or content of the database, the document
does say implementing one was “extremely difficult (impossible?) to do but we don’t want
to say that without some other options.” The mention of the reporting procedure came
with this comment: “We need to establish something that helps us avoid witch hunts on
one extreme and ignoring reports while the media skewers us on the other.”


In a memo dated April 18, 2019, Mr. Boto provided a legal opinion to Dr. Floyd which
advises against creating a Credentials Committee. Mr. Boto’s main reason against
establishing a Credentials Committee is liability: “[i]n plain English, certifying churches
would have the effect of rendering the Convention more vulnerable to a claim of liability.”
Mr. Boto stressed that, “[t]he importance of maintaining current process, and thereby


237 https://solutionpointintl.sharepoint.com/:f:/s/SBCECInvestigation/Eg4UeftlDI1IlO1Y
JZBM4Q8BcAHG3zxXv-wUutW6LjXXRA?e=vb4qSR.
238https://solutionpointintl.sharepoint.com/:b:/s/SBCECInvestigation/ERPMKivAry9DsbZDKsVMH_oBOYol

LFxUhNgH076jj77mLA?e=1VGQMV.
239 SBC0000687289 SBC EC Investigation - SBC0000687289.pdf - All Documents (sharepoint.com),

SBC0000687289.0001 SBC EC Investigation - SBC0000687289.0001.pdf - All Documents
(sharepoint.com)and SBC687289.0002 SBC EC Investigation - SBC0000687289.0002.pdf - All Documents
(sharepoint.com).

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continuing the so far impenetrable defenses against ascending liability, cannot be
overemphasized.” He goes onto to provide other reasons against standing up a
Credentials Committee, including the minimal benefits to be derived and ancillary
detriments, non-existence of State Convention templates, and Bylaws Work Group’s
processes (including lessons learned from the past).


In May 2019, it became clear to current EC leadership that at least some of them had
been aware of sexual abuse allegations against Baptist ministers for years. In an email
from Dr. Oldham to Dr. Floyd, copying Mr. Boto and some EC staff members, Dr. Oldham
acknowledged that: “For the past decade, I have been regularly sending Augie news
reports of Baptist ministers who are arrested for sexual abuse, for his awareness.” Mr.
Boto confirmed that, saying: “Yes. We are collecting them, and may even post them in
some way, but we’d have to really examine the potential liabilities that would stem
therefrom.”240


In other words, Dr. Oldham and Mr. Boto had been collecting the names of arrested
ministers for approximately 10 years, yet never took any action to ensure that the accused
ministers were no longer in positions of power at SBC churches. In addition, from our
review of the documents in this case, none of the SBC leaders who were included on that
email ever requested a copy of that list or made any further inquiry about it. Indeed, in our
interview with Dr. Floyd, he acknowledged never receiving the list and admitted he
probably never asked to see it.241 As of August 2018, there were 585 possible abusers
on the list.242


The mounting outcry about sexual abuse appeared to aggravate some within the SBC
and was viewed as a distraction. On May 9, 2019, in an email from Mr. Boto to an EC
staff member, Mr. Boto described the focus on sexual abuse as a “satanic scheme” to
distract the EC from evangelism. In particular, Mr. Boto singled out Christa Brown and


240SBC EC Investigation - SBC0000668499.pdf - All Documents (sharepoint.com).
241Interview Memorandum of Floyd.
242 SBC EC Investigation - SBC0000533532.pdf - All Documents (sharepoint.com).



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Rachael Denhollander, a survivor advocate, as architects of this “satanic scheme” and
stated that “[t]hey have gone to the SBC looking for sexual abuse, and of course, they
found it.” In our interview with Mr. Boto in May 2022, he again mentioned that the devil
was involved in the magnitude of the sexual abuse issue focus in the SBC, which in his
view is taking away from the SBC and EC’s role in spreading the gospel. He mentioned
a book that explains how focusing on something, e.g., sexual abuse in SBC churches,
slants a person to see that very thing elsewhere again and again.


On May 23, 2019, Dr. Floyd told SBC leaders in an email that he had received “some
calls” from “key SBC pastors and leaders” expressing “growing concern about all the
emphasis on the sexual abuse crisis.” He then stated: “Our priority cannot be the latest
cultural crisis…” The focus of the SBC must be “seen as the constant voice of and for the
Great Commission and the constant call to Acts 1:8 and Matthew 28:19-20.” He
acknowledged that what the SBC was doing “related to the sexual abuse crisis is needed,”
but described it as going “down a side street to take care of an immediate need.”243


In the lead up to the 2019 Birmingham convention, Dr. Floyd emailed the EC to express
his desire for SBC leadership to have a unified approach to the sexual abuse issue. 244
Both Dr. Floyd and Dr. Greear attended discussions concerning sexual abuse at the
convention245 and both received communications from survivors.246


On June 12, 2019, Dr. Greear addressed the convention for a total of approximately two
hours, making approximately 81 references to sexual abuse, the abused, and their
abusers.247 Illustrating his intention to invoke open exploration of the issue, he prayed

243 SBC EC Investigation - SBCDATA0000890918.pdf - All Documents (sharepoint.com).
244 SBC EC Investigation - SBC0000336266.pdf - All Documents (sharepoint.com).
245 REL0000000624.     2019, June (EC Minutes - Bylaw 8 Recommendation to amend including EC
nominees to CC committee).doc (sharepoint.com)
246 REL0000000045. SBC EC Investigation - Lyell Timeline Overview as Sent to Task Force.pdf - All

Documents (sharepoint.com); REL0000002145 . SBC EC Investigation - REL0000002145.pdf - All
Documents (sharepoint.com); REL0000000094 . SBC EC Investigation - 6.11.19 SBC JLL Text Exchange
w_RF.pdf - All Documents (sharepoint.com); SBC EC Investigation - FLOYDMB0000202096.pdf - All
Documents (sharepoint.com).
247 SBC EC Investigation - SBC0000020398.0001.pdf - All Documents (sharepoint.com).



                                               94

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that: “The abuse in our churches should have been exposed, not hidden or handled
internally.”248 He acknowledged the Houston Chronicle articles “which documented
decades of abuse involving more than 200 abusers and 700 victims.” 249 He admitted 10
percent of the members of SBC churches under the age of 35 have left because they
believed sexual abuse was not being treated seriously. He enumerated failures in training
staff and volunteers, caring for survivors, crediting survivors, and reporting to civil
authorities, and said they were committed by “misusing church autonomy”. He then
denied that dealing with sexual abuse was a distraction from the primary mission of the
SBC because it is “a Gospel issue.”250


At the Birmingham convention, the SBC Constitution was amended to deem a church in
“friendly cooperation” if the church “does not act in a manner inconsistent with the
Convention’s beliefs regarding sexual abuse.”251 A standing Credentials Committee was
tasked with making determinations about whether churches reported for mishandling
sexual abuse allegations should be considered in “friendly cooperation.” 252 The
Credentials Committee’s formation and handling of such determinations is discussed in
detail in Section VII, infra.


Following the Birmingham convention, the sexual abuse issue continued to demand the
attention of the SBC. Despite the convention’s steps toward addressing sexual abuse,
just two days after Dr. Greear’s address, Mr. Guenther emailed Mr. Boto about a civil
complaint seeking to hold the SBC liable in a sex abuse case, citing comments made by
Dr. Greear.253 Mr. Guenther wrote that: “Augie, I do not know if you want to alert Greear
of this case and send him a copy of the complaint I just sent you. It includes allegations
regarding statements by Greear and would help Greear understand both the significance
of any statements he makes and of the effort to use resolutions and reports and anything


248 Id.
249 Id.
250 Id.

251 SBC Constitution Article III.

252 Bylaw 8.

253 SBC EC Investigation - SBCDATA0000890155.pdf - All Documents (sharepoint.com).



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else the plaintiffs’ lawyer may think is helpful in holding the Convention liable in this
case. The complaint might also be helpful to Dr. Floyd in understanding how the plaintiffs
are coming at us in this case.”254


In early July 2019, Jennifer Lyell wrote to BP in an attempt to have the original BP article
taken down.255 Based upon our review, her correspondence with BP personnel was
respectful in tone and focused on the factual mischaracterization of the “morally
inappropriate relationship” and its negative impact on her life.256 This request led to a
meeting between Ms. Lyell, Dr. Oldham, and another BP employee.257 On July 16, 2019,
after the meeting, Ms. Lyell emailed Dr. Oldham:




254 Id.
255   SBC EC Investigation - Roger_Oldham_3-Story Removal Request 1.pdf - All Documents
(sharepoint.com).
256 Id.
257 Id.



                                            96

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Thereafter, Dr. Oldham wrote to outside counsel for the SBC and asked for a legal opinion
regarding two “plans” both of which had been reviewed and approved by Mr. Boto and
Dr. Floyd.258




258 SBC EC Investigation - Roger_Oldham_4-Story Removal Request 2.pdf - All Documents
(sharepoint.com).

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Plan A was emailed to Ms. Lyell on July 18, 2019, by Dr. Oldham.259 Ms. Lyell responded
that she had reconsidered the position of just removing the article, and instead requested
that a header be added to the original article with the following (or similar) language:




Again, Ms. Lyell’s communication was respectful, but emphasized a need to correct the
inaccuracies of the original article. Dr. Oldham forwarded Ms. Lyell’s email to a BP staff
member with the following comment:




259   Id.

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Dr. Oldham went on to explain in detail why he thought Ms. Lyell’s specific editorial
comment was appropriate and unobjectionable – he supported publishing an editor’s note
similar to the one requested by Ms. Lyell.260 Thereafter, internal SBC documents show
that there was much written back and forth among Dr. Oldham, SBC personnel, Mr. Boto,
Dr. Floyd, and SBC outside counsel between July 19, 2019, and the date the story was
removed from the BP website.261 On some occasions, Dr. Oldham argued that Ms. Lyell
should be cared for and her request honored. On other occasions, he stated that her
demands had changed and could not be met.262 Dr. Floyd largely stayed out of the
decision-making process but indicated the following:263




Dr. Oldham did not respond to Ms. Lyell’s request for a correction. After approximately 10
days had passed, on July 29, 2019, Ms. Lyell followed up by emailing Dr. Oldham and
copying Dr. Floyd. Ms. Lyell also emailed Dr. Floyd separately, summarizing the situation.
Ms. Lyell asked him to intervene, noting that she did “not want to hurt the SBC, EC, or
BP, but [] cannot continue to silently allow the lies created by BP to go uncorrected.” Dr.




260 Id.
261 Id.
262 Id.

263 Id.



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Floyd responded to Ms. Lyell, telling her that Dr. Oldham would contact her and asking
that they be given a chance to talk through the matter that day. 264


On July 29, 2019, the below draft editorial comment was sent to outside legal counsel
from Dr. Oldham:265




Outside counsel’s response included the below conclusion, and on July 30, 2019, the
original story was removed without comment.266




264

https://solutionpointintl.sharepoint.com/:b:/s/SBCECInvestigation/EWIZZat3ck5OvcOYHxX8UPABe1KuG
NeAHNUxcM2skGjiGQ?e=ed4K3t.
265 Id.

266https://solutionpointintl.sharepoint.com/:b:/s/SBCECInvestigation/EWIZZat3ck5OvcOYHxX8UPABe1Ku

GNeAHNUxcM2skGjiGQ?e=ed4K3t.

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Again, despite all of the engagement between Ms. Lyell and the EC, no one contacted
Ms. Lyell prior to removing the article from BP website. In fact, Ms. Lyell noticed that the
article was removed before Dr. Oldham notified her.267 Ms. Lyell sent an email to Drs.
Oldham and Floyd asking whether the correction would be forthcoming. The next
morning, Dr. Oldham emailed the following response to Ms. Lyell:268




Dr. Floyd emailed Ms. Lyell later that night and affirmed the BP’s actions.




267   Id.
268   Id.

                                            101

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After the emails from Drs. Oldham and Floyd, and the removal of the story, Ms. Lyell
reported that she suffered physically, emotionally, and professionally. 269 These effects
were repeatedly brought to the attention of EC and BP personnel, including Dr. Floyd’s
personal assistant, during the period when Ms. Lyell was requesting that BP correct the
article. There was a change in leadership at Lifeway (a new President started in July
2019), and she reported that she did not feel supported by the new leadership; that he
treated her in an unprofessional manner in front of her peers.270 Ms. Lyell further reported
that she lost a significant amount of weight and had other health issues, including hair
loss and fainting.271 Ultimately, as described further below, Ms. Lyell lost her career, her
health, and many of her colleagues and friends due to the way her “relationship” with her
abuser was portrayed in the article written by BP. These facts were confirmed by
numerous witnesses interviewed by our investigative team.


While the matter involving Ms. Lyell was ongoing, in a July 18, 2019, letter to Dr. Floyd,
Mr. Boto announced his retirement as the EC’s executive vice president and general
counsel, to be effective as of September 30, 2019. Among other things, Mr. Boto wrote
to Dr. Floyd that: "In examining all the ways I might be of help to you and the future of the
Executive Committee, I have come to the conclusion that stepping aside in retirement
from my work is the best one. This will provide you with the maximum flexibility in
reorganizing and re-tasking the EC staff along lines you believe will be most fruitful.”272


Publicly, going forward into the fall of 2019, the EC took what appeared to be an
aggressive stance against sexual abuse. The ERLC sponsored a conference in early
October 2019, titled: “Caring Well: Equipping the Church to Confront the Abuse Crisis.”
At the conference, several SBC leaders and survivor advocates expressed similar

269https://solutionpointintl.sharepoint.com/:b:/s/SBCECInvestigation/EXX9oKFV1fpMoB3CiMIlpt8BJm-

Bf_rQrxj7T4AwJFEvNg?e=SIpaaW.
270https://solutionpointintl.sharepoint.com/:b:/s/SBCECInvestigation/ERPMKivAry9DsbZDKsVMH_oBOYol

LFxUhNgH076jj77mLA?e=lCDFpZ.
271 Id.

272https://www.baptistpress.com/resource-library/news/augie-boto-to-retire-from-sbc-executive-

committee/.

                                               102

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concerns about the need for change within the SBC. For example, Drs. Greear and Floyd
participated in a panel discussion during which Dr. Greear was quoted in a news report
saying the: “common criticism that the convention’s steps so far are ‘all talk and no action’
was ‘very fair and understandable.’” According to the same report, Dr. Floyd, when asked
why it has taken so long for the SBC to respond to sexual abuse, replied: “Quite honestly,
I don’t know the answer to that. What I do know is that there’s a pretty unhealthy culture
at times in the Southern Baptist Convention, which personifies probably the unhealthy
culture of many of our churches. And the more unhealthy a church is, the less likely they
are going to be able to deal with whatever may come their way, especially this kind of
very difficult issue.” Dr. Floyd then “urged Southern Baptists to ‘establish a healthy culture
together.’”273


The same day the Caring Well conference ended, Dr. Floyd exchanged a series of emails
with key EC staffers concerning the conference. He reported receiving a call from an
unnamed “major leader” who complained about Rachael Denhollander’s statements
accusing some prominent SBC leaders of covering up for an abuser. Dr. Floyd claimed
that before the Caring Well conference the SBC was “on a path” that would have brought
“real change,” which he feared might not be true after the conference.274


Some excerpts from the email exchange, set forth below, illustrate the differing
perspectives within the EC:


       Dr. Floyd: “Guys, this is really not good at all. We cannot have SBC entities
       placing people on platforms calling out the matters about how the SBC and
       some of its leaders and former leaders [sic]. All the work on unity is getting
       challenged.”

       EC Staff Member 6: “Regarding Matthew 18 – that principle absolutely still
       applies; the problem is that in nearly every instance in the past when victims


273 SBC0000269007.0001. When we interviewed Dr. Floyd, he said his comment was describing the divisive
way SBC leaders were treating each other, mirroring the divisiveness in America, and was not describing
the SBC’s response to sexual abuse as unhealthy. See Interview Memorandum of Floyd.
274 SBC EC Investigation - FLOYDMB0000231830.pdf - All Documents (sharepoint.com).



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        have come to those in power in the SBC, they have been shunned, shamed,
        and vilified. At the EC, we have inherited a culture of rejecting those who
        question power or who accuse leaders. [Naming survivors]— they all
        reported their abuse to those in the SBC and at every turn they were met
        with resistance, and they were turned away.”


Dr. Floyd replied with gratitude and added he was also concerned with “not losing trust
with the base of the SBC.”275 In a separate response the same day, Dr. Floyd identified
the “base” of the SBC as “thousands upon thousands of leaders and churches that
operate at high levels. They are godly and holy, committed to what we do. … They are
not mad. They are not looking the other way at sin. They are giving, going, praying and
sending.” He cautioned his staffers that they “cannot go into the weeds every time
someone wants us to do so.”276


Dr. Floyd continued to bring the “base” of the SBC into discussions about the response
to sexual abuse. On Oct. 8, during a conversation among Dr. Floyd and three EC staffers
and two ERLC staffers, which was covertly though legally recorded by one participant,
Dr. Floyd again expressed concerns about “the base.”277 After Russell Moore advocated
for not having any fear of the truth, Dr. Floyd cautioned that many members of the base
will not see it that way.278 He asked how they could “preserve the base of the people that
want to support” and who “believe in the cooperative program.” He then asked: “But how
do we preserve the base? That’s what I’m concerned about is the base.” Dr. Moore
replied: “Well, I think the base is fine. I think there’s a difference between the base and
some people on the peripheries of the base who very much would not like these issues
being discussed or to have them discussed in a way that’s safe and gauzy.”279 Following
this meeting, an EC staff member expressed his opinion that churches were going to be



275 SBC EC Investigation - FLOYDMB0000231838.pdf - All Documents (sharepoint.com).
276 SBC EC Investigation - FLOYDMB0000231839.pdf - All Documents (sharepoint.com).
277 “2019 – 1008 – Ronnie Floyd caring well conference” in Teams: General/ SBC Personnel Witness

Folders/ Philip Bethancourt/ Bethancourt Recordings. 2019 - 1008 - Russell Moore debrief on Ronnie Floyd
caring well conference.docx (sharepoint.com).
278 Id.

279 Id.



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upset and leave the SBC. During our interview with him, however, he admitted that he is
aware of only two churches that left.280




While the EC leadership was engaged in debate, the remaining EC Trustees were kept
in the dark. An EC Trustee emailed Dr. Floyd on Oct. 9, saying he was a strong supporter
of Dr. Floyd and was concerned about the attacks leveled against him, but stating he is
“very uninformed about these sexual abuse accusations.” Dr. Floyd responded the same
day, saying he had “no knowledge of any cover ups.”282 He made no mention of
everything he had learned since becoming President and CEO of the Executive
Committee, gave no specifics about the many allegations over the years.


During the remainder of October 2019, Ms. Lyell continued to reach out to Dr. Floyd and
key members of his staff regarding her mistreatment by the Baptist Press. Ms. Lyell
personally attended the Caring Well conference in October 2019.283 During the second
day of the conference, one of the presenters publicly spoke about Ms. Lyell’s story.284
Soon thereafter a new VP of Communications posted about the commentary:




280   Interview Memorandum of EC Staff Member 5.


282   SBC EC Investigation - SBC0000684846.pdf - All Documents (sharepoint.com).
283https://solutionpointintl.sharepoint.com/:b:/s/SBCECInvestigation/ERPMKivAry9DsbZDKsVMH_oBOYol

LFxUhNgH076jj77mLA?e=pHDrS9.
284https://solutionpointintl.sharepoint.com/:b:/s/SBCECInvestigation/ERPMKivAry9DsbZDKsVMH_oBOYol

LFxUhNgH076jj77mLA?e=pHDrS9.

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Based on the documents reviewed and interviews conducted, our investigation revealed
that these events led to a public recognition by the EC that the March 2019 BP story
regarding Ms. Lyell was inaccurate, resulting in a retraction on October 15, 2019.285




285https://solutionpointintl.sharepoint.com/:b:/s/SBCECInvestigation/ERPMKivAry9DsbZDKsVMH_oBOYol

LFxUhNgH076jj77mLA?e=pHDrS9.

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The apology however came only after certain SBC EC staff undertook a review of what
happened in Ms. Lyell’s case and uncovered the systemic manner in which she was
mistreated, including numerous emails requesting relief that were either ignored or not
properly addressed.286 Finally, Dr. Floyd agreed to meet with Ms. Lyell in October 2019,
via videoconference with SBC EC staff present. Based on interviews, during this meeting
Dr. Floyd did not provide an apology or offer to take any responsibility for the SBC EC’s
failure in leadership.


2862019 - 1009 (unsure of exact date) - caring well conference debrief.docx and 049_Re What do they want
(16).msg

                                                 107

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Regardless of the article and apology, Ms. Lyell ultimately had to resign her position at
Lifeway due to the fallout from the original article.287 Her continued employment at Lifeway
was being questioned internally by her colleagues and peers as well as externally by
current or potential authors. Her resignation letter of October 18, 2019 specifically noted
the March 2019 BP article and the fallout thereafter as the cause of her resignation.
Essentially the fact that Ms. Lyell had been falsely portrayed as an adulteress by BP
rather than a victim of sexual assault caused her to lose her position as a senior executive
at an SBC entity, among other things.


Even after BP had printed the retraction of the inaccurate BP article, Dr. Floyd and his
staff continued to complain about the survivor community, expressing bewilderment at
their online behavior and negative tweets about the SBC’s response to sexual abuse
concerns. For example, Dr. Floyd asked in an email on Oct. 16, “What do they want?”
and bemoaned the fact he had become a target of their ire while going “over the top trying
to get us to create a path for the future for the SBC on us addressing this issue.”288




287https://solutionpointintl.sharepoint.com/:b:/s/SBCECInvestigation/Ef_u9cCNfiZHp12GTscvNJoBTNkuv

NxZ_MDZViUX7-JjBw?e=8BHQ2h.
288 SBC EC Investigation - REL0000005207.pdf - All Documents (sharepoint.com).



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Dr. Ed Upton, the Assistant to the President replied: “I think the only real, viable option
we have here is to just keep moving forward with what we are doing and do our best to
ignore what is happening in the social media world . . . I want [Ms. Lyell] to be whole
again. I want her to experience healing and happiness, but what she is doing [online] isn’t
the way to attain that.”




The VP of Communications, Jonathan Howe, replied with an observation on the survivor
community’s responses to Ms. Lyell’s tweets: “The ‘survivor community’ is all up in arms
about things they have no clue about,” adding later, “online survivor folks, they just want

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to burn things to the ground. They just have to be ignored. They don’t reason; they don’t
listen.” The VP added in his response to Dr. Floyd that “Obviously, I don’t know what
happened with that email and that entire string – who saw it, what Augie or Sing advised,
how much they ever shared with you, or even if you actually wrote that. But that section
is the critical part to her . . . because of the way [Ms. Lyell] was treated by those before
you got here, she was out of grace and understanding.” 289




289   Id.

                                            110

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In December 2019, the new standing Credentials Committee, which Dr. Floyd cited as an
accomplishment as recently as his interview with us,290 was criticized by Christa Brown
and an advocate on the churchleaders.com website for not accepting anonymous
submissions. Dr. Floyd forwarded a report of that critique to three staffers with the single
word comment, “Again. . .”291 Dr. Upton replied this was an expected criticism, and added
that they “are never going to be happy. Some people just want to watch the world burn.”
In turn, Dr. Floyd said that Christa Brown and the advocate “have become so off-track.”292
On Dec. 19, Dr. Floyd forwarded to key staffers a news report naming the Houston
Chronicle stories the number one religion story of 2019. Dr. Floyd added this comment:
“and I would be fine if that story was never mentioned again anywhere, but simply wanted
to make sure you were aware.”293




290 Interview Memorandum of Floyd.
291 SBC EC Investigation - REL0000004576.pdf - All Documents (sharepoint.com).
292 SBC EC Investigation - SBC0000397323.pdf - All Documents (sharepoint.com).

293 SBC EC Investigation - REL0000004357.pdf - All Documents (sharepoint.com).



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2020
In January 2020, a survivor emailed Dr. Floyd to complain that Paige Patterson was to
speak at a conference.294 Dr. Floyd asked a key staffer how they should respond. The
staff member said he had determined the conference was sponsored by a local church,
not a state convention, and so he had to leave it in “the hands of the local pastor and
those putting on the event.” He then described the situation in this way: “I am not a huge
fan of us constantly ducking this on grounds of autonomy, I just don’t know what other
options we have without jumping in the deep end of the pool on sex abuse. And that’s a
tough play in this SBC climate from our seat. Because for some in the survivor
community…, if you start into this it will never be enough for them.” Dr. Floyd replied:
“Well autonomy is who we are and how we operate everywhere, therefore we cannot
duck it.”


The staffer responded by noting that: “There is a general unrest and fear that the SBC
will go ‘back to normal’ as it relates to sec (sic) abuse and those involved in covering it
up. That 2018-2019 will be forgotten and we’ll be holding PP [Paige Patterson] on a
pedestal again. And that concern it (sic) not without merit because we all know there are
people in the convention who would love nothing more than just that. And here we are
stuck in the middle with no real authority or standing or involvement. But we keep getting
shot at from both sides.” Dr. Floyd concluded the exchange by saying, in part: “We are
not governing the churches, cannot govern the churches, and it would not be received if
we even attempted to do so. … The entire miracle of cooperation around the Great
Commission that is based upon our understanding of the Bible is the ONLY thing that
keeps us together. Needless to say, this is why we have to do all we can within the
influence entrusted to us through our Ministry Assignments and the calling of the Lord, to
get ahold of the narrative in every way possible. ….”295




294 On January 20, 2020, another survivor complained to the CC about the Patterson appearance, noting
that she had written to Dr. Floyd and others about it. SBC EC Investigation - 2020.01.11 FL.pdf - All
Documents (sharepoint.com).
295 SBC EC Investigation - SBC0000396253.pdf - All Documents (sharepoint.com).



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This still appears to be Dr. Floyd’s position. During his interview with us, he expressed
the following sentiments when asked how the SBC had such an issue with sexual
abuse:296 Dr. Floyd stated that the SBC has no real authority over churches, due to
autonomy and how the SBC is governed, and that local churches have no reason or
obligation to report anything. He said that if people understand the governance structure,
they could understand how far outside the SBC’s role is from the local church. Dr. Floyd
explained that the SBC promotes the Cooperative Program that is based on local
churches choosing to send money and be a part of this financial set-up; the SBC does
not pay attention to issues, it just disperses the money to move the mission forward.


Dr. Greear spoke out about the Dr. Patterson appearance in an interview with the Houston
Chronicle reported on January 24, 2020. He noted that Dr. Patterson had been dismissed
from Southwestern Baptist Theological Seminary by its trustees for conduct “antithetical
to the core values of our faith” and stated: “I advise any Southern Baptist church to
consider this severe action before having Dr. Patterson preach or speak and to contact
trustee officers if additional information is necessary.” Dr. Greear was also quoted in the
article as saying: “Southern Baptist churches must take our mutual accountability to each
other more seriously than we have in the past. If our system of governance means
anything, it means exercising due diligence and heeding what those whom we put in
positions of trustee oversight have reported about official misconduct.”297


At the EC meeting in February 2020, Dr. Greear explained his comments. He declared:
“At no point have I said or implied that the SBC President can dictate to churches who
they can or can’t have in their pulpit. My actual comments . . . were that SBC churches
are autonomous, but we have acknowledged that autonomy is no excuse for a lack of
mutual accountability….”298 Under the slogan “Gospel Above All,” Dr. Greear set five



296https://solutionpointintl.sharepoint.com/:w:/s/SBCECInvestigation/EcpQhpc7ACBOiJ0bowDG3CgBYSF

pDTZeI1RpCs18ccLElQ?e=lvms2J.
297 SBC EC Investigation - SBC president cautions churches about hosting disgraced leader Paige

Patterson.pdf - All Documents (sharepoint.com).
298 SBC 2020 EXEC COMM, March.pdf (provided to us by Dr. Greear as a document linked to the timeline

he provided).

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objectives for the annual meeting scheduled for June. The foremost was “Handling the
sex abuse crisis;” the last two were “Maintaining cooperative efforts and institutions” and
“Great missional resurgence.” In contrast, Dr. Floyd, under the banner of VISION 2025,
focused on increasing the number of missionaries, churches, teenage baptisms and
contributions to the Cooperative Program. The sex abuse crisis was not mentioned.299


Although he was not outspoken on the sexual abuse issue at the EC meeting, Dr. Floyd
did take several actions in February that were responsive to sexual abuse within the SBC.
In the wake of the International Mission Board creating a position of prevention and
response administrator (to oversee efforts concerning child abuse, sexual harassment
and domestic violence among its missionaries and staff), Dr. Floyd praised the effort in a
press release.300 He also approved the release of a statement to Christianity Today
saying that Southern Baptists “lament any and all instances of sexual abuse, particularly
in a church setting,” and citing the Credentials Committee, changes to the SBC
Constitution, and the Caring Well initiative as evidence of that posture.301 On Feb. 17, as
part of a presentation to the Cooperative Program Committee, Dr. Floyd again cited the
Credentials Committee and the constitutional changes as proof of how the EC “walked
through and led through major sexual abuse challenges.”302


However, friction was growing between Dr. Moore, President of the ERLC, and EC
leadership. In February 2020, members of the EC called for an investigative task force to
perform a review of the ERLC.303 Dr. Moore had no prior warning about the
announcement.304 Some ERLC members and staff with whom we spoke viewed the




299 REL0000000341.
300 SBC0000284767.
301 REL0000003839.

302 REL0000003615.0001.

303 https://plusnxt.relativity.one/Relativity/go?id=8252197-1505483.

304https://solutionpointintl.sharepoint.com/:w:/s/SBCECInvestigation/ETRV0V58Dt1Lk_BBSggp63MB5GM

ScV33psgo__hgiI-3mA?e=qLq6XO&wdLOR=cCAD2654E-AA22-6740-AFB8-4AC9A9CBFF1D; Interview
Memorandum of ERLC Staff Member 1.

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investigation as a retaliation against Dr. Moore and the ERLC for their support of the
Caring Well conference and other reforms related to sexual abuse.305


Following the announcement of the investigation, Dr. Moore wrote a letter dated February
24, 2020, to some ERLC trustees, communicating his frustration with the EC’s
stonewalling and resistance to change.306 Dr. Moore explained the problems he saw with
the EC’s leadership and identified the root of the friction between the EC and himself:

        The presenting issue here is that, first and foremost, of sexual abuse. This
        Executive Committee, through their bylaws workgroup, “exonerated”
        churches, in a spur-of-the-moment meeting, from serious charges of sexual
        abuse cover-up. One of those churches actively had on staff at the time a
        sex offender. J.D. Greear, our SBC president, and I were critical of this
        move, believing that it jeopardized not only the gospel witness of the SBC,
        but, more importantly, the lives of vulnerable children in Southern Baptist
        churches. Against constant backroom attempts to stop forward momentum,
        we were able to get across the finish line some modest steps toward
        addressing the crisis in our convention — the Caring Well Challenge, for
        instance, and the formation of a credentials committee.

        As you know, our last ERLC National Conference was built around the
        issues of sexual abuse. We said from the beginning that we wanted a place
        for honest dialogue around these issues, and we would not police anyone
        from speaking what he or she had experienced or thought. At least one
        speaker harshly criticized us for not doing enough, or not handling things
        the way he thought we should. I welcomed that criticism. I learned from it,
        and was glad that the speaker felt the freedom to do so. At that conference,
        though, Rachael Denhollender [sic] participated with me in a conversation
        where, again, I refused to censor or stop anything that she had to say. In
        that conversation, she spoke about her thoughts about the disparagement
        and poor treatment of a sexual abuse survivor by Executive Committee
        staff. The story Rachael told is accurate, and Maria and I know that because
        we were, even during that very meeting, ministering alongside others to that
        mistreated young woman.



305Interview Memoranda of ERLC Staff Members 2 and 3.
306https://religionnews.com/2021/06/02/russell-moore-to-erlc-trustees-they-want-me-to-live-in-
psychological-terror/.

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            This enraged some Executive Committee trustee leadership, who
            communicated that they were incensed that we would allow such a story to
            be told. That was communicated with special outrage since the Executive
            Committee had contributed some money to Caring Well as a reason why
            we should not have allowed this story to be told. I came away from these
            conversations with the distinct feeling that I was being told (not from Ronnie
            Floyd, but from sectors of his trustees, mostly the very sector from which
            this latest action has come), “You’ve got a nice little Commission there;
            would be a shame if something happened to it.” I told Maria that at the time.
            It was, and is, chilling — especially seeing what they had in mind to do under
            cover of darkness.

            I am trying to say this as clearly as I can to you, brothers and sisters: These
            are the tactics that have been used to create a culture where countless
            children have been torn to shreds, where women have been raped and then
            “broken down.” 307


Dr. Moore went on to say that he, his wife, children, and team have endured
“psychological and institutional terrorism” for his stance on sexual abuse and racial
discrimination issues.308


After trying unsuccessfully to obtain a correction to the BP story for approximately 8
months, Ms. Lyell hired legal counsel to pursue a defamation claim. Some SBC and EC
leaders had told Ms. Lyell that she was unlikely to succeed in obtaining a correction
without resorting to legal action. In May 2020, Ms. Lyell reached a mediated settlement
with the EC. Dr. Floyd’s presence at mediation was requested, but he declined to
participate.


Based upon our review of the evidence, the existence of the May 2020 settlement was
not shared with most EC Trustees. The settlement did not become widely known until a
second settlement was reached in 2022, which was accompanied by a formal apology
from the EC. The apology acknowledged the EC’s failure to “adequately listen, protect
and care for Jennifer Lyell when she came forward to share her story of abuse by a

307   Id.
308   Id.

                                                 116

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seminary professor.” The EC further acknowledged that they had failed to accurately
report her abuse as nonconsensual and failed to accurately report that her abuse had
been reported to multiple SBC entities, as well as investigated and corroborated by those
entities.309


After the May 2020 settlement with Ms. Lyell, legal concerns over sexual abuse
allegations continued to occupy the EC into the fall of 2020. Some within the EC viewed
the concept of church autonomy as a legal shield to protect the EC. For example, on
September 16th, Mr. Guenther referred to the “steady stream” of cases trying to hold the
national or a state convention, or an association, liable “for things happening in churches.”
He concluded by saying: “We treasure local church autonomy because that fact and
consistent practice, rooted in our religious beliefs, is what saves us.”310


Indeed, to avoid liability, the attorney was of the view that the SBC should not examine
churches too closely during the affiliation process. The attorney wrote: “The SBC will
create the potential for far greater liability for sex offenses in churches cooperating with
the SBC if the SBC undertakes to ascertain that churches are acting in compliance with
state law. If an offense occurs in a church we would get suits alleging that the SBC
assumed the duty to protect people in that church and was negligent in discharging that
duty.”311 Two days later, the same attorney advised: “Legally we are best off the fewer
questions we ask beyond securing an affirmation from church representatives that the
church claims to exhibit the 5 enumerated evidences of cooperation… And as you
consider using folks other then EC staff to ‘interview’ the churches, ask yourself if they
may say things or ask things which your folks would know not to ask. These individuals
may be seen as our agents and I worry about what they may say. It can create a legal
risk we would not otherwise have if we undertake to query churches.”312




309
      https://www.tennessean.com/story/news/religion/2022/02/22/southern-baptist-convention-executive-
committee-apologizes-abuse-survivor/6901089001/.
310 SBC0000382421.

311 SBC0000031383.

312 SBC0000031371.



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In addition to litigation concerns, the EC was faced with responding to the complaints of
survivors. The EC’s attitude toward survivors was varied. For example, the newly-installed
EC Vice President Greg Addison was sympathetic toward a survivor who complained
about receiving lewd photos from a pastor, stating that the survivor should be advised
about the Credentials Committee process and advised to contact the police.313 Yet, just
two days later, Mr. Addison described a different survivor as “arrogant,” “backhandedly
sarcastic” and with an axe to grind, while at the same time admitting he does not know
her or her history.314 In our interview with him, Mr. Addison noted that the survivor had
accused the Credentials Committee of favoring a large church that contributed a lot of
money, which he found “insulting” and a threat to the credibility of the Credentials
Committee. Mr. Addison noted that his email was an internal comment with co-workers,
and he would never treat the survivor poorly.315


Mr. Addison’s adverse reaction to criticism from a survivor was not unique. There are
many examples of such comments in the emails shared among EC staff and SBC
leadership, for example, saying the survivors do not understand the SBC316 or just want
to burn everything down.317


2021
The derogatory attitude to survivors by some EC members continued into 2021. A
survivor tweeted an accusation that Augie Boto and Dr. Floyd failed to assist the survivors.
Mr. Guenther emailed Dr. Floyd and Mr. Addison, hoping they can be comfortable not
responding to her, and opining: “She has serious problems.”318




313 SBC0000378639.
314 SBC0000482653.
315 Interview Memorandum of Greg Addison.

316 FLOYDMB0000234525.

317 REL0000005207 and SBC0000397323.

318 FLOYDMB0000370589.



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Shortly thereafter, on February 15, 2021, EC Chair Rolland Slade319 asked Ms. Lyell to
speak at the February EC meeting.320 This request came after many communications
between her and Pastor Slade during which she once again disclosed in detail her history
of abuse, her disclosure to BP which led to the inaccurate BP article, the serial
mistreatment by SBC EC staff and officers, and the resulting re-traumatization. Pastor
Slade expressed that he was “deeply saddened” regarding how she was treated. He also
told. Ms. Lyell that he did not previously have knowledge of the events surrounding her
case.321 She expressed shock that Pastor Slade had no knowledge of the events that she
recounted.322 Her intent through these communications was to work informally through
Pastor Slade to receive some remuneration to compensate her for the lost wages and
other injuries suffered as a result of the inaccurate BP article. She also communicated
her formal request through EC Executive Vice President Greg Addison, and permitted
him to speak with her pastor. Despite all of this, her multiple requests were denied.
Internal SBC documents revealed the following commentary regarding at least one of Ms.
Lyell’s requests:




319https://religionnews.com/2020/06/16/rev-rolland-slade-first-black-chair-of-southern-baptist-executive-

committee-elected/.
320 After her resignation, Ms. Lyell sought legal recourse through mediation with the SBC and a settlement

with the EC was reached through mediation. Though the EC attorneys attempted to require Ms. Lyell to
sign a non-disclosure agreement (“NDA”), Ms. Lyell refused. A witness indicated that the NDA was
designed to silence a survivor advocate from discussing Ms. Lyell’s case in the future.
321 https://solutionpointintl.sharepoint.com/:b:/s/SBCECInvestigation/EXYGuQYf78FFkCT7lRAZHkQB-

ZgSqN_kNHq3c0RQjJeA1w?e=XnQCz4
322 https://solutionpointintl.sharepoint.com/:b:/s/SBCECInvestigation/EVOMibDmigVCikroYmgJ4-

gBo7WkvUoQ7UWEgeewVsxm6g?e=JBfxN2.

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Ms. Lyell was not permitted to speak at the February 2021 EC meeting.




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On May 20, 2021, as the June Convention neared, a survivor publicly called for an
investigation of the SBC.323 On May 31, ERLC President Russell Moore issued a letter to
Dr. Greear disclosing conversations internal to the SBC leadership and alleging some EC
members had considered an investigation of Dr. Moore and the ERLC, and a censure of
Dr. Greear because of their positions on sexual abuse.324


Among other things, Dr. Moore wrote that:


        You and I both heard, in closed door meetings, sexual abuse survivors
        spoken of in terms of “Potiphar’s wife” and other spurious biblical analogies.
        The conversations in these closed door meetings were far worse than
        anything Southern Baptists knew —or the outside world could report. And,
        as you know, this comes on the heels of a track-record of the Executive
        Committee staff and others referring to victims as “crazy” and, at least in
        one case, as worse than the sexual predators themselves.
        …..
        Leadership in the Executive Committee, at the trustee level with Mike Stone
        and his allies, and at the staff level by former Executive Vice-President
        Augie Boto, have stonewalled many attempts at reform for the sake of the
        sexually abused. You know that this has happened even after they have
        given publicly what appeared at the time to be very good and open
        statements about the matter. And you know that when their stonewalling
        has failed, you and I have not called them out publicly on what they did
        privately. We simply focused on the results, of trying to achieve measures
        to mitigate sexual abuse.


As reported in the Washington Post, factual details of Dr. Moore’s letter were corroborated
by three employees “who said they needed to remain anonymous to keep their current
jobs.”325 On June 2, the Religion News Service published the earlier letter issued by Dr.
Moore on Feb. 24, 2020, to the ERLC trustees in which he alleged his opponents within
the SBC want him “to live in psychological terror.”326

323  SBC0000368971; https://religionnews.com/2021/05/20/justice-for-sbc-sexual-abuse-victims-a-call-for-
an-investigatory-commission.
324 REL0000000241.

325 https://www.washingtonpost.com/religion/2021/06/05/russell-moore-southern-baptist-sex-abuse-

allegations/.
326 REL0000000017.



                                                 121

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In early June, the refrain that survivors do not understand the SBC reappeared in emails
between the Executive Committee and its lawyers. Jennifer Lyell tweeted on June 3,
alleging Executive Committee leadership tried to destroy her in retaliation for organizing
a petition against Paige Patterson at Southwestern Baptist Theological Seminary. Dr.
Floyd forwarded the tweet to Mr. Addison and their attorneys. An attorney responded,
saying: “There is a lot of anger and even more failure to understand what the SBC is, and
what it is not. And crazy conspiracy theories…It is going to be hard to reason with some
of these folks, and there is no forum in which to address their issues.” Dr. Floyd agreed.327


The next day, a survivor wrote to several EC staffers reporting that she and other students
at Southern Baptist Theological Seminary had been sexually assaulted on campus,
reported the incidents, but received no response. Mr. Addison responded the same day,
saying the Executive Committee has no authority over other SBC institutions, and offered
to talk with the survivor. She said she would prefer email communications.328 Mr. Addison
invited further email communications; the survivor sent one on each of the next two days.
Then, on June 11th, the survivor wrote again to Mr. Addison stating he ignored her latest
emails.329 Mr. Addison eventually did respond almost three months later, on Sept. 1st,
apologizing, saying he had “only recently discovered your emails.” He then repeated his
initial assertion the Executive Committee had no authority over a seminary and suggested
she consider contacting law enforcement or a sexual abuse support group.330


On June 5, only ten days before the start of the convention in Nashville, a pastor who
worked closely with Dr. Floyd for many years spoke with Dr. Floyd revealing that he and
another pastor were considering making a motion for an investigation. This motion was
their reaction to the disclosures from the Houston Chronicle and the Russell Moore letter.
In the pastor’s words: “No matter the repercussions, truth needs to be found.”331 Later


327 FLOYDMB0000234525.
328 SBC0000476508
329 SBC0000476346

330 SBC0000731734

331 Interview Memorandum of Witness 4.



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that day in a text, the pastor wrote to Dr. Floyd: “The only reasonable way forward is an
independent investigation. People are already calling for it.”332 Dr. Floyd appealed to the
pastor, saying he and the Executive Committee needed time to deal with the issue, but
the pastor and his colleague released the text of the proposed motion. 333 After the release,
Dr. Floyd texted his former protégé asking: “Why did you release that after I asked you
not to do so.”334 On June 8, Mr. Addison forwarded to Dr. Floyd a news report on the
motion.335


On June 10, Dr. Bethancourt, who had covertly recorded meetings in 2019, released the
tapes.336 The same day, Dr. Floyd released a statement acknowledging the tapes,
encouraging people to listen for themselves rather than accept the recorder’s version of
what was said. He also stated: “The Convention was – and still is – divided over methods
of response to sexual abuse. However, the SBC is not divided on the priority of caring for
abuse survivors and protecting the vulnerable in our churches.”337 In response to dr.
Moore’s allegations, Dr. Floyd also stated in a press article that no survivor allegations
had been mishandled during “his time here.”338


Ultimately, the vote of the messengers at the June convention took the sex abuse issue
out of the hands of the EC.


        B.      EC Trustee Interviews

As part of our review, we requested to interview all those individuals who served as EC
Trustees during the relevant time period. The EC is governed by its board of Trustees –
the "members" of the Executive Committee – who are elected by the Convention.339 The



332 Witness 4-Floyd Texts near Convention 2021 - cleaned.xlsx (sharepoint.com).
333 Interview Memorandum of Witness 4.
334 Witness 4-Floyd Texts near Convention 2021 - cleaned.xlsx (sharepoint.com).

335 SBC EC Investigation - SBC0000476421.pdf - All Documents (sharepoint.com).

336 SBC EC Investigation - SBC0000367660.pdf - All Documents (sharepoint.com).

337 SBC EC Investigation - SBC0000450116.pdf - All Documents (sharepoint.com).

338 https://religionnews.com/2021/06/14/southern-baptist-convention-meeting-2021-sbc-executive-

committee-rejects-request-for-system-wide-abuse-inquiry/.
339 https://www.baptistpress.com/resource-library/sbc-life-articles/your-sbc-executive-committee/.



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EC Trustees act on behalf of the Convention between sessions, and select an EC
President and other EC officers.340


We requested an interview with each EC Trustee in order to conduct a full, fair, and
comprehensive investigation. Although 98 EC Trustees were unresponsive to our email
and subsequent follow-up attempts, we were able to interview 175 current and former EC
Trustees. Twenty-two EC Trustees declined to speak with us.


The interviews were conducted telephonically, by videoconference, or in person, at the
EC Trustee’s convenience. We were gratified by those Trustees’ willingness to engage
with us. Many EC Trustees expressed a desire for the EC to improve its response to
sexual abuse allegations and made thoughtful suggestions for how it could be done
consistent with SBC polity. We took into account all of their advice when we crafted the
recommendations in this report.


One of the most striking findings from our interviews is that, for those EC Trustees who
served prior to Dr. Greear’s naming of the churches from the Houston Chronicle’s series,
they were largely unaware that survivors had been contacting the EC to report sexual
abuse allegations.


Even of those EC Trustees who served after Dr. Greear’s announcement, some said that
EC leadership still did not sufficiently inform EC Trustees about the scope of the sexual
abuse allegations. One EC Trustee said that he did his own internet research after the
Houston Chronicles, which he learned about on his own, and not through the EC. 341 He
said that the EC Trustees knew nothing about the fact that survivors had been trying to
communicate with the EC, and that the EC had not been responsive.342 Another said that,
aside from voting on CC recommendations, sexual abuse allegations were never
discussed, and he was “floored” with everything that came out at the conventions.343

340 https://www.sbc.net/about/what-we-do/sbc-entities/executive-committee/
341 Interview Memorandum of EC Trustee 1.
342 Id.; see also Interview Memoranda of EC Trustees 2 and 3.

343 Interview Memorandum of EC Trustee 2; see also Interview Memoranda of EC Trustees 4-9.



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One EC Trustee said there was a pattern that officers and staff knew more than EC
members.344 There was a perception that the EC Staff was in charge.345 Some EC
Trustees felt that decisions were already made by EC leadership without including the EC
Trustees, and that the EC Trustees were expected to be a “rubber stamp” for those
decisions.346 As one person put it: officers expected the EC members to toe the line and
not raise issues.347 One EC Trustee noted that even at the September 2021 meeting,
much of the discussions took place in executive sessions.348 An EC Trustee who early on
spoke in favor of a Task Force was accused of not trusting leadership.349


The lack of timely and complete information was another common theme in our
interviews. At times the EC staff only provided the EC Trustees with information a few
days before meetings, which was not enough time for a thorough review, particularly as
EC Trustees have their own work and other commitments.350 One EC Trustee noted that
the EC staff only notified him of the Houston Chronicle article the night prior to the release
of the series.351 He said he heard more about sex abuse in social media or the press than
from the EC.352


Some EC Trustees also told us that the EC did not provide them with sufficient information
about lawsuits against the SBC.353 One EC Trustee said that the EC Trustees only
learned about lawsuits against the SBC in the last plenary session, and that while officers
may have known, EC Trustees did not.354




344 Interview Memorandum of EC Trustee 1.
345 Interview Memorandum of EC Trustee 10.
346 Interview Memorandum of EC Trustee 11; see also Interview Memoranda of EC Trustees 5 and 12.

347 Interview Memorandum of EC Trustee 12.

348 Interview Memorandum of EC Trustee 13.

349 Interview Memorandum of EC Trustee 14.

350 Interview Memorandum of EC Trustee 1; see also Interview Memorandum of EC Trustee 15.

351 Interview Memorandum of EC Trustee 16.

352 Id.

353 Interview Memoranda of EC Trustees 1, 7, 17-20.

354 Interview Memorandum of EC Trustee 17.



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It is our view that the EC Trustees take their responsibilities very seriously and want to
participate in leading on this and other issues. If they had been made aware of the
problem, the EC Trustees could have been a helpful resource for EC leadership. Many of
those who served as EC Trustees were/are pastors, and some had prior experience
dealing with sexual abuse issues. For example, some EC Trustee pastors and educators
told us they had dealt with reporting requirements in the past,355 and one pastor himself
had reported the sexual abuse of a minor to the police.356


The EC Trustees with whom we spoke provided many suggestions for improvements,
which we have incorporated into our formulation of the report recommendations. While
we cannot recount all EC Trustee comments, the following sentiments show how some
EC Trustees believe the EC could better respond to sexual abuse allegations in the future:


      •   The SBC needs a culture that permits dealing with the issue…They must admit a
          problem to deal with the problem.357


      •   Lack of transparency was the big issue with the EC and the churches.358


      •   There should be a compassionate response to survivors rather than asking what
          does this mean to the SBC.359

      •   The EC wants to be transparent and trustworthy, ensure churches are safe places,
          and provide pastors with resources and the ability to respond well.360


      •   It would be good for survivors to have someone to talk to, and the Credentials
          Committee Portal is not a substitute for that.361




355 Interview Memoranda of EC Trustees 16 and 19.
356 Interview Memorandum of EC Trustee 11.
357 Interview Memorandum of EC Trustee 21.

358 Interview Memorandum of EC Trustee 6.

359 Interview Memorandum of EC Trustee 22.

360 Interview Memorandum of EC Trustee 23.

361 Interview Memorandum of EC Trustee 24.



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      •   This investigation is the most positive thing the SBC is doing…Our job is not to
          guard the institution but to guard the truth.362

In addition to our interviews with EC Trustees, we also conducted a social media review
of Twitter accounts for the 202 EC Trustees and other prominent SBC leaders who served
from 2012 to the present. For those individuals who had Twitter profiles, we searched for
mentions of sexual abuse and/or assault; positive and negative interactions with
survivors; calls for change within the SBC regarding sexual abuse policies; and relevant
topics discussed in EC meetings concerning and addressing sexual abuse.


Of the 202 EC Trustees and other leaders reviewed: 100 did not have Twitter accounts;
3 had private Twitter accounts; 21 were considered inactive; and 4 were deceased. Of
the others, 40 tweeted about sexual abuse and 34 did not mention sexual abuse.


The tweets regarding sexual abuse were largely supportive of the need for change within
the SBC and/or were positive toward survivors. We identified one EC Trustee who had
interactions with survivors on Twitter that were received negatively by those survivors and
others. The negative interactions are discussed in Section V of this report, infra. Below
we include some examples of more positive interactions.


      •   EC Trustee 26 had open streams of communication with survivors. He stated that
          he hopes for the SBC to move towards justice. He also suggested motions that the
          SBC should consider in order to correct the EC’s handling of sexual abuse. He has
          tweeted, “I stand with any victim of abuse. Leadership should never cover up sinful
          actions and should be accountable for when they have failed their congregations.”
          (6/5/2021)

      •   EC Trustee 1 has also had open communication with a survivor, who tweeted
          requesting him to share the survivors’ stories with his church members,
          association, and SBC leaders, to which he complied. He has tweeted as a Trustee
          he is trying to move towards justice for the survivors and awareness of the sexual
          abuse issue.



362   Interview Memorandum of EC Trustee 25.

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   •   EC Trustee 27 tweeted, “Being on this (executive) committee is miserable, but not
       even in the same universe compared to what they (survivors) endured and how
       they were treated.” (9/28/2021)

   •   EC Trustee 28 has tweeted, “I am thankful for brave victims who endure an extra
       measure of pain to expose the darkness of abuse. Our sympathy is not enough.
       We must take swift action to make way for justice and healing.” (2/19/2019) He
       also expressed frustration: “After listening to Jennifer Lyell tell her story I am
       grieved, angry, and disappointed in leadership who recently called out the
       Executive Committee as cowards when in fact their own cowardice is why we are
       here.” (10/1/2021)

   •   EC Trustee 18 tweeted thanking GuideStone for providing MinistrySafe webinars
       for churches, “Thanks GuideStone for providing MinistrySafe webinar for churches
       today. Wealth of helpful information for churches. Highly recommend to other
       church leaders who may have missed this event!” (3/21/2019) He also thanked Dr.
       Greear for his words at the 2021 Annual Meeting: “Thankful for the leadership of
       JD Greear for the last 3 years at the 2021 Southern Baptist Convention. Powerful
       words to our convention today. We need hard truth he has brought today.”
       (5/15/2021)


       C.      EC Staff Survey and Interviews

As part of our investigation, we also conducted interviews with approximately 42 current
and former EC Staff Members. While we discuss specific information provided by those
staff members throughout this report, in this section we describe some of the staff’s
general perceptions about EC workplace culture and attitudes toward sexual abuse
allegations.


We also conducted two anonymous surveys of EC employees to gather their impressions
of EC workplace culture, with a specific emphasis on sexual harassment and abuse
prevention. The first survey was disseminated to the current EC staff on December 22,
2021 and was closed on January 7, 2022. The second survey was disseminated to current
EC staff after all staff interviews were completed on April 4, 2022 and was closed on April
8, 2022.



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Finally, we reviewed the EC’s employee/personnel handbook, which include written
policies and procedures relating to harassment, abuse and inappropriate conduct; training
materials; and leadership communications.363 Our observations about those policies are
set forth below.


              1.     Staff Interviews

Through our interviews of current and former EC staff and our survey of current
employees, we developed an understanding of the EC’s historic and current culture and
work environment. Unsurprisingly, given the variety of employees with whom we spoke
and who completed the survey, we gathered a variety of opinions on the positives and
negatives of the EC culture. We did not assess the accuracy of employees’ perceptions
or opinions. Nonetheless, the comments recounted herein are provided as insight, and
several themes emerged from employees’ responses to our interview questions and our
survey.


EC staff members told us that the EC would benefit from better communications from its
leaders with respect to issues relating to sexual harassment and abuse, or other sensitive
topics like leadership changes. According to EC staff members, the EC culture is to take
care of things quietly with no details shared, to keep it out of the press. For example, a
number of EC staff members told us they were confused when Dr. Page suddenly
resigned and they were kept in the dark as to why.364


Many EC staff members said they do feel valued and appreciated by their leaders and
colleagues and enjoy working at the EC. However, some female EC staff members felt
women were underrepresented at leadership levels, though this has improved in the last
three years, and that some male leaders could be dismissive of female opinions. Some
female staff members said they did not speak up when disagreeing with a male leader


363https://solutionpointintl.sharepoint.com/:w:/s/SBCECInvestigation/EW5aAyAHGT9MhgaWbcoOTGUBO

XofeYDjmvQTqtsm8zPGgA?e=eWfvvO SBC EC Investigation - Personnel Policies Manual Revised June
2019 (Final).pdf - All Documents (sharepoint.com).
364 Interview Memoranda of EC Staff Members 4, 7-10.



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and would let it go. Others said that they have been subjected to demeaning, objectifying
comments or been patronized, dismissed, and disrespected.365


Six EC staff members told us that they believed survivor calls came into the EC, and were
directly transferred to Mr. Boto’s office.366 The EC staff members did not know how many
survivor calls came in. Information about survivor calls was generally kept by Mr. Boto,
Dr. Page, and Dr. Oldham. One EC staff member heard Dr. Page make critical comments
about Christa Brown, and Dr. Page said he regretted some of the words. 367 They noted
that EC staff was not given any insight into the abuse issue or training on how to handle
a call if it came into them. One EC staff member said that Mr. Boto did not think sexual
abuse was a big deal and had defended some of Dr. Patterson’s comments and said he
could not do anything about him.368 Four EC staff members said that EC leadership’s
concern was protecting the reputation of the SBC,369 and three staff members opined that
Dr. Floyd wanted to resolve sexual abuse issues quickly so he could focus on other
matters such as Vision 2025.370


Five EC staff members said that EC leadership had a fear of legal ascending liability,
which drove their resistance to stepping in to help with sexual abuse issues.371 For
example, one EC staff member was involved with writing and editing a Church Financial
Guidebook that contains best practices for church financial and hiring-related issues. The
EC staff member, on his own volition, researched and included a section on Safe Church
in the guidebook as well as resources on sexual abuse. Mr. Boto instructed the EC staff
member not to mention his EC staff position in the book, so that the EC would not be
liable for an error made by a local church after giving them that information about sexual




365 Interview Memoranda of EC Staff Members 1, 4, 10-12.
366 Interview Memoranda of EC Staff Members 2, 8, 12-15.
367 Interview Memorandum of EC Staff Member 13.

368 Interview Memorandum of EC Staff Member 11.

369 Interview Memoranda of EC Staff Members 1, 5, 9, and 14.

370 Interview Memoranda of EC Staff Members 1, 4-5.

371 Interview Memoranda of EC Staff Members 1, 6, 13-14.



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abuse. The EC staff member said that ascending liability was used as an excuse from the
first day he started work at the EC.372


Another EC staff member said that, at Executive Leadership Team meetings, when there
was reference to sex abuse cases that occurred at the churches or entities, the discussion
was “always about keeping arms distance due to ascending liabilities.” The EC staff
member noted that a pastor had come to the EC seeking advice about an abuse matter
involving a youth minister with a young girl. Mr. Boto had said the EC could only point the
pastor to an attorney. According to the EC staff member, the pastor was disappointed
that the EC could not help him or comment on what he should do.373


Many of the veteran EC staff mentioned that there were cultural changes in the EC under
different EC Presidents.374 According to those EC staff members, Dr. Chapman was a
good administrator who maintained a good work culture; EC staff members felt respected
under Dr. Page but noted he was less engaged than Dr. Chapman as he traveled often
so Mr. Boto maintained a stronger presence; there was a difficult transition under Mr. Boto
because of the way Dr. Page departed, and the lack of transparency about his departure;
and EC staff members felt that Dr. Floyd did not trust them and trusted outside
voices/leaders more,375 although the EC staff members expressed appreciation for Dr.
Floyd’s efforts to bring more diversity into the EC staff.376

               2.      Survey Results


EC Staff Initial Survey


To gather employees’ opinions on how the EC handles issues relating to abuse, we
developed a 14-question survey that was made available to all of current EC staff that


372 Interview Memorandum of EC Staff Member 13.
373 Interview Memorandum of EC Staff Member 14.
374 Interview Memoranda of EC Staff Members 4, 7, 9, 11, 13-16.

375 Interview Memoranda of EC Staff Members 1, 4-6, 10-11, 14-15.

376 Interview Memoranda of EC Staff Members 17-20.



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had been hired prior to June 2021.377 The survey was anonymous, but employees could
indicate if they wished to speak to Guidepost and could provide their contact information.
We achieved a high rate of participation in the survey: 25 of the 26 current EC employees
(96%) responded to our survey questions.


EC Staff Follow-up Survey


Guidepost administered a follow-up survey for the EC Staff in April 2022.378 The purpose
of this survey was to give staff another opportunity to share their thoughts, after having
been through the interview process. The survey focused on the issue of sexual abuse
and the EC’s ability to respond to those concerns as raised from the June 2021
Messengers’ motion. The participation rate was 74%, with 17 of 23 current staff
responding. A copy of both the initial and follow-up surveys including the survey results,
are attached as Appendix F.


               3.      EC Personnel/Harassment Policies


Guidepost reviewed the Personnel Policies Manual to examine if sexual abuse and
harassment reporting policies and procedures were clear within the EC organization itself.
There is only one known reported incident of sexual harassment in the EC organization
documented during the 2000 – 2021 timeframe.


From our review of the file of that incident, it appears that this was a singular situation
and does not indicate a pervasive culture of harassment within the EC. In reviewing the
EC’s personnel policies, and how EC’s leaders and HR personnel responded to this




377https://solutionpointintl.sharepoint.com/:w:/s/SBCECInvestigation/EegSpgdfC2VJlxX8g2f-

dM0Bum6DUZiIvcIEhopSaNRW3g?e=4LTouK SBC EC Investigation - FINAL EC Survey Questions
12.2021.pdf - All Documents (sharepoint.com).
378https://solutionpointintl.sharepoint.com/:w:/s/SBCECInvestigation/ETHGzM2RHNxNsxp8IV9KnH0B14

mmw5hM3uA3vA740nCLHA?e=o2svgj SBC EC Investigation - EC Survey - Post Interviews 4.2022
FINAL.pdf - All Documents (sharepoint.com).

                                                 132

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incident, we identified several aspects of the organization’s response that were lacking.
Some points for improvement include:


   •   EC’s definition of harassment can be better defined and explained by offering more
       examples.
   •   EC written policies do not explain the specific procedures for reporting,
       investigating, and addressing complaints in areas of harassment, employee
       conduct, workplace conflict or other inappropriate employee behavior.
   •   EC policies do not include defined written investigative procedures with specific
       steps or any requirements about documenting findings.
   •   EC policies do not have written guidance as to who has decision-making authority
       with respect to opening or closing an investigation, imposing disciplinary action, or
       notifying the EC Trustees about an investigation, should the need arise.
   •   With respect to reporting, the employee handbook tells to whom to report, but does
       not specify how to report, or provide a method of anonymous reporting. A few
       employees told us that they were not sure of the exact reporting protocols, and
       would report to their supervisor or a female Executive Assistant.
   •   There is also no written guidance for managers as to when they should or must
       escalate a reported allegation to HR.
   •   The EC does not have any procedures governing how an accused employee may
       internally respond to allegations or appeal any adverse finding.
   •   There are no provisions governing confidentiality, including what can be
       communicated to the reporting party, the accused party, or other employees during
       or at the conclusion of an investigation.
   •   EC Personnel Manual does not contain whistleblower protections.
   •   There is no guidance on the circumstances that would lead to a warning, what type
       of warning might be warranted (verbal or written), the memorialization of any
       warnings, or the escalation of disciplinary action if the misconduct persists.
   •   Reporting procedures do not provide for an appeal process.




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We provide suggestions for correcting these deficiencies in our recommendations
section.


       D.       Survivor Interviews


We cannot provide a precise number of the survivors of sexual abuse within SBC
churches, and certainly many of them never reached out to the EC about their abuse. We
note, however, that some within the EC were aware of the existence of Southern Baptist-
related sexual abuse allegations for many years. At Mr. Boto’s behest, in 2007 an EC
staff member started compiling a table of sexual abuse reports using public sources,
including the abuser’s name, year reported, relevant news articles, state, and
denomination. The latest iteration of the table contains the name of 703 abusers, with 409
believed to be SBC-affiliated.379


Our investigative team reviewed the list and conducted significant research to assess
whether any of the alleged abusers were still associated with an SBC church. Based on
these efforts, it appears that nine (9) people remain in active ministry or connected to
ministry. Two (2) of those people appear to be associated with an SBC church. The
remaining seven (7) appear to be associated with churches that are not SBC-affiliated.


We will provide the information regarding those persons we believe are still associated
with an SBC church to the Credentials Committee for further review. We will also provide
the information regarding non-SBC affiliated churches to the Credentials Committee to
ensure accuracy as to the denomination affiliation. We will also continue to review the
latter material to determine whether any referrals or other action needs to be taken.


During our investigation, we conducted interviews or meetings with 22 survivors. Six
additional survivors provided written information to us. We also spoke with 14 survivor

379 SBC EC Investigation - REL0000010352.pdf - All Documents (sharepoint.com). As discussed in Section
IV of this report, the existence of the list was disclosed to EC leadership in May 2019, when Dr. Oldham
noted that, for the past decade, he had been sending Mr. Boto news reports of Baptist Ministers arrested
for sexual abuse.

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advocates and six family members of survivors. From our document review, we are also
aware of other survivors who contacted the EC between January 1, 2000, to June 14,
2021. As was our protocol (see Section II.B, supra), we did not affirmatively reach out to
those survivors. On occasion throughout this report, we have cited to some of those
communications without providing identifying information about the survivor.


While some reports did not fall within the scope of our investigation, either because of
time period limitations or because the conduct was not reported to the EC, we
acknowledge the value and importance of survivors and others sharing their histories with
us. These histories underscore how sexual abuse within churches is a wide-ranging and
long-standing problem that has a profound effect on survivors and their loved ones.
During our investigation, many of the survivors we spoke with were sexually abused as
children, both boys and girls, who were of varying ages at the time of their abuse. We
also had adult survivors of clergy sexual abuse come forward to share their histories with
us.


In our interviews with survivors, they spoke of the trauma from the initial abuse, but also
told us of the debilitating effects that come from the response of the churches and
institutions like the SBC that did not believe them, ignored them, mistreated them, and
failed to help them.


Faith communities and institutions should be a place of safety and refuge, but oftentimes
for survivors of sexual abuse the church has been a negative turning point in their
recovery and their faith journey – a setback that can create a turning away from the faith
and a stunting of spiritual growth and emotional healing. When a survivor of sexual abuse
by a faith-based community member comes forward to leaders, the survivor believes that
the leaders are in a position to help them and will be a source of help, spiritual guidance,
and emotional healing. However, what they often receive are negative social reactions to
disclosures which can result in worsening symptoms of shame, depression, post-
traumatic stress syndrome, disengagement from the faith community, and even suicide.



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The response to a disclosure of abuse can have a profound impact on the healing journey
of the survivor.380 With around fifteen to thirty percent of women experiencing a sexual
assault within their lifetime,381 it is important for church leaders and others in helping
positions to understand the effect that they can have on the emotional and spiritual health
of those who trust them enough to come and confide in them regarding a sexual assault
or rape.


Research shows that most survivors disclose to find emotional support, tangible
assistance, or seek justice.382 Upon disclosing, what they receive in a response may be
totally different than what they were seeking. Negative responses to disclosures are often
referred to as “secondary victimization” or the “second rape.”383 Roughly one third to two
thirds of survivors experience one or more negative responses.384


Another problem with negative reactions to disclosures of sexual assault is that the
responses have the effect of silencing the survivor. The response tends to silence in one
of three ways - creates questioning by the victim of the benefit or effectiveness of future
disclosure; self-blaming, and uncertainty in the survivor’s mind as to whether the survivor
was really raped.385


Research has shown that disclosures in general may have a positive effect on mental
health.386 However, the reaction received by the survivor upon disclosure has an effect



380 Sarah, Ullman, Talking About Sexual Assault, Washington, DC: American Psychological Association,
(2012), Kindle.
381 Id., Chapter 1.

382C. Ahrens., R. Campbell, K. Ternier-Thames, S. Wasco, and T. Sefl,. “Deciding Whom to Tell:

Expectations and Outcomes of Sexual Assault Survivors’ First Disclosures,” Psychology of Women
Quarterly, 31 (2007): 38–49.
383 Rebecca Campbell and Sheela Raja, “Secondary Victimization of Rape Victims: Insights From Mental

Health Professionals Who Treat Survivors of Violence,” Violence and Victims, 14, no. 3 (1999): 261-75.
384 Ullman, Talking About Sexual Assault, Introduction.

385C. Ahrens, “Being Silenced: The Impact of Negative Social Reactions on the Disclosure of Rape,”

American Journal of Community Psychology, 38 no. 3/4 (2006): 263-274.
386 C. E. Ahrens, J. Stansell, and A. Jennings, “To Tell or Not to Tell: The Impact of Disclosure on Sexual

Assault Survivors’Recovery,” Violence and Victims 25, (2010): 640.

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on symptoms of depression and post-traumatic stress.387 Survivors who received a
positive response upon disclosure were better able to cope and experienced less
symptoms of post-traumatic stress; whereas negative responses increased symptoms of
post-traumatic stress.388 Disclosure can bring about or start the process of healing.
However, a negative response to disclosure has the potential to “add to the trauma of the
initial rape when social systems and informal social network members respond in ways
that are blaming or unsupportive.”389


Finally, if disclosure and response to disclosure affects mental health, it most certainly
can have a similar effect on spiritual health. In fact, “spirituality has been shown to interact
with negative psychological effects of sexual assault and rape - either to buffer or
exacerbate those effects.”390


The conundrum for survivors then becomes whether to disclose or not - choosing not to
disclose can be detrimental to mental health while disclosing to the “wrong” person is
harmful as well. A survivor’s decision to disclose their history is indeed a decision where
they have weighed the cost and the benefit and when they disclose, they have actually
decided that the disclosure to a trusted person will be helpful and is the right thing to do.


The survivors with whom we spoke told us that they felt ignored and unheard when they
reported their abuse to SBC leadership – some survivors received perfunctory and
dismissive responses while others did not receive a response at all.


We have included some of the survivors’ experiences with SBC leadership below. This is
not a complete list as there were survivors who did not want us to use their histories, and
other survivors whom we identified from our document review but who did not speak with

387 Ahrens, “To Tell or Not to Tell,” 640.
388 Sarah, Ullman and Liana Peter-Hagene, “Social Reactions to Sexual Assault Disclosure, Coping,
Perceived Control, and PTSD Symptoms in Sexual Assault Victims,” Journal of Community Psychology,
42, no. 4 (2014): 495.
389 Ullman, Talking About Sexual Assault, Introduction.

390E, Yuvarajan and M.S. Stanford, “Clergy Perceptions of Sexual Assault Victimization,” Violence Against

Women, 22, no. 5 (2016): 589.

                                                  137

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us. The narratives below are from survivors who approved our use of their histories in this
report:

          •   From 2006 – 2011, Dave Pittman, a survivor, sent letters, emails, and made
              phone calls to the SBC in Nashville, the EC, and the Georgia Baptist
              Convention Board reporting that he had been abused by a church youth
              minister named Frankie Wiley at Rehoboth Baptist Church when he was 12-15
              years old. Mr. Pittman and several others have come forward publicly to report
              that Mr. Wiley molested and raped them. Mr. Wiley has admitted to having
              numerous victims at several Georgia Southern Baptist Churches. An official
              from the Georgia Baptist Convention told Mr. Pittman that the churches were
              autonomous and there was nothing he could do but pray. Mr. Pittman reported
              that the SBC and EC never responded to his emails, never answered his calls,
              and were always unavailable for meetings. Mr. Pittman knew the statute of
              limitations had run out in his case but he wanted to stop his abuser from being
              hired and hurting others. He did not know about other survivors until he went
              public in 2011. At that time he found out two of his best friends from his youth
              group had also been abused at the same time. 391

              When JD Greear named ten churches in February 2019, he named Trinity
              Baptist Church because Frankie Wiley was active as the Music Minister at that
              church under Pastor Rodney Brown. Augie Boto provided an apology to the
              church, and the Bylaws Work Group quickly cleared Trinity Baptist. After
              intervention by Rehoboth Baptist Church Pastor Troy Bush, who obtained a
              written confession from Mr. Wiley, Pastor Brown allowed Mr. Wiley to resign as
              Music Minister at Trinity Baptist Church. It should be noted that Trinity Baptist
              has disaffiliated with the SBC and has re-employed Frankie Wiley as its Music
              Minister under Pastor Brown.

          •   A survivor and her husband sent a letter to the EC in July 2018 to report her
              experience as an adult survivor of clergy grooming and sexual abuse, and to
              inquire about ways to address clergy sexual misconduct. Survivor was
              groomed and sexually abused by her music minister over many years. While
              her abuser was allowed to resign for “lapses in judgment in his personal life,”
              they realized that there was nothing keeping him from re-entering the ministry
              at an unsuspecting church.392 Mr. Boto responded in October 2018, apologizing



391   Interview Memorandum of Pittman.
392   SBC EC Investigation - Guidestone Docs - 2.pdf - All Documents (sharepoint.com).

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           for the delay and stating that their letter had been “mis-prioritized.”393 In his
           response he mentioned the initiative to study sexual abuse and noted that the
           SBC cannot rescind clergy ordinations. He reached out by phone and then
           responded by email summing up the polity.394

       •   As a young teen, Christa Brown was sexually abused by the youth and
           education minister at her Southern Baptist church. According to Ms. Brown, the
           minister groomed her and groped her, using scripture and her own faith as a
           weapon to control her. When she was 16 years old, he sexually assaulted her
           over thirty times. After months of abuse, she disclosed the abuse to the music
           minister who was also her piano teacher. She was told not to talk about it, and
           her abuser went on to serve in Southern Baptist churches in multiple states.395

           As detailed in Section IV.A of this report, starting in 2004, Christa Brown
           reported the sexual abuse to multiple SBC leaders, her childhood church, and
           other leaders in multiple states. After Ms. Brown discovered that her abuser
           was employed at First Baptist Church of Oviedo, Florida, and before that at
           First Baptist Church of Atlanta,396 Ms. Brown’s attorney provided this
           information to the SBC but no action was taken. The perpetrator continued in
           ministry until the Orlando Sentinel published his name and he officially
           resigned.397

           In August and September 2006, Ms. Brown, with SNAP, again wrote to SBC
           leaders about the fact that her abuser continued to be in ministry. 398 At this
           point Ms. Brown had contacted at least 18 Southern Baptist leaders at the local,
           state, and national level. She also spoke at Bylaws Work Group meetings to
           urge reforms, even though she felt disrespected.

           Ms. Brown did not give up. In February 2007, she shared her history and sought
           reforms at an EC meeting. According to the Ms. Brown, during her speech an
           EC member turned his back to her and another chortled. She described her
           feelings:

393 Id.
394 Id.
395 SBC EC Investigation - REL0000000229.pdf - All Documents (sharepoint.com).

396 https://www.orlandosentinel.com/news/os-xpm-2005-10-22-baptist22-story.html; see also SBC EC

Investigation - REL0000000229.pdf - All Documents (sharepoint.com).
397 https://www.orlandosentinel.com/news/os-xpm-2005-10-22-baptist22-story.html.

398 https://plusnxt.relativity.one/Relativity/go?id=8252197-1505375;

https://plusnxt.relativity.one/Relativity/go?id=8252197-1505385.


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                I ask you to try to imagine what it’s like to speak about something so
                painful to a room in which men disrespect you in such a way. And I
                hope that you will also try to imagine the long-lasting impact this had
                on me – to speak about this horrific trauma of having my pastor
                repeatedly rape me as a child, only to have religious leaders behave
                in this way and to have not a single other person who thought it
                mattered enough to speak up.399

            In September 2007, when Ms. Brown attended a Bylaws Work Group
            open session, she was hurt by an EC member’s comment about “critics
            that lack integrity and will not be satisfied no matter what Southern
            Baptists do.” Ms. Brown stated: “I wish people could know my
            motivation. I wish they could get the e-mails I get and the phone calls I
            get.”400

            During these past 15 years, Ms. Brown told us she has received volumes of
            hate mail, awful blog comments, vitriolic phone calls, and occasionally worse.
            She received one anonymous message threatening to cut off her head. 401 On
            another occasion, she received a large brown envelope with an anonymous
            25-page diatribe delivered straight to her home, which contained violent
            imagery and threats.402 Ms. Brown said that this backlash had an enormous
            impact on her life and personhood, and she places responsibility for this harm
            on the shoulders of SBC leaders, including EC members.403

            Ms. Brown recounted that almost every SBC survivor she’s ever talked with –
            and there have been many – has said that the effort to report an abusive pastor
            caused even greater trauma than the sexual abuse itself.404

            In an effort to obtain assistance and notify the SBC about her abuser, Ms.
            Brown sent certified letters or emails to SBC president Frank Page, SBC
            president Ed Litton, SBC president Bobby Welch, EC president Morris
            Chapman, EC vice president and general counsel Augie Boto, the office of
            Convention Relations, Mr. Guenther, 18 Southern Baptist church and


399
    Christa Brown Memo to Guidepost.pdf.
400 Id.
401 https://plusnxt.relativity.one/Relativity/go?id=8252197-1505371.

402 Id.

403 Id.

404 Christa Brown Memo to Guidepost.pdf.



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           denominational leaders. Of this group, no one ever treated the sexual assault
           of Ms. Brown “as though it even mattered.”

           According to Ms. Brown, “In countless encounters with Baptist leaders, their
           words and deeds have left a legacy of hate. The lesson they taught said, ‘You
           are a creature void of any value – you don’t matter.’”405

           This has had a lasting impact on Ms. Brown. She shares that “for most people
           of faith, their faith is a source of solace. It gives them comfort and strength for
           all manner of life’s travails. It’s a powerful resource for healing. But for me, faith
           is neurologically networked with a nightmare. Sexual trauma and faith are
           inextricably seared together in my brain.” Ms. Brown shares that “it is not only
           physically, psychologically, and emotionally devasting, but it is spiritually
           annihilating. It is soul murder.”406

       •   Starting at age 14 years old, Debbie Vasquez’s Southern Baptist pastor started
           sexually abusing her. As a result of one of the many sexual assaults, she
           became pregnant with her abuser’s child. Ms. Vasquez was forced to go in front
           of her church to ask for forgiveness, but she was told she could not mention
           who the father of the child was because it would harm the church. Her abuser
           went on to serve at another Southern Baptist church. Ms. Vasquez contacted
           SBC leaders at her state convention, and in 2007, Ms. Vasquez emailed the
           EC to report her abuse by a pastor when she was a teenager.407 She asked:
           “Please open up your heart and mind and talk with some of the people who are
           trying to get things changed. Please put aside differences and compromise –
           come up with a solution together... please do not ignore and pretend this
           problem does not exist. Please help stop other people like myself from being
           hurt in the way I was hurt.”408 Her original email went unanswered and she
           emailed again. Mr. Boto offered a lengthy response assuring her they are
           looking into it but asking her not to share her communications with anyone.409

           Ms. Vasquez contacted EC leadership numerous times over many years and
           attended annual meetings and EC meetings in hopes of driving reform. In 2009,
           she asked why churches can be disfellowshipped over homosexuality but not

405 Christa Brown book, “This Little Light.”
406 Id.
407https://solutionpointintl.sharepoint.com/:w:/s/SBCECInvestigation/Efa5Xi2xCqlNjHDUKRmh10wBXVw8

mSDArj79_U9BuY-m8A?e=Q7Vzdi.
408 Id.

409https://solutionpointintl.sharepoint.com/:w:/s/SBCECInvestigation/Efa5Xi2xCqlNjHDUKRmh10wBXVw8

mSDArj79_U9BuY-m8A?e=Q7Vzdi; https://plusnxt.relativity.one/Relativity/go?id=8252197-1508087.

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               for having a minister who has sexually abused a child.410 In 2011, she again
               requested that the church be removed from the SBC listing of churches.
               Ultimately, following the Houston Chronicle series, the church was named by
               Dr. Greear in his address to the EC in February 2019. Later in 2019, the church
               voluntarily disassociated itself from the SBC.

           •   As a student, Jennifer Lyell was sexually abused by a professor while she was
               a student at Southern Baptist Theological Seminary. Ms. Lyell said the abuse
               began on a mission trip and continued for many years. In 2019, Ms. Lyell
               disclosed her sexual abuse by her seminary professor. Ms. Lyell decided to
               make her allegations public when she learned that her abuser had been
               appointed as a missionary with a non-SBC mission agency. Ms. Lyell stated: “I
               now realize that despite SBTS handling the situation justly and as I asked –
               without stating the reason for his resignation – it led to the exact kind of scenario
               the SBC is now trying to prevent…If I were not to come forward with this
               [statement], a church or ministry who receives [the abuser’s resume] and does
               an internet search for him would have no way to know the truth behind his
               resignation. There are plenty of reasons to stay silent in a situation such as
               this. But we must not be silent.”411

               At the time she reported the abuse, Ms. Lyell was a valued employee of Lifeway
               who had received every top recognition and award given to Lifeway employees.
               Several Southern Baptist and other denominational leaders supported her. She
               wanted to write a first-person account of her abuse. As discussed in detail in
               Section IV.A of this report, Baptist Press drastically changed her history and
               mischaracterized the abuse as a “morally inappropriate relationship.” This led
               to catastrophic consequences for Ms. Lyell, including the loss of her career, her
               health, and many friends and colleagues. On countless occasions, Ms. Lyell
               interacted with BP personnel and EC leaders to correct the inaccuracy, but EC
               leaders would only agree to take the article off the website, without making a
               correction.

               In June 2019, Ms. Lyell attended the SBC annual meeting in Birmingham where
               she encountered threats and harassment. She was pulled out of her chair by a
               woman who threatened her while physically restraining her, was called a
               “whore,” and was the subject of disparaging comments by pastors and sexual
               abuse survivors who considered her an adulteress.


410   https://plusnxt.relativity.one/Relativity/go?id=8252197-1510851.
411   BP ARBaptist.pdf.

                                                     142

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           Ms. Lyell asked to meet with Dr. Floyd for 10 minutes, but he responded he
           needed to get through the convention and would consider the request once
           back in Nashville.412 He never responded once back in Nashville.

           At the Caring Well conference in October 2019, Ms. Lyell again received rude
           comments calling her an adulteress. As a result of public comments by Rachael
           Denhollander in her support, Dr. Floyd requested to meet with Lyell. According
           to witness accounts, Dr. Floyd refused to accept any responsibility for the
           situation, and Ms. Lyell felt as though Dr. Floyd was simply meeting due to
           public pressure with no intention of assisting her.

            As a result of the BP inaccuracy, Ms. Lyell was forced into resigning her
           position at Lifeway. A confidential “Transition Agreement” was reached in which
           Ms. Lyell agreed to waive all legal actions against Lifeway. Ms. Lyell
           experienced significant physical and emotional harm that required medical
           treatment. Ultimately, Ms. Lyell entered into a monetary settlement with the EC
           in lieu of filing a defamation and libel lawsuit in an attempt to compensate her
           for some of her expenses.

       •   During her senior year of high school, Jules Woodson was sexually abused by
           her youth pastor. Though she disclosed her abuse to her local church, she was
           told not tell anyone and her youth pastor was allowed to leave to go to another
           church. He was given a going-away party. Almost 20 years later, in 2017, Ms.
           Woodson shared her story publicly. At that time, her abuser was a pastor in a
           Southern Baptist megachurch. He issued an “apology” in a live streamed
           church service calling the abuse a “sexual incident.” He received a standing
           ovation, and he eventually resigned. His current church knew about the abuse
           when they made the decision to hire him.413 In 2019, Ms. Woodson shared her
           experience with EC Trustee Jared Wellman, who submitted the case to the
           Credentials Committee on her behalf.414 Ms. Woodson also submitted her
           allegation to the CC in December 2019 when the portal went live. No action
           was taken for nearly one year. On November 16, 2020, Ms. Woodson received
           a status letter from CC that reported her church was removed from inquiry and
           referenced her blog. Ms. Woodson expressed to us that she was very hurt and
           offended by the letter as she did not have a blog (another survivor did) and


412 2021-12-15 report re Ronnie Floyd.docx, 6.11.19 SBC JLL Text Exchange w_RF.pdf ,
6.11.19 SBC JLL Text Exchange Reply .PNG.
413 https://www.nytimes.com/2018/03/09/opinion/jules-woodson-andy-savage-assault.html.

414https://solutionpointintl.sharepoint.com/:w:/s/SBCECInvestigation/EYYyt7OLdeBKpob6JIy6DTsB_ACU

XGFfE7lpp66J626x7g?e=TSTJgd.

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             because the CC never reached out by phone or email to discuss the decision
             with her. On Ms. Woodson’s behalf, advocate and survivor Dee Ann Miller
             contacted the Credentials Committee. Ms. Miller felt that Ms. Woodson was not
             being heard. Ms. Miller emailed and had a Zoom call with CC members. Ms.
             Miller asked questions about the process and did not receive any answers
             except that the CC had not received any training and there was not much they
             could do in this matter. Another advocate in addition to Ms. Miller tried to get
             the decision reevaluated, to no avail.415 Witness 7 completed a new submission
             form on behalf of Ms. Woodson after she had witnessed the CC‘s lack of
             communication and transparency with Ms. Woodson, but the CC said that they
             would not reconsider their original decision. Witness 7 had a phone call with
             the CC Chair, who explained that they were declining further consideration
             because there was no new or additional information presented to the CC.




             Ms. Woodson expressed to us her frustration, hurt, anger and outrage at the
             process that she was forced to utilize with the CC. She was particularly upset
             that, prior to a decision being made, she was not contacted to provide facts or
             information regarding her submission, and that the CC only spoke to the church
             that had already treated her so badly when she disclosed her abuse.




415   Interview Memorandum of Woodson.

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        •   Tiffany Thigpen grew up in a Christian home, and her family attended First
            Baptist Church Jacksonville (FBC-Jax). Ms. Thigpen was committed to her
            church and committed to going into ministry. During Ms. Thigpen’s high school
            years, Darrell Gilyard, a mentee of Pastor Jerry Vines and Paige Patterson,
            preached at FBC-Jax. She looked up to Mr. Gilyard as a pastor and friend.
            During her senior year of high school, Mr. Gilyard even asked her to move to
            Texas after she graduated to work for him at his church. Mr. Gilyard groomed
            Ms. Thigpen with late-night phone calls and promises of a summer job in Texas.
            In the spring of 1991, after a revival meeting at FBC-JAX, Mr. Gilyard attacked
            Ms. Thigpen and attempted to rape her. Ms. Thigpen fought to get away from
            him and was able to escape. She was terrified and traumatized. Ms. Thigpen
            and her mother went to Dr. Vines to tell him about the attack. Dr. Vines was
            dismissive of her report and told Ms. Thigpen that it would be embarrassing for
            her if others knew about it.416

            A 1991 story in the Dallas Morning News revealed that Dr. Patterson knew of
            allegations against Mr. Gilyard for at least four years and viewed Mr. Gilyard as
            a victim when he was fired from a church amid allegations of sexual impropriety
            in 1987. Dr. Patterson reportedly told the pastor of Hilltop Baptist Church in
            Norman, OK, that there was nothing to substantiate rumors about Mr. Gilyard.
            The Oklahoma church hired Mr. Gilyard as assistant pastor. A year later Mr.
            Gilyard returned to Dallas, as assistant pastor of Shiloh Baptist Church in
            Garland, where allegations of sexual misconduct resurfaced. Reports
            continued after Mr. Gilyard became pastor of Victory Baptist Church in
            Richardson, Texas, before resigning under a cloud in 1991.417

            In October of 2019, an EC staff member wrote an email to Dr. Floyd and others
            expounding on the maltreatment numerous survivors had received at the hands
            of the EC.418




416https://solutionpointintl.sharepoint.com/:b:/s/SBCECInvestigation/Eac4AOQMwJpGlQADr4Y370cBglbb

u3ihBWZ9a9N0gOqMuA?e=Hhy9EG.
417 https://plusnxt.relativity.one/Relativity/go?id=8252197-1508791.

418 https://plusnxt.relativity.one/Relativity/go?id=8252197-2522948.



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               The EC staff member went on to discuss the fact that 44 women had reported
               being victims of sexually inappropriate conduct by Mr. Gilyard.419




               In 2002, Dr. James Merritt, shortly after being elected SBC President, sent an
               email to Dr. Chapman referring to Mr. Gilyard as a “woman squeezer.”420 A
               Dallas newspaper reported multiple Criswell College students claimed to have
               reported abuse or suspicion of abuse by Mr. Gilyard to Dr. Patterson, but he


419   https://plusnxt.relativity.one/Relativity/go?id=8252197-2522948.
420   https://plusnxt.relativity.one/Relativity/go?id=8252197-2470169.

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           told them not to speak about it or did not return their calls.421 However, Dr.
           Patterson claimed, “I do not and have not endorsed his ministry or work and
           have made crystal clear to Mr. Gilyard that on the basis of his behavior, as well
           as his divorce, he has no business serving as pastor of a local church.”422

           In 2006, Ms. Thigpen began to help other survivors and tried to get Mr. Gilyard
           prosecuted. In 2009, he was convicted of sex crimes against two minors that
           occurred while he was a pastor at Shiloh Metropolitan Baptist Church. He
           served a three-year sentence and was required to register as a sex offender in
           the state of Florida.423 EC staff followed the media accounts about Mr.
           Gilyard.424 In 2012, Mr. Gilyard was back in the news for a probation violation.
           In February 2012, Mr. Guenther emailed Mr. Boto, alerting him that: “Gilyard,
           the convicted child molester for whom Paige Patterson once vouched, is getting
           news attention as a pastor of this church. …Is it by chance one of ours?”425 EC
           staff determined the church, Christ Tabernacle, was affiliated with the SBC. 426
           Upon learning that the church was an SBC church, Mr. Boto and Mr. Guenther’s
           emails did not discuss the gravity of convicted sex offender Gilyard being back
           in the pulpit after being released from prison, but instead discussed whether
           Messengers from the church should be seated.427

           Through blogging and supporting other survivors, Ms. Thigpen continued to
           advocate for changes in the SBC to prevent sexual abuse and to protect those
           in harm’s way. Through all these years, Ms. Thigpen had been reluctant to
           speak with SBC leaders because she did not know whom she could trust given
           her past experience and the interconnectedness of so many leaders in the
           SBC.428 In 2019, after Dr. Greear appointed a study group, Ms. Thigpen was
           hopeful and decided to try to engage leaders with ideas of change. She wrote
           to the Bylaws Work Group in February of 2019. In a seven-page letter429, Ms.
           Thigpen shared many details about the abuse perpetrated by Mr. Gilyard and
           about the survivors that were harmed by Mr. Gilyard and how he was allowed


421 https://plusnxt.relativity.one/Relativity/go?id=8252197-1508791.
422 https://plusnxt.relativity.one/Relativity/go?id=8252197-1508791.
423 https://plusnxt.relativity.one/Relativity/go?id=8252197-1507191.

424; .

425 https://plusnxt.relativity.one/Relativity/go?id=8252197-2484396.

426 https://plusnxt.relativity.one/Relativity/go?id=8252197-2484458.

427 https://plusnxt.relativity.one/Relativity/go?id=8252197-2484393.

428 https://solutionpointintl.sharepoint.com/:w:/s/SBCECInvestigation/EZFKfQom0XFPi6BMphXCeP0BSL-

fXdaQpedNVvStEg9c5A?e=8rHrce.
429https://solutionpointintl.sharepoint.com/:b:/s/SBCECInvestigation/Eac4AOQMwJpGlQADr4Y370cBglbb

u3ihBWZ9a9N0gOqMuA?e=Hhy9EG.

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           to move from church to church with prominent SBC figures like Dr. Patterson
           vouching for him along the way.430 No one on the Bylaws Work Group
           acknowledged or responded to her letter. Ms. Thigpen also made a submission
           through the Credentials Committee portal and never heard anything back from
           the Credentials Committee.431

           Ms. Thigpen communicated with Dr. Bethancourt who tried to arrange meetings
           to provide Ms. Thigpen a place to be heard.432 However, due to mistrust over
           many years, Ms. Thigpen was wary of meeting with the lawyers on the ERLC
           staff because of past actions of EC lawyers.433

           As Ms. Thigpen put it: “When a survivor tells our story it comes at a cost, the
           energy exhausted takes a toll. Imagine telling for decades to a non-receptive
           audience, to an audience who abuses you with their shame and their hateful
           words against you. Imagine simply telling your story in order to keep it from
           happening to someone else, not to destroy the abuser, but to warn the people
           what has happened so he cannot do harm to another.”434


V.     OBSERVATIONS AND CONCLUSIONS


The Messengers’ Motion called for inquiry into the actions and decisions of EC staff and
members from January 1, 2000, to June 14, 2021, with respect to allegations of abuse,
mishandling of abuse, mistreatment of victims, patterns of intimidation of victims or
advocates, and resistance to sexual abuse reform initiatives. Our findings in these
categories are summarized below.


430https://solutionpointintl.sharepoint.com/:b:/s/SBCECInvestigation/Eac4AOQMwJpGlQADr4Y370cBglbb

u3ihBWZ9a9N0gOqMuA?e=gD3ixd.
431 https://solutionpointintl.sharepoint.com/:w:/s/SBCECInvestigation/EZFKfQom0XFPi6BMphXCeP0BSL-

fXdaQpedNVvStEg9c5A?e=8rHrce.
432https://solutionpointintl.sharepoint.com/:b:/s/SBCECInvestigation/EUmml1HmPltLlTSiFt44DeIBhXnTBE

k6WgdiVa5HUHmPRg?e=cVUGYt.
https://solutionpointintl.sharepoint.com/:b:/s/SBCECInvestigation/Ec-C8AWsvmVIrmKHvQxYBtQBUM-
GQy_mqHRLze2xD3lzkg?e=q3GgXa.
433https://solutionpointintl.sharepoint.com/:b:/s/SBCECInvestigation/EUmml1HmPltLlTSiFt44DeIBhXnTBE

k6WgdiVa5HUHmPRg?e=cVUGYt.
https://solutionpointintl.sharepoint.com/:b:/s/SBCECInvestigation/Ec-C8AWsvmVIrmKHvQxYBtQBUM-
GQy_mqHRLze2xD3lzkg?e=q3GgXa; Interview Memorandum of ERLC Staff Member 6.
434 https://solutionpointintl.sharepoint.com/:b:/s/SBCECInvestigation/Ec-C8AWsvmVIrmKHvQxYBtQBUM-

GQy_mqHRLze2xD3lzkg?e=C680CO.

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          A.      Allegations of Abuse Committed by Executive Committee Members


As per the Motion, we were asked to examine allegations of abuse during the relevant
time period. During the course of our investigation, an SBC pastor and his wife came
forward to report that former SBC President Johnny Hunt (2008-2010), who was the
immediate past SBC President at the time, had sexually assaulted the wife on July 25,
2010. The allegations include grooming of the wife during Dr. Hunt’s term as SBC
President. At the time of the allegations, Dr. Hunt was also Senior Pastor at First Baptist
Church, Woodstock, Georgia. Dr. Hunt extended his July sabbatical to mid-September
after the alleged incident.435


The husband, an SBC pastor for 25 years (“Pastor”), had a professional relationship with
Dr. Hunt, whom he considered a mentor. Pastor and his wife (“Survivor”) told us that prior
to the assault, Dr. Hunt groomed the couple with flattery and promises of help in ministry.
They also reported that Dr. Hunt gave an unusual amount of attention to Survivor,
including making remarks about her appearance and comments of a sexual nature, and
unwelcome touching including kissing her hand.


The couple stated that, after the assault, they were silenced by Dr. Hunt and the staff
counselor at First Baptist Church Woodstock, who convinced them they should not talk
about what happened. Recently, as Pastor was completing his doctorate while studying
clinical counseling, conflict resolution, and peacemaking, and as Survivor entered therapy
with a licensed trauma therapist, they began to process what they had experienced, and
contacted us with this report.


We conducted multiple interviews with the couple, who relayed the following information:


          At the June 2010 annual meeting, Dr. Hunt invited the couple to come spend
          some time with him and his family at Panama City Beach while he was on

435   https://www.baptistpress.com/resource-library/news/johnny-hunt-wife-extend-leave-of-absence/.

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     sabbatical for the month of July. Pastor and Survivor looked up to Dr. Hunt
     as a spiritual father figure. Dr. Hunt is 24 years older than the couple, with
     daughters close in age to Survivor.

     The couple did take a short vacation to the beach, staying at a separate
     location, and spent some time with the Hunts. At one point, Dr. Hunt kissed
     Survivor on the forehead and made inappropriate comments about
     Survivor’s figure.

     After the trip, Pastor told Dr. Hunt that Survivor wanted to return to the beach
     before school started to hear Bobby Bowden speak at Highland Park Baptist
     Church in Panama City Beach. Pastor asked Dr. Hunt’s advice on securing
     a condo for her. Dr. Hunt gave him a phone number for a condo owner in
     his complex. Pastor called, and the owner told him to book directly on
     VRBO. Unbeknownst to Pastor, it was the unit next door to Dr. Hunt’s
     condo.

     On Saturday July 24, 2010, Pastor texted Dr. Hunt and asked him to keep
     an eye out for Survivor, and Dr. Hunt responded that he would take care of
     her and that his family will keep an eye out. Pastor and Survivor said they
     trusted Dr. Hunt and were under the impression that Dr. Hunt and his family
     would be at the beach, and Survivor could contact them if she needed
     anything.

     On July 25, 2010, Survivor drove to the beach and made several stops –
     the church to hear Bobby Bowden speak, her childhood home and school,
     and the first church her husband pastored. Upon arrival at the condo,
     Survivor texted her husband and Dr. Hunt a picture of the ocean, letting
     them both know that she had arrived.

     Dr. Hunt texted her asking what condo she was in. She responded with the
     number, and he replied that it was right next door and told her to step out
     on the balcony. Survivor was surprised that the condo her husband had
     rented was right next door to the Hunts’ condo. Dr. Hunt and Survivor
     conversed from their respective balconies. He brought her a bottle of water.
     Survivor recalled Dr. Hunt shifting the conversation from ministry to flattery
     about her appearance, her clothing, and her perfume. Dr. Hunt remarked
     that he was hot from being in the sun, and Survivor said he could come sit
     in the shade on her balcony. Survivor described the balconies as side by



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     side with no ability to cross from one to the other. Survivor assumed that
     Dr. Hunt’s wife and family were inside his condo unit.

     Dr. Hunt came into Survivor’s condo and they continued their conversation
     on Survivor’s balcony. Dr. Hunt asked her if she felt safe and she said that
     she did. She did not know why he would ask such a question. He then told
     the Survivor to put her feet on his knee; he touched them while commenting
     on their beauty and size. At one point, he remarked that he was
     uncomfortable sitting outside because he didn’t want to be seen so he
     suggested that they go inside.

     Dr. Hunt pointed to the bedroom and said that he guessed that they didn’t
     need to go in there. She objected by emphatically saying “No!” In the living
     room, Dr. Hunt asked about ministry and church frustrations. Dr. Hunt slid
     closer while Survivor was telling a story of the stress that she and her
     husband were under at the church. He asked her more personal questions
     about her life – like “have you ever done anything like this before?” and “if
     she was wild growing up?” She was confused and not sure of what he
     meant.

     Dr. Hunt then moved towards Survivor and proceeded to pull her shorts
     down, turn her over and stare at her bare backside. He made sexual
     remarks about her body and things he had imagined about her. During this
     time, Survivor felt frozen. Survivor said these were some of the longest
     moments of her life. She mustered the courage to ask him could she turn
     back over, and Dr. Hunt said yes. When she turned back over, she began
     to pull up her shorts. Dr. Hunt then pinned her to the couch, got on top of
     her, and pulled up her shirt. He sexually assaulted her with his hands and
     mouth. Suddenly, Dr. Hunt stopped and then stood up. Survivor pulled down
     her shirt. Survivor said she did not want him to ruin his ministry, at which he
     responded he did not want to ruin hers. But he then forced himself on her
     again by groping her, trying to pull her shirt down, and violently kissing her.
     Survivor did not reciprocate, but rather stood eyes open and very stiff,
     hoping he would just stop and leave. He finally stopped and left.

     She locked the door behind him and felt very shocked, confused, and
     violated. After he left, she tried to unpack her suitcase, and she fought back
     tears and felt overwhelmed by the shame of Dr. Hunt’s sexual assault. Later
     Dr. Hunt texted her about coming out on the balcony. She wanted to sort
     out what had just happened, so she went outside. In a brief exchange, Dr.


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     Hunt stated that he would like to have sex with her three times a day.
     Survivor could not believe what she was hearing and could not get back
     inside her own condo quickly enough.

     The next morning, Dr. Hunt texted her again to come out on the balcony at
     9:30 am. He apologized and said that she did not need what had happened
     and needed a pastor instead. He asked her to forgive him, and Survivor said
     that she would. Dr. Hunt inquired if she had girlfriends that she would tell
     what happened. He told her not to mention what happened to anyone. She
     said that she would not mention it. He invited her to come down to the beach
     with him and his family. She said no, but he insisted and would not take no
     for an answer. She went down to the beach, sat in her own beach chair,
     and spoke with her husband by phone while on the beach.

     On Tuesday, July 27th, Survivor attempted to confront Dr. Hunt about the
     assault, but never saw him. That morning, Survivor saw Dr. Hunt’s wife, who
     confronted Survivor and told her that she doesn’t know what Survivor is
     doing there, that Survivor needed to leave, that she didn’t care where
     Survivor went, and that Survivor needed to leave that day and to stop talking
     to her husband. Survivor was very upset and called her husband who told
     her to just leave and come home. At that time, Pastor did not know that
     Survivor had been sexually assaulted. She left quickly because she did not
     want to see the Hunts after all that had happened.

     Several days later, Dr. Hunt contacted Pastor and told him that they needed
     to meet at Pastor’s church, FBC Woodstock, on Monday evening, August
     2, 2010. Dr. Hunt met the couple there, accompanied by Roy Blankenship,
     a Counseling Pastor at FBC Woodstock. During the discussion, the Pastor
     learned for the first time that Dr. Hunt had sexually assaulted Survivor. Dr.
     Hunt mischaracterized his assault of Survivor, admitting to a light kiss,
     touching the Survivor’s breasts over the clothes, and trying to pull her shorts
     down. He stated that “thank God I didn’t consummate the relationship.”

     Survivor and Pastor stated that Mr. Blankenship said that in his expert
     opinion an inappropriate relationship had developed, and that based on his
     information it was consensual. Survivor states that at the time she believed
     that, even though she did not consent to what Dr. Hunt did to her, she was
     made to feel it was consensual because she did not fight back. When
     Survivor attempted to provide her version of the event, both Dr. Hunt and
     Mr. Blankenship spoke over her.


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       Survivor and Pastor stated that Mr. Blankenship told the couple that he had
       cleared his calendar and was going to initiate counseling for them. That
       week, the couple began to meet with Mr. Blankenship, who forbade them
       from discussing what happened on July 25th. On August 5th, Mr.
       Blankenship brought Dr. Hunt, his wife, Pastor, and Survivor in for another
       meeting at HopeQuest, a counseling ministry, to bring closure to the events
       on the 25th of July. Dr. Hunt and Mr. Blankenship stated that they could
       never talk about what had happened, and that if they did, it would negatively
       impact the over 40,000 churches Dr. Hunt represented. Dr. Hunt asked for
       Pastor’s forgiveness, and Pastor said he agreed. After Pastor agreed, Dr.
       Hunt asked Pastor if Dr. Hunt needed to step down from FBC Woodstock.
       Pastor said no.


According to the couple, they felt great emotional stress and pain from the directives to
forgive, forget, move on, and never tell. They shared that they have suffered financial and
ministerial struggles directly related to the trauma they experienced. Dr. Hunt has
remained in contact with Pastor even as recently as October 2021, reaching out every so
often to partner on Biblical writing and offering to help with employment.


Pastor provided us with a hard drive on which he kept an electronic journal that contains
entries related to the counseling sessions with Dr. Blankenship, as well as some audio
recordings of the counseling and Pastor’s thoughts following the counseling sessions.
Guidepost has confirmed forensically that the data on the hard drive was in fact created
in 2009-2011, which corroborates the counseling relationship between Mr. Blankenship
and the couple.


Guidepost investigators reached out to Mr. Blankenship to discuss the couple’s report.
Investigators confirmed that, in 2010, Mr. Blankenship served as counseling minister at
First Baptist Church Woodstock and CEO of HopeQuest, a counseling ministry. State




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licensing records from the time indicate that Mr. Blankenship was not a licensed
counselor.436 Mr. Blankenship is no longer a Southern Baptist.


After multiple attempts to schedule an interview with him via email, Guidepost
investigators decided to approach him at his office on May 9, 2022. He initially refused to
speak with investigators, but then said he would speak with them for just 20 minutes. He
agreed to speak with investigators in his office.


When investigators told him what they wanted to question him about, Mr. Blankenship
expressed concern for Survivor and Pastor, but he also said he did not want to betray a
confidence. The investigators explained that they had a waiver from the couple to discuss
their information. Mr. Blankenship did not offer a narrative of what happened, but he said
he was willing to answer yes or no questions.437 During questioning, at times he provided
more than a yes or no answer.


Mr. Blankenship confirmed that Dr. Hunt’s extended sabbatical in 2010 was not related
to exhaustion.438 He also confirmed that there was an incident in Panama City Beach
involving Dr. Hunt and the Survivor. From the information he recollected, Mr. Blankenship
said that Dr. Hunt had kissed Survivor and touched her breast over her clothes. He did
not recall anything about pulling down pants. Mr. Blankenship stated that he did not think
he received the full story. He confirmed that, at the time, his assessment was based on
what Dr. Hunt told him and that the sexual contact was consensual.




436https://solutionpointintl.sharepoint.com/:i:/s/SBCECInvestigation/EfrVuTuSq6lNkFZYsqFPZcoBnX3DlR

Hy5tZbqHlOmSPwgQ?e=UvOSYh;
https://solutionpointintl.sharepoint.com/:i:/s/SBCECInvestigation/ESb2zWm0HoVGhCa3Uq3uM7sBFFs3
MDsKbEjfPoN7x6mWLw?e=zLz6og;
https://solutionpointintl.sharepoint.com/:i:/s/SBCECInvestigation/EdsemjgFd4hHlxG7JbUKkSsB_CeKq1Q
HTytXPaYDJgXdDA?e=F7F4hL.
437https://solutionpointintl.sharepoint.com/:w:/s/SBCECInvestigation/EZkfLXA-

CKhCkjmTlihuRjgBmVd8mskWwAHelo_xwslrnw?e=mX4IlY.
438 http://m.bpnews.net/33492/johnny-hunt-wife-extend-leave-of-absence.




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Mr. Blankenship stated that he and Dr. Hunt agreed to meet with the couple the following
week, and they did in fact meet at Pastor’s church. He stated that Dr. Hunt did not
dominate the meeting, but he did apologize to Pastor, and Pastor said that he forgave
him. When asked if Survivor gave an account of what happened, he said she could have
spoken up, but she stayed silent. He went on to say that Dr. Hunt was the one with the
power advantage and he should have been the one to stop it, adding but “it takes two to
tango.” He said he had been around for a while, and he knew how things worked. He
questioned how Dr. Hunt and Survivor ended up in condos next door to each other. He
called it a “he said/she said” situation, and he had no proof.


Mr. Blankenship also confirmed that a second meeting took place at HopeQuest and that
Dr. Hunt and his wife as well as Survivor and Pastor were present. At that meeting, the
couples were present to forgive, forget, and move on. Mr. Blankenship stated that he did
remember Dr. Hunt saying that if this (story) got out, it could negatively impact 40,000
churches. He does not think this was said at that first meeting, but he does remember it
being said at some point. Mr. Blankenship said that he was focused on helping the couple.


The interview lasted more than 45 minutes. Mr. Blankenship was guarded and hesitant
to answer many of the investigators’ questions, refusing to answer some while responding
with details for others. He did not want to speak about anything related to his work with
the couple in counseling.


Our investigators found Mr. Blankenship to be credible. As stated above, he did not seek
to participate in the investigation and only reluctantly agreed to speak with investigators.
He reported very similar details and events to those reported by Survivor and Pastor, with
the only significant difference being on the issue of consent.




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In addition to Mr. Blankenship, Guidepost investigators interviewed three additional
witnesses with relevant information. Witness 1439 is a pastor and has been in ministry for
over forty years. He has known the Survivor her whole life and her husband Pastor is like
a son in ministry to him.


Witness 1 stated that he had a conversation with Pastor in 2010 and said it was like an
atomic bomb. He shared that they were riding in a car and Pastor said that Dr. Hunt had
made advances toward Survivor and it was not appropriate behavior. He remembered
Pastor saying that Dr. Hunt had helped him find a condo to rent for Survivor. Pastor told
him that it happened at a beach condo, and that Dr. Hunt had kissed her, touched her
breast, undid her shorts, and that it may have stopped there. Pastor also told him that Dr.
Hunt wanted to talk and the couple met with Dr. Hunt and a counselor where Dr. Hunt
admitted that it was inappropriate but told Pastor that it didn’t go all the way. Witness 1
said Pastor told him that Dr. Hunt asked for forgiveness and Pastor forgave him.


Witness 1 stated that both Pastor and Survivor respected Dr. Hunt and valued their
relationship with him, and he was not aware of any conflict between Dr. Hunt and the
couple prior to this incident. Witness 1 has known Dr. Hunt for over 20 years and traveled
with him on international mission trips. He also stated that he could never see Survivor
being an instigator in this situation. Witness 1 says that this has affected Pastor and
Survivor’s ministry and wondered what their ministry trajectory would have been if this
had not happened.


Witness 2440 is currently a senior pastor in a Southern Baptist church, who worked closely
in the same church with Pastor for over six years. He stated that Pastor had confided in
him sometime around 2012. After a conference where Dr. Hunt was speaking, Pastor
told him that Johnny Hunt is not what you might think. Witness 2 said that Pastor told him


439https://solutionpointintl.sharepoint.com/:w:/s/SBCECInvestigation/EcdUbPziRfNHgK5sTGHjJWIBOdEA

82-Jn5E-L8WFIiqZww?e=1XGeGj.

440https://solutionpointintl.sharepoint.com/:w:/s/SBCECInvestigation/EWn8yF4lsGlMk_sIpYL8M3oBrvXe_

Fp8kVR-Lc2ip3mjKw?e=wG8amh.

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about Dr. Hunt abusing Survivor. Pastor did not give specific details but shared that it was
sexual in nature. He also said that Pastor felt pressured by Dr. Hunt to forgive him.
Witness 2 shared that this has affected Pastor’s ministry and he deals with anger because
of it. He stated that it was very hard on Pastor when Dr. Hunt was hired by the North
American Mission Board (“NAMB”). He also shared that Survivor is an amazing person,
and that he observed how hard it is for her to trust people in the church.


Witness 3441 has served as a bi-vocational pastor in Southern Baptist churches and
worked in local and state conventions. He is currently a minister in residence in a
Southern Baptist organization. He had a coaching/mentoring relationship with Pastor and
has known him for four years and said that during his work with Pastor, Pastor told him
about Dr. Hunt making advances on Survivor and groping her and then subsequently
covering it up. Pastor also shared that Dr. Hunt had apologized to Pastor for it. Witness
3 stated that he has seen the hurt that this has caused Pastor and it has affected his
ministry.


Guidepost investigators found all three witnesses to be very credible with clear
recollections of Pastor’s statements to them. The witnesses are all still very much involved
and committed to Southern Baptist life and the Convention.


As Guidepost investigators were investigating the couple’s report, they interviewed Dr.
Hunt on two occasions.442 During the first interview, Dr. Hunt was asked standard
questions related to the actions of the EC as detailed in the Messengers’ Motion.
Guidepost investigators did not directly confront Dr. Hunt at that time, as investigators
had not yet spoken to key witnesses for corroboration.



441https://solutionpointintl.sharepoint.com/:w:/s/SBCECInvestigation/EbOnYO3L1QZLmndFh5IlFlUB9oyn

CY-5P7HSJ79BVTL13A?e=1z9t1D.
442https://solutionpointintl.sharepoint.com/:w:/s/SBCECInvestigation/EYlU6XzqMOVBuVay89itZFABcQjjG

Hi0qPvelx5ao2E7Kw?e=9fjpio;
https://solutionpointintl.sharepoint.com/:w:/s/SBCECInvestigation/EdBXfBl_33RMtPf3xBZtBzkBRBVo7bh
Nk1IWdAt1n7zaVg?e=8RXCkK.


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During the first interview, Dr. Hunt did acknowledge that, during his publicly-announced
extended sabbatical, he was under the care of Mr. Blankenship. When asked if the
sabbatical was at all related to a sexual abuse matter, he replied in the negative.
Investigators asked Dr. Hunt several questions about Pastor’s church, without identifying
Pastor. They asked if Dr. Hunt knew the circumstances of the resignation of the senior
pastor at that church, who suddenly and without explanation resigned in 2010. Dr. Hunt
stated that he did not know who Pastor was, or why he had resigned. Dr. Hunt was also
asked about the City of Refuge program affiliated with FBC Woodstock, a program for
pastors who have a personal crisis but who wish to reenter ministry, which was started
by Dr. Hunt and run by Mr. Blankenship. Dr. Hunt spoke about pastors making bad
choices and that they might say to themselves “I can’t believe I did this – one night slipped
up” and they are now repentant and broken, and that they should be reconciled.


After interviewing several individuals with relevant information, Guidepost investigators
set up a second interview with Dr. Hunt. When questioned if he knew why investigators
wanted a second interview, Dr. Hunt responded that he did not know. Guidepost
investigators explained to Dr. Hunt that they had received an allegation of abuse involving
him and if he knew what they were talking about; Dr. Hunt responded that he was “totally
in the dark.”


In the second interview, Dr. Hunt acknowledged this time that he knew Pastor. Dr. Hunt
stated that he had known the couple for at least twenty years, that Pastor had been
converted under his ministry, and that Dr. Hunt had been a strong influence on Pastor’s
life. For a time, they pastored churches in the same state. Dr. Hunt said that while Dr.
Hunt attended the 2010 annual convention, he does not remember any personal contact
with the couple and does not think he spent any personal time with them. He shared that
he takes time off every year in July, but he does not remember having the couple as
guests when he was in Panama City Beach, but says they may have had lunch one time
during that period of vacation.




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Investigators asked if at some point Pastor had contacted him about finding a place to
rent for Survivor to come back down to the beach for a week. Dr. Hunt did not remember
Pastor asking for information, nor did he recall providing a phone number to help find a
place. Dr. Hunt did state that he remembers Pastor calling to say Survivor was coming to
the beach and that his family would look out for her. Dr. Hunt remembered Survivor texting
him a picture of the pier saying that she was there. When asked if he knew where she
was, Dr. Hunt said that unbeknownst to him Survivor had rented the condo next door, but
he had no role in that. He stated that he has no idea who owned the condo next door
because the building is mostly rentals.


When asked if he had any contact with Survivor while he was there, he responded that it
was very brief on the balcony. While on the balcony he remembers Survivor telling him
about going to see Bobby Bowden speak that morning but did not remember her saying
what else she did that day before getting to the beach. (Both Dr. Hunt and Survivor
described the balconies as side by side but you could not walk through to the other.) Dr.
Hunt was asked whether he went onto her balcony or entered her condo and he
responded he never entered her condo and was never on her balcony.


Dr. Hunt said that after seeing Survivor out on the balcony he did not have any further
contact with Survivor during the time she was there. However, later in the interview he
stated that he saw her the next day on the beach and then the following day his wife said
something to her. And he does not know whether she changed places or just went home.


Dr. Hunt said that he did not have any physical contact with Survivor – “no contact
whatsoever.” He also restated that it was not true that he was on the balcony or in the
condo. When asked specifically about whether he kissed her, pulled at her shorts, or
fondled her, he said no. He denied sexualized comments about her appearance, panties,
tan lines, or perfume.


Dr. Hunt shared that his wife was uncomfortable with Survivor next door by herself
because it just did not look right that she was down there all alone. At some point, he

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thinks his wife may have said something to Survivor, and that all he knew was that
Survivor was not there anymore. When asked whether his wife was there the whole time
with him, he stated that there may have been a brief time that she was not there because
of an event at Southeastern Baptist Theological Seminary where she may have flown in
and out in one day or the next day. He said it was possible that she was not there some
of the time that Survivor was there.


When asked if he contacted Mr. Blankenship, the counselor, because there was a
problem between Pastor and Survivor, he said that he did not contact him in regard to
that but just for general help because Pastor was transitioning in ministry and Dr. Hunt
had always been a sounding board for him.


Dr. Hunt remembers only one meeting with the couple on August 2, 2010. He said the
meeting was brief and that he and his wife, along with Pastor and Survivor and Mr.
Blankenship were present. Dr. Hunt claims that he never directed the couple towards Mr.
Blankenship for counseling.


Dr. Hunt said that he did not apologize to Survivor for sexually assaulting her during this
meeting because there was no contact between the two of them. He denied saying
“Praise Jesus that I didn’t consummate the relationship.” If there was an apology, Dr.
Hunt believed it was related to Mrs. Hunt offending Survivor about being concerned with
her being there alone, and them apologizing for her having to leave. He stated that
“Someone has created a story on me. I would like to hear her story on this.” Dr. Hunt
said that Survivor had never come on to him and he never felt threatened by her. Dr. Hunt
stated that he and Pastor have stayed in contact over the years. Investigators asked Dr.
Hunt if there were any similar allegations with other women. Dr. Hunt answered no.


Several times during the interview, Guidepost investigators directly asked Dr. Hunt about
specific allegations of sexual abuse against the Survivor, controlling the narrative through
the use of an unlicensed therapist, and trying to protect his ministry, 40,000 churches,
and the SBC, all of which he denied. The investigators asked Dr. Hunt if there was anyone

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else he thought we should speak with about the matter, and he said the only ones who
would know would be the couple and Mr. Blankenship. The investigators asked if he
thought his wife would speak with us and he replied no, saying that he doubts his wife
would speak to us because her take was that we handled it and moved on. Investigators
understood this to mean that Dr. Hunt had apologized for the fact that his wife had upset
Survivor by telling her to leave. Throughout the interview, Dr. Hunt remained very calm,
expressed little to no emotion, did not get upset, did not raise his voice, or express outrage
at the allegations.


We included this sexual assault allegation in the report because the investigators found
Pastor and Survivor to be credible; their report was corroborated in part by Mr.
Blankenship and three other credible witnesses; and Dr. Hunt, while denying physical
contact, does acknowledge that he had interactions with the Survivor, including on the
condo balcony during the relevant time period. The investigators did not find Dr. Hunt to
be credible in their interviews with him.


       B.     Mishandling of Abuse Allegations and Allegations of Mistreatment of
              Sexual Abuse Victims by Executive Committee Members from January
              1, 2000, to June 14, 2021



As discussed above, the Messengers’ Motion called for an investigation of both the
mishandling of abuse allegations by EC members between January 1, 2000, to June 14,
2021, and allegations of mistreatment of sexual abuse victims by EC members from
January 1, 2000, to June 14, 2021. We discuss these issues in tandem because the
mistreatment of victims by some EC leaders – which ranged from decisions not to
communicate with survivors and their advocates, to disparagement and outright hostility
– were part and parcel of EC leaders’ approach to sexual abuse allegations generally.


The prevailing attitude of some EC leaders was that the SBC had no responsibility for
addressing the sexual abuse crisis within member churches because, under SBC polity,
those churches were autonomous, in charge of their own hiring, and not under the control

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of the SBC. When abuse allegations were brought to the EC, including allegations that
convicted sex offenders were still in ministry, EC leaders generally did not discuss this
information outside of their inner circle, often did not respond to the survivor, and took no
action to address these allegations so as to prevent ongoing abuse or such abuse in the
future.

In addition, as time went on and survivors and advocates continued to press for change
and reform, some within EC leadership expressed frustration with survivors, their
advocacy, and their “demands.” At times, frustration would give way to public and private
criticisms of the survivors themselves. Almost always the internal focus was on protecting
the SBC from legal liability and not on caring for survivors or creating any plan to prevent
sexual abuse within SBC churches.

               1.      Lack of Transparency

Until SBC President J.D. Greear openly named 10 churches accused of mishandling
sexual abuse allegations in 2019, EC leaders typically kept information about these types
of allegations quiet, and did not even inform their fellow EC Trustees about them.


Many of the EC Trustees we interviewed who served prior to 2019 told us that EC leaders
never provided the EC Trustees with any information about sexual abuse claims.443 Even
after 2019, when the existence of these cases became more public through Dr. Greear’s
actions and media reports, EC leadership continued to keep EC Trustees out of the
loop.444 For example, one EC Trustee told us that he first learned about the sexual abuse
issues in the Houston Chronicle article, which EC staff notified him about the night prior
to the release of the series.445 The EC Trustee believes that the EC should have brought
these issues to the entire Board, particularly given the severity of the accusations, and
that the survivors should have received help.446




443 See, e.g., Interview Memoranda of EC Trustees 11, 22, 24-25, 30-35.
444 See, e.g., Interview Memoranda of Litton and EC Trustees 1, 5-7, 17, 19, and examples below.
445 Interview Memorandum of EC Trustee 16.

446 Id.



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An EC Trustee emailed Dr. Floyd in October 2019, saying he was a strong supporter of
Dr. Floyd but that he is “very uninformed about these sexual abuse accusations.” 447 Dr.
Floyd responded the same day, saying he had “no knowledge of any cover ups.” 448 Dr.
Floyd made no mention of everything he had learned since becoming EC President,
discussed in more detail below, and gave no specifics about the many allegations over
the years.


A recent EC Trustee told us that, because he only heard about sexual abuse issues when
the EC reviewed Credentials Committee recommendations, he was “floored” by
everything that came out during the 2021 Convention,449 and had no idea that any
survivors had been in contact with the EC.450 Other EC Trustees were surprised to learn
that there had been lawsuits, which had not been disclosed.451


Although many EC Trustees were not informed about sexual abuse allegations, there
were those within EC leadership who were very aware. Dr. Oldham and Mr. Boto had
been collecting information about these types of cases for years. Dr. Oldham
acknowledged in an email to Dr. Floyd in May 2019, which was copied to Boto and others,
that:
        For the past decade, I have been regularly sending Augie news reports of
        Baptist ministers who are arrested for sexual abuse, for his awareness. It
        hasn't slowed down since the Chronicle articles started on February 10. I
        sent him two more the past two days, one in Texas who was just sentenced
        and one in North Carolina who was just arrested on federal charges.


Mr. Boto responded that: “Yes. We are collecting them, and may even post them in some
way, but we’d have to really examine the potential liabilities that would stem therefrom.”452




447 SBC0000684846.
448 Id.
449 Interview Memorandum of EC Trustee 2.

450 Id.; see also Interview Memorandum of EC Trustee 1.

451 Interview Memoranda of EC Trustees 1 and 18.

452 SBC0000668499.



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The number of alleged abusers on the list is shocking. As of August 2018, an EC staff
member, who had been collecting news reports and other information about accused
Southern Baptist ministers, had provided Mr. Boto with the following information:

           Since I started keeping the lists, I have at least 585 possible abusers.

           We have 3 different lists.

           Prior to 2008 – 233 names (143 confirmed SBC)

            2009 - 8/2013 – 290 names (only confirmed 43 SBC, I didn’t check others
           per your instruction because we needed the material for EC mtg. and
           afterward you told me I didn’t need to go back and check them. I would love
           to check them now. So we could really get an idea of the numbers of SBC
           offenders. It is difficult for me to verify if a church is SBC affiliated. It is hard
           on SBC.net and when I just google it. I see that Sing uses Workspace. I
           don’t know how to access that.)

            3rd list 9/2013-8/2018 – 66 names (51 confirmed SBC) – Not necessarily
           child sexual abuse (sex crimes against adults and pornography
           included).453


In over a decade of collecting this information, which amounted to around 585 possible
abusers at the time of the email correspondence, no action was ever taken to share these
materials outside a small cadre of people, or to take action to address the possibility that
these accused individuals might continue in ministry in SBC churches.


There appeared to be a perception that sexual abuse allegations were not as common in
the SBC as in the Catholic Church, so it was not a significant problem, especially if those
allegations did not result in successful lawsuits against the SBC. In our interview with Mr.
Boto in May 2022, he again invoked the argument that the number of sexual misconduct
cases in the SBC is relatively small in comparison to the Catholic Church, resulting in only
about two lawsuits per year, and that the SBC was successful in defending these cases.
This is only one example of a consistent misperception by EC leadership – that lack of


453   https://plusnxt.relativity.one/Relativity/go?id=8252197-1785876.

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lawsuits equates to lack of abuse cases. Our interviews with numerous people disclosed
a lack of knowledge of sexual abuse survivor trauma responses, including not disclosing
abuse.


                2.      Treatment of Survivors

EC leaders’ failure to openly confront sexual abuse allegations over the years is illustrated
by their treatment of those survivors who came forward to report abuse. EC leaders often
chose not to interact with sexual abuse victims, either ignoring them entirely or failing
make a timely response, even when they alleged that an abuser was still in an SBC pulpit.

Examples include:

      •   In 2013, Mr. Boto and Dr. Oldham were forwarded an anonymous complaint, made
          through the SBC website’s “Contact us” link, alleging that a youth pastor who had
          abused the complainant was now the pastor at a fairly large SBC church. 454 The
          complaint listed a Gmail address as contact information.455 On January 8, 2014,
          almost two months later, Mr. Boto wrote Mr. Guenther to inform him that Mr. Boto
          had decided not to respond.456 Mr. Guenther responded that: “I think say[]ing
          nothing may be the thing to do.”457

      •   In 2016, a person called to report a pastor’s involvement in abuse of her mother.
          An EC staff member asked Mr. Boto: “Do I call this lady back? I suspect no.”458 No
          documents indicating a follow-up response from Mr. Boto were found.

      •   In 2017, a caller contacted the EC about a pastor’s possible sexual abuse of an
          18-year-old high school girl that he was counseling.459 The EC staff member
          discussed autonomy and instructed the caller to contact Child Protective Services.
          The EC staff member indicated that she would forward the information to legal, but
          no other follow-up was found in our document review.

      •   In December 2017, Carol Shelton, a survivor advocate, sent a message through
          the SBC website to ask how to report a pastor who had allegedly molested at least

454 https://plusnxt.relativity.one/Relativity/go?id=8252197-2482502
455 Id.
456 Id.

457 Id.

458 SBC0000566981.

459 https://plusnxt.relativity.one/Relativity/go?id=8252197-1624462



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          two people. When she did not get a response, Ms. Shelton called the ERLC in
          Nashville in January 2018. Someone from the ERLC called her back, and Ms.
          Shelton emailed the ERLC with the details of the abuse.460 Internally, the ERLC
          forwarded the email to Dr. Oldham, who in turn forwarded it to Mr. Boto on January
          23, 2018.461 The documents provided to us do not show that Dr. Oldham or Mr.
          Boto took any further action at that time. A month later, the ERLC representative
          referred Ms. Shelton to a contact at the EC. Ms. Shelton called and left a message
          but never heard back.462

          In April 2018, Ms. Shelton emailed a BP staff member to discuss a possible article
          about the abuse. The staff member told her the abuser’s church was no longer in
          friendly cooperation with the SBC because they had not given funding to the
          Cooperative Program, thus a story about the church would be out of scope.463 Our
          investigation uncovered that this church is in fact an SBC church, and was listed
          on the Cooperative Program records in 2019.464 Ultimately, the accused pastor
          resigned, admitting he had been involved with two females “in an inappropriate
          manner,” and other media outlets covered the story.465 On June 29, 2018, over five
          months after receiving the forwarded email from Ms. Shelton, Mr. Boto forwarded
          it to Mr. Guenther with high importance, asking Mr. Guenther to call him as soon
          as possible.466

      •   In May 2018, a mother began contacting the SBC to report that her son had been
          subjected to inappropriate text messages and predatory grooming by a male youth
          minister. On May 11 and May 17, 2018, the mother called the SBC and left voice
          messages asking to be contacted. On May 17, 2018, an EC Staff member
          contacted the mother and informed her that there was nothing that the SBC could
          do; that her case was a local church matter; that local church autonomy prevented
          the SBC from doing anything regarding her case; and that perhaps the incidents
          never happened. According to the mother, the EC Staff member had no interest in



460 Interview Memorandum of Shelton.
461 https://plusnxt.relativity.one/Relativity/go?id=8252197-2482457
462 Interview Memorandum of Shelton.

463 Id.

464https://solutionpointintl.sharepoint.com/:b:/s/SBCECInvestigation/ET66ZcoTPR9FogS-

dvgIr98BB377ynNMtyfFIpGJy_AufA?e=LTzMmx.
465 His accusers claim that the pastor lied in his resignation speech, when he said both ladies were over 18

years old. The survivors stated that they were between the ages of 15 and 17 when they were abused
sexually by the pastor. See https://www.christianpost.com/news/southern-baptist-pastor-resigns-amid-
accusations-he-sexually-molested-teenage-girls.html.
466 https://plusnxt.relativity.one/Relativity/go?id=8252197-2482457.



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          notating any information regarding the church leaders, the abuser, or the specifics
          of the case.467

          The mother also wrote letters and emails to Dr. Bethancourt, Dr. Greear and Dr.
          Moore. She never received a response to any of her letters, although she did
          exchange emails with Dr. Bethancourt and was ultimately referred to the CC portal.
          She never submitted a report through the portal because she believed a member
          of the ERLC Leadership Council was involved in covering up abuse at a church,
          and she did not trust the CC to act on the matter or protect her son’s identity.468

      •   In 2019, Ms. Thigpen attempted to engage SBC leaders with ideas of change. She
          wrote a seven-page letter to the Bylaws Work Group in February 2019, in which
          she shared many details about her and other survivors’ abuse by Gilyard, and how
          he was allowed to move from church to church with prominent SBC pastors
          vouching for him along the way.469 In her letter, she implored the Bylaws Work
          Group to initiate change. No one on the Bylaws Work Group acknowledged or
          responded to her letter.

      •   Dr. Floyd never responded to a June 14, 2021, text from a Survivor giving details
          of her abuse and referring to the potential EC investigation. Mr. Addison passed
          along advice to Dr. Floyd in an email that “the abuse community has seized upon
          this as a tool;” that Dr. Floyd should not reply; and if asked should say “I have sent
          that to our legal counsel.”470

      •   Dr. Floyd did not respond to a text message from Ms. Lyell in June 2019 asking
          to meet.471

      •   Another survivor of clergy abuse submitted her detailed history to the SBC CC
          portal the day it went live. She received an automated message of receipt, but
          never heard back for any other follow up.472 In addition to the survivor who
          submitted through the portal, three other women reported being victimized by this
          pastor. When the survivor’s mother hired a private investigator, an additional




467 Interview Memorandum of Survivor 1.
468 Id.
469https://solutionpointintl.sharepoint.com/:b:/s/SBCECInvestigation/Eac4AOQMwJpGlQADr4Y370cBglbb

u3ihBWZ9a9N0gOqMuA?e=gD3ixd.
470 https://plusnxt.relativity.one/Relativity/go?id=8252197-1768341.

471 REL0000000045.

472 Interview Memorandum of Survivor 2.



                                               167

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            potential victim was reportedly identified; that victim committed suicide and her
            body was found by the pastor.473

Even when the survivors did receive a response, it was often couched in language of SBC
polity to explain why the EC would not look further into the reports of abuse:

       •    For example, in January 2012, a survivor wrote to inquire whether there was any
            litigation against their abuser, who had allegedly committed offenses at three
            different churches. Mr. Boto responded from the generic SBC “Info” email account,
            without including his name, that:


                  We have no knowledge of any litigation in which a person
                  named [name omitted] is a party. We trust you or someone on
                  your behalf who has actual knowledge reported the facts of
                  the matter to law enforcement authorities and to the churches
                  you mentioned.

                  Since the Southern Baptist Convention does not ordain or
                  have any disciplinary or supervisory authority over the staff
                  members employed by local congregations, it usually has no
                  knowledge of specific litigation. Also, the Southern Baptist
                  Convention does not move ministers from one church to
                  another, nor does it assign ministers to congregations.
                  Please know of our prayers for you.474

       •    On August 11, 2011, Mr. Guenther emailed an EC staff member recounting his
            phone interactions with a woman who had reported that the pastor of a church in
            St. Petersburg is a convicted molester of his own children who served prison time.
            Mr. Guenther stated that: “I explained polity and suggested she call the church and
            ask the name and telephone number of the chair of deacons. She then wanted to
            know what to do if they would not give her that. I gave her the Fla Baptist
            Convention number, told her they, like us, had no control, but they just might have
            that chairman’s name. She was satisfied, I think.”475

473   Id.
474https://plusnxt.relativity.one/Relativity/go?id=8252197-1624802;

see also https://plusnxt.relativity.one/Relativity/go?id=8252197-1785506 (responding to survivor’s April
2019 report of sexual abuse as a minor with a discussion of SBC polity);
https://plusnxt.relativity.one/Relativity/go?id=8252197-1508094 (BWG file of abuse complaints and
response letters).
475 SBC_EC_GJPLaw_00023246.



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Those survivors who did not accept the EC’s dismissal or invocation of polity as an end
to communication – who instead called out the EC’s inaction and fought for reforms –
were often met with hostility. Public statements, email exchanges, and discussions
illustrate that some EC members and prominent SBC figures did not view such survivors
and their advocates favorably:


      •   In 2007, SBC President Frank Page wrote a Point of View article in the Florida
          Baptist Witness about an upcoming segment on the television program 20/20
          entitled “Preacher Predators,” for which he had agreed to be interviewed. Dr. Page
          wrote:

                 Let me also share one other word of clarification. There are many
                 people in the news media speaking about this issue. I am thankful
                 that any attention to this issue brings a heightened level of
                 awareness on the part of our churches and people. However, please
                 realize that there are groups who claim to be one thing when in reality
                 they are another. It would be great if the many groups who are
                 claiming to be groups of advocacy and encouragement in ministry
                 were that which they claim. Please be aware that there are groups
                 that are nothing more than opportunistic persons who are seeking to
                 raise opportunities for personal gain.476

      •   In another article, Dr. Page accused a survivor group of having a hidden agenda
          of setting up the nation’s largest Protestant body for lawsuits.477 Years later, SNAP
          called on Mr. Page to apologize for denigrating their motives and to reconsider the
          feasibility of an offender database. Mr. Page declined to apologize, noting that his
          statement “was addressed to opportunists rather than to suffering victims — a
          group for which I have great compassion.”478

      •   When Christa Brown spoke at a Bylaws Work Group meeting in February 2007,
          she was met with hostility. Rather than listening respectfully to her history, EC
          members focused on chastising her for saying she did not receive Mr. Boto’s letter,
          which had been misplaced and for which she apologized; some opposed her even



476https://christabrown.files.wordpress.com/2014/04/frank-page-florida-baptist-witness.pdf.

477 https://goodfaithmedia.org/sbc-president-questions-motives-of-snap-says-sex-abuse-everywhere-cms-
8863/.
478 https://baptistnews.com/article/sbc-official-stands-by-criticism-of-snap/#.YoDbW-jMKUk.



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          being allowed to speak; an EC member turned his back to her during her speech
          and another chortled.

      •   According to Debbie Vasquez, in private emails to her, Dr. Patterson characterized
          SNAP members as “evil doers” and “just as reprehensible as sex criminals.”479
.




      •   In a May 2019 email to an EC staff member, Mr. Boto called sexual abuse concerns
          “a satanic scheme to completely distract us from evangelism.”480

                This whole thing should be seen for what it is. It is a satanic scheme
                to completely distract us from evangelism. It is not the gospel. It is
                not even a part of the gospel. It is a misdirection play. Yes, Christa
                Brown and Rachael Denhollander have succumbed to an availability
                heuristic because of their victimizations. They have gone to the SBC
                looking for sexual abuse, and of course, they found it. Their outcries
                have certainly caused an availability cascade (just like Lois Gibbs did
                in the Love Canal example). But they are not to blame. This is the
                devil being temporarily successful.481

479https://plusnxt.relativity.one/Relativity/go?id=8252197-1505365.

480https://baptistnews.com/article/sbc-executive-committee-declines-to-entertain-the-idea-of-broadening-

the-scope-of-its-investigation-of-itself/#.YnkPu-jMI2z.
481 https://plusnxt.relativity.one/Relativity/go?id=8252197-1695621.



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          When we interviewed Mr. Boto in May 2022, he again expressed his view that the
          devil was involved in the magnitude of the sexual abuse issue focus in the SBC,
          which is taking away from the SBC and EC’s role in spreading the gospel. He
          referred to a book that explains how focusing on something, e.g., sexual abuse in
          SBC churches, slants a person to see that very thing elsewhere again and again.
          Mr. Boto claimed that if he could have helped the survivors, he would have, but he
          also stated that the victims would never be satisfied.

      •   In a December 2019 email message to Dr. Floyd, the Assistant to the
          President, describes a survivor and advocate, who had criticized the lack of
          anonymity in the CC process, as “never going to be happy,” noting that
          “[s]ome people just want to watch the world burn.” 482

      •   In hallway conversations, some EC members and staff reportedly referred to
          survivors as “Potiphar’s wife,” i.e., a Biblical character who makes false
          accusations of rape.483

      •   At an EC Trustee meeting, EC Trustee Rod Martin called Ms. Lyell “a professional
          victim.”484

      •   Mr. Guenther emailed Dr. Floyd and Mr. Addison in response to tweets by Ms.
          Lyell, stating that “she has serious problems,” and hoping they can be comfortable
          not responding to her.485

      •   In November 20, 2020, Witness 7, an advocate for Jules Woodson, sent an email
          requesting a second review of the CC’s decision not to recommend disfellowship
          of a church. In an email to an EC Staff Member, Mr. Addison stated that: “I will say
          that it is completely inappropriate for this person to arrogantly accuse the
          Committee of favoring that church for its size or CP giving. I have never heard of
          her and do not know her story, but that kind of baseless and arrogant accusation
          is far beyond the pale. I am sure you can fill me in, but again I do not care who she
          is. That is incredibly arrogant, unChristlike (especially in the offensive way she
          couches this with backhandedly sarcastic fake “grace” “in case you have not”
          language) and will not be the testimony of the work of this Committee. Clearly, it is




482 SBC0000397323.
483 Interview Memorandum of Moore.
484 Interview Memorandum of EC Staff Member 6.

485 FLOYDMB0000370589.



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        not filled With [sic] mega church people protecting mega churches or whatever axe
        she obviously seeks to grind.”486


Survivors also have been subjected to mistreatment on social media. Social media
harassment and bullying has become increasingly common. After a Baptist Press article
misrepresented the nature of her abuse, Jennifer Lyell became a subject of a firestorm of
vicious social media attacks. A sampling of social media comments included:487


    •   Bitter jealous woman
    •   She’s not a victim, she’s a sinner. Join me in emailing Lifeway to call for her
        resignation.
    •   She should also be fired from her job.
    •   But she’s guilty of adultery. Not just “being compliant.”


In a Statement published by Baptist Press on October 15, 2019, Baptist Press staff
acknowledged that since the inaccurate publication of Ms. Lyell’s story:


        Lyell has been the recipient of un-Christlike slurs – some by fellow Southern
        Baptists – and her reputation has been besmirched. In fact, the story stayed
        on the Baptist Press Facebook page for many hours where many of those
        slurs were posted. The conversation that occurs on our social media profile
        pages should glorify Christ in the way we treat one another and in the way
        we support those who report sexual abuse. In this case, it did not. Since this
        incident, we have enacted a more stringent Facebook commenting policy
        and monitor the page much more closely in order to prevent situations like
        this from occurring again. For these actions, we offer a sincere apology.
        Lyell came to us with an allegation of abuse and should have been cared
        for throughout the entire process. Instead, for many this incident may have
        contributed to a perception that the Southern Baptist Convention is not a
        safe place for sexual abuse survivors to disclose.488



486https://solutionpointintl.sharepoint.com/:u:/s/SBCECInvestigation/EVbdhq4T2X1Er7htNVl24lcBOHROY

BayYhmikGP7BypYvA?e=jRjgZR.
487 https://plusnxt.relativity.one/Relativity/go?id=8252197-1505637.

488 https://www.baptistpress.com/resource-library/news/a-statement-from-baptist-press/



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As in many places, Twitter is an active avenue of communication within the Southern
Baptist community.489 As part of our investigation we reviewed a large sample of EC
Trustee Twitter accounts. Our interviews of survivors, EC Trustees, and witnesses, and
our social media analysis, unveiled that some Southern Baptist leaders and one EC
Trustee in particular had negative Twitter interactions with survivors.


EC Trustee Rod Martin has had numerous Twitter interactions with a survivor regarding
her lawsuit against the EC.490 As of March 14, 2022, Mr. Martin had 17,033 Twitter
followers, indicating that his tweets were likely seen by many people. When we
interviewed Mr. Martin, he said he did not seek the survivor out and admitted he should
not have engaged, but noted that the survivor has a huge following and many people
tagged him to the survivor’s postings and pushed him until he responded.491


Even the EC executive staff expressed concerns about Mr. Martin’s combative language
towards the survivor. Mr. Addison emailed members of the executive staff that “Rod
Martin continues to be a flash point on social media. This week he got into a twitter battle


489The misuse of social media has been an important topic in the Southern Baptist community, as indicated
by a Resolution that was passed at the June 2018 Annual Convention. In the Resolution “On Christlike
Communication And the Use of Social Media,” the Messengers resolved the following:

        RESOLVED, That the messengers to the Southern Baptist Convention meeting in Dallas, Texas,
        June 12–13, 2018, commit to maintaining brotherly and sisterly love by resolving our differences in
        a biblical manner (Matthew 18:15–18); and be it further

        RESOLVED, That we guard our tongues, using caution and wisdom in our media and social media,
        and refrain from remarks that tear down others made in the image of God, including refraining from
        gossip and slander (Psalm 141:3; Proverbs 6:16–19; 17:27–28; 21:23; James 3:10–12); and be it
        finally

        RESOLVED, That even in the midst of differences, disagreements, and conflicts, we will engage
        one another with respect and winsomeness, speaking truth in Christlike love while pursuing unity
        (Ephesians 4:15).

See https://www.sbc.net/resource-library/resolutions/on-christlike-communication-and-the-use-of-social-
media/.
490 https://solutionpointintl.sharepoint.com/:w:/s/SBCECInvestigation/EZLzfVVoT-pPhVXKSv-

ITJUBUpTWhwGFHhBpV_GBy7bpxg?e=iFV126.
491 Interview Memorandum of Martin.



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with [survivor]– a well-known and outspoken abuse survivor in the SBC world that pays
attention to this conversation. Rod is threatening to sue her and similar actions. Because
he is a member of the EC Board of Trustees, that gets painted against the entire EC. Dr.
Floyd, Rolland Slade, and myself have all spoken with him multiple times.”492


Another EC executive staff member emailed the leadership team and stated that they did
not know what tweets that the survivor “has or has not received from them. But if Rod
[Martin] or Mike [Stone] have had any (emphasis in original) direct message
conversations with her, whether they would perceive them as positive or negative, it would
be good for us to know...Regardless, I personally believe it is unwise for either of them
(or any EC member for that matter) to engage situations like this on social media in any
form, whether publicly in front of the world or privately through direct message. Even when
someone is trying to interact in good faith and is being pastoral – to do so in such a forum,
without the full knowledge of individual circumstances or how our system can help, will
run the risk of giving false hope. And in the worst case scenario, if they engage survivors
with the same vigorous debate that they do for all SBC politics, that can be disastrous for
these individuals who have already been traumatized at the hands of ministers of the
gospel. I sometimes fear that our EC members don’t realize the level of their perceived
role they come across as a bully and can inflict tremendous harm.”493


In response to the Twitter conversation and as a way to mitigate the situation, Chairman
Slade wrote on October 9, 2021, “I respectful[ly] ask ALL trustees, staff, friends, relatives
and those directly or remotely related to the #SBCExecComm to immediately cease in
using the names, initials or any identifying letters or marks of sexual abuse survivors in
Tweets or Social Media. #EnoughISEnough #LetsStop” In response, Rod Martin wrote, “I
respectfully ask for the bogus lawsuit to be withdrawn. Oh, no one’s going to do that, are
they? So in the meantime, I still want to know why there are two credible accusations of



492https://solutionpointintl.sharepoint.com/:b:/s/SBCECInvestigation/EQxYEYya66hFpfeRw8vjiBYB7XW0e

NiIgJX4FLqT0ruChg?e=qdvzGA .
493https://solutionpointintl.sharepoint.com/:b:/s/SBCECInvestigation/EVyLYBTudR5OiPcQ9xlJvmoB-

zQhfYFsC4S9dgiHCvBA-g?e=f3XSxQ.

                                               174

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sex abuse at Southern Seminary and LifeWay and you’re not calling for them to waive
privilege.”

Mr. Martin has also had interactions with Jennifer Lyell on Twitter. Ms. Lyell tagged Mr.
Martin to ask SBC leaders and newsgroups to stop Tweeting, posting, and writing about
her. (6/30/2021) Mr. Martin indicated in his interview that he and Ms. Lyell had overall a
positive public relationship on social media and that Ms. Lyell stated that she accepted
his apology on a misunderstanding concerning a tweet.


Mr. Martin agreed to watch the survivor’s video to become more aware of her history, “I’ll
look at it as soon as I get back to Florida.” (9/1/2020) Mr. Martin received responses on
Twitter from people who were upset that Mr. Martin could not take 16 minutes out of his
day to listen to the survivor’s story. Mr. Martin said that after he saw the video, he later
reached out to Witness 7 privately to see if there was anything that could be done for the
survivor.


The treatment of survivors stands in stark contrast to how SBC churches were treated.
For example, after Dr. Greear named 10 churches accused of mishandling abuse
allegations, the Bylaws Work Group was pressured to clear the churches’ names
quickly.494 Mr. Boto even called the pastor of one of the churches to apologize for the
church being named by Dr. Greear.495 In the words of Dr. Greear, the SBC has a history
of erring on the side of the institution, and needs to start erring on the side of the victim.496
Further, as discussed further below, the manner in which the CC was created gave it no
investigatory powers to confirm the accuracy of a church’s response to sexual abuse
allegations, and also provided little to no provisions for how survivors were to be treated.




494 Interview Memorandum of Moore.
495 Interview Memoranda of EC Staff Member 1 and Assistant to Dr. Greear.
496 Interview Memorandum of Greear.



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          C.     Evidence of Patterns of Intimidation of Sexual Abuse Victims and
                 Advocates by Executive Committee Members from January 1, 2000, to
                 June 14, 2021


As demonstrated above, over the years survivors were either ignored, put off by
invocations of “polity,” denigrated as “opportunists,” or worse. The survivors with whom
we spoke perceived the totality of these actions as a pattern of intimidation. Moreover,
this poor treatment likely had a chilling effect on other survivors coming forward to report
abuse. For example, Ms. Lyell had excelled as a senior executive at an SBC entity and
was well respected in her profession. Her public stature and perception dramatically
changed after Baptist Press published an article that mischaracterized her abuse, after
which she was subjected to backlash both on social media and in person. Dr. Moore
reported that she was distraught after someone called her a “whore” at the 2019
convention, and noted that people were calling Lifeway trying to get her fired.497 If even
an “insider” like Ms. Lyell could be maligned, other survivors may have decided it is not
worth the trauma to disclose abuse.


In addition to the mistreatment of survivors by individuals, there was a pattern of Baptist
Press articles casting the survivors in a negative light and minimizing the facts of the
abuse. For example, as we discussed earlier in the report, Ms. Lyell’s sexual abuse was
mischaracterized as a morally inappropriate relationship. Christa Brown’s “apology” was
misconstrued as regret for false accusations rather than only a misplaced letter.

In addition to the minimization of abuse in BP stories, when the ERLC was putting
together a report about sexual abuse in 2019, the EC pushed the ERLC to remove the
word “crisis” when referring to sexual abuse at SBC churches.498 In an email from Mr.
Boto to Dr. Moore and Dr. Bethancourt, Mr. Boto provided the following additional
feedback on the report:




497   Interview Memorandum of Moore.
498   Interview Memorandum of ERLC Staff Member 4.

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        Before getting into the particulars, we can generally say that we strongly
        suggest and request that the report NOT speak in hyperbolic language,
        staying away from any sort of sweeping exaggeration bereft of data that
        characterizes 47,000 plus churches as a lump. Three examples of this in
        the report are:

        ·     “The abuse epidemic in our churches is overwhelming and daunting.”

        ·    “We recognize that we have failed in many ways, including. . . Using
        church autonomy to excuse proper action.”

        ·    “Church autonomy has been one Southern Baptist doctrine that has
        been confused and misused in the context of sexual abuse within the
        church.”

        No instances of these things can be found. No malfeasor has claimed a
        right to take a bad act under the excuse that his church’s autonomy allowed
        it. These claims are just exaggerated. If they ever became true, of course,
        we would point them out and condemn them.499



In addition, an ERLC staff member wrote an article about the Caring Well conference to
be published in Baptist Press on the Monday after the conference ended. The ERLC staff
member had quoted Rachael Denhollander and Boz Tchividjian, survivor advocates who
had spoken critically about the SBC’s handling of sexual abuse allegations at the
conference. The ERLC staff member was surprised when his story was not published in
Monday’s Baptist Press. An EC staff member told the ERLC staff member that they had
not had a chance to review the story so it was not included on Monday. Baptist Press told
the ERLC staff member on Tuesday that the article’s lede could not say that the SBC
failed survivors. The ERLC staff member tried to revise the lede without changing the
story, but when the article was published on Tuesday, October 8, 2019, some of the story
had been deleted, including all references to Boz Tchividjian, and leaving out references
to the SBC having failed survivors.500 The ERLC staff member does not believe that


499https://solutionpointintl.sharepoint.com/:u:/s/SBCECInvestigation/EfEYxuaDiZ1Kth5zh0AGeMAB_mD1

orc3LPMieMfG3ZvR1A?e=JsCJGh.
500 https://www.baptistpress.com/resource-library/news/caring-well-sbc-must-fight-for-victims/



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Baptist Press sent him the final story to review before publication, which is unusual in the
journalism industry considering there were many deletions. The ERLC staff member
never experienced BP handling any of his previous stories in this way. 501 An EC staff
member who was familiar with these events noted that because of the uproar that came
about from some of the Caring Well speakers and their critical remarks about the SBC,
GJP got closely involved with EC communications in the aftermath of Caring Well. GJP
advised that inflammatory language should be removed, such as the SBC having failed
survivors, which would show the EC was admitting guilt. Dr. Floyd had also remarked that
a well-known pastor was upset about Boz’s remarks about the SBC, so Boz should not
be mentioned in the article.502 The article was edited because of the pressures of the
Guenther firm.


While survivors’ reports of abuse were minimized or disregarded, it is notable that some
high-level SBC leaders, by their words and actions, appeared more concerned with
protecting abusers than with protecting victims, as discussed further below. These SBC
leaders were never held accountable, and they continued to exercise influence within the
SBC. This created a culture that intimidated survivors from speaking up about abuse.


To survivors, the 2016 election of Steve Gaines as SBC President conveyed the message
that a clergy sex abuse cover-up was considered “no big deal” in the SBC. As senior
pastor at Bellevue Baptist Church in Memphis, in 2006 Gaines had kept quiet for months
after he learned about a staff minister’s prior sexual abuse of a child. Gaines admitted
that he had delayed in acting for several months out of “heartfelt concern and compassion
for th[e] minister,” and acknowledged that he should have “brought it to the attention of




501https://solutionpointintl.sharepoint.com/:w:/s/SBCECInvestigation/ERr0nFh8DSlMnw3CIjhYJ6YBGJNY

zTae0ndwPuZ5cRmqRQ?e=2i4B6O.
502https://solutionpointintl.sharepoint.com/:w:/s/SBCECInvestigation/EQ5BtkJl5xFPkCw7da0pTJMBfiEtRL

_WVzl1X4phwPJ4XQ?e=azIrts.

                                               178

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our church leadership immediately,”503 and not disclose only after details of the incident
appeared in a blog.504


During our reporting period of 2000-2021, it came to light that other SBC leaders also had
engaged in minimizing or covering up sexual abuse allegations in the past, or had publicly
defended abusers. In 2011, a blogger began publicizing sexual abuse allegations against
a music minister, John Langworthy. Mr. Langworthy subsequently made a public
confession at his current church and was charged by police with sexually abusing several
young boys at his former church in Mississippi. It was revealed that when Jack Graham,
the 2002-2004 SBC President, was the pastor at Prestonwood Baptist Church, in Plano,
Texas, he had allowed Mr. Langworthy to be dismissed quietly in 1989 without reporting
sexual abuse allegations to the police. Dr. Graham declined to comment on the matter
when the accusations against Mr. Langworthy became public, and he did not agree to an
interview with our investigators.505


In the mid-2000s, former SBC President Paige Patterson continued to promote the career
of pastor Darrell Gilyard even after several women confronted Dr. Patterson with charges
of sexual abuse and misconduct against Mr. Gilyard.506 In 2008 email correspondence
with Debbie Vasquez, a survivor, Dr. Patterson wrote that he refused to accuse Mr.
Gilyard or anyone else, until Dr. Patterson knew beyond reasonable doubt that they were
guilty.507 Finally, Mr. Gilyard confessed to Dr. Patterson, after he was facing sexual
misconduct allegations at a fourth church, and was ultimately convicted of molesting two
juveniles in 2009.508 Notably, after Mr. Gilyard was released from prison and returned to

503https://www.baptistpress.com/resource-library/news/bellevues-gaines-should-resign-seminary-

president-says/.
504
    https://baptistnews.com/article/advocates-fault-sbc-presidents-record-on-child-sex-
abuse/#.YoQRCOjMKUk
505 https://www.wfaa.com/article/news/local/investigates/disturbing-revelations-about-former-prestonwood-

minister/287-410553430; https://baptistnews.com/article/pastors-return-to-ministry-received-as-bad-news-
in-abuse-survivor-community/#.YnP-ddrMKUl.
506 In 2000, James Merritt, shortly after being elected SBC President, sent an email to Dr. Chapman

referring to Mr. Gilyard as a “woman squeezer.” https://plusnxt.relativity.one/Relativity/go?id=8252197-
2470169.
507 REL0000006027.0001.

508 https://offender.fdle.state.fl.us/offender/spps/home.jsf; Interview Memorandum of Witness 5.



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preach in Christ Tabernacle Baptist Church, which was an SBC church,509 Mr. Boto
determined that Messengers from the church should not be seated at the next convention,
not because of the connection to Mr. Gilyard, but rather because the church had not
recently contributed to the Cooperative Program.510




In 2018, Dr. Patterson was fired by SWBTS after he was accused of telling a student not
to report a rape in 2003 and, in 2015, of emailing his intention to meet with another student
who had reported an assault, with no other officials present, so he could “break her


509   https://plusnxt.relativity.one/Relativity/go?id=8252197-2484458.
510   https://plusnxt.relativity.one/Relativity/go?id=8252197-2484393.

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down.”511 According to the 2003 survivor, Dr. Patterson convinced her not to tell her
pastor or family about the incident, and told her she was not raped. She believed Dr.
Patterson at the time and did not tell anyone.512 Witnesses who have spoken to both the
2003 and 2015 survivors allege both women felt violated again by Dr. Patterson as well
as shamed and intimidated. These women were asked sexually explicit questions in front
of men, about their clothing and behaviors prior to their assaults, and concerning their
previous relationships with men.513


In 2008 when Christa Brown was interviewed by Florida Baptist Witness, she stated that
she believed additional victims had suffered based on Dr. Patterson’s secrecy which
allowed a serial offender to move to new churches.




511 https://www.washingtonpost.com/news/acts-of-faith/wp/2018/06/01/southern-baptist-seminary-drops-
bombshell-why-paige-patterson-was-fired/; https://www.christianitytoday.com/news/2018/may/paige-
patterson-fired-southwestern-baptist-seminary-sbc.html.
512 Interview Memorandum of Survivor 3.

513 Interview Memoranda of Witnesses 5-6.



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Judge Paul Pressler, a former SBC Vice President, is himself the defendant in a sexual
abuse civil lawsuit filed in 2017.514 The plaintiff alleged that Judge Pressler repeatedly
sexually abused him beginning at age 14 in the late 1970s. Co-defendants include the
SBC, SWBTS, Dr. Paige Patterson, Mr. Pressler’s wife Nancy, FBC Houston, Judge
Pressler’s former law partner Jared Woodfill, and the Woodfill Law Firm, claiming they
facilitated the abuse and “concealed the wrongful conduct of Pressler” from law
enforcement authorities.515 The plaintiff claimed that after he enrolled in Judge Pressler’s
Bible study at First Baptist Church in Houston, Judge Pressler lured him to his (Pressler’s)
home and a private club for fondling and anal sex. Judge Pressler allegedly convinced
the plaintiff to keep “our secret,” by telling the boy he was “special” and “no one but God




514 Although the lawsuit was initially dismissed due to statute of limitations, on appeal the plaintiff argued
that the statute of limitations should be calculated from when he first realized he was the victim of an alleged
sexual assault. The Texas Supreme Court agreed and sent the case back to District Court.
https://baptistnews.com/article/abuse-case-against-pressler-may-proceed-texas-supreme-court-
rules/#.YnQAyujMI2w.
515 Merritt, Jonathan (May 3, 2018). "The Scandal Tearing Apart America's Largest Protestant

Denomination". The Atlantic. Retrieved Feb 11, 2019.

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would understand” their relationship.516 The plaintiff, who had become a drug addict and
petty criminal, went to prison where Judge Pressler twice intervened with the parole board
seeking his release. Later the plaintiff filed a civil claim for assault against Judge Pressler,
and received a settlement in which Judge Pressler agreed to pay $1,500 a month as “long
as the confidentiality of this agreement is maintained.” 517


As part of the 2017 lawsuit, two other men submitted separate affidavits also accusing
Judge Pressler of sexual misconduct. One was a teenager in 1977 when Judge Pressler
allegedly grabbed his penis in a sauna at Houston's River Oaks Country Club. Judge
Pressler was a youth pastor at Bethel Church in Houston but was ousted in 1978 after
church officials received information about "an alleged incident." The other affiant
described how he resigned his position at Judge Pressler's former law firm after Judge
Pressler invited him to get into a hot tub with him naked.518


In a March 2019 email to Mr. Boto, Mr. Guenther commented on the lawsuit against Judge
Pressler, noting that there is “concern in some quarters that there may be other shoes to
drop on others in SBC churches.” Mr. Guenther speculated as to whether other lawsuits
might ensue. He remarked: “Hopefully the statute of limitations will prevent any such suits
getting to the merits and hopefully the dismissal of the present suit on [statute of limitation]
grounds will discourage those suits.519


Mr. Boto was a character witness for a convicted child molester. Marc Schiefelbein, a
former gymnastics coach, had been convicted of multiple counts of sexual assault against
a minor in July 2003. Mr. Boto had attended the criminal trial because his son was
subpoenaed to testify. Thereafter, he took a personal interest in Mr. Schiefelbein’s
criminal trial, legal appeal proceedings, and prison life. Mr. Boto wrote to Mr. Schiefelbein

516https://baptistnews.com/article/abuse-case-against-pressler-may-proceed-texas-supreme-court-

rules/#.YnQAyujMI2w.
517 Downen, Robert (February 6, 2019). "Lawsuit against ex-judge, Southern Baptist churches drawing to a

close". Houston Chronicle. Retrieved August 25, 2020.
518 Downen, Robert (April 13, 2018). "More men accuse former Texas judge, Baptist leader of sexual

misconduct". Houston Chronicle. Retrieved May 5, 2018.
519 SBC_EC_GJPLaw_00013241.


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in October 2003, advising him that: “It is probably a good idea NOT to call the gym asking
to speak to students. Make sure all your calls are to adults. If they have their kids around,
they can decide whether to put them on the phone, but you shouldn’t attempt to call any
of the kids while your appeal hangs in the balance. The court might not understand.”520
Mr. Boto also noted that it was fine for Mr. Schiefelbein to speak with Mr. Boto’s own
children, stating that “[i]f you call here, I don’t care if you talk to any of my kids” and
mentioning their names and ages.521 In 2004, Mr. Boto wrote to Whiteville Correctional
Facility in December 2004 to be approved to be a Chaplain to minister to Mr. Schiefelbein
and made a professional reference to himself as “a senior official … of the Southern
Baptist Convention.”522


Mr. Boto testified at Mr. Schiefelbein’s sentencing as well as at a two-day evidentiary
hearing in support of his September 2008 post-conviction petition. During the latter
testimony, Mr. Boto identified himself as general trial counsel for the Executive Committee
of the Southern Baptist Convention. Boto also testified that he had personally known Mr.
Schiefelbein for less than five years at the time of trial and that he contributed monetarily
to Mr. Schiefelbein’s defense after the trial was over.523 Mr. Boto’s participation as a
witness in the Schiefelbein matter was known to GJP as Mr. Jordon had discussed the
matter with Mr. Boto when they were traveling together. Mr. Jordon stated that Mr. Boto
was conflicted regarding what to do as Mr. Schiefelbein had been Mr. Boto’s son’s coach.
According to Mr. Jordon, Mr. Boto knew nothing “shady” about him from that experience.
Despite the potential appearance issue for the SBC – a senior executive testifying on
behalf of a convicted child molester – GJP did not advise him against testifying. The law
firm classified Mr. Boto’s experience as a character witness as “very favorable.”524


These revelations that senior SBC leaders appeared to excuse abuse and/or support
accused abusers – and in Judge Pressler’s case, be accused himself of abuse -- while at


520  SBCEXC0000050194.
521 Id.
522 SBCEXC0000038087.

523 https://casetext.com/case/schiefelbein-v-hampton.

524 Interview Memoranda of Guenther and Jordon.



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the same time survivors were ignored or treated poorly, created the substantial public and
private impression that the SBC EC had no interest in taking real action to address or
prevent sexual abuse.

         D.     Resistance to Sexual Abuse Reform Initiatives from January 1, 2000,
                to June 14, 2021


On numerous occasions, the EC has been confronted with proposals for reforms related
to clergy and staff sexual abuse. Although there may be valid reasons why certain
initiatives were not feasible, it is notable that during most of the twenty-year reporting
period very little was done to address sexual abuse within SBC churches. The primary
focus was on avoiding the risk of legal liability, sometimes to the exclusion of all other
considerations.

                1.     Response to Reform Proposals


2008 Rejection of the Database Proposal
In 2007, survivor Christa Brown and SNAP were urging the SBC to adopt some reform
initiatives, including a review board to receive and investigate reports of sexual abuse.
On September 7, 2006, Jaime Jordan emailed Boto about how the BGCT kept a
confidential list of individuals who were reported for sexual misconduct, and suggested
that:


         This is something the EC could consider. Having a national “bad list” would
         eliminate the opportunity for ministers to “hide” in states that did not keep
         lists. It would also keep churches from having to check lists in many different
         states. 525

Similarly, in an email exchange with Mr. Boto and Dr. Chapman, Stephen Wilson, the
Vice Chairman of the Bylaws Work Group, wrote that “surely we can put some
mechanisms in place to make sure that their future ministries do not include easy access


525   SBC_EC_GJPLaw_00024224.

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to minors” and that “national clearing house for SBC ministers ‘who have been convicted
of abuse’ run by some SBC entity…might actually be helpful.”526 Mr. Boto stated that he
would craft a recommendation, but not hastily.527 In April 2007, Mr. Guenther sent Mr.
Boto a memorandum explaining how a SBC database could be implemented consistent
with SBC polity.528 According to Mr. Guenther, “it would fit our polity and present ministries
to help churches in this area of child abuse and sexual misconduct” and he recommended
“immediate action to signal the Convention’s desire that the EC and the entities begin a
more aggressive effort in this area.”529

At the 2007 Convention, Wade Burleson presented a motion for a database of clergy or
staff in SBC churches involved in sexual harassment or abuse.530 The motion was
referred to the Executive Committee of the Southern Baptist Convention for consideration
and for a report to the 2008 Southern Baptist Convention.531 In the intervening year, the
Bylaws Work Group examined the issue. We interviewed several witnesses that would
have been present during the meetings in 2007 and 2008 and they provided little to no
information about the discussions surrounding the database issue, other than to say that
it would violate local church autonomy.532 Mr. Burleson told us that the EC never invited
him to their meetings and never contacted him about the motion. At the 2008 June
Convention, the Dr. Chapman rejected the proposal based on SBC polity.”533


2014 Rejection of a Sexual Abuse Education Conference
In August 2014, EC leadership discussed the issue of holding a conference to educate
SBC members about sexual abuse proposed by survivors and a national advocate for
sexual abuse awareness training. Mr. Boto was resistant to the idea that the EC or ERLC

526 SBCEC_0000152, https://plusnxt.relativity.one/Relativity/go?id=8252197-1507980.
527Id.  A few months earlier, an EC staff member had presented him with a memo analyzing how reforms
could be made within SBC polity. According to the EC staff member, Boto was dismissive of the memo.
528 SBC_EC_GJPLaw_00008031. SBC EC Investigation - SBC_EC_GJPLaw_00008031.pdf - All

Documents (sharepoint.com).
529 Id.

530https://41jmzr10f8zc229tzr2xml7e-wpengine.netdna-ssl.com/wp-

content/uploads/2020/07/2007SBCAnnual.pdf.
531 Id.

532 Interview Memoranda of EC Staff Member 3, Page, Oldham, and EC Officer 1.

533https://baptistnews.com/article/sbc-officials-reject-idea-of-sex-offender-database/#.YWbuDyuSk2w.



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should take a lead role in addressing sexual abuse in ministry settings.534 Mr. Boto
delayed further meetings about the conference due to his and Dr. Page’s lack of
availability. 535 The conference did not go forward at the SBC.


Reaction to Dr. Greear’s Report on Sexual Abuse
At the 2018 Convention, the Messengers adopted a resolution “On Abuse” which stated
they “condemn all forms of abuse”; “urge abuse victims to contact civil authorities,
separate from their abusers, and seek protection”; and “encourage leaders in our
churches and Southern Baptist Convention entities to be faithful examples, through their
words and actions, and to speak against the sin of all forms of abuse.” In addition, Dr.
Bethancourt made a motion for a task force to assess issues related to sexual abuse,
among other things, and Wade Burleson made a motion that the ERLC study resources
to help churches protect themselves from sexual predators. Both motions were referred
to the ERLC. In response to those motions, Dr. Greear announced that he would form a
sexual abuse study group in partnership with the ERLC.

According to an ERLC Staff Member, when the ERLC was putting together the report
about sexual abuse in 2019, they were met with some resistance from the Guenther firm,
whose “overriding concern” was about ascending liability.536 The EC made comments on
the report, removing the word “crisis” when referring to sexual abuse and expressing
concerns that the ERLC was establishing a standard of care or best practices for
churches, which could create liability.537

This concern about liability was magnified when Dr. Greear named the 10 churches that
the Houston Chronicle had implicated in mishandling of sexual abuse cases. According
to Russell Moore, people were very angry about the naming of the churches and there
was talk of censuring Dr. Greear.538 Early the next morning, Dr. Greear met with EC
leadership and attorneys for the SBC, and was strongly criticized for naming the

534 SBCDATA0001006590, https://plusnxt.relativity.one/Relativity/go?id=8252197-2441900.
535 Id.
536 Interview Memorandum of ERLC Staff Member 4.

537 Id.

538 Interview Memorandum of Moore.



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churches.539 According to Dr. Greear, the threat of liability was raised by SBC attorneys,
who said the SBC could be sued for libel. 540 According to an EC staff member, EC
leadership was concerned that churches might abstain from sending funds to the
Cooperative Program or leave the SBC altogether.541


Resistance to the Credentials Committee
In a memo dated April 18, 2019, intended only for Dr. Floyd’s audience, Mr. Boto provided
a legal opinion which advised against creating a standing Credentials Committee. Mr.
Boto’s main reason was liability: “[i]n plain English, certifying churches would have the
effect of rendering the Convention more vulnerable to a claim of liability.” Mr. Boto
stressed that, “[t]he importance of maintaining current process, and thereby continuing
the so far impenetrable defenses against ascending liability, cannot be overemphasized.”


In our interview with Mr. Boto in May 2022, he stated that he was against the formation
of the Credentials Committee because the EC is limited by SBC polity; the local church
has authority and that is the way it has been for many years.


Resistance to the Caring Well Conference
There was resistance by some in the EC to the Caring Well Initiative, particularly over
funding.542 Initially, the EC voted to provide the ERLC with $200,000 for the initiative, with
an additional $50,000 if needed. Ultimately, the EC instead used the $50,000 on legal
fees related to sexual abuse instead of the conference. An EC member complained that
the conference was not an appropriate use of funds because it was, in his view, centered
on “victim advocacy.”


Resistance to the Task Force
At the 2021 Convention, Tennessee pastor Grant Gaines proposed setting up a task force
to oversee the independent investigation. After the proposal was referred to the EC, Mr.

539 Interview Memorandum of Greear.
540 Id.
541 Interview Memoranda of EC Staff Member 5.

542 Interview Memorandum of EC Staff Members 1, 6, and ERLC Staff Member 5.



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Gaines appealed to the Messengers who overruled that decision by a more than two-
thirds majority.


Dr. Floyd and Mr. Addison were resistant to the motion.543 Dr. Floyd tried to prevent the
motion for the investigation from being introduced or approved at the Nashville
convention.544


Dr. Floyd’s resistance to reform as SBC President is disappointing, given that he spoke
out against clergy abuse as a pastor, writing in 2014 that: “Furthermore, we can and must
hold up the issue. Yes, we are a convention of autonomous churches, but we need to
continue to sound the alarm on national, state and the association level, calling churches
to protect children in their care.”545


               2.      Concerns about Liability

As demonstrated in the preceding sections, oftentimes concerns over liability stymied
efforts toward reform. According to Dr. Litton, when he had to handle sexual abuse issues,
he always received a lecture from the lawyers regarding ascending and descending
liability.546 Dr. Litton’s belief is that this focus on liability created a culture where they felt
there was nothing they could do to handle the issue.547


This focus on liability has been a defining characteristic of the SBC throughout the
investigation period. As described in Section IV.A, in June 2000, then-SBC President
Paige Patterson was counseling a pastor about sexual abuse programs, not a means to
prevent child sexual abuse, but rather as a way to defend against lawsuits. That attitude
– that is more important to avoid liability than to tackle the problem of sexual abuse within
SBC churches – drove much of the resistance to reform. Indeed, in our interview with Mr.



543 Interview Memorandum of Witness 4.
544 Witness 4-Floyd Texts near Convention 2021 - cleaned.xlsx.
545 SBCDATA0000531687.0001.

546 Interview Memorandum of Litton.

547 Id.



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Boto in May 2022, he stated that the SBC cannot take preventative role because calling
churches to report allegations could open the door for SBC to be liable.


In many respects, the EC’s concern about liability, and its action or inaction regarding
sexual abuse, has been guided by legal advice. From 1966 to 2021, the SBC has been
advised in its legal affairs by external counsel Mr. Guenther, and later GJP. The key
attorneys handling SBC EC matters were Mr. Guenther and Mr. Jordan. They provided
counsel on everything from estate grants to the SBC to general litigation support and
responding to sexual abuse survivors. Even as SBC Presidents changed and EC staff
retired, Mr. Guenther and Mr. Jordan remained an institutional source of knowledge in
terms of Baptist polity, risk management and counsel.


After the EC voted to waive attorney-client privilege, GJP resigned from representing the
SBC. GJP provided documents in response to our document request, which provide a
window into how the firm addressed issues of sexual abuse and reform over the past
twenty years. Mr. Guenther and Mr. Jordan also agreed to be interviewed by Guidepost
on the condition that they would be interviewed together. Although a joint interview is not
normally accepted for factual witnesses, they cited Mr. Guenther’s “memory issues” as
the reason why a combined interview was necessary in this instance. We note that Mr.
Guenther, who is 87 years old, indicated that he is still practicing law.


Although many survivors did not reach out to Nashville or the EC offices, as indicated
above, the amount of survivor interaction grew somewhat between 2000-2019. Behind
the curtain, the lawyers were advising to say nothing and do nothing, even when the
callers were identifying predators still in SBC pulpits. Although Mr. Guenther and Mr.
Jordan acknowledged that they were not experts in sexual abuse or clergy abuse,548 that
did not stop them from advising the SBC on how to answer inquiries or whether to respond
at all.




548   Interview Memorandum of Guenther and Jordan.

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In a memo to Mr. Boto in or around March 2008, Mr. Guenther discussed two anonymous
calls received by Dr. Oldham.549 The caller identified himself as church staffer who
believed the church’s pastor was engaged in a relationship with a 14-year-old girl.550
Among other things, the caller reported that the pastor had directed the staffer to give the
girl a cell phone, arrange for a speed dial function so the pastor and girl could
communicate, and not to tell the pastor’s wife.551 Mr. Guenther recommended that Dr.
Oldham “not undertake to elicit further information or details” and advise the caller to
“immediately contact a lawyer and determine his duty to report” and to consider his duty
to report to the appropriate church officials.552 Mr. Guenther went on to note that:


       Neither Sing, you, nor the EC, has a legal duty to take any further action.
       Specifically, you have no legal duty to report suspected child abuse under
       GCA Section 19-7-5, in part because you do not know the identity of the
       child, of the caller, of the church, of the possible abuser(s), the location other
       than Georgia, etc.

       For future reference, once a member of the EC staff is told the identity of a
       child and where she lives, and is given information which reasonably causes
       the EC staff member to suspect the child is the victim of abuse, we ought to
       consider with the staff member his personal duty to report to law
       enforcement.553


Mr. Guenther then suggested that the EC establish a written policy and procedure to give
direction to staff who received sexual abuse communications.554 In our interview with
them, Mr. Guenther and Mr. Jordan stated that they did not know whether the EC ever
adopted a written policy and procedure.555




549 SBCEC_0002308.
550 Id.
551 Id.

552 Id.

553 Id.

554 Id.

555 Interview Memorandum of Guenther and Jordan.



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Mr. Guenther and Mr. Jordan were also primary advisors for the EC leadership with
respect to various reform proposals regarding how the SBC could address sexual abuse.
While they did advise Mr. Boto in 2007 about how an SBC database could be
implemented, in other matters they opposed changes that they perceived as creating a
risk for liability.556 Protecting the polity and the string of favorable decisions meant that
they felt that the SBC could not take any proactive steps lest the SBC be seen as
demonstrating authority over churches in a way that was prohibited by the SBC
Constitution and Bylaws. Over time, they grew more accepting of some actions to address
sexual abuse on the part of the SBC, such as considering the issue of deeming churches
not in friendly cooperation over sexual abuse issues, in order to "go on record as being
willing to equate child abuse at least to the level of homosexuality.” 557


Mr. Guenther and Mr. Jordan indicated that there were some ways that the SBC could
address    sexual    abuse    consistent    with    Baptist   polity,   and   provided   several
recommendations to our team. However, they told us that it was outside of their role as
legal counsel to affirmatively provide creative ideas to the EC about how to reduce abuse
during the period that they were counsel to the EC. On the other hand, they had no
problem providing creative ideas on ways to reduce legal liability including utilizing sole
shareholder for the SBC and advocating for a Tennessee law to limit liability for
nonprofits.558


Overall, the legal advice focused on liability created a chilling effect on the ability of the
EC to be compassionate towards survivors of abuse. Survivors were always viewed
through the lens of potential plaintiffs threatening lawsuits, rather than as individuals who
had been harmed and were in need of care.




556 SBC_EC_GJPLaw_00008576.pdf.
557 SBC_EC_GJPLaw_00022337.
558 Interview Memorandum of Guenther and Jordan.



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VI.     AUDIT OF THE PROCEDURES AND ACTIONS OF THE CREDENTIALS
        COMMITTEE

        A.      Introduction

The Credentials Committee (“CC”) as it exists today was formed in the wake of a public
outcry over sexual abuse within SBC churches. Survivors and their advocates had been
pressing the SBC to confront this crisis by instituting reforms, including taking action
against churches that mishandle or ignore sexual abuse allegations, or that employ
sexual offenders in ministry or staff. For years, SBC EC leadership had taken the position
that any action against churches was not possible, due to SBC polity and the principle of
local church autonomy.


In early 2019, after a series of news reports exposed sexual abuse connected to 10 559
Southern Baptist churches, then-SBC President J.D. Greear called for an inquiry into
whether those churches had a faith and practice consistent with the Baptist Faith and
Message. Work began on proposed amendments to the SBC Constitution and Bylaws to
address these issues, as discussed above. At the June 2019 convention, the Messengers
overwhelmingly adopted changes to those governing documents. In pertinent part, Article
III of the SBC Constitution was amended so that a church is considered “in friendly
cooperation” with the SBC if, among other things, it “does not act in a manner inconsistent
with the Convention’s beliefs regarding sexual abuse.” Changes to Bylaw 8 also tasked
a standing Credentials Committee with making recommendations as to whether a church
is in “friendly cooperation” with the Convention as described in Article III.


Since its inception, the CC has been reviewing submissions from survivors and others
alleging that specific churches are not “in friendly cooperation” with the SBC.560 The SBC
Constitution and Bylaws do not accord the CC the power to investigate what occurred or
to judge the culpability of an accused individual; its only purview is to review how the SBC

559One of the ten churches was found to not be associated with the SBC.
560Although the scope of this report is limited to sexual abuse allegations, the CC also considers allegations
of discrimination concerning a church, or allegations that a church does not have a faith and practice
consistent with the Baptist Faith and Message.

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church responded to sexual abuse allegations and make recommendations as to whether
those actions, or inactions, are consistent with the Convention’s beliefs regarding sexual
abuse. Ultimately, even if the CC determines that the church did not act in a manner
consistent with the Convention’s beliefs, it can only recommend that the church be
disfellowshipped from the SBC and has no means to sanction an individual. As we discuss
in more detail below, this limited scope led to frustration and dissatisfaction on the part of
some survivors, who believed that the CC could, and should, do more to address sexual
offenses.


At the 2021 Convention, the Messengers voted for a Task Force to oversee a third-party
investigation of the SBC EC’s response to sexual abuse allegations, which was to include
“an audit of the procedures and actions taken by the Credentials Committee”. As per the
Messengers’ Motion, we have conducted the audit and our conclusions are laid out in this
report.


As a preliminary matter, we want to acknowledge those individuals who served on the CC
since its inception in 2019. Even though this audit report contains many suggestions for
improvements, it should not be taken as criticism of the CC members themselves. Our
document review and interviews demonstrate that as a whole the CC members, who are
volunteers, took their responsibilities seriously and tried to do their best in a novel position.
All 14 current and former CC members met with us and were instrumental in providing
recommendations for how the CC could perform more effectively going forward.


Here, we summarize the key findings from our audit. A detailed description of these and
other concerns is contained in Section G supra.


First, submissions were made to the CC almost immediately after it was established, and
the CC also inherited submissions from the Bylaws Work Group. There was pressure on
the CC to begin reviewing those submissions quickly. Consequently, the CC did not have
time to develop any written policies and procedures governing how the CC would handle
and evaluate submissions. The absence of guidelines – such as set timelines/deadlines,

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protocols for correspondence with submitters and churches, and standards for review –
led to delays and communications breakdowns. Submitters, and the CC members
themselves, were frustrated by the lack of clarity in the process. Going forward, formal,
written guidance is needed for a more effective and transparent review.


Second, the CC’s limited authority and lack of investigative power was not adequately
explained to submitters, the SBC community, or the public. Some submitters had the
expectation that the CC would expose sexual abuse within SBC churches and hold
abusers accountable. Under the Bylaws, however, the CC could only inquire of churches
about the allegations in the submission and was unable to independently verify whether
the church’s response was truthful. Moreover, even if a church had mishandled sexual
abuse allegations in the past, the CC’s focus was on whether the church was currently in
“friendly cooperation” in light of present leadership and policies, which may have changed
from the time of the allegations. Because this limited purview was not fully understood,
the CC’s decisions not to recommend a church for disfellowship often were dissatisfactory
to submitters.

Third, the CC members did not have adequate onboarding or training. Of the 14 current
and former CC members we interviewed, nine told us they did not feel equipped or
prepared to take on CC membership, and eleven members indicated that the duties,
responsibilities, and time commitment were more than they anticipated. In addition,
because there was no training, CC members and EC Staff Member Liaisons did not know
how to interact in a trauma-informed manner, leading to missteps in correspondence with
submitters and survivors. Prior to taking on the CC role, prospective members should
have a full understanding of their expected duties and responsibilities, receive training,
and be able to commit to attending monthly meetings and completing required work so
that the process can operate effectively.


Fourth, the CC must have adequate funding and staff support, and should provide
counseling and related support to staff and CC members as necessary. CC members and
EC Staff Member Liaisons uniformly told us that they were deeply affected by their service


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on the Committee, and some noted that the CC was the most difficult role they have
served in.

Fifth, the submission webpage and the submission process could be made more user-
friendly. The submission portal is not prominent on the SBC website, requiring submitters
to navigate to the CC webpage. The CC webpage is couched in overly technical
language, making it difficult for an average user to have a clear understanding. In addition,
the functionality could be improved, as there have been instances when the site “timed
out” or when the submissions did not go through to the CC. There also should be an
automatically generated receipt email so that a submitter is assured that the submission
was received. Currently, an EC Staff Member Liaison manually emails a confirmation of
receipt letter to the submitter, which may be sent within a couple days of receipt but has
been observed to take a week or longer in some cases.


Sixth, the entirety of the CC process – from submission to recommendation or declination
– must proceed in a timelier manner. During the review period, the average time the CC
took to process sexual abuse inquiries was 9.6 months. We believe that time span could,
and should, be shortened. As we discuss in detail below, there are many opportunities to
streamline the process and eliminate unnecessary delays, such as a better meeting
cadence and enforcement of stricter deadlines.


Seventh, the CC should develop better protocols for communications with survivors,
submitters, and churches. During our interviews, a majority of current and former CC
members reported that communications with SBC churches and survivors were not
handled well. Initially the CC did not keep records of its phone calls, so details of
communications were often incomplete. CC members also felt uncomfortable or
unprepared to handle the communications, particularly with survivors. Communication
with submitters was inconsistent, sparse, and lacked transparency; in some cases,
submitters went months before receiving any information from the CC. Better training and
clear guidelines would assist both CC members and those with whom they are
communicating.


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Finally, CC decision making is unclear due to the lack of comprehensive guidelines.
Neither our interviews nor our document review revealed a written set of standards for
assessing when a church’s conduct merits disfellowship. Moreover, because the CC lacks
the power to investigate, it is overly reliant on any information presented by the church or
gleaned from state and local associations. The audit revealed that when the submitter’s
information was contradicted by the information provided by the SBC church, no
additional investigation would be permitted due to SBC polity. Except in cases where the
church admits to employing a convicted sex offender, it can be difficult for the CC to
determine whether the church engaged in conduct inconsistent with the Convention’s
beliefs regarding sexual abuse. Indeed, even the “Convention’s beliefs regarding sexual
abuse” is not an explicitly defined term.


Based on all of our findings, we have made a number of recommendations specific to the
CC at the end of this report. Among other things, we are recommending enhanced training
and onboarding for CC members, improvements to the CC’s processes and procedures,
better communication of the CC’s mission, increased staff support, a more user-friendly
and functional Reporting Portal, transparent decision protocols, and adequate funding to
support the CC’s work.


          B.      Scope of Audit

As described above in Section II.A of this Report, the Messengers to the 2021 SBC
Convention overwhelmingly approved a motion calling for a task force to oversee a third-
party investigation into allegations of the EC’s response to sexual abuse allegations. As
part of the investigation, the motion specifically called for “an audit of the procedures and
actions taken by the Credentials Committee of the Southern Baptist Convention, which
was formed at the Convention meeting in Birmingham, AL, June 11-12, 2019.”561


In our engagement letter with the Task Force, we committed to perform the requested
audit of the CC from its formation in mid-June 2019 through June 14, 2021, using best


561   2021 SBC Annual Report https://www.sbc.net/wp-content/uploads/2021/09/2021-SBC-Annual.pdf.

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standards and practices designed to ensure accountability, transparency, and care for
the wellbeing of survivors of sexual abuse.562 Though the CC reviews and provides
recommendations on other issues, such as whether practices are consistent with the
Baptist Faith and Message and racial discrimination, our review was limited to the CC’s
actions related to sexual abuse allegations. The findings of our audit are set forth below.


        C.      Methodology of Review

The SBC Motion required an audit of both the procedures and the actions taken by the
CC. Because the CC did not have formalized procedures during much of our review
period, we identified key areas for analysis using our understanding of the Committee’s
actual practices, goals for the CC, similar practices for other adjudicatory bodies, and
input from interviewees. With respect to the actions taken by the CC, we mapped known
CC submissions against key metrics, including process, time frame, information
considered, and results.


To conduct the audit, we reviewed all documents relevant to the Credential Committee
during the relevant time period.563 These included submissions that were inherited from

562 Guidepost Engagement Letter
https://solutionpointintl.sharepoint.com/:b:/s/SBCECInvestigation/Ef_k_4q0aztHtw6qWzXhT1MBg0BfLDru
X_aT0tqnEH3ahQ?e=5B8gnt.
563 For example, we requested and reviewed documents from the SBC EC relevant to the CC, including

but not limited to: the names and credentials of all past and present CC members; all documents, meeting
minutes, and communications related to the formation, purpose, scope of work of the CC in 2019; names
of all EC staff and volunteers reporting to or serving the CC from June 2019 to June 14, 2021; all
documents, meeting minutes or communications related to the selection or appointment process of CC
members; all minutes/agenda notes from the CC meetings related to sexual abuse and survivor reports of
abuse within SBC churches; all documents, meeting minutes, or communications regarding the process
that the CC followed in accepting and processing submissions of mishandling of sexual abuse by
cooperating churches; all documents, meeting minutes, or communications regarding the process that the
CC followed in determining if a submission should be placed under inquiry and process of inquiring a
church; the CC submission webpage; all submissions related to sexual abuse received on the CC
submission form published on the SBC website; all communications of CC, EC, and EC staff related to
submissions regarding sexual abuse made to the CC, including communications to and from survivors,
churches and state and local associations; all research, recommendations, communications, internal
inquires, or notes regarding churches reported to the CC for “in cooperation review” if related to the
handling of sexual abuse matters; all EC agenda issue advisories from the CC to the EC outlining


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the Bylaws Work Group, submissions that were emailed to the CC before the CC
submission portal was established in December 2019, submissions to the CC portal,564
confirmation of receipt letters to the submitters (in some cases),565 inquiry letters to
churches,566 notes documenting interactions with churches and submitters, minutes of
Credential Committee meetings, and final disposition of matters.567


In addition to the documents reviewed, we interviewed all 14 current and former members
of the CC, as well as eight SBC EC staff who served as liaisons to the Committee. In our
interviews, we asked about each individual’s participation in the CC, including
standardized questions about background, training, process, and recommendations. We
spoke with two counseling professionals who volunteered their services to the CC to
better understand their role in the process.568 We also spoke to three ERLC staff members
who referred people to the CC submission portal when reports came into the ERLC.569 In
addition, in our interviews with EC Trustees, other SBC leaders, and Sexual Abuse Task
Force members as part of the broader investigation, we typically asked about their




churches that the CC recommended to be no longer considered in friendly cooperation with the
Convention for sexual abuse matters; SBC Constitution and Bylaws, specifically Article III concerning the
definition of a church in friendly cooperation; Bylaws 8, 15 and 29 concerning the CC; and the Baptist
Faith and Message, specifically Article XV concerning the SBC’s beliefs regarding abuse. See
https://solutionpointintl.sharepoint.com/:f:/s/SBCECInvestigation/Eh2OfrI54mNLnM6FHijK0GoB4DAY9v8
pSC7yxWqB-oM1AQ?e=nqmJ1O.
564CC Submissions Webpage https://www.sbc.net/about/what-we-do/sbc-governance/credentials-

committee.
565 Letters of receipt to submitters.

https://solutionpointintl.sharepoint.com/:w:/s/SBCECInvestigation/Ea_elHWBsORAinB4oQrG2u0B-
L9u6c_EQx7IHCPIjUdAPA?e=hd05jL.
566 Inquiry letters to churches. https://solutionpointintl.sharepoint.com/:w:/s/SBCECInvestigation/EW-

pbS9KNr5OkhnTuE1279cBpx7pn09drdJ3tchRwtH6HQ?e=VBl71W.
567Decision letters to churches and submitters.

https://solutionpointintl.sharepoint.com/:w:/s/SBCECInvestigation/EYbRoZRMxmFErbMqSbjKlVwB2VQfE
BElVIr9hz_h8YpWdg?e=D8UkaK.
568 Interview Memoranda of CC Members, EC Staff, and Witnesses.

https://solutionpointintl.sharepoint.com/:f:/s/SBCECInvestigation/EtoZny6K649KvvdikKXw0r0BbiuKPyIAF
LlTuaKK8_EbLQ?e=AaDi7a.
569 Interview Memoranda of ERLC Staff Members 1, 2, and 3.

https://solutionpointintl.sharepoint.com/:f:/s/SBCECInvestigation/EmL1DTtju4pPo80r0-
MFAh4B0X2kErrcrJyAlWaaXGN4Ng?e=weQzXu.

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knowledge of the purpose, creation, and structure of the CC, and solicited their
recommendations for enhancing the Committee.


Out of respect for their privacy and consistent with our engagement letter, we did not
directly contact survivors or those who submitted abuse allegations through the CC portal.
However, as described in Section II.B supra, at the outset of this engagement we
established a dedicated email address, phone number, and webpage to ensure that
survivors or other persons who wished to participate would have the opportunity to do so.
We ultimately did interview three survivors and four other witnesses who wanted to share
information about their knowledge of, and experience with, the CC process.570


       D.      Background


               1.      Creation of the CC

At the February 18, 2019 SBC EC meeting, then-SBC President J.D. Greear reported on
sexual abuse, specifically naming 10 churches that were mentioned in news reports
concerning sexual misconduct allegations in Southern Baptist congregations. Dr. Greear
called for an inquiry into whether those churches were “operating with a faith and practice
that upholds the Baptist Faith and Message, specifically Article XV, which says that we
should seek to provide for the abused.”571

According to an SBC EC Staff Member, Mr. Boto was very frustrated that the SBC
President announced the churches publicly as it caused an uproar and could lead to
lawsuits.572 According to a former SBC EC Vice President, the SBC EC leadership was
concerned that churches might abstain from sending funds to the Cooperative Program




570 Interview Memoranda of CC Witnesses 1,2,3,4,5,6, and 7.
https://solutionpointintl.sharepoint.com/:f:/s/SBCECInvestigation/EtoZny6K649KvvdikKXw0r0BbiuKPyIAF
LlTuaKK8_EbLQ?e=BeCI0D .
571 http://m.bpnews.net/52467/sbc-bylaws-workgroup-releases-sexual-abuse-response.

572 Interview Memorandum of EC Staff Liaison 1.



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or leave the SBC altogether. The witness reported that the named churches pressured
Boto and the Bylaws Work Group Chair to clear the churches’ names quickly.573

In the days following Dr. Greear’s report, the Bylaws Work Group met via conference calls
and ultimately released a statement on February 23, 2019. In pertinent part, the statement
sets forth that:

          The Executive Committee is recommending to the Convention’s
          messengers this June an amendment to the Convention’s Constitution
          affirming that the Convention does not, and will not, cooperate with a church
          that clearly evidences indifference to addressing the crime of sexual abuse,
          a crime virtually all Southern Baptists and all Christians believe to be
          monumentally destructive and worthy of the harshest punishment.

          It is our collective opinion that in crafting the proposed amendment, the
          Executive Committee intended to use the test of “evidencing indifference”
          to the threat or fact of sexual abuse as the standard to determine that a
          church is not in cooperation with the Convention. Therefore, the receipt of
          credible information that would demonstrate such indifference should be the
          trigger for any sort of inquiry into a church’s conduct. It is also our opinion
          that the Executive Committee did not intend for every allegation that a
          church has demonstrated indifference to establish guilt which would then
          have to be disproved — in effect, a presumption of guilt which the Executive
          Committee should view as untenable and unscriptural.

          We utterly and completely condemn the abominable horror of child sexual
          abuse. We must also be careful that our righteous anger does not prevent
          a deliberate and thoughtful response. Although the overwhelming majority
          of sexual abuse cases remains tragically unreported, in virtually all reported
          cases, the abuse and cover-up of abuse were criminal acts undertaken by
          a few individuals within a church. The church body rarely knew about these
          actions and even more rarely took any action to endorse or affirm the
          wrongful acts or the actors themselves. The Convention, through its
          Executive Committee, should not disrupt the ministries of its churches by
          launching an inquiry until it has received credible information that the church
          has knowingly acted wrongfully in one of the four ways described in the
          proposed amendment:


573   Interview Memorandum of EC Staff Liaison 3.

                                                    201

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                   (a) employing a convicted sex offender,
                   (b) allowing a convicted sex offender to work as a volunteer in
                   contact                        with                       minors,
                   (c) continuing to employ a person who unlawfully concealed from
                   law enforcement information regarding the sexual abuse of any
                   person by an employee or volunteer of the church, or
                   (d) willfully disregarding compliance with mandatory child abuse
                   reporting laws.

       In most cases a judicial body would have already determined these items
       as matters of fact. Action was taken on this proposed amendment by the
       Executive Committee officers, the Bylaws Workgroup, the Administrative
       Committee, and the full Executive Committee. In all discussion, the body
       was clear that the Executive Committee has neither the authority nor ability
       to conduct a criminal investigation.574

According to the Bylaws Work Group, factors such as the passage of time, changes in
the church’s administration and membership, and the church’s adoption of policies to
prevent and properly respond to charges of abuse would be considered when determining
whether churches were “evidencing indifference to sexual abuse.”575 In the Bylaws Work
Group’s judgment, the presence of such factors “would make launching an inquiry of no
value” and only “further harm a congregation recovering from the effects of crimes
committed in its midst.”576

Although the Bylaws Work Group noted that victims “should always be encouraged to
report the crimes against them,” the statement urged EC members and SBC messengers
to avoid publicly naming churches absent prior notice to the church and documentation
of criminal convictions.577 Rather, the Bylaws Work Group expressed a preference for the
names of suspect churches to be brought to the EC’s attention from the local association
and the state or regional conventions.578




574 http://m.bpnews.net/52467/sbc-bylaws-workgroup-releases-sexual-abuse-response.
575 Id.
576 Id.

577 Id.

578 Id.



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The Bylaws Work Group then specifically addressed the churches identified in the SBC
President’s report as follows:

        •    Further inquiry was not warranted for six churches based on the information
             provided.
        •    Further inquiry was warranted for three churches based on the information
             provided.
        •    One church was not a Southern Baptist church.579

The Bylaws Work Group made these determinations in less than a week after President
Greear’s report. As one Trustee expressed to us, the determination that no further inquiry
was warranted for the majority of named churches was perceived as shockingly fast and
hasty.580 Survivor and survivor advocates believed that the Bylaws Work Group did not
engage in due diligence before clearing the churches,581 one of which in fact had an
admitted sex offender on staff as the Music Director.582 A later letter from Russell Moore
to President Greear references the “disastrous move by the Bylaws Work Group to
‘exonerate’ quickly and by fiat churches with credible allegations of negligence and
mistreatment of sexual abuse survivors – even leading to a call of apology from an
Executive Committee official to a church that had, at the time, a sexual offender on
staff.”583


In the wake of this controversy, work began to amend the bylaws to allow a standing
committee of the SBC to form an opinion on whether churches were in friendly
cooperation with the SBC. At the June 2019 SBC Annual Meeting, an amendment
creating the CC as it exists today was approved.584



579 Id.
580 Interview Memorandum of CC Witness 7.
581        https://www.houstonchronicle.com/news/houston-texas/houston/article/Southern-Baptist-leaders-
quickly-clear-7-13643282.php.
582        https://www.baptistpress.com/resource-library/news/churches-named-by-greear-in-abuse-report-
respond.
583https://solutionpointintl.sharepoint.com/:b:/s/SBCECInvestigation/EXbMMAPUyhRHjWRP63KdmWQBb

ZiF6iXGPoqjT_bQo-BPJA?e=jsdNjM.
584                                         https://41jmzr10f8zc229tzr2xml7e-wpengine.netdna-ssl.com/wp-
content/uploads/2020/07/2019SBCAnnual.pdf.

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               2.      Authority

At the June 2019 SBC Annual Meeting, Messengers overwhelmingly voted for the
amendments to the Constitution related to sexual abuse. Constitutional amendments
require a second two-thirds messenger vote at the following SBC Annual Meeting.585
Because the 2020 meeting was canceled, as of the June 2021 SBC Annual Meeting, the
SBC Constitution, Article III read as follows:

       Article III. Composition: The Convention shall consist of messengers who
       are members of Baptist churches in cooperation with the Convention. The
       following subparagraphs describe the Convention’s current standards and
       method of determining the maximum number of messengers the
       Convention will recognize from each cooperating church to attend the
       Convention’s Annual Meeting.
       1. The Convention will only deem a church to be in friendly cooperation
       with the Convention, and sympathetic with its purposes and work (i.e., a
       “cooperating” church as that term is used in the Convention’s governing
       documents) which:
       (1) Has a faith and practice which closely identifies with the Convention’s
       adopted statement of faith. (By way of example, churches which act to
       affirm, approve, or endorse homosexual behavior would be deemed not to
       be in cooperation with the Convention.)
       (2) Has formally approved its intention to cooperate with the Southern
       Baptist Convention. (By way of example, the regular filing of the annual
       report requested by the Convention would be one indication of such
       cooperation.)
       (3) Has made undesignated, financial contribution(s) through the
       Cooperative Program, and/or through the Convention’s Executive
       Committee for Convention causes, and/or to any Convention entity during
       the fiscal year preceding.
       (4) Does not act in a manner inconsistent with the Convention’s beliefs
       regarding sexual abuse.
       (5) Does not act to affirm, approve, or endorse discriminatory behavior on
       the basis of ethnicity.586



585   https://www.baptistpress.com/resource-library/news/southern-baptists-affirm-stances-on-sex-abuse-
racism/
586 SBC Constitution, Article III.



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Bylaw 8 was also amended to establish the CC. If any issues arose as to whether an SBC
Church was in cooperation with the SBC as described in Article III, the CC was charged
with considering the matter, reviewing information available to it, and making a
recommendation to the Executive Committee:

        If the committee forms the opinion that a church is not in friendly cooperation
        with the Convention as described in Article III. Composition, of the
        Constitution, the committee shall submit to the Executive Committee a
        report stating that opinion and the committee’s reasons for its opinion.587

If such a report is made, the Executive Committee is to consider the report at its next
meeting and make a determination. The SBC Church may appeal the decision by written
submission to the CC Chair at least 30 days prior to the SBC Annual Meeting, and the
Convention would then consider the appeal during the Annual Meeting. Ultimately, the
Convention determines whether to sustain the EC’s ruling.588 There is no appeals process
for a submitter who is dissatisfied with the CC’s or EC’s decisions.

Once an SBC Church is determined not to be in friendly cooperation, it may apply to the
CC for reconsideration of its status if it addresses the issues which led to that finding. The
CC may recommend to the EC that the church be once again considered a cooperating
church “if the circumstances warrant.”589

Finally, Bylaw 8 expressly notes that the CC may make inquiries of a church, “but shall
never attempt to exercise any authority over a church through an investigation or other
process that would violate Article IV of the Constitution.”590




587 Bylaw 8, Section C(3)(a).
588 Bylaw 8, Sections C(3)(b), (d).
589 Bylaw 8, Section C(4).

590 Bylaw 8, Section C(5).



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                3.      Membership


The CC is comprised of the Registration Secretary, the Chair of the EC, three members
nominated by the EC, and four members nominated by the Committee on Nominations.591
All members other than the Registration Secretary and the EC Chair serve three (3) year
terms and the Committee is permitted to elect its own Chair.592 There are no written
standards or criteria for nominating or selecting CC members.593


        E.      CC Process and Procedures


Apart from what is described above, Bylaw 8 did not provide any formal processes or
procedures for how the CC would function, the time frame within which submissions
would be decided, how submissions would be received, or what standard of review would
be employed. As described in detail below, our audit revealed that the CC developed an
internal, informal process to receive, review, and make recommendations on submissions
which developed and transformed between February 2019 and June 2021.                                 Our
understanding of this process comes from interviews with current and former CC
members, EC Staff Member Liaisons, survivors, witnesses, and advocates who have
personal experience with submissions to the CC, and our review of documents gathered
during our audit.


During the audit time period, submissions generally came to the CC through electronic
mail or through an SBC website portal, which was launched in December 2019.594


591 Bylaw 8, Section C.
592 Id.
593 Bylaw 8, Section C; Bylaw 15.

594 According to a former CC Chair, when the Committee was first formed there was no process to clarify

or classify the emailed submissions. The Chair thought there should be an electronic portal to standardize
the process. See Interview Memorandum of CC Member 1. The launch of the CC submission webpage
was publicized in the SBC media outlets, including Baptist Press and the SBC website. See, e.g.,
https://arkansasbaptist.org/post/sbc-credentials-committee-establishes-portal-to-report-alleged-departure-
from-polity-doctrine. The CC also advised an EC Trustee, who previously had emailed multiple submissions
on behalf of survivors, to relay to the survivors that they should make individual submissions through the
CC submissions website. See Interview Memorandum of CC Witness 7.

                                                  206

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Anonymous submissions were not considered, however proxies were allowed to submit
and advocate on behalf of a survivor or person directly involved with the sexual abuse
matter.595 For example, Dee Ann Miller served as a proxy and emailed a submission on
behalf of siblings who were not aware of how to report an abuse concern to the CC. Ms.
Miller served as an advocate and resource throughout the CC process.596 A former CC
Chair explained that, because the CC needs to correspond with the submitter in order to
gather information, the submitter must be identifiable.597


                1.      Submission Portal


Our audit team conducted test submissions using the CC submission webpage, which
can be accessed at: https://www.sbc.net/about/what-we-do/sbc-governance/credentials-
committee/. As a preliminary matter, we should note that there is no link to the CC
submission webpage from the main page of the SBC website.598 Rather, submitters must
perform a site search, or go the menu bar or the bottom of the page to find the link to the
CC portion of the SBC site where the submission form is located. There is no information
on the main page of the SBC website that clearly highlights that people need to go to the
CC submission webpage to make a submission. Baptist Press announced the launch of
the submission portal in an article in December 2019,599 but there have not been efforts
to bring continuous awareness to the submission portal.

Once a submitter has navigated to the CC webpage, the top half of the initial page
contains a brief description of the CC, noting that it “exists to provide individuals an
opportunity to address concerns about whether a church that is currently identified as a
cooperating church with the Southern Baptist Convention continues to meet our

595                   See                  https://41jmzr10f8zc229tzr2xml7e-wpengine.netdna-ssl.com/wp-
content/uploads/2020/03/CredentialsCommitteeSubmissionForm.pdf.
596#6 Church Combined File.pdf

597Interview      Memorandum        of    CC     Member      1;   see     also  Draft     CC     Policies
https://solutionpointintl.sharepoint.com/:w:/s/SBCECInvestigation/EahGEOkaN6NFiMdJQW6hBdABFYXJ
MKORYAfGNjWtWqY7xA?e=x0TfZq .
598 https://www.sbc.net.

599      https://www.baptistpress.com/resource-library/news/sbc-credentials-committee-establishes-online-
submission-portal/

                                                  207

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standards of faith and practice.”600 A screen shot of that portion of the webpage is included
below.




The bottom half of the initial page contains a “Statement of Assignment,” which describes
the function of the CC and provides information to the submitter.601 Among other things,
the Statement notes that the CC may make inquiries of a church but not investigate; that
any report concerning an abuser should first be made to law enforcement; and that CC
will not consider anonymous submissions.602 The Statement is approximately 20 lines in
length and in a smaller font than the top half of the page. 603 At the end of the statement

600 https://www.sbc.net/about/what-we-do/sbc-governance/credentials-committee.
601 Id.
602 Id.

603 Id.



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are “yes” or “no” boxes for submitters to indicate whether they read the statement and
want to submit a report.604 A screen shot of the Statement is set out below.




If submitters select “yes,” they are directed to the second step, which asks them to select
whether the submission relates to: (i) “discriminatory behavior on the basis of ethnicity,”
(ii) “sexual or other forms of abuse in a church setting,” or (iii) “any other matter of faith or
practice.”605 The page also includes a link to download the submission form, if the




604 A submitter who selects “no” is nonetheless directed to the page containing the submission form,
skipping the additional steps described infra.
605 https://www.sbc.net/about/what-we-do/sbc-governance/credentials-committee/#gf_4.



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submitter would prefer to email or mail it to the CC rather than proceed on the website.606
A screenshot of the page is set out below.




If submitters make the selection for sexual abuse, they are directed to a third step, titled
“Support Phone Call.”607 The webpage notes that the CC is working with a mental health
center to provide a support phone call from an individual trained to assist victims of sexual
or other forms of abuse. According to the webpage, the support call includes information
about the abuse recovery process and the identification of resources in the submitter’s
area. The webpage further notes that the submitter’s selection will have no impact on the
CC’s inquiry.608 A screenshot of the page is set below.




606 Id.
607 Id.
608 Id.



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No matter what selection is pressed,609 the submitter is directed to the fourth step, which
is the submission information form. The information form is prefaced with this statement:

        This form should be used to submit a church to the SBC Credentials
        Committee for consideration regarding its relationship with the Southern
        Baptist Convention. The Credentials Committee may submit a
        recommendation to the Executive Committee that a church be removed
        from its cooperative standing with the Southern Baptist Convention at the
        Executive Committee’s mid-September, mid-February, or June meeting just
        prior to the SBC annual meeting. Once a submission has been received by
        the Credentials Committee, the Committee will communicate in a timely
        manner with (a) the submitter of any concern and (b) the church about which
        a concern has been raised. * It will not release comments or updates
        regarding submissions through the media or by other means unless or until
        a recommendation is submitted to the Executive Committee for withdrawal
        of fellowship from a church. *This is why we recommend that law
        enforcement be contacted first. We do not want the actions of the


609 We noticed during our audit that, after a submitter makes a selection and presses “next” to move forward
in the process, the selection becomes unhighlighted. In other words, just before the screen moves to the
next page, it appears to the viewer as if no selection was made. This glitch could make some submitters
unsure whether their request for a support call was processed.

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       Credentials Committee to confound a needed investigation. Our role is to
       inquire of the church under question. The church is likely to question the
       alleged abuser. If the legal investigation has not already begun and reached
       the point of pressing charges at the time we contact the church, this could
       make the investigative process more difficult.


Following that language is a series of questions asking for information about the
submitter, the church, and whether a law has been violated. There is no auto-verification
system to ensure the submitter entered their correct phone number or email address.


The form then provides text boxes for the submitter to: (i) explain why the church is not in
friendly cooperation with the SBC, (ii) provide details about the events, (iii) describe when
the issue began and how the church acted to address or resolve the issue; and (iv) explain
whether a state or local Baptist association has addressed the issue. After those text
boxes are completed, there is a short statement at the end as follows:


       Please submit this form to the SBC Credentials Committee by clicking
       SUBMIT. You will receive an email confirmation that the form was received.
       If you do not receive this confirmation, please check your spam or junk
       folder in your email account. If you have additional information or questions,
       please contact the SBC Credentials Committee at credentials@sbc.net.

Once the “Submit” button is pressed, the submitter is redirected back to the CC’s
homepage. There is no obvious indication that the submitter’s information was received,
other than a sentence appended in a small font after three paragraphs of text. The
sentence states: “Thanks for contacting us! We will get in touch with you shortly.” A screen
shot of the homepage with that sentence is included below.




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The submission webpage does not provide an email confirmation or other confirmation of
receipt, nor does it indicate if there is an error in submission. We interviewed two survivors
who indicated that they had made submissions through the webpage, but the CC did not
appear to receive those submissions.610 One of the survivors, who had submitted to the
online submission webpage on the day it launched in December 2019, did not become
aware that her submission had malfunctioned until she interviewed with Guidepost as part
of this investigation.611




610   Interview Memoranda of CC Witnesses 2 and 8.
611   Interview Memorandum of CC Witness 2.

                                                 213

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A third submitter, who was submitting on behalf of a survivor, also encountered difficulty
with the submission webpage. The submitter emailed the survivor that she had to contact
the CC directly because “the form had a glitch so that it apparently timed out after a while;”
the submitter “lost the first 2 drafts, after hours of working on them combined!”612 Another
survivor advocate stated that the CC portal user experience is poor, and the submission
form is not easy to find.613 It is unclear whether this was a CC submission webpage error
or user difficulty, but the user interface provided by the portal did not help facilitate survivor
access.

                2.      Receipt of Submission

After a submission was received through the CC submission webpage, the EC Staff
Member Liaison who was assigned to assist the CC would first verify whether the church
being reported was an SBC-affiliated church. The EC Staff Member Liaison made this
verification by reviewing the church’s Annual Church Profile information.614 If the church
was not an SBC church, the EC Staff Member Liaison emailed the submitter and advised
that their submission was outside the CC’s authority. The submission was labeled as “Not
Affiliated” in the CC’s records.615

If the church was an SBC-affiliated church, the EC Staff Member Liaison then sent a copy
of the submission to the CC Chair and manually emailed a letter of confirmation of receipt
to the submitter. The emailed letter was not instantaneous with the submission. One EC




612 CC Witness 3’s email to CC Witness 1, when she tried to submit a reconsideration request on the CC
submission website. Fwd_ copy of request for appeal.msg.
613https://solutionpointintl.sharepoint.com/:w:/s/SBCECInvestigation/EcgEe91EN_FAhcglO6jdGs8Bzi83Fx

H65z0kx4KqRPZO8Q?e=ekiqAJ
614 The Annual Church Profile is submitted by SBC member churches and includes information about,

among other things, the church’s membership, leadership, and finances.
615Interview     Memorandum        of    EC   Staff  Liaison   1;    see  also  Draft   CC     Policies.
https://solutionpointintl.sharepoint.com/:w:/s/SBCECInvestigation/EahGEOkaN6NFiMdJQW6hBdABFYXJ
MKORYAfGNjWtWqY7xA?e=x0TfZq.

                                                 214

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Staff Member Liaison explained that the letters of receipt were typically sent out within a
week after the submission was received, but that in busy times it could take longer.616

To write the letter, the EC Staff Member Liaison used an “Initial Acknowledgment Letter”
template and tailored it to the submission. The template, among other things, thanks the
submitter for having the courage to make a report, expresses the CC’s grief and prayers,
urges the submitter to contact law enforcement if the submitter suspects criminal
behavior, clarifies that the role of the CC is to determine if churches are in friendly
cooperation, and notes that the CC will consider the submitter’s communication as soon
as possible and get back to them about the status of their report.617 The CC Chairs did
not review these letters prior to the EC Staff Member Liaison sending it to the
submitter/survivor.618

                  3.      Information Gathering

It was the responsibility of the EC Staff Member Liaison to manage the information
gathering process in the following manner:

    •   The CC’s Access database is used to store a record of the submissions received
        by the CC. The EC Staff Member Liaison creates a dedicated, numbered file for
        each submission in the Access database and manually inputs the information from
        the submission form, along with a brief summary.619
    •   If additional information was needed, the EC Staff Member Liaison emails the
        submitter. If the submitter does not respond within the next 90 days, the
        submission is placed in “Inactive” status but not closed. If additional information is
        received, the EC Staff Member Liaison sends an email confirmation to the


616Interview   Memorandum of EC Staff Liaison 1; see also Credentials Committee Response Templates
11.20.19.
https://solutionpointintl.sharepoint.com/:w:/s/SBCECInvestigation/EWkhiTD7JoNBrFaNo6Pa6pQB7d3KI7
y0jHlNiHN6fc8GDw?e=NM1nLU.
617 Id.

618 Interview Memorandum of EC Staff Liaison 1.

619 https://solutionpointintl.sharepoint.com/:b:/s/SBCECInvestigation/ERf-0nySZyRCmuEY3B-

uQMQBdxWFNCr875d-KFuGSk-sZA?e=WTEtuN.

                                                  215

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        submitter, and uploads the additional information into the appropriate file on the
        server.
    •   The EC Staff Member Liaison conducts the below open-source searches/inquiries
        for publicly-available information. As some CC members became familiar with the
        information gathering process, they occasionally have assisted with the
        information gathering as well.


               o State/local sex offender registry information
               o Court or police records
               o News articles
               o Facebook/Twitter/social media
               o General internet searches620

In addition to the above information, CC members would contact state conventions and/or
local associations for information about the status of the church, and to determine whether
those entities were aware of any abuse allegations involving the church.621 An EC Staff
Member Liaison stated that these efforts were for background research only and were not
an investigation.622

Any documents collected during the information gathering stage were scanned by the EC
Staff Member Liaison and saved to the numbered file correlating to the submission. An
additional step must be taken to manually download the numbered files and the Access
database reports to a secure portal for CC members’ review. Once files are downloaded




620Interview    Memorandum        of   EC      Staff   Liaison  1;    see   also   Draft    CC     Policies.
https://solutionpointintl.sharepoint.com/:w:/s/SBCECInvestigation/EahGEOkaN6NFiMdJQW6hBdABFYXJ
MKORYAfGNjWtWqY7xA?e=x0TfZq.
621 The CC did not contact those entities for information for the early submissions. In fact, the Executive

Director of the Missouri Baptist Convention who was an EC Trustee emailed Dr. Floyd in January 2020,
expressing concern that the CC Chair had contacted two churches about their inquiry status and did not
notify     the   state      convention    where      the    two    churches    were    associated.      See
https://solutionpointintl.sharepoint.com/:b:/s/SBCECInvestigation/Eas33krgFnpKmf4I7QJRvw4Ben4ClRfk
7REnv9-b2VV0Rw?e=uKMyTk.
622Interview Memorandum of EC Staff Liaison 1.



                                                   216

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onto the secure portal, CC members are able to review the information for each active
submission.

The Access database has room for automated improvement as it is not password
protected or encrypted. The database is on the secure Convention policy drive, and only
three staff members have access rights with no file share permissions. The database is
nonetheless beneficial for the following reasons:

                     1. Provides the capability for the EC Staff Member Liaison to run
                         reports for active submissions and progress reports in order to
                         formulate the CC meeting agenda;
                     2. Has a Tasks and Assignments Tab to direct CC members to their
                         specific tasks to be completed before the next CC meeting; and
                     3. Allows for a diary of details for each submission to be tracked for
                         the CC members’ easy reference and review.


              4.      CC Meetings and Status Determinations

The CC typically met on a monthly basis, but there were a few months the CC did not
convene because of various personal/professional/organizational obligations that did not
allow for a quorum of CC members to be present to make decisions.623 Prior to each
meeting, the EC Staff Member Liaison created an agenda highlighting the active
submissions for discussion. The EC Staff Member Liaison sent the agenda, a summary
of active submissions and related information, and a progress report to the CC members.
The Tasks and Assignments tab in the Access database directed CC members to the
specific tasks that needed to be completed, as well as updates that needed to be
presented at the monthly meeting.624



623https://solutionpointintl.sharepoint.com/:w:/s/SBCECInvestigation/EahGEOkaN6NFiMdJQW6hBdABFY

XJMKORYAfGNjWtWqY7xA?e=37YfzT.
624Interview    Memorandum         of   EC     Staff Liaison    1;  see  also Draft CC   Policies
https://solutionpointintl.sharepoint.com/:w:/s/SBCECInvestigation/EahGEOkaN6NFiMdJQW6hBdABFYXJ
MKORYAfGNjWtWqY7xA?e=x0TfZq.

                                              217

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Any submission received since the CC’s last meeting was given the status “Received” to
indicate that the submission had not yet been reviewed and/or discussed by the CC.
Received submissions were added to the agenda of the next scheduled CC meeting. At
the meeting, the CC would determine whether there was sufficient information to proceed
with the active submissions and would determine the status to be one of the following:
Review, Decline Further Consideration, In Legal Process, or Under Inquiry.625

“Review” status meant that the CC had sufficient information enough to warrant concern,
but not enough to determine the next status. The CC then would gather more information
before the next CC meeting by requesting more information from the submitter, contacting
other Baptist bodies for information about the church, compiling publicly available
information, or some other action determined to be within the scope of the CC’s
assignment.626

Based on the information gathered, the CC would elect to “Decline Further Consideration”
if, in the CC’s view, the submission did not pertain to an action or lack of action by a
church, was beyond the scope of the CC’s duties as outlined by Bylaw 8, or there was
not enough information available to the CC for a determination to be made. The CC did
not notify the church or the EC of its determinations for both “Review” and “Decline Further
Consideration” status.627

If there was an ongoing legal matter, the CC could put the submission in “In Legal
Process” status. This status was used if the resolution of the legal matter would be
beneficial for the CC to know in order to make any determinations regarding the church.
If the church was in active legal proceedings, the CC would pause the inquiry until the
legal matter was decided.628

The submission was considered “Under Inquiry” if the CC agreed that contacting the
church was necessary in order for the CC to inquire about any concerns that have been


625 Id.
626 Id.
627 Id.

628 Id.



                                            218

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raised during the review of the submission. In that situation, an inquiry letter was prepared
and sent to the church. During the first year, this inquiry letter was either mailed or sent
via email. 629 In 2020, after receiving criticism for not providing the church with notice prior
to sending out the inquiry letter, the CC began calling the church pastor/staff prior to
mailing or emailing the inquiry letter.630

The inquiry letter typically included five to seven questions for the church to answer. The
questions were tailored to the nature of the inquiry. By way of example, in one case, the
submitter claimed that the church pastor had committed, and was subsequently indicted
for, sexual assault. The inquiry letter posed seven questions, including whether: (1) the
church was employing anyone who was accused, arrested, or convicted of sexual assault
or similar conduct, and asking for details; (2) the current pastor was currently under
investigation; (3) the church believed it mishandled information regarding the allegations;
(4) the church’s employment of an accused pastor or staff member could be reconciled
with Article XV of the Baptist Faith and Message; (5) the church can point to specific facts,
circumstances, or actions to show that the church’s beliefs on sexual abuse align with the
SBC; (6) the church desires to continue in cooperation with the SBC; and (7) a church
representative desires a meeting with the CC.631

The inquiry letter typically gave each church 30 days to respond. During the Covid
pandemic, however, on one occasion the response period was extended to 60 days 632
and on two occasions the inquiry letters did not contain a deadline.633




629 According to an EC Staff Liaison, the CC initially sent some letters by certified mail but the churches
expressed anger that CP money was used for the mailing expenses, so the practice was discontinued. See
Id.
630Interview    Memorandum        of   EC     Staff  Liaison   1;    see    also     Draft   CC     Policies.
https://solutionpointintl.sharepoint.com/:w:/s/SBCECInvestigation/EahGEOkaN6NFiMdJQW6hBdABFYXJ
MKORYAfGNjWtWqY7xA?e=x0TfZq.
631 See Church 9 Inquiry Letter in the Compilation of Credentials Committee Inquiry Letters to Churches.

https://solutionpointintl.sharepoint.com/:w:/s/SBCECInvestigation/EW-
pbS9KNr5OkhnTuE1279cBpx7pn09drdJ3tchRwtH6HQ?e=gUmnqd.
632 See Church 15 Inquiry letter.

633 See Church 8 and Church 19 Inquiry letters.



                                                    219

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If no response was received during the stated timeframe, a member of the CC would
contact the church via telephone. In our review, we identified three churches which
decided to voluntarily withdraw from the SBC rather than proceed with the CC’s inquiry.634
Two other churches voluntarily withdrew during the Bylaws Work Group’s review of the
churches named by Dr. Greear.635

If the church provided information, the documents were uploaded to the server and the
EC Staff Member Liaison inputted the information and documents into the Access
database for review by the CC, although a specific time frame for that review did not exist.

Upon receipt of the church’s response, the CC would review the new documents and
discuss at the next meeting. The CC could determine that it had additional questions for
the church, and a CC member would reach out to the church in a phone call or email. The
same process would continue until the CC determined that it could form an opinion.

Once the review was concluded, the CC could recommend to the EC that the church be
disfellowshipped, or it could elect to “Close Without Recommendation,” which indicated
that the CC had considered the information gathered in the inquiry and formed the opinion
that they could not conclusively determine that the church was acting “in a manner
inconsistent with the Convention’s beliefs regarding sexual abuse.”636

The CC’s decision to close a case without recommendation was not made known to the
EC but rather was in the sole discretion of the CC. In that instance, a letter of declination
was prepared and sent to the church and the submitter.637 If the case was declined, the
information alleged in the submission was not publicized. The CC only released the name




634 Church 5, Church 22, and Church 23. The EC Staff Member Liaison would in these cases coordinate
with Lifeway to remove the church affiliation from SBCWorkspace.
635 Church 1 and Church 2.

636    Interview Memorandum of EC Staff Liaison 1; see also Draft CC Policies.
https://solutionpointintl.sharepoint.com/:w:/s/SBCECInvestigation/EahGEOkaN6NFiMdJQW6hBdABFYXJ
MKORYAfGNjWtWqY7xA?e=x0TfZq.
637 Id.



                                               220

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of a church if and when it is recommended to the EC as being “not in friendly
cooperation.”638

The EC reviewed recommendations for disfellowship during its sessions in February,
June, or September. The CC sent notification of its recommendation to the submitter and
the church. During the audit period, the CC recommended three churches to the EC for
disfellowship with respect to sexual abuse allegations, and the EC accepted the
recommendation in each case. The three disfellowshipped churches did not appeal.639
Although the EC made public the names of those three churches – Ranchland Heights
(Midland, Texas), Westside Baptist (Sharpsville, Pennsylvania), and Antioch (Sevierville,
Tennessee) – in this audit report we refer to all churches by number for consistency and
confidentiality purposes.

When any submission decision is finalized, the EC Staff Member Liaison changes the
status of the submission from Active to Inactive in the Access database to help the CC
members stay organized. However, all information is retained for each submission.

       F.      Analysis of Submissions


As part of our document request to the EC, we requested all files relating to sexual abuse
submissions presented to the CC during the relevant audit period.640 32 total submissions
related to sexual abuse were received by the CC during that time period, and 30 total
submissions were processed.641 The following statistics are derived from the information
we were provided:



638 Id.
639 Executive Committee minutes from February 2020 and February 2021.
https://solutionpointintl.sharepoint.com/:f:/s/SBCECInvestigation/EjM3miQdhIxPp15DWM6DclsBIO27I07w
OKXBm5Gn6f3D0A?e=kOaVrW.
640 When the CC was initially created in June 2019, a number of submissions that were in the process of

review by the Bylaws Working Group were transferred to the CC.
https://solutionpointintl.sharepoint.com/:f:/s/SBCECInvestigation/Eh2OfrI54mNLnM6FHijK0GoB4DAY9v8
pSC7yxWqB-oM1AQ?e=GyWPhd
641 Two submissions, Church 1 and Church 2, were inherited from the Bylaws Working Group, and were

resolved prior to the CC’s formal establishment.

                                                 221

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      Status                                               Number of Submissions
      Inactive                                             4642
      Decline Further Consideration                        5643
      Under Inquiry                                        22
      Legal Process                                        2644
      Voluntary Withdraw                                   3645
      Closed Without Recommendation                        12646
      Recommended       to    the   Executive              3647
      Committee
      Pending                                              2648



    We have compiled a summary chart of the submissions setting forth the submission date,
    general nature of the allegation in each submission, the actions taken by the CC and
    church response date, if any, and the outcome. The chart is set out below:



Church       Submission    Allegation                    Receipt   Inquiry    Church     CC         Outcome
             Date                                        Sent      Sent       Response   Decision
                                                                                         Date
Church 1     Inherited     Pastor allegedly sexually     N/A       3/25/19    4/10/19    N/A        Church
Location:    from BWG.     abused minor and later                  by BWG     Church                voluntarily
Texas                      moved to a new church.                             met with              dissociated from
                           New     church    did not                          BWG                   the SBC. No CC
                           terminate pastor.                                                        action.


Church 2     Inherited     Pastor, who was previously    N/A       5/15/19    5/24/19    N/A        Church
Location:    from BWG.     a middle school principal,              by BWG                           voluntarily
Texas                      pled guilty in 2010 to two                                               dissociated from
                           second-degree felonies, for                                              the SBC. No CC
                           sexual relations with a 17-                                              action.
                           year-old.

Church 3     Inherited     Pastor was a registered sex   N/A       12/11/19   1/22/20    2/18/20    2/18/20 - EC
Location:    from BWG.     offender, convicted in 2003                                              confirms
Texas                      of aggravated sex assault                                                recommendation
                           against two girls ages 11                                                of disfellowship.
                           and 12 years.



    642 Inactive Status – Church 10, Church 18, Church 28, and Church 29.
    643 Decline Further Consideration – Church 7, Church 16, Church 17, Church 25, and Church 26.
    644 Church 12 (still pending); Church 9.

    645 Church 5, Church 22, and Church 23.

    646 Church 4, Church 6, Church 9, Church 11, Church 13, Church 15, Church 20, Church 21, Church 24,

    Church 26, Church 27, and Church 30.
    647 Church 3, Church 8, and Church 19.

    648 Church 31 and Church 32.



                                                         222

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Church             Submission     Allegation                     Receipt    Inquiry    Church      CC         Outcome
                   Date                                          Sent       Sent       Response    Decision
                                                                                                   Date
Church 4           Inherited      Church accused of multiple     N/A        9/16/19    Church      2/3/20     Closed   without
                                                                            649
Location:          from BWG.      instances of covering up                             response               recommendation.
Kentucky                          sexual abuse.                                        inherited              *Resubmitted
                                                                                       from                   2/2022.
                                                                                       BWG.
Church 5           Inherited      Church Music Director was      N/A        12/12/19   2/13/20     N/A        Church
Location:          from BWG.      accused      of     sexual                                                  voluntarily
Georgia                           misconduct but church kept                                                  dissociated from
                                  Director.   When     more                                                   the SBC. No CC
                                  allegations   came     into                                                 action.
                                  media, Director confessed
                                  and was terminated.

Church 6           8/16/2019      Pastor     resigned    after   8/16/19    1/15/20    2/13/20     4/3/20     Closed  without
Location:          Submission     disclosing his past abuse of                                                recommendation.
Illinois           emailed to     a minor relative in the
                   ERLC and       1960s.
                   EC,    which
                   was     then
                   forwarded to
                   CC.
Church    7        10/9/19        Church was in search of a      Not        No         11/10/19    11/10/19   Decline    further
Location:          Submitted by   new lead pastor. Submitter     known      inquiry                           consideration.
Tennessee          email.         alleged that the candidate
                                  was        accused      of                                                  Church decided
                                  manipulating young women                                                    to   no    longer
                                  into secret relationships,                                                  consider      the
                                  one of them being a sexual                                                  candidate.
                                  relationship, while he was
                                  their youth pastor.
Church    8        12/3/19        Pastor may have been           12/5/19    4/28/20    11/2/20     11/9/20    2/23/21 - EC
Location:                         convicted in 1998 of                                                        confirms
Tennessee                         statutory rape of a minor                                                   recommendation
                                  congregant.                                                                 of disfellowship.

Church 9           12/4/19        Pastor was accused of          12/9/19    1/15/20    2/18/20     12/13/21   Closed  without
                                                                                                   650
Location:                         sexually assaulting ex-wife.                                                recommendation.
Mississippi                       He was indicted by a grand
                                  jury for sexual abuse, but
                                  prosecutors did not pursue.


Church        10   12/5/19 by     Pastor was accused        of   12/12/19   No         N/A         N/A        Inactive.
Location:          portal  and    sexual misconduct.                        inquiry
North              12/10/19 by                                                                                12/15/19         -
Carolina           email                                                                                      Submitter
                                                                                                              emailed that the
                                                                                                              situation    was
                                                                                                              resolved as the
                                                                                                              pastor resigned.




     649 CC documentation shows that the church was placed under inquiry on this date, but the records are
     unclear if a letter was ever sent. The church had previously sent response documentation to the BWG.
     650 The CC had paused its consideration of this matter from February to December 2020, due to underlying

     legal proceedings which were delayed due to Covid.

                                                                 223

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Church           Submission      Allegation                       Receipt     Inquiry   Church     CC         Outcome
                 Date                                             Sent        Sent      Response   Decision
                                                                                                   Date
Church      11   12/28/19        Submitter     alleged    that    1/2/20      1/15/20   1/20/20    5/28/20    Closed  without
Location:                        church leadership ignored                                                    recommendation.
Indiana                          her reports of sexual abuse
                                 against her father, who was                                                  Submitter      not
                                 employed by the church.                                                      notified        of
                                 Submitter stated that a                                                      decision      until
                                 church leader had assisted                                                   7/2020.
                                 in the forced delivery and
                                 death of the child that was
                                 the product of abuse.
                                 Church allegedly fired the
                                 abuser but failed to report it
                                 to law enforcement or the
                                 seminary.
Church      12   12/28/19        Submitter     said    church     1/3/20      1/15/20   1/27/20    N/A        In    Legal       -
Location:                        leadership ignored her                                                       Pending
Indiana                          reports of sexual abuse
                                 against her father.

Church      13   1/6/20          The submitter claims that        1/16/20     1/16/20   2/18/20    3/2/20     Closed  without
Location:                        church has Sex Offender                                                      recommendation.
Georgia                          Guidelines that they report
                                 to their insurance company,
                                 but do not follow regarding a
                                 registered sex offender at
                                 the church.

Church 14        1/10/20         Submitter complained that        1/16/20     No        N/A        1/13/20    Decline    further
Location:                        church was hosting Dr.                       inquiry                         consideration.
Florida                          Paige Patterson for a Great
                                 Commission Weekend to be                                                     Rejected      as
                                 the main speaker.                                                            outside of Bylaw
                                                                                                              8 scope.

Church      15   1/13/20         Submitter said church youth      No formal   7/24/20   9/15/20    10/2/20    Closed  without
Location:        (CC      had    pastor     had     sexually      receipt                                     recommendation.
Texas            been notified   assaulted her and the head       sent
                 of case on      pastors of the church                                                        *11/20/20       -
                 10/16/19, but   covered     it   up     and                                                  Survivor’s
                 asked     the   mishandled     the   abuse                                                   advocate asks for
                 submitter to    report.                                                                      a second review
                 complete                                                                                     and completes a
                 submission                                                                                   submission; CC
                 through the                                                                                  denies
                 portal when                                                                                  reconsideration
                 launched.)                                                                                   request        by
                                                                                                              reason of no new
                                                                                                              information
                                                                                                              provided in the
                                                                                                              submission.

Church    16     2/20/20         Submitter    alleges    that     2/28/20     No        N/A        6/25/20    Decline    further
Location:                        church covered up former                     inquiry                         consideration.
Oklahoma                         pastor’s sexual harassment
                                 and predatory behavior and                                                   State convention
                                 sent him to the next church                                                  reported     that
                                 with a letter of good                                                        pastor would be
                                 standing.                                                                    arrested soon.


                                                                  224

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Church           Submission        Allegation                        Receipt   Inquiry      Church     CC         Outcome
                 Date                                                Sent      Sent         Response   Decision
                                                                                                       Date
Church      17   3/5/20            Church’s       former   youth     3/10/20   No           N/A        8/3/20     Decline    further
Location:                          pastor had pled guilty to                   inquiry                            consideration.
Texas                              sexual relations with 16-
                                   year-old church member.                                                        CC relied on
                                   Church        senior   pastor                                                  determinations of
                                   testified on behalf of youth                                                   state convention.
                                   pastor at sentencing, and
                                   the judge reprimanded the
                                   senior pastor for not
                                   informing congregation that
                                   youth pastor was under
                                   investigation and allowing
                                   him to participate in church
                                   even after his removal.
Church      18   3/23/20           Submitter states that 22          3/25/20   No           N/A        N/A        Inactive.
Location:                          years ago a teen boy                        inquiry
Indiana                            committed suicide because                                                      Submitter did not
                                   of sexually abusive minister                                                   respond to CC’s
                                   who is still in SBC pulpit.                                                    request        for
                                                                                                                  additional
                                                                                                                  information     to
                                                                                                                  begin      Review
                                                                                                                  process.
Church    19     4/12/20           Pastor was convicted of           N/A       4/15/20      8/3/20     9/14/20    2/23/21 - EC
Location:        Notice from       sexual assault of a child in                                                   confirms
Pennsylvania     LifeWay that      TX in 1993 and is on FL’s                                                      recommendation
                 state             sex-offender registry.                                                         of disfellowship.
                 convention
                 and       local
                 association
                 had
                 disaffiliated
                 the church.
Church      20   6/13/20           Submitter     alleges that        6/30/20   No letter    7/13/20    9/14/20    Closed  without
Location:                          pastor covered up sex                       sent     –                         recommendation.
North                              crimes committed by his                     oral
Carolina                           brother-in-law at a church                  discuss-
                                   where the pastor had                        ion
                                   served in the past.

Church      21   8/13/20           Submitter     alleges      that   8/21/20   10/27/20     12/11/20   10/18/21   Closed  without
Location:                          pastor had inappropriate                                                       recommendation.
South                              relationships with church
Carolina                           staff, and that the church                                                     CC relied on
                                   has allowed pastor to abuse                                                    determinations of
                                   his position of authority.                                                     state convention.

Church      22   9/20/20           Submitter      alleges    that    9/25/20   11/18/20     12/1/20    N/A        Church
Location:                          church knowingly hired                      Phone                              voluntarily
Texas                              pastor with history of abuse.               call                               dissociated from
                                   In 1980s the pastor was                                                        the SBC 12/1/20
                                   sued in civil court for sexual                                                 while CC inquiry
                                   abuse of a parishioner.                                                        was pending.
Church      23   9/22/20           Submitter      alleges    that    9/25/20   10/30/20     12/22/20   N/A        Church
Location:        .                 pastor is a registered sex                                                     voluntarily
Georgia                            offender who molested a                                                        dissociated from
                                   foster child in his care.                                                      the SBC 12/22/20
                                   Pastor is listed on the GA                                                     while CC inquiry
                                   sex offender registry.                                                         was pending.

                                                                     225

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Church           Submission   Allegation                      Receipt   Inquiry    Church     CC         Outcome
                 Date                                         Sent      Sent       Response   Decision
                                                                                              Date
Church      24   9/24/20      Submitter      (parent    of    9/25/20   12/9/20    1/6/21     1/11/21    Closed  without
Location:                     survivor) alleges that youth                                               recommendation.
Vermont                       pastor began grooming 15-
                              years     old    minor    in                                               CC relied on
                              December 2017. Submitter                                                   determinations of
                              alleges that the church                                                    state convention.
                              pastor blamed minor, made
                              minor repent in front of
                              congregation, and did not
                              want to report conduct of
                              youth pastor.

Church    25     12/4/20      Submitter alleges sexual        12/4/20   No         N/A        3/15/21    Decline    further
Location:                     abuse by church’s Music                   inquiry                          consideration.
Louisiana                     Minister.
                                                                                                         Pastor
                                                                                                         encouraged
                                                                                                         submitter       to
                                                                                                         contact    police.
                                                                                                         Music     Minister
                                                                                                         removed      from
                                                                                                         church        and
                                                                                                         subject to law
                                                                                                         enforcement
                                                                                                         proceedings.

Church      26   1/16/21      Submitter   alleges      that   1/19/21   10/25/21   N/A        11/15/21   Closed  without
Location:                     church pastor had an affair               Phone                            recommendation.
Texas                         with submitter’s spouse,                  call and
                              who is vulnerable due to                  email                            Church had been
                              mental and physical illness.              attempt.                         dissolved.


Church    27     1/29/21      Submitter alleges that the      1/29/21   No         Informal   2/14/22    Closed  without
Location:                     church supported a Lifeway                inquiry    phone                 recommendation.
Tennessee                     employee who was sexually                            calls
                              engaged with seven women                                                   Pastor removed
                              employed by Lifeway and                                                    accused
                              other ministries.                                                          employee from
                                                                                                         teaching roles.


Church      28   2/11/21      Submitter    alleges   that     3/9/21    No         N/A        N/A        Inactive.
Location:                     church leaders have bullied               inquiry
Alabama                       and intimidated women.                                                     Submitter did not
                                                                                                         respond         to
                                                                                                         request        for
                                                                                                         additional
                                                                                                         information     to
                                                                                                         begin      Review
                                                                                                         process.
Church      29   3/4/21       Submitter allegedly was         3/9/21    No         N/A        N/A        Inactive
Location:                     sexually assaulted and                    inquiry
Ohio                          stalked by church member,                                                  Submitter
                              and church leaders did not                                                 stopped
                              take actions to ensure                                                     communicating
                              submitter’s safety.                                                        with CC.




                                                              226

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Church            Submission    Allegation                      Receipt      Inquiry    Church     CC         Outcome
                  Date                                          Sent         Sent       Response   Decision
                                                                                                   Date
Church      30    3/4/21        Submitter alleges that adult    3/9/21       11/19/21   11/30/21              No information on
Location:                       youth worker was soliciting                                                   decision    which
Texas                           underage girls for sex, and                                                   was outside audit
                                that submitter was 14 when                                                    scope.
                                the worker started grooming
                                her. When submitter told
                                pastor in 2016, pastor
                                allegedly was not surprised,
                                admitted there were other
                                survivors, and took no
                                action.
Church      31    6/8/21        Submitter      alleges   that   6/28/21                                       Pending
Location:                       pastor’s son, who has an
Mississippi                     abuse history, is allowed to
                                preach.     Pastor’s     son
                                allegedly left former church
                                after grooming a young
                                woman he was counseling.

Church 32         6/23/21 and   Two submitters allege that      6/29/21 –                                     Pending
Location:         8/25/21       the Mission (not itself a       CC sent
Texas                           church) on occasion allows      confirm-
                                registered sex offender to      ation
                                teach/preach. The second        receipt to
                                submitter   alleges    that     submitter
                                pastor was combative when       #1.
                                submitter spoke out about
                                the mishandling of the          9/8/21 –
                                situation.                      CC sent
                                                                confirm-
                                                                ation
                                                                receipt to
                                                                submitter
                                                                #2




                 G.        Observations and Conclusions


     Although the concept of the CC is a good one, we have identified several issues in how
     it was formed and executed, and we have made recommendations for improvements. It
     is important to note that because the CC did not adopt any written policies and
     procedures, we were unable to audit its conduct based upon its foundational documents,
     other than Bylaw 8. Instead, we have conducted our review based on the CC’s actual
     practices measured against best practices that would be expected from an organization
     with a similar purpose.




                                                                227

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                1.     Policies and Procedures


As noted above, the CC was formed in the wake of an uproar about the SBC EC’s
handling of sexual abuse allegations and was pressured from the outset to respond to
submissions. When the establishment of the CC was announced in June 2019,
submissions were immediately received for review. At that time, there were no formal,
written policies and procedures governing how the CC would handle and evaluate
submissions.651 In particular, there was no written guidance about the following basic
items, among others:


      •   Timeline to complete review and make recommendations to the EC
      •   Standard of review
      •   Possible outcomes (disfellowship, denial, “hold status”)
      •   Communications with submitter, church, and others
      •   What information could be gathered and how


This resulted in procedures being developed without much planning. We recognize that
the CC members and EC Staff Member Liaisons were placed in the difficult position of
trying to resolve sexual abuse inquiries expeditiously while at the same time starting up
a new committee. A former CC Chair and EC Staff Member Liaisons all similarly described
the process as “building a plane while flying” and another CC member added that “they
were not given the parts to build the plane.”652



651 The first written draft procedures were dated October 10, 2019, which was almost 4 months after the
CC was established at the June 2019 Annual Convention.
https://solutionpointintl.sharepoint.com/:w:/s/SBCECInvestigation/Ea5cNwpBMb1MmRQ09n-
WocQBEKEBkVOIjaGDOghGDDGC0g?e=dWEVJ1
CC Member 3 had asked CC Member 1 for a flow chart or outline of the CC process, and CC Member 1
responded to him in April 2020 (nearly a year after the CC was formed), that there was no such
document.
https://solutionpointintl.sharepoint.com/:b:/s/SBCECInvestigation/EWReZx12AA9DnixzqpmkrJcB3zZDOw
pZSVgBByv67eE68g?e=NptNTr
652 Interview Memoranda for CC Members 1, 2, and 11; Interview Memoranda for EC Staff Liaisons 1, 2,

and 3.

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According to one of the inaugural CC members, the Chair had met with Mr. Boto and EC
staff to put some basic procedures in place before the CC’s first meeting. During the CC
meeting in August 2019, the CC Chair orally presented a number of procedures for
discussion, including how to handle the receipt of submissions, how such submissions
would be categorized and reviewed, and how inquiries should proceed, among other
things.653


In October 2019, an EC Staff Member Liaison began drafting written CC guidelines.
Though these have been updated several times, they have never been finalized or
formally adopted by the CC. During the orientation for new CC members in 2021, the EC
Staff Member Liaison distributed the fifth version, which is the most recent draft.654


The lack of set guidelines created a number of avoidable problems, which are discussed
in more detail in the report sections below. For example, the failure to set out standard
timelines led to a lack of urgency in moving the process forward. In some instances, there
were lengthy delays in acknowledging the receipt of submissions,655 collecting relevant
information, and undertaking committee review, among other things. Also, without a
standard protocol for communicating with submitters, submitters were sometimes left in
the dark about the status of their submissions, leading them to feel ignored.656 Like other
committees, the CC would benefit from formal, written guidance, so that all participants
in the CC process, including the CC members themselves, understand their role,
timelines, and responsibilities in order to ensure a more effective and transparent review.


653 Interview Memorandum for CC Member 11; see also Email exchange between CC Member 1, Augie
Boto and Ronnie Floyd to discuss the CC procedures.
https://solutionpointintl.sharepoint.com/:b:/s/SBCECInvestigation/EYg2X6h0XC9KkJHONGeGXakB5vMd
yK6OtJAIBifSNvwUVg?e=oxpymW, Transcript from first CC meeting
https://solutionpointintl.sharepoint.com/:b:/s/SBCECInvestigation/EVg2eFYAXdJLrtcFIL24hfQBGhIOqLA7
yy5UGgVFkelbUw?e=vNKtXx
654Interview Memorandum of EC Staff Liaison 1; see also Draft CC Policies.

https://solutionpointintl.sharepoint.com/:w:/s/SBCECInvestigation/EahGEOkaN6NFiMdJQW6hBdABFYXJ
MKORYAfGNjWtWqY7xA?e=x0TfZq.
655 Confirmation of receipt letters were sent to submitters 10 days or longer from the date of receipt in the

following submissions: Church 13, Church 20, Church 31, and Church 32.
656 Submitters reached out to the CC for updates because of the CC’s lack of communication in the

following submissions: Church 9, Church 15, Church 21, and Church 27.

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                2.      Mission and Objectives of the CC

The lack of a written policies and procedures likely contributed to the general sentiment
that the mission and objectives of the CC were not adequately explained to prospective
committee members,657 staff, survivors, or the SBC community generally. Our audit
revealed that there was confusion within and among these groups, which in many cases
left the latter two groups with unrealistic expectations as to the possible outcomes that
could be achieved through a CC submission. For example, the ERLC received multiple
reports of abuse following the Caring Well conference it had conducted in October 2019.
ERLC staff explained to us that when calls came in, they would relay to those reporting
abuse that the CC’s submission process had not been finalized yet, but when it did that
the ERLC would notify them of the process. However, even after the CC submission
webpage launched in December 2019, the CC process was still not completely clear to
the ERLC staff.658

According to an EC Staff Member Liaison, when the CC standing committee was
presented at the June 2019 Convention, the gravity of the sexual abuse issue was
emphasized in order for the Messengers to understand the need for the CC and to
ultimately vote for it. The CC was however presented without full disclosure of the details
of its purpose and authority. This created high expectations and false hope for
survivors.659 According to another EC Staff Member Liaison, survivors felt disappointed
with the CC because they believed the CC would bring them justice. However, as that EC
Staff Member Liaison noted, the CC’s purpose did not involve a judgment of the culpability
of an accused individual. Rather, the CC was charged with reviewing the actions taken,
or not taken, by an SBC Church with regard to allegations of sexual abuse.660




657 Of the current and former CC members that we interviewed, 13 told us that they did not understand the
purpose of the CC before coming on as a member. Furthermore, 13 believed that the Southern Baptist
community, survivors, and the general public likewise did not understand the CC’s purpose, and that it was
not communicated well to them.
658Interview Memoranda of ERLC Staff Members 1, 2, and 3.

659Interview Memorandum of EC Staff Liaison 2.

660Interview Memorandum of EC Staff Liaison 1.



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Further, even if a church was found to have mishandled sexual abuse allegations in the
past, Bylaw 8 permits the CC to consider current leadership and policies at the church,
which may have changed substantially from the time of the allegations, to determine if a
church currently is in friendly cooperation.661

This confusion ultimately led to dissatisfaction with not only the CC, but with the SBC EC
itself as survivors and advocates felt as if they were once again being re-traumatized and
treated poorly.662 A CC member described it as a “lose-lose situation” where survivors
and advocates could not be satisfied because they desired justice and for the abuser to
be held responsible, but the CC and EC did not have the authority to hold individuals
accountable for their past actions.663

Based on our audit as well as best practices in this area, developing a clear written
statement of the mission and objectives of the CC is essential. This statement should be
posted on the SBC website, the webpage through which submissions are made, and any
other SBC-sponsored materials relating to sexual abuse.



                3.      Membership


Our audit revealed some issues related to the composition of CC membership. First, we
learned that CC members often did not have a full understanding of their expected duties
and responsibilities before they agreed to take on the Committee position. During our
interviews, we were told that prospective committee members did not receive a written
description of, or relevant information about, a CC member’s role. Of the 14 current and
former CC members we interviewed, nine told us they did not feel equipped or prepared
to take on CC membership. Eleven members indicated that the duties, responsibilities,



661  Draft CC Policies state the CC “may only consider churches currently in cooperation with the
Convention.”
https://solutionpointintl.sharepoint.com/:w:/s/SBCECInvestigation/EahGEOkaN6NFiMdJQW6hBdABFYXJ
MKORYAfGNjWtWqY7xA?e=x0TfZq.
662 CC Witness 9 replied to the CC’s email notifying her of their decision on Church 11, to close without

recommendation. 2021.05.27 Email from CC Witness 9.pdf
663Interview Memoranda for CC Members 7, 8 and 11.



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and time commitment were more than they anticipated. 664 One person told us that he/she
may not have agreed to the nomination, had he/she understood the scope of duties at
the time of the nomination.665


Prospective committee members should be fully informed about the nature of the CC’s
work, and the time commitment involved. As discussed in more detail below, the CC
generally meets once per month, and members also must review submissions and related
materials. In addition, CC members are sometimes assigned tasks, such as following up
with a church or conducting research.666 If CC members have other commitments and
insufficient time to devote to the CC, it could lead to delays in the review process.667 An
EC Staff Member Liaison noted that every time there is a new EC Chair or Registration
Secretary, the membership of the CC changes, resulting in the need for additional
onboarding.668


There also were no policies in place regarding the composition of the Committee, beyond
the number of members specified in the Bylaws. Neither Bylaw 8 or any other document
sets forth criteria to be used for selecting potential nominees. An EC Staff Member Liaison
and multiple CC members were unaware of any specific reasons why persons were
selected to be on the CC.


In analyzing the inaugural CC, the membership was comprised of the following: 2 female
pastor’s wives, 2 female laypersons, 5 male pastors and 1 African American. 669 Two of
the pastors believed they were nominated by the Committee on Nominations because
they had decades of SBC ministry and leadership experience, so they understood the

664Interview  Memoranda of CC Members.
https://solutionpointintl.sharepoint.com/:f:/s/SBCECInvestigation/EvZV5cfEcyhNqG7J2lgNMwcBT4HAL1C
Ecr7xT4l1j-_rrQ?e=JjR7gZ
665Interview Memorandum of CC Member 13.

666 Draft CC Policies.

https://solutionpointintl.sharepoint.com/:w:/s/SBCECInvestigation/EahGEOkaN6NFiMdJQW6hBdABFYXJ
MKORYAfGNjWtWqY7xA?e=x0TfZq.
667 Interview Memorandum of CC Member 10.

668 Interview Memorandum of EC Staff Liaison 1.

669 The CC receives submissions concerning racial discrimination in churches.



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Baptist polity and theology. One of the EC nominees believed she was nominated
because she was a former member of the Bylaws Work Group. One of the Committee on
Nominations nominees believed she was nominated because the Chairman knew she
had a history of being a strong advocate.


In analyzing the second CC, there were 2 new members. The newly elected EC Chairman
and Registration Secretary replaced the previous EC Chairman and Registration
Secretary. The racial makeup of the second CC did not change, but the gender balance
changed to 3 female and 6 male members.


In analyzing the third and current CC, there were three new members. Two of the
members were nominated by the Committee on Nominations, and one new member was
a former EC Trustee nominated by the EC. By the second meeting of the CC, two
members resigned due to health issues and permanent work obligations that would take
away time available for the CC role. There are currently only 7 members on the
committee. The racial makeup of the current CC did not change, but the gender balance
changed to 2 female and 5 male members.


An email during the discussions surrounding the formation of the CC in May 2019 shows
that the EC General Counsel was concerned about the selection of the three CC members
that the EC could appoint. There is an indication that they needed to be strategic on whom
the EC should choose, not based on the trauma-informed experience or theological
experience that a member may have. Outside counsel opined that: “I would hope the
Nominations Committee will not be lobbied by ERLC or the President in re that
committee’s task to nominate persons. Getting the Credentials Committee off on the right
foot is critical.”670


Of the CC members with whom we spoke, 12 thought that pastors should be included on
the CC, and 13 thought there should be a gender balance. Six also suggested that a


670https://solutionpointintl.sharepoint.com/:b:/s/SBCECInvestigation/EQ4l9wwMJvVIpy2mvKwY7NMB7uM

PbzWPkhW69xnJHxdb9w?e=ZzlWJX

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survivor should sit on the CC.671 We also believe that a diverse membership can
contribute to a more effective committee. Selecting members who come from a variety of
backgrounds, with differing types of experience and points of view, can lead to a more
robust review process.


                4.      Training


We believe that both CC members and EC Staff Member Liaisons would benefit from
training. Until recently in September 2021, new CC members did not receive any formal
onboarding, orientation, or training regarding their duties and responsibilities.672 Greg
Addison emailed the EC counsels and Dr. Floyd and stated that the new CC members
“need to be oriented before that first CC meeting [on September 20, 2021]. Also, it would
be a terrible look for us to not have created an orientation process when we respond to
the independent review.”673 Further, CC members did not receive any specialized training
in sexual abuse matters or how to interact with survivors in a trauma-informed manner.674


Based on our interviews, these types of trainings are critical to give the CC members
insight into the effects of abuse and understanding on how to extend trauma-informed
care through communications with survivors and submitters of sensitive information. Of
the 13 CC members we asked, twelve felt that the onboarding process and training were
inadequate during the audit period and believed that CC members should receive
trauma/sexual abuse training. In addition, multiple EC Staff Member Liaisons expressed
that training would have been helpful for Liaisons and CC members in corresponding with
survivors. According to an EC Staff Member Liaison, the EC attorneys wanted to deter
the members from having direct conversations with submitters, survivors, and leaders at
churches under inquiry because they could misspeak and possibly bring liability onto the


671 Interview Memoranda of CC Members.
672 In September 2021, a formal orientation for committee members was established.
673https://solutionpointintl.sharepoint.com/:b:/s/SBCECInvestigation/EQ_bcRXcC91Dki4y_cObQWUBu5V

LOWP9dFOyuOIT36RZxw?e=jiSn6w
674 Two CC members reported that they had prior trauma or sexual abuse training or experience outside of

their work on the CC.

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EC.675 One Staff Member Liaison wished they had been given the opportunity to attend
the Caring Well training, as it would have helped her to formulate correspondence to
survivors that conveyed more sensitivity and awareness of trauma. It was hard for the EC
Staff Member Liaison to read the submissions, feel grief, but not know how to process
and respond properly to submitters.676


CC Witness 12, who was a speaker at the Caring Well conference and an expert in this
field, noted that the CC did not put a high priority on securing training resources for the
CC members and EC staff liaisons. Even with Caring Well conference experts who would
be willing to be advisors at their disposable, the CC did not proactively attempt to get
assistance, expertise, or training, even when it was repeatedly offered to them pro bono.
Instead, the CC relied on the advice of GJP, who were not trauma-informed or experts in
sexual abuse issues.677


EC Staff Member Liaisons and CC members acknowledged that their lack of training did
cause them to take missteps in correspondence with submitters and survivors, and that
they made improvements as they learned from mistakes. A CC member suggested that
there should be a professional on the EC staff who is trauma-informed, trained, and
equipped to speak to survivors.


CC members were deeply affected by their service on the Committee. A former CC Chair
noted that nothing has affected them more than being on the CC. Other CC members
noted that the CC was the most difficult role they have had. CC members who are
respected for their long-standing commitment to ministry indicated that they did not think
that one could function on the CC for very long, and in fact, many CC members have not
served for more than two years.




675Interview  Memorandum of EC Staff Liaison 1.
676Id.
677https://solutionpointintl.sharepoint.com/:w:/s/SBCECInvestigation/EUoYOIYA-

DJBmACbBx3ojD4BJKNeYhyCvlYj5l6r2e4TIg?e=DRmWQV.

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               5.      Meetings


The cadence of CC meetings must be sufficiently frequent so that reviews of allegations
can progress in a timely manner and so that urgent matters can receive appropriate
attention. This cadence should be transparent to submitters so that they can be assured
that the CC is taking action on their submissions.


Bylaw 8 does not set a meeting cadence and provides only that the CC shall meet on the
call of its Chair or of any two of its members after reasonable notice of the time and place
for the meeting. The unofficial CC policies and procedures document states that “When
practical, the Committee will meet once a month.”

In practice, during the audit period the CC typically met once per month over Zoom to
discuss CC matters and submissions, although there were a few months the CC did not
meet because of various personal/professional/organization obligations that did not allow
for a quorum of CC members to be present to make decisions.678 An EC Staff Member
Liaison noted that every time there is a new EC Chair or Registration Chair, the
membership of the CC changes, resulting in the need for additional onboarding.679

The CC has held a few in-person meetings, COVID permitting, in the months of the EC
meetings in Nashville. The CC members indicated that the monthly meetings are
generally 2 to 3 hours, and the in-person meetings are generally 4 hours depending on
the number of submissions to discuss.


               6.      Staff Support


The CC needs sufficiently trained staff to function effectively. When the CC was formed
in June 2019, there were five EC staff members assigned to assist the CC as it was
beginning to function as a standing committee. Since then, however, the CC has been


678https://solutionpointintl.sharepoint.com/:w:/s/SBCECInvestigation/EahGEOkaN6NFiMdJQW6hBdABFY

XJMKORYAfGNjWtWqY7xA?e=37YfzT.
679 Interview Memorandum of EC Staff Liaison 1.



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supported by only one assigned EC Staff Member Liaison, who handles all the
administrative functions of the CC.


The current and former CC members uniformly stated that the staff member who has
served long-term as EC Staff Member Liaison has done an incredible job in this
challenging role and that she has been a critical part of refining the CC process. However,
this EC Staff Member Liaison is not dedicated solely to the CC but instead is also
responsible for other EC functions and tasks. The EC Staff Member Liaisons have
explained to us that on some occasions they had to postpone their work for the CC in
order to complete other projects. Current and former CC members also commended
another EC Staff Member Liaison, who had trauma-informed training and who gave the
CC members guidance on how to communicate with and care for survivors.


Of the CC members we interviewed, seven believed that more staff would be useful to
support the CC. Having additional staff who can step in as needed would alleviate the
pressure on the one assigned EC Staff Member Liaison and allow for the uninterrupted
flow of work. In addition, it would provide for a smoother transition in the event that the
EC Staff Member Liaison leaves that role or is absent for any length of time.


Nine CC members also suggested that the CC would benefit from subject matter
expertise on sexual abuse matters. Many CC members noted that the EC Staff Member
Liaison who assisted the CC from October 2020 to June 2021 was a valuable resource
and advisor because that Liaison had completed sexual abuse and trauma training. We
recommend that, going forward, the EC Staff Member Liaisons receive such training if
they are assigned to the CC.


              7.     Funding


In addition to sufficiently trained staff support, the CC needs adequate funding. While the
SBC overwhelmingly approved the formation of the CC, no funding was allocated for it.
In 2019, there was no budget line for the CC. Recently, the SBC Interim CFO prepared

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an estimate indicating that the current average annual cost for the CC was in the range
of $80,000 to $100,000, not including staff salaries, website costs, or conference call
fees.680


Unlike the other SBC standing committees, the CC requires continuous EC staff support
throughout the year. Depending on the number of submissions received, the workflow
can be demanding some weeks with heavy information gathering and administrative
work. If a third-party advisor is brought in to assist the CC, as we recommend below,
funding will need to be allocated for this.681 Funding will also need to be allocated for
training for the CC members and EC Staff Member Liaisons.


               8.      Submission Process/Submission Webpage


While the CC submission webpage may be a useful tool to receive submissions, its
functionality could be improved. For example, the submitter currently does not receive
any automatically-generated email acknowledgment when a submission is transmitted
through the webpage into the portal. Currently, the only instantaneous acknowledgement
is a small sentence on the home page, described above, which can be easily overlooked.


Currently, the EC Staff Member Liaison manually creates a letter confirming receipt and
emails it to the submitter. If the EC Staff Member Liaison is busy with other work
responsibilities, it may take days or weeks before the letter is sent.682 We reviewed
documentation for 25 submissions that were transmitted through the CC webpage. The
average CC response time was approximately seven days, with some letters taking much
less time or much longer. For example, on two occasions letters of receipt were sent out
on the same day the submission was received; on one occasion, a submitter did not

680    https://solutionpointintl.sharepoint.com/:u:/s/SBCECInvestigation/ERD5aTJkGcRDnTna7R7VT0QBr-
IOycu12BI-QH_HZ3EMdw?e=fwkQXa.
681This was proposed by CC Member 3 to EC leadership in January 2021. At the time, Dr. Floyd considered

the proposal “out of bounds over the bylaws establishing the Credentials Committee.”
https://solutionpointintl.sharepoint.com/:b:/s/SBCECInvestigation/EfAMh5tW0KZLvcwjGWIe8XMBrIqq9h
WhisPn_ahPWm5-oQ?e=8uYPYi.
682 Interview Memorandum of EC Staff Liaison 1.



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receive a receipt letter until over a month had passed. On that occasion, the initial
submission was received on August 21, 2021. The EC Staff Member Liaison drafted a
confirmation email which asked the submitter to provide additional information in writing
as the submission was not detailed. The EC Staff Member Liaison sent the draft email to
Greg Addison for approval on September 1, 2021. On September 7, 2021, Greg Addison
advised that the draft was being reviewed by legal counsel. After not getting any follow
up, the EC Staff Member Liaison followed up directly with legal counsel on September
29, 2021, who said that he had never received the draft to review from Greg Addison.
Ultimately, legal counsel gave approval on the draft confirmation letter, and the
confirmation of receipt letter was sent out to the submitter on October 1, 2021.683

Upgrading the CC submissions webpage and portal to generate automatic email receipts
would provide a clear audit trail for submissions and would give assurance to submitters
that their abuse allegations were received.684 It could also indicate when a submission
did not go through properly. As we detailed above in our description of the portal, on two
occasions the CC did not appear to receive survivors’ submissions.685 One of the
survivors did not become aware of this malfunction until she interviewed with Guidepost
as part of this investigation.686 A third submitter lost her first two drafts because the
website appeared to time out.687

Another malfunction caused delays in support call referrals. As described in more detail
below, when making a submission related to sexual abuse, submitters could select an
option for a counseling center, the Babb Center, to contact them. The center was
supposed to be automatically notified of the referral through the website so it could reach

683    Church 33; Emails between EC Staff Liaison 1, Greg Addison and Jaime
Jordan; https://solutionpointintl.sharepoint.com/:b:/s/SBCECInvestigation/Ed_r8HAOUGJOt9TJk0iylvgB
C2FVI6BuVZquGQaZc4DVpw?e=eFExWD.
684 According to an EC Staff Liaison, the Liaison had suggested using automatic receipts, but some CC

members viewed them as too impersonal and inconsiderate toward survivors. In our view, the automatic
receipt would provide immediate assurance, and the automatic message could indicate that a more
comprehensive response from the CC would be forthcoming.
685 Interview Memoranda of CC Witnesses 2 and 8.

686 Interview Memorandum of CC Witness 2.

687 CC Witness 3’s email to CC Witness 1, when she tried to submit a reconsideration request on the CC

submission website. Fwd_copy of request for appeal.msg.

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out to the submitter and provide resources for reporting or counseling in the submitter’s
local area.

An EC Staff Member Liaison eventually learned through emails and discussions that there
was a malfunction that caused a delay in the center contacting submitters.688 As of the
end of 2021, the process has been changed so that the EC Staff Member Liaison now
receives the selections for referrals, and the Liaison personally emails those selections
to the center rather than relying on the submission webpage and portal. Now when the
Babb Center Director receives the email from the EC Staff Member Liaison, the Babb
Center sends an email receipt confirmation back and will also send a confirmation email
to the submitter or survivor that requested the contact. Then once the contact is made
with the submitter or survivor, the Babb Center sends an update email to the CC689

This malfunction should be corrected. In addition, the submission webpage should be
upgraded to ensure a better user experience. Witnesses have reported to us that the
webpage was hard to navigate and was not user friendly. One ERLC staff member went
onto the webpage to do a test run in order to be able to explain the process to submitters
or survivors, but she thought the form was overwhelming and not survivor focused.690

In the Fall of 2019, the CC asked the Babb Center Director and another counseling
professional to review and provide recommendations on the CC submission website. The
CC incorporated some of their suggestions before launching the final version in
December 2019. An overarching theme of the counseling professionals’ comments was
that that the language on the submission form was very technical and relied heavily on
the formal language of the organization (e.g., SBC Constitution, friendly cooperation). The
benefit of this writing style is the form uses the exact language from the organization’s
key documentation. The barrier is that the technical language is not commonly used by
the average person and can be misunderstood and/or become a barrier to completion of


688https://solutionpointintl.sharepoint.com/:b:/s/SBCECInvestigation/ETiZGAIN6GtBmtsAUzr0QiwB8bv0IK

P_Zs2ajgkzXqR9hg?e=u2pXRF.
689https://solutionpointintl.sharepoint.com/:b:/s/SBCECInvestigation/EbTurnuAhKtOhh7DVa0J7WABWv9

EmfzFNXF5HSXuofa_Yw?e=DnWPkF.
690Interview Memorandum of ERLC Staff 1.



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the submission form. There is also the risk of the submitter not fully understanding the
true purpose of the committee, resulting in unmet/unrealistic expectations.”691

On December 3, 2019, EC Staff Liaison 3 sent a draft of the CC submissions website to
CC Witness 12, an expert in this field, for review and feedback. CC Witness 12 provided
feedback to the CC on December 30, 2019, with edits for the language to be more focused
on survivor care and not focused on church protections.692 CC Witness 12 also drafted
CC standards and criteria for determining if a church is not in friendly cooperation, and
also offered to connect the CC with well-respected trauma-informed care experts who
had decades of experience working with survivors of clergy abuse.693 The CC did not
consider any recommendations provided by the CC Witness 12 or accept help from any
other experts in this field.

We conducted our own test submission on the CC webpage on April 11, 2022, and
observed the following:

   •   Neither the CC Submission portal, nor any information about it, can be found on
       the main SBC.net homepage; rather, users must know how to navigate to a
       separate CC page in order to access it.
   •   A hyperlink to the SBC’s previously adopted resolutions, which was featured on
       the main CC landing page, was not functioning.
   •   The CC’s Statement of Assignment, which contains valuable information for
       submitters, is written in a tiny font and is rather lengthy, which may lead readers to
       skip over it.
   •   On the second page of the submission website, there is an option for submitters
       to download a PDF of the submission form if they prefer not to use the portal. The


691https://solutionpointintl.sharepoint.com/:b:/s/SBCECInvestigation/EdgsblwNJ-tDvNi1M-

BfbxwBJ6ZgrFha6_Rz9VPJjI-YPA?e=0SUDCS.
692https://solutionpointintl.sharepoint.com/:u:/s/SBCECInvestigation/EcQNVGmq8JJItaZXWtrZ7oUBbqTT

DjA7fBCPxCCelPzW8Q?e=GZY8G8;
https://solutionpointintl.sharepoint.com/:w:/s/SBCECInvestigation/EXTDDokfopxMtt0UMiUj-
4kB_DNV4YhuYTwS_7YPIenyxg?e=MLbKz3.
693https://solutionpointintl.sharepoint.com/:w:/s/SBCECInvestigation/EfaKryFb-

lJDiusB97Kpx5YBd44VefAY9z29u8GqWSKy1A?e=yW45bK.

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       questions on the PDF form match the ones on the website, but there is significantly
       more explanatory verbiage on the website than the PDF form. The information on
       both submission options should be identical.
   •   On the Page 4 of the submission form, for the Question, “To your knowledge, has
       a law been violated?” when the submitter clicks Yes or No, and then puts the cursor
       on the next field to complete the rest of the form, the Yes or No fields become
       unpopulated. We tested this on multiple browsers and encountered the same
       issue.
   •   The end of the submission form states that: “You will receive an email confirmation
       that the form was received. If you do not receive this confirmation, please check
       you spam or junk folder in your email account.” Submitters may expect the email
       confirmation to be instantaneous and may be confused or anxious when no email
       is forthcoming. As discussed above, the email confirmation is not automatic, and
       it often takes multiple days for the manual email to be sent.
   •   Once the form is submitted, the submitter is redirected to the CC home page. The
       home page now includes a sentence, appended in a small font after three
       paragraphs of text, with the following message: “Thanks for contacting us! We will
       get in touch with you shortly.” This acknowledgement sentence, placed in small
       font in the middle of the page, easily could be overlooked by submitters which may
       cause unnecessary anxiety and stress, particularly after they may have spent a
       long time writing their report of abuse, and not knowing if their written responses
       were recorded successfully.


In addition to fixing the webpage issues, the CC should look to best practices for internal
inquiries in order to explore submission options that permit survivors, whistleblowers, and
others to report anonymously. The lack of an anonymous reporting option, such as a
phone, email, or online tip line, is a discouragement to those who may wish to maintain
privacy and impedes the CC’s ability to collect all relevant information.




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                9.     Timeliness of Reviews


It is clear from our audit that there were many issues surrounding the timeliness of the
reviews. This combined with a lack of communication with the submitter was partially the
cause of the negative perception of the CC by survivors. During our interviews, eight CC
members said that delayed timeframes were an issue when making decisions. The
causes of the delays were a combination of things, including:


      •   Time added for drafting letters of receipt/inquiry/decisions and the back-and-forth
          time needed for reviews between CC members and legal counsel694
      •   Delayed reviews (put off until the next monthly meeting) due to extended
          information gathering695
      •   Extensions granted for SBC Churches to provide requested information696
      •   Churches not responding to the inquiries in a timely manner697
      •   Correspondence delays with state and local association representatives698
      •   Reviews that were put on hold if there were legal proceedings699
      •   The fact that the CC recommendations could only be heard/resolved by the SBC
          EC three times per year700
      •   CC members did not have any abuse or trauma-informed training, so it made
          sense that they did not feel comfortable to rush these important decisions.701


Further compounding the delays in 2019 and 2020 were factors such as a backlog of
submissions due to a high volume of initial submissions; a steep learning curve needed
to develop the CC template letters to churches and submitters; and the lack of defined
standards and policies about how the process should work; and in 2020 the COVID-19

694 Church 15.
695 Church 8.
696 Church 5.

697 Church 19.

698 Church 8, Church 21, and Church 24.

699 Church 9 and Church 12.

700 Church 8 and Church 19.

701 Interview Memoranda of CC Members 9 and 10; Interview Memorandum of EC Staff Liaison 1.



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pandemic affecting the CC’s ability to meet. CC members indicated that much of the time
during the 2019 meetings was spent establishing blueprints for the procedures.702 Some
CC members indicated that they sometimes did not have enough time to read the full
submission reports, noting that the CC is comprised mainly of volunteers who also have
other full-time commitments.703


For example, in one instance, the church received the inquiry letter in November 2020
and responded the following month. The CC discussed the church at the January 2021
meeting, and the CC decided additional follow up was necessary. There was no further
activity for approximately 8 months, in part because the CC was waiting for information
from the submitter but also because the April meeting was cancelled, and the CC did not
engage in much work over the summer months due to the Annual Convention and
transitions with the Committee.704


Submission processing patterns show that if a submission goes under inquiry in the
spring, it is likely it will take longer to process because the CC does not meet regularly to
make decisions during the summer months due to the Annual Convention and
orientation/onboarding of new members.705


Delays could be compounded if a church under inquiry did not respond to the CC
promptly.706 For example, one church did not respond to the first inquiry letter and the CC
had to follow up.707 In another instance, a church did not respond for four months. 708 A
submission could also be paused if legal proceedings were underway. In one case, legal
review was postponed due to COVID-19 and it took the CC approximately 24 months to
process for that reason. The submitter continued to reach out to the CC for updates. In



702 Interview Memoranda of CC Members 1, 8, and 12.
703 Interview Memoranda of CC Members 5, 10, and 13.
704 Church 21.

705 Church 19, Church 31, and Church 32.

706 Church 5.

707 Church 3.

708 Church 19.



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another case that is still pending in legal review, the submission was received in
December 2019, but is still in process.709


Even after the CC completed its own process and voted to recommend disfellowship,
Bylaw 8 only permits the CC to present that recommendation at the annual Convention,
or at the SBC EC meetings in February, June, or September. The gap between the
September to February meetings is almost half of a year.


We have reviewed all of the sexual abuse-related submission to the CC during the audit
time period. Below are some of our observations of the CC’s timeframes:


 Stages of CC Process                                         Average Time Taken
 Submission to sending receipt confirmation to                6.7 days
 submitter
 Submission to sending inquiry letter to church               2.5 months
 CC to decide to “Decline Further Consideration”              3 months
 CC to decide to “Close Without Recommendation                8.6 months
 CC to decide to “Recommend” a submission to EC               10.6 months



The shortest time that the CC took to process a sexual abuse inquiry was 3 months. 710
The longest time that the CC took to process a sexual abuse inquiry was 29 months, due
to pending legal proceedings.711 The average time the CC took to process sexual abuse
inquiries was 9.6 months.


In contrast to how long it took the CC to make final recommendations on sexual abuse
submissions and for the EC to disfellowship the church, the EC moved quickly to
recommend disfellowship of the DC Baptist Convention (“DCBC”), which was associated


709 The submission for Church 12 was received by the CC on December 28, 2019, but is still pending
because of legal proceedings. The submission for Church 9 was received by the CC on December 4, 2019,
but     due     to    the     legal   proceedings   was     not    decided  on    for  24    months.
https://solutionpointintl.sharepoint.com/:b:/s/SBCECInvestigation/EXP6oCGWH4xGtvGTDiUePqsBBnvvn
mUTHKcZdIutyqPjOg?e=24FLZd.
710 Church 20.

711 Church 12.



                                                245

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with a church having homosexual pastors. In January 2017, Calvary Baptist Church hired
a married lesbian couple as co-pastors.712 Calvary had disassociated from the SBC in the
early 2000s and was only associated with DCBC. In February 2017, just one month after
the EC’s discovery of Calvary‘s leadership, Mr. Boto called CC Witness 10 and expressed
that if DCBC did not disfellowship Calvary, then the EC would expel DCBC from the
SBC.713 Witness 10 viewed this as an ultimatum and a violation of DCBC’s autonomy as
Calvary was not an SBC church. DCBC’s Board took time to discuss what they would do,
and then the EC asked for the DCBC Executive Director to attend the February 2018 EC
meeting. The EC decided on February 20, 2018, to expel DCBC from the SBC. The EC
adopted a recommendation granting the DCBC 90 days to secure the removal of any
churches from its fellowship that have demonstrated a faith or practice affirming,
approving, or endorsing homosexual behavior.714 DCBC did not disfellowship Calvary, so
the EC ended its partnership with DCBC on May 21, 2018. The EC took the issue of
DCBC expulsion to the 2018 Annual meeting, and on June 21, 2018, the SBC officially
severed ties with DCBC.715


                10.        Communications with Survivors and Churches


                      a.     In General


Another conclusion reached during our audit was that communications with survivors,
submitters, and churches did not follow best practices. This was largely due to the lack of
written policies and procedures governing all communications; thus, there was no
consistent practice of when, how, and what types of communications would be made with
these parties.



712 https://www.christiantoday.com/article/southern-baptists-part-ways-with-d-c-baptist-convention-over-
hiring-of-lesbian-pastors/129358.htm
713 Interview Memorandum of CC Witness 10.

https://solutionpointintl.sharepoint.com/:w:/s/SBCECInvestigation/ETkNnXjfAyhDtfCMxewQ_yUBaXQ8JQ
EELkONb19i6vIe0w?e=SjWT3I
714 https://www.baptistpress.com/resource-library/news/sbc-ends-relationship-with-dc-convention/

715 https://www.sbc.net/wp-content/uploads/2020/07/2018SBCAnnual.pdf



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We note that, according to an EC Staff Member Liaison, the Guenther firm advised
against the CC making any phone calls with churches and survivors because CC
members lacked training and might make statements that could draw liability to the EC.716
The CC members were also hesitant to make calls for fear of encountering backlash from
the survivors and churches.717 Ultimately, CC members did make such calls.718


During our interviews, a majority of current and former CC members reported that
communications with SBC churches and survivors were not handled well. For example,
one former CC Chair reported that when the CC was first created in June 2019, records
of phone calls to SBC churches or submitters were not consistently kept. Sometimes CC
members gave verbal updates on communications or information gathered at the CC
meeting, and the details were not complete.719 There is now a process governing such
record-keeping; CC members are expected to document the contact with an SBC church
or submitter and email it to the CC’s designated email address for placement in the
church’s file.720


In addition, CC members many times felt uncomfortable or unprepared to handle the
communications. The CC Chair requested that the members volunteer to contact the
church staff or the submitter. CC members and EC staff liaisons knew that the
conversations with the church leadership would be difficult as well because they were
giving notice that the church was going to be put under inquiry. The CC members had
memories of the backlash from the Bylaws Workgroup inquiries of the 10 churches from
February 2019. Pastors at three churches that received inquiry letters from the CC in
December 2019 and January 2020 expressed that they did not appreciate receiving the
letters.721 CC members were concerned about this outreach due to lack of training


716 Interview Memorandum of EC Staff Liaison 1.
717 Interview Memoranda of CC Witness 11 and EC Staff Liaison 1.
718 Interview Memorandum of EC Staff Liaison 1.

719 Interview Memorandum of CC Member 12.

720 Draft CC Policies.

https://solutionpointintl.sharepoint.com/:w:/s/SBCECInvestigation/EahGEOkaN6NFiMdJQW6hBdABFYXJ
MKORYAfGNjWtWqY7xA?e=x0TfZq.
721 Church 5, Church 11, and Church 12.



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regarding sexual abuse matters and the fear of saying something inadvertently to bring
more pain or trauma to the survivor, as well as concerns regarding social media backlash.
Even into the second year of the CC’s establishment, CC members asked to get training
from the Babb Center on how they should handle a phone call with submitters so the EC
Staff Member Liaison tried to coordinate a Zoom meeting in March 2021.722


We did note, however, that there was a difference in how the CC communicated with the
SBC Churches and the submitters and/or survivors, which is discussed further below.


                    b.      SBC Churches


Initially the CC did not call churches before the CC sent them the inquiry letters. Some
pastors complained about that practice, with one noting that the language in the letters
seemed against the Baptist polity and had a threatening tone.723 The CC then changed
its protocols to first call churches to inform them of the inquiry before sending the letter.


If a church wanted an update on the CC’s process, the church would get an email
response or a phone call from a CC member. Because the majority of the CC members
were pastors, they felt more comfortable having a conversation with a fellow pastor than
with a survivor.724




722https://solutionpointintl.sharepoint.com/:b:/s/SBCECInvestigation/ETzu0d77UUxJsQlMlRZu89kBm9i1iU

MPChsP6PMG0ULLww?e=ktle4l
723 Church 11 Pastor was angry about the accusatory nature of the inquiry letter and said that they would

withhold their CP giving to SBC.
https://solutionpointintl.sharepoint.com/:b:/s/SBCECInvestigation/EbeXwIOrcE9DuTbMYNy6L6UBMVdum
8LHZfJbXTLhyO9KPw?e=thuhYk
https://solutionpointintl.sharepoint.com/:b:/s/SBCECInvestigation/EZPujfnC_JBCrrw1FiCNz_wBq8NI5wO
cFbza4gqU7U2Xeg?e=It0cPe
Church 5 Pastor was also angry.
https://solutionpointintl.sharepoint.com/:b:/s/SBCECInvestigation/EetRXrm9aGBAurT9EFQiAK4Bpi6-
haVk4FjtXuR8gNBkXw?e=bMWv1A
724 Interview Memorandum of CC Member 8.



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                   c.      Submitters/survivors


Information received from submitters and survivors indicates that communication was
inconsistent, sparse, and lacked transparency, even if that was not the CC’s intention.
CC Witness 11, who completed a submission on behalf of a survivor stated that she
emailed the CC Chair and sent multiple emails to the CC for updates but received no
responses.725


One of the early submissions highlights these communication deficiencies. The survivor
sent emails to the CC before the submission webpage was open, and the EC Staff
Member Liaison replied to the emails. Without direction or training, some of the language
of the emails came across as sterile and uncaring to the survivor and seemed overly
focused on the Bylaws. There were also some administrative hurdles with misspelled
email addresses in responses,726 which caused a delay in the early correspondence. The
survivor made a formal submission in January 2020, but there are no records of any email
updates being sent to the survivor for the following 9 months.727


In October 2020, the CC assigned a female CC member to call the survivor to share the
decision that they would not be recommending the church for disfellowship. Based on
information shared in multiple CC member interviews,728 a CC member tried to make
contact, but when the CC did not hear from the survivor, they sent her the decision letter
in November 2020. The survivor states that she never received any prior calls or emails.


CC members and EC Staff Member Liaisons acknowledge that the communication with
the survivor was flawed and that because they did not have training, they made mistakes.




725https://solutionpointintl.sharepoint.com/:w:/s/SBCECInvestigation/EcgEe91EN_FAhcglO6jdGs8Bzi83Fx

H65z0kx4KqRPZO8Q?e=ekiqAJ
726 Interview Memorandum of CC Witness 1.

727 Id.

728 Interview Memoranda of CC Members 1, 7, and 10; Interview Memoranda of EC Staff Liaisons 1 and 2.



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They wished that they would have conducted additional follow-up and attempted to reach
out to the survivor in other ways to explain the decision before she received the letter.729


We provide a few other examples of the lack of timely communication:


      •   In an inquiry inherited from the Bylaws Work Group, a whistleblower provided
          information, periodically sent emails asking for an update, and emailed some CC
          members directly. The CC Chair also had a phone call with the whistleblower.
          Ultimately, the CC decided to close the inquiry without recommendation in
          February 2020 but never informed the whistleblower of that fact. When we
          interviewed the whistleblower in February 2022, he was still not aware of the CC’s
          decision and assumed it was still pending.730


      •   An inquiry was paused due to lengthy legal proceedings that were impacted by
          Covid delays. The CC’s review ultimately lasted 24 months. The submitter sent
          multiple emails asking for updates, and in May 2020 an EC Staff Member Liaison
          called the submitter to explain that the submission was on hold pending the legal
          process. Although the submitter emailed the CC for an update a month later, there
          are no records of correspondence with the submitter for the next 19 months until
          January 2022. At that time, a CC member called the submitter to inform them that,
          after finding the legal case had been dismissed, the CC conducted further inquiry
          and decided to close the submission without recommendation.731

      •   The CC misunderstood and believed that the survivor was going to send additional
          documents. The CC did not contact the submitter for 5 months, and the survivor
          finally asked for a follow-up. The submitter stated that a CC member had indicated
          that a CC member would call her, but no one did. A CC member then did call the




729 Interview Memoranda of CC Member 7 and EC Staff Liaison 1.
730 Interview Memorandum of Brent Detwiler.
731 Church 9.



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       submitter, but after that call there was no contact for 4 months until the survivor
       again reached out.732


A EC Staff Member Liaison, who had spoken to multiple survivors, acknowledged that a
critical weakness of the CC was that there was no regular communication with
survivors/submitters to inform them of updates on their process, and to give the clear
understanding of the timelines of decision making.733 Records from each church under
inquiry show that in every situation, the number of correspondences the CC had with the
church exceeded the number of correspondences the CC had with the submitter. These
survivors had already gone through years of feeling that they were not heard or
understood, so the CC’s lack of consistent communication added more stress and
anxiety.


Early submitters commented that the confirmation of receipt letters and decision letters
from the CC seemed sterile, focusing on the Bylaws and not focusing on trauma-informed
care for the survivors.734 The wording in letters has developed over the years, and for
recent submissions, a CC member has called the submitter if it is a sensitive decision that
will be taken hard so that they do not simply receive the decision letter.735

The CC made an effort to connect submitters with an individual trained to assist victims
of abuse, including information about abuse recovery and available resources in their
local area. When making a submission, a submitter could select an option to receive a
support call.

The support calls were provided by the Babb Center, a counseling center that is part of
the First Baptist Church in Hendersonville, Tennessee. CC members did hear positive
feedback on the Babb Center services and were not aware of any negative experiences
from submitters. However, there was no formal contract for services between the Babb


732 Church 21.
733 Interview Memorandum of EC Staff Liaison 2.
734 Interview Memorandum of CC Witness 1.

735 Church 24.



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Center and the EC. Essentially the Babb Center agreed to take on a number of calls for
no charge, with a fee for any calls in excess of that number. 736 The Babb Center never
received enough requests to have to charge the EC.737

This type of “no charge” arrangement can be problematic because there is the potential
that a counseling service would not treat these “free” calls with the same time and
attention as its regular work. While we are not suggesting that the Babb Center in any
way provided a lesser experience to submitters, this is a potential downside of volunteer
services of which the CC should be aware. Because there was no formal contract for
services between the Babb Center and the EC, the CC did not feel they could exercise
authority and accountability over the Babb Center. There was a period where the Babb
Center was not responsive to the CC’s emails and was not providing confirmation that
submitters had been called, but due to the “no charge” arrangement, it was difficult to
enforce any actions.

Email correspondences and interviews indicated that there were CC submission webpage
and portal errors during the time of the SBC.net website platform change and upgrade,
so some submitters who had indicated their desire to be contacted by the Babb Center
were not contacted as the Babb Center did not receive the automatic notifications.738 The
EC Staff Member Liaison realized this error, and audited all the submissions that came in
since the date of the website upgrade to verify if the submitter had desired a call from the
Babb Center. The Liaison emailed the Babb Center directly to ensure that they reached
out to the submitters that did not receive a call.

At the end of 2021, the CC decided to change the process to no longer have the website
send automatic responses to the Babb Center when a submitter requests a call. In order
to keep better track of the Babb Center’s correspondence, when the submitter indicates


736Interview Memoranda of EC Staff Liaisons 1 and 3.
737Babb   Director said that they do not get a lot of requests.
https://solutionpointintl.sharepoint.com/:b:/s/SBCECInvestigation/EbTurnuAhKtOhh7DVa0J7WABWv9Em
fzFNXF5HSXuofa_Yw?e=G5KaX2
738https://solutionpointintl.sharepoint.com/:b:/s/SBCECInvestigation/ETiZGAIN6GtBmtsAUzr0QiwB8bv0IK

P_Zs2ajgkzXqR9hg?e=u2pXRF

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they would like a call, the EC Staff Liaison sends an email to the Babb Center with the
submitter’s information and asks the Babb Center to email a confirmation of receipt and
a confirmation email when they have made contact with the submitter.739

                11.     Information Gathering


Bylaw 8 and Southern Baptist polity prohibited the CC from conducting an “investigation”
into the allegations set forth in any submission because it would violate Article IV of the
Constitution. Instead, it was the understanding of the CC members that they were
permitted only to request information from the submitter and church, and to research
publicly-available information. When asked, the CC members with whom we spoke were
split as to whether the CC should have the ability to investigate, or to have a third party
investigate sexual abuse allegations in order to make informed decisions regarding
whether an SBC Church should remain in friendly cooperation with the SBC.740


Some CC members and EC Staff Member Liaisons indicated that they wanted to care for
the survivors, and they were frustrated by their limited scope as outlined in Bylaw 8. 741
Because they could only inquire by asking the church to voluntarily answer a few
questions about the allegations, some CC members questioned the validity of the
conclusions given the limited information available to the Committee to make the decision.
Our audit revealed that when the submitter’s information was contradicted by the church’s
inquiry response, no additional investigation would be permitted due to SBC polity. Thus,
the church would continue to be considered in friendly cooperation with the Convention
and would not be recommended to the EC under these circumstances.


Our audit revealed that the CC did not consider any information outside of the submitter,
church, local and state association, and public resources, even when strong evidentiary


739https://solutionpointintl.sharepoint.com/:b:/s/SBCECInvestigation/EbTurnuAhKtOhh7DVa0J7WABWv9

EmfzFNXF5HSXuofa_Yw?e=G5KaX2
740 Split – 5 members said yes, 5 said no – 4 not discussed; Vocal about the need for investigation was CC

Members 3, 9 and 11.
741 Interview Memoranda of CC Members 5, 9, and 11.



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information was offered to the CC. CC Witness 12 had been closely involved in the
investigations into Church 4 before the Bylaws Work Group put it under inquiry, having
spent hours meeting with both Church 4 leaders and survivors. In May 2019 while the
submission was under review by the Bylaws Work Group, Dr. Bethancourt asked that the
Bylaws Work Group not make a quick decision on Church 4, and said that CC Witness
12 had offered to speak to the Bylaws Work Group about the Witness’ knowledge of the
situation and was willing to facilitate having the survivors speak directly about their
experiences.742 The Bylaws Work Group, and later the CC after inheriting the submission,
did not make any attempts to follow up with CC Witness 12 to assess the additional
information.743


Some CC members and EC Staff Member Liaisons indicated there were instances when
they questioned the truthfulness of the information provided by the SBC Church, but they
could only consider the information available through the inquiry, which was essentially
information provided by the church in defense/response to the inquiry questions.744 The
CC could not ask more questions of the submitter or witnesses from the church, as that
would be considered an investigation and violating the autonomy of the church. If the
church’s response was sufficient for the CC members to form the opinion that the church
currently was in friendly cooperation with the Convention according to Article III of the
Constitution, then the submission would be closed without recommendation. The CC
does not declare a church to be innocent or cleared, nor will the CC make any
announcements to the EC or to the public regarding decisions to deem a submission
“Closed Without Recommendation.”


               12.      Standard of Review




742 https://solutionpointintl.sharepoint.com/:u:/s/SBCECInvestigation/Eamo-
xx808RDhXSC8whYgU8Bj44qBWdVGQqcGWYa85-XZg?e=CAnVGY
743 https://solutionpointintl.sharepoint.com/:w:/s/SBCECInvestigation/EUoYOIYA-

DJBmACbBx3ojD4BJKNeYhyCvlYj5l6r2e4TIg?e=trNqd4
744 Churches 15, 9, and 21; Interview Memoranda of EC Staff Liaisons 1 and 2; Interview Memoranda of

CC Members 3, 7, and 11.

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Neither our interviews nor our document review revealed a written standard for assessing
when a church’s conduct toward sexual abuse allegations merits disfellowship. In
December 2019, CC Witness 12 presented a written framework for CC standards and
criteria for determining if a church is not in friendly cooperation, based on the exact
language from previous SBC resolutions and bylaws related to sexual abuse. The CC did
not make efforts to follow up with the subject matter expert or to establish their own set
standards and criteria.745


Rather, the CC broadly considered a number of factors in making these determinations,
including whether a church employed a convicted sex offender; allowed a convicted sex
offender to work as a volunteer in contact with minors; and/or continued to employ a
person who unlawfully concealed from law enforcement information regarding the sexual
abuse of any person by an employee or volunteer of the church.


Because there was no set standard of review, the CC would gather information until the
members could reach a consensus as to whether a church was in friendly cooperation.746
A former CC Chair indicated that some cases were easier to determine than others. For
example, the former CC Chair said that if the current pastor of the church is a registered
sex offender, then the church would not be considered in friendly cooperation. On the
other hand, if a youth pastor was accused of abuse, but the church had put in safeguards
and the youth pastor was no longer there, then the church would be in friendly
cooperation, even if the current senior leadership had not handled the original report of
abuse properly.747


On occasions where the churches under inquiry also had been reported to the state or
local association, a CC member or EC Staff Member Liaison typically called the state or


745 https://solutionpointintl.sharepoint.com/:w:/s/SBCECInvestigation/EfaKryFb-
lJDiusB97Kpx5YBd44VefAY9z29u8GqWSKy1A?e=sGdRNY
746 Interview Memorandum of CC Member 3; EM from CC Member 1 indicating no process.

https://solutionpointintl.sharepoint.com/:b:/s/SBCECInvestigation/EdA3YJ5EhJVKs9G0pE0NS4IBlBR3vTf
LKQTWB_ZCACFjcQ?e=K3z7ka
747 Interview Memorandum of CC Member 1.



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local association to discuss its assessment of the church’s handling of the situation. There
were seven such submissions where a CC member followed up with state and local
convention executives to gather information about the church. In all seven submissions,
the CC did not depart from the state and local associations’ assessments. Some CC
members expressed to us that in three such cases they were not confident about the
state and local associations’ decisions to end further inquiry but the CC nonetheless
decided to follow the decision of the state or local association. We were unable to find
any detailed records of the conversations that CC members had with the state or local
executives, as many of those conversations were phone calls that were not documented
in the early months of the CC. From our review and interviews, it appears the state/local
associations provided the following information to the CC regarding the three cases:


      •   Local association director reported that the church had disciplined the accused
          pastor and changed its personnel policies.748
      •   State and local association representatives supported pastor after abuse case
          against him was dismissed.749
      •   State convention executive stated that pastor did not try to cover up abuse and
          took proper steps to address it.750


In our view, although the state and local conventions can provide valuable information
and assistance to the CC, state and local conventions’ determinations should not be
adopted unquestioningly. Rather, the CC should weigh those determinations in light of all
other relevant information.


In addition to looking at the decisions of the state and local associations, the CC also
looked at whether the churches had implemented sexual abuse policies and procedures.
CC members acknowledged, however, that the CC did not evaluate the quality of those
policies submitted by churches. In any event, there was no requirement that the church


748 Church 21.
749 Church 9.
750 Church 24.



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have policies or procedures in place in order to be in friendly cooperation with the
Convention. For example, a church was under inquiry for employing an alleged sexual
offender as a Music Minister.751 Although the church did not have a sexual abuse policy,
the church removed the Minister, the Minister had been reported to law enforcement, and
the Senior Pastor had written an apology to the submitter. The CC did not recommend
the church for disfellowship in those circumstances.


Our review considered whether donations made by churches affected the decisions of
the CC. The majority of CC members said that neither the size of a church nor its
Cooperative Program giving amounts had any impact on the CC’s determinations. In our
audit, we did not find any evidence that the size of a church or its Cooperative Program
giving amounts had any impact on the CC’s determinations.752 Ten members also stated
that the EC did not influence the CC or dictate its decisions, although one member said
that the EC did have some influence on the composition of the CC by virtue of the fact
that the CC is made of up 3 members nominated by the EC and the EC Chair.


                13.      Reporting misconduct to authorities and others


The CC did not report the existence of sexual abuse allegations to church parishioners,
the public, or law enforcement. A former CC Chair told us that it is the church’s decision
whether or not to inform its congregation about the sexual abuse inquiry.753 The CC only
released the name of a church if and when it gives its report to and recommendation to
the EC for consideration. Churches would know when they were put under inquiry, but
they were not notified if they were simply under “Review” status. Sometimes state or local
association executives would be aware of a church under review when a CC member



751 Church 25.
752 One church [Church 11] sent a letter indicating disapproval of the CC process and stating that they
would withhold CP donations until the process was remedied. It is difficult to determine whether the church
in fact withheld donations, as the church did not have a history of regular giving. The church did make
contributions to the CP in 2020, the year they were under inquiry. Although their 2020 giving amount was
lower than in 2019, their giving amount in 2019 was also less than in 2018.
753 Interview Memorandum of CC Member 1.



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contacted them to gather information. Names of churches received for consideration that
were not recommended to the EC were not released outside the CC.754


The CC’s Statement of Assignment, as well as the submission form itself, did include
language directing submitters to make reports to law enforcement.755 In addition, the EC
Staff Member Liaison typically included a similar directive in the receipt letters sent
manually to submitters, although our review indicated there were some letters in which
that language was omitted. Because all details of the abuse circumstance may not be
known from the written submission, the reporting directive should be included as a routine
matter in all receipt letters to submitters.


              14.      Appeals and Reconsiderations


If the CC determines that an inquiry should be closed without recommendation, the
church may be submitted for reconsideration if new or additional information can be
presented to the CC.756 Presently, the ability to resubmit with new information is not
explained in the declination letter, although the policy is explained orally to the submitter.


As a matter of best practice, this should be included in the declination letters going
forward. If the submitter cannot provide new information that was not included in the
original submission, then the CC will not put the church under inquiry again. During the
audit period, one reconsideration request was made,757 which the CC declined because
the submitter did not offer new information.


If the CC recommends a church to the EC, and the EC agrees to disfellowship the church,
the church can submit a written appeal to the CC Chair, at least 30 days prior to the


754 Interview Memorandum of EC Staff Liaison 1; see also Draft CC Procedures.
755 https://www.sbc.net/about/what-we-do/sbc-governance/credentials-committee/
756   Interview Memorandum of EC Staff Liaison 1; see also Draft CC Procedures.
https://solutionpointintl.sharepoint.com/:w:/s/SBCECInvestigation/EahGEOkaN6NFiMdJQW6hBdABFYXJ
MKORYAfGNjWtWqY7xA?e=YJi6op
757 Church 15.



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Convention’s annual meeting.758 The Convention will consider the appeal on the first day
of the Convention, and the messengers will make the final decision on if the church is in
cooperation with the SBC. One representative of the church under consideration and one
representative of the CC or EC is permitted to speak to the question. The Bylaws do not
state that the submitter is permitted to speak.


If a church which has found not to be in cooperation with the Convention addresses the
issues that led to the church’s disfellowship, then it can apply to the CC for reconsideration
of its status. There were no appeals or requests for reconsideration by churches during
the audit period.



VII.      RECOMMENDATIONS


Below we set out proposed recommendations intended to provide a comprehensive
framework for the SBC to improve its response to sexual abuse and misconduct
allegations. The goal of these recommendations is to achieve meaningful and sustainable
reform in a manner that recognizes SBC polity. In crafting these recommendations, we
received valuable input from numerous sources – survivors and their advocates, current
and former EC Officers and Trustees, current and former EC staff, pastors, and SBC
polity experts, among others – who all contributed greatly to our understanding of the
many considerations involved.



Recommendation EC-1: Establish an Independent Commission to Implement and
Oversee Reforms


At the 2021 SBC Annual Meeting, the Messengers supported the creation of a Sexual
Abuse Task Force to oversee this investigation. However, once this investigation is
complete with the final report delivered to the Convention, the Task Force’s assignment
will be complete. Their dedication and commitment to this work has been valuable and

758   SBC Bylaw 8, Section C(3).

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serves as a model for the recommendation to form a task force/commission to continue
the work on addressing sexual abuse.


To ensure the effective implementation and oversight of suggested reforms, we
recommend that a new task force/commission be created to continue the work of the next
phase - implementing sexual abuse initiatives as ordered by the Messengers. This
Independent Commission would have initial responsibility to oversee all reforms
concerning sexual abuse, sexual assault, harassment, and related misconduct (“sexual
abuse”) within the SBC.

 EC-1.    Consider Establishing an Independent Commission Responsible for
          Implementing and Overseeing Reforms
 1(a).    Define Duties and Oversight: If a Commission is established it is important to
          strictly define the Commission’s duties and oversight. Consider including the
          following:
              • Oversight of the SBC EC’s implementation of sexual abuse
                   recommendations;
              • Verification of the SBC EC’s compliance with best practices in
                   handling issues related to sexual abuse, including implementation of
                   training and education at the SBC EC level;
              • Oversight of creation of an Administrative Entity (if created);
              • Oversight of the online Reporting Portal (“RP”); and
              • Oversight of CC actions.
 1(b).    Evaluate Appropriate Duration: To ensure thoughtful set-up and proper
          implementation, we recommend that the Commission be in place for a
          minimum of 10 years and, with bi-annual approval of the Messengers, for up
          to twenty years.
 1(c).    Consider Composition: In identifying members of the Commission, consider
          a balanced representation of male and female members, including survivors
          of sexual abuse, and expert advisers who are trauma-informed.
 1(d).    Evaluate Outside Experts: Consider whether the Commission needs to
          engage its own experts in furtherance of its oversight duties and
          responsibilities.




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Recommendation EC-2: Consider the Creation of an Administrative Entity to
Provide a Permanent Resource for Prevention and Response Efforts related to
Sexual Abuse


Although the Commission could initially oversee reforms on a high level, a permanent
Administrative Entity, with sufficient staffing and funding, is necessary to manage the new
reform structure, particularly for providing necessary guidance and training.


The Convention may authorize a new entity under Bylaw 25. According to the Bylaw, new
entities require the Convention to vote and approve the creation of the entity in two
succeeding annual meetings. However, Bylaw 25 provides a potential path for an
immediate creation of a new Administrative Entity and states that “this restriction shall not
apply to a recommendation of an entity of the Convention concerning its own work.” The
Executive Committee (and potentially the ERLC) may recommend the formation of a new
entity to be tasked with work that would otherwise fall within its ministry assignment to
ensure a more expedient path to the creation of the Administrative Entity. We recommend
that this more expedient path be explored.


 EC-2.    Consider the Creation of an Administrative Entity to Provide a Permanent
          Resource for Prevention and Response Efforts Relating to Sexual Abuse
 2(a).    Define Leadership: If an Administrative Entity is created, we recommend that
          the Committee on Nominations appoint a Board of Trustees who will have the
          responsibility for hiring an Executive Director, or similar position.
 2(b).    Hire Qualified Staff: If created, we recommend that the Administrative Entity
          include staff members with subject matter expertise on sexual abuse in fields
          such as legal, medical, psychology, theology, social work, and law
          enforcement.
 2(c).    Establish Clear Duties and Responsibilities: If created, we recommend that
          the Administrative Entity’s work include, but not be limited to, the following
          responsibilities:

              1. Prevention:
                 • Create and oversee the Sexual Abuse Prevention program to
                    include policies, training, and a Resource Toolbox (see
                    Recommendation EC-3);



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              •   Create and oversee the creation of a publicly available Offender
                  Information System (OIS) (see Recommendation EC-5(b));
              •   Establish written criteria and make recommendations regarding
                  screening, background checks when requested (see
                  Recommendation EC-5(a));
              •   Engage in continuing education and research on the issue of
                  sexual abuse; and
              •   Establish, define, revise and routinely review new criteria for the
                  CC’s mandate for church disfellowship (see Recommendation CC-
                  8(b)).

           2. Response:
              • Manage a Survivor Support and Assistance Program (SSAP) (see
                Recommendation EC-7(a));
              • Establish and facilitate a Survivor Compensation Fund Program
                (see Recommendation EC-7(b));
              • Conduct good faith assessments/inquiries, when requested, on
                sexual abuse cases submitted through the Reporting Portal when
                requested by the church, state convention, or local association
                (see Recommendation EC-7(a)); and
              • Conduct good faith assessments/inquires for disfellowship of
                churches’ regarding sexual abuse (see Recommendation EC-
                7(a));

           3. Advisory Duties:
              • Serve as a voluntary advisory resource to state conventions, local
                 associations, entities, and churches on best practices in the area
                 of sexual abuse;
              • Form an advisory group consisting of the prevention and response
                 administrators/liaisons from entities included under Bylaw 14; and
              • Make recommendations to the CC based on these requested
                 assessments/inquires.

           4. Data Collection:
              • Oversee, monitor and collect annual submissions of information
                 from entities, and voluntary submissions from state conventions,
                 local associations and churches to evaluate the effectiveness of
                 these Best Practices.




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Recommendation EC-3: Create and Maintain a Resource Toolbox for Prevention
and Response


Effective protocols are beneficial to assure the implementation of best practices, serve to
reduce the mishandling of sexual abuse, support effective results, and promote
prevention. Providing protocols in one place can assist SBC entities and cooperating
churches in preventing abuse. For this reason, we recommend the SBC create a
Resource Toolbox, which could include a variety of resources associated with prevention
and management of sexual abuse.


 EC-3.        Create and Maintain a Resource Toolbox for Prevention and Response

 3(a).        Content: We recommend the toolbox include sample protocols and
              policies including, but not limited to, understanding child and adult sexual
              abuse, child safety, standards of care for youth and adult volunteers, social
              media guidelines, overnight and transportation issues, resources and
              supportive options for survivors, managing the alleged offender, and
              dispute resolution.
 3(b).        Training and programming for Leadership, Staff, and Volunteers: We
              recommend that the Administrative Entity (if created) create and provide
              training programs to support the newly created protocols for use by the
              entities, voluntarily participating state conventions, local associations and
              churches, including but not limited to clergy/authority figure abuse;
              grooming and prevention; trauma-informed responses, understanding
              reporting obligations; investigating sexual abuse allegations; survivor
              issues, establishing programs including a school and church safe space
              program, a victim assistance program, and establishing a Sexual Abuse
              Review Board; sexual abuse and workplace sexual harassment
              orientation and training and more resources will be available.

              Sexual abuse and workplace sexual harassment orientation training
              should be mandatory for SBC entities.
 3(c).        Create Safe Space Trainings and Curriculums for Community Members:
              We recommend that age-appropriate trainings and curriculums on sexual
              abuse be available in the Resource Toolbox to all SBC schools,
              seminaries, state conventions, local associations, and affiliated churches.




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 3(d)        Investigative Guidelines: We recommend that the Resource Toolbox
             provide a comprehensive foundation for conducting assessments and/or
             investigations, offer the assurance of consistency throughout the process,
             and demonstrate a commitment to a fair and credible process.
             Investigative guidelines may include guidance on conducting a competent,
             thorough and trauma-informed child or adult sexual abuse investigation;
             good faith reporting; confidentiality; retaliation; the CC Reporting Portal;
             updates and links to applicable laws, regulations, policies and
             comprehensive mandatory reporting obligations under the Federal Child
             Abuse and Prevention Act (CAPTA).




Recommendation EC-4: Provide Support for Establishing Safe Spaces Through a
Self-Certification Program


A self-certification program will allow individual churches, local associations, state
associations and entities to strengthen their commitment to working towards reducing
sexual abuse.

 EC-4.       Provide Support for Establishing Safe Spaces Through a Self-Certification
             Program
 4(a).       Adopt a Self-Certification Program: We recommend that the SBC support
             the creation of a voluntary self-certification program for churches, local
             associations and state conventions based on implementation of “best
             practices” to bring awareness and enhance prevention of sexual abuse.
             The entities should also participate.
                • State conventions or local associations, with the support of their
                    churches, may organize a certification program for all member
                    churches within their association or convention.
                • The Administrative Entity, if created, could provide written criteria
                    of minimum standards needed to implement to be considered a self-
                    certified “Safe Space Abuse Prevention” location.
                • All necessary resources needed to self-certify would be available in
                    the Resource Toolbox, but participants may decide to use
                    individually obtained resources.
                • Voluntary renewal could occur on a periodic basis, such as every
                    three years.
             The SBC should post an updated list of churches, local associations, state
             conventions and entities that are certified as “Safe Space Abuse
             Prevention” locations.



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Recommendation EC-5: Enhance Prevention Resources.


The SBC should focus efforts on primary prevention before abuse occurs. A broad
collection of prevention resources may enhance the discovery and reporting of criminal
acts and aid in holding the offender accountable. We recommend deploying a layered
approach in adopting these resources.


 EC-5.      Develop or Enhance Comprehensive Prevention Resources.
 5(a).      Background Checks: We recommend that the SBC EC and other entities lead
            by example in requiring comprehensive background checks, and encourage
            all state conventions, local associations, and churches to voluntarily create a
            safe environment by employing reliable, thorough, and comprehensive
            background checks as part of their hiring practices for all staff and volunteers.
            (Suggested recommendations for background checks are attached as
            Appendix G.)
 5(b).      Offender Information System: We recommend that as an important step in
            keeping churches and SBC entities informed, the Administrative Entity set up
            and maintain (through a third-party vendor) an Offender Information System
            (OIS) to alert the community to known offenders. This OIS website can fill in
            gaps left by the National Sex Offender Public Website.759

            Here are some potential ways an OIS website could work:

                •   The OIS website could be provided free of charge by the SBC EC or
                    another designated entity with voluntary participation by state
                    conventions, local associations and churches.
                •   The SBC entities could maintain webpages within the system and follow
                    the guidelines applicable to churches.
                •   Each participating church will have their own website. Churches may
                    decide to combine with other churches, their local association or a state
                    convention and create a joint webpage on which to jointly enter
                    information.
                •   The Administrative Entity could create written criteria to establish the
                    minimum standards for inclusion on the OIS such as offense details, a
                    photograph of the offender, offender biographical information, the
                    complete Pastoral File and more.



759The National Sex Offender Public Website (NSOPW) is a national database which includes listing of
some sex offenders convicted in states, tribes and territories for a registerable sex offense. There are
numerous SBC members who have committed acts of sexual abuse, including serial offenders, ministers
who abused their position of authority for sexual gain and those whose offenses were never disclosed and
the statute of limitations has expired. All of these individuals will never be listed on the NSOPW.

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                 •   Sample criteria could include the following:
                        o Churches are encouraged to voluntarily report the full spectrum
                           of information available.
                        o Persons legally convicted, personally confessed, or those having
                           been credibly760 accused or having substantiated allegations of
                           acts including sexual abuse or those established to have aided
                           and abetted761 in the cover-up of such conduct including allowing
                           an offender to quietly resign or move to another church or
                           institution will be included on the OIS.
                        o Offenders that are deceased will be included on the OIS in
                           perpetuity.
                        o The SBC will publish a list of disfellowed churches and those
                           persons whose ordinations or degrees were revoked due to
                           sexual abuse.
 5(c).       Letters of Good Standing: We recommend that the SBC offer a standardized
             “Letter of Good Standing” (LGS) that can be used in all cases where a pastor
             or staff member is moving to or officially visiting another church or entity. Use
             of the LGS would allow verification of good standing at the current employment
             through written verification and personal reference checks. Seminaries could
             also provide a LGS upon graduation to students in good standing.
 5(d).       Code of Conduct: We recommend that the SBC require an ethical Code of
             Conduct be signed as a condition of current or new employment at an entity,
             or as a condition of attendance for current or incoming students attending
             seminary or missionary staff. The Code of Conduct should clearly establish the
             signee’s acknowledgement, responsibility, and obligation to not engage in
             sexual abuse while employed, volunteering or as a student. The Code of
             Conduct should further provide notice that a conviction, confession, a credible
             or substantiated allegation of sexual abuse will result in termination, mandatory
             reporting to civil authorities, if applicable, notification to the local
             association/state convention and the SBC EC, as well as posting on the OIS if
             appropriate.

             The SBC should strongly encourage similar voluntary protocols by state
             conventions, local associations, churches regarding current and new pastoral
             and church staff, and volunteers.


760 "Credible" is defined as not manifestly false or frivolous.
761 “Aided and abetted” -- Aid or abet is defined for this purpose as the knowing or intentional assisting of a
person who has been convicted, confessed, or a credible or substantiate accusation of sexual abuse to
move to another church, seminary or other SBC related entity without fully disclosing to the new entity the
allegations faced by the person; failing to terminate a person with a conviction, a confession or credible
allegation; in lieu of terminating, allowing a person to retire, resign or quit in the face of conviction, a
confession or a credibly allegation without public announcement and written documentation in their
employment file the allegations were the cause for their departure; knowingly or willingly hiring a person
convicted, confessed or credibly accused of allegations of sexual abuse; having knowledge of a conviction,
confession or credible accusation and failing to terminate.


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Recommendation EC-6: Adopt a Declaration of Principles


EC-6.   Adopt a Declaration of Principles
6(a).   Declaration of Principles: Consider Adopting an SBC Declaration of Principles
        regarding sexual abuse. This Declaration should include statements regarding
        a commitment to repentance and reform, prioritizing survivors,
        acknowledgement of trauma and commitment to providing prevention
        resources.

        This Declaration of Principles could serve as a model for SBC entities, state
        conventions, local associations, and local churches to voluntarily adopt and
        follow.

Recommendation EC-7: Devote Resources to Survivor Support


EC-7.    Consider Dedicated Survivor Support Resources.
7(a).    Create a Survivor Support and Assistance Program (SSAP): We recommend
         the Administrative Entity, if created, facilitate the creation and management of
         a SSAP to train entity staff members, and staff from voluntarily participating
         churches, local associations, and state conventions so that they are equipped
         with knowledge on how to provide survivor care and support.

         The SSAP-sponsored training could include best practices on responding to
         reports of sexual abuse in a trauma-informed way from the intake of a report
         through and post the resolution of a matter and can be found in the Resource
         Toolbox. The individuals trained in this role could be called survivor care and
         support specialists (SCSSs).

         One model for SCSS could function as follows:
           • SCSSs will intake and triage reports of sexual abuse. SCSSs employed
              at the SBC level will receive cases submitted to the online Reporting
              Portal or Sexual Abuse Hotline. SCSS will communicate with
              submitters and will assist by determining immediate needs, may
              connect with law enforcement (including mandatory reports), if
              appropriate, connect the submitter with local supportive services or
              other necessary resources, and explain the investigation and
              resolution process to the submitter.
           • The SCSS will assist the submitter throughout the case.
           • On behalf of the submitter, the SCSS may connect with the church,
              local association, state convention or entity that has not responded to
              a report of sexual abuse to determine if a local
              assessment/investigation is feasible.


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             •   If a local assessment/investigation is not conducted, the SCSS will
                 ensure the case is pursued by the CC, who may request the
                 Administrative Entity to conduct a good faith investigation on behalf of
                 the submitter and report back to the CC.
              • For information on CC disfellowship see Recommendation CC-12.
 7(b).    Establish a Survivor Compensation Fund Program: We recommend a
          Survivor Compensation Fund Program be created, to be overseen by the
          Commission and administered by the Administrative Entity (if created) with
          the assistance of an independent Fund Administrator or Special Master to
          direct the compensation of funds to SBC clergy sexual abuse and related
          misconduct survivors for abuse related medical and psychological services.

          Recommended principles for this fund include the following:

             •   The intent would be that survivors would not be required to use SBC
                 recommended providers;
             •   In determining the amount of payment, the Administrative Entity with
                 the assistance of the Fund Administrator/Special Master will establish
                 written criteria, including but not limited to factors such as severity of
                 abuse, duration of abuse, age of the victim at time of abuse, prior efforts
                 of the survivor to report the abuse, and prior harm-magnifying
                 institutional responses to the survivor; and
             •   We recommend that the compensation program be supported by a
                 dedicated permanent fund established and replenished with
                 Cooperative Program dollars and/or the selling of SBC assets and be
                 prioritized by the SBC EC.


Recommendation EC-8: Consider Prohibiting Confidentiality Agreements in Sexual
Abuse Matters


 EC-8.    Consider Prohibiting Confidentiality Agreements in Sexual Abuse Matters
 8(a).    Prohibit Confidentiality Agreements: The Convention and the SBC EC should
          not condone the use of nondisclosure agreements and civil settlements which
          bind survivors to confidentiality in sexual abuse matters unless requested by
          the survivor. The entities are encouraged to follow this position.

Recommendation EC-9: Provide Adequate Funding for Reforms


Prevention and response to sexual abuse requires adequate funding. It is recommended
that churches and entities demonstrate their commitment to fostering environments with
safeguards for sexual abuse, through their commitment of funding towards reforms.

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 EC-9.    Consider providing Sufficient Funding for Reforms.
 9(a).    Encourage Inclusion of Sexual Abuse Prevention and Response in Annual
          Budgets: We recommend that state conventions, local associations,
          churches, and all SBC entities be encouraged to include resources for
          prevention and response to sexual abuse in their annual budgets.
 9(b).    Provide Funding for the Administrative Entity: We recommend that upon the
          creation of an Administrative Entity the allocation of the Cooperative Program
          funds be adjusted to include adequate funding for the Administrative Entity.
 9(c).    Fund Sexual Abuse Reforms: We recommend that in making annual
          appropriations to entities, the SBC EC allocate additional monies to be
          recommended to be used towards sexual abuse reforms and prevention.
 9(d).    Designated Funds: We recommend that the Administrative Entity (if created)
          be permitted to accept designated funds directly to the entity.
 9(e).    Grant Funding: We recommend that the Administrative Entity (if created)
          provide awareness of available safety and security grant programs, as well as
          alternate means for providing safety and security grants to SBC member
          churches, local associations, state conventions and seminaries to assist with
          prevention, training, safe hiring practices, and investigative measures.


Recommendation EC-10: Consider Further Defining Southern Baptist Beliefs
Regarding Sexual Abuse


In 2019, the messengers took a step in addressing sexual abuse when they approved the
Constitutional amendment defining “friendly cooperation” to require that a church “does
not act in a manner inconsistent with the Conventions beliefs regarding sexual abuse.”
See Article III. While there are statements in resolutions that arguably set forth the
Conventions beliefs regarding abuse, the SBC EC should consider further defining these
beliefs regarding sexual abuse to “provide for the …abused..” See Section XV.


 EC-10. Consider Further Defining SBC Beliefs Regarding Sexual Abuse.
        The SBC should consider whether phrases relating to SBC Beliefs regarding
        sexual abuse are thoroughly defined in SBC governing documents.
        Consideration may be given to creating a definition of sexual abuse, how
        churches should work to prevent sexual abuse, and how churches should
        respond to sexual abuse in a Christ-like manner.

          Past resolutions may be helpful to inform further definitions and the SBC may
 10(a).   choose to refer to the following resolutions: On Abuse and Pastoral


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          Qualifications (2021); On the Evils of Sexual Abuse (2019); On Abuse (2018);
          and On Sexual Abuse of Children (2013).
          The SBC should consider whether the definition of the term “inquiry” with
 10(b).   respect to the actions that the CC takes might be expanded.


Recommendation EC-11: Improve Governance at the SBC EC by Creating the
Position of Chief Ethics and Compliance Officer


Given the increasing compliance-related responsibilities, including those relating to
sexual abuse and harassment, many organizations have a Chief Compliance Officer or
Chief Ethics and Compliance Officer (“CECO”). A CECO at the SBC EC could be
responsible for designing and implementing the SBC EC’s integrity and ethics program
such that the SBC EC functions at the highest level of Biblical and ethical standards.


 EC-11. Improve Governance at the SBC EC by Creating the Position of Chief Ethics
        and Compliance Officer.
 11(a). Establish Duties and Responsibilities: We recommend that the roles and
        responsibilities of the SBC EC CECO could include, but not be limited to, the
        following:
            • Develop, revise as necessary and monitor implementation of the SBC
               EC Code of Conduct, which can be shared with other entities to use as
               a framework, consistent with faith institution best practices.
            • Assist as appropriate with the SBC EC’s human resources functions,
               including human relations, recruiting and training and development
            • Ensure execution and compliance with background and reference
               checks and training procedures (including trauma, social media, and
               confidentiality) for SBC EC Trustees and Staff.
            • Conduct annual re-evaluate of sexual harassment and abuse policies
               and encourage greater internal reporting.
            • Develop a document retention policy for the SBC EC and auxiliary
               entities.
            • Develop and improve transparency to SBC EC Trustees including
               enhancing oral and written information flow regarding all sexual abuse
               issues including comprehensive materials regarding allegations of
               sexual abuse, sexual abuse litigation at the SBC EC level and
               notification of survivors’ request to address or interact with the SBC EC
               and SBC and increase lead time for providing meeting information to
               enhance informed participation by SBC EC Trustees.


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            •   Develop and improve integrity training programs, including mandatory
                new hire training and function-specific integrity training, to educate
                team members on the legal and ethical standards that apply to them,
                assure use of SBC authorized email and other accounts for conducting
                SBC business.
            •   Develop and improve orientation and integrity training for newly
                appointed Trustees to include enhancing active engagement of
                trustees in SBC EC meetings and business.
            •   Lead and provide oversight of the SBC EC integrity program to ensure
                compliance with legal, regulatory, and ethical/Biblical standards.
            •   Provide oversight of SBC EC staff ethics, confidentiality, and
                completion of annual abuse training/education.
            •   Provide oversight of all ethics and integrity related investigations.



Recommendation EC-12: Establish a Document Retention Policy


EC-12. Establish a Document Retention Policy for the SBC EC and SBC EC Offices
12(a). Maintain Centralized Records of Mandated Child Abuse Reports: We
       recommend that the CC maintain a central, permanent record of all known
       matters that trigger a mandatory reporting requirement and a permanent
       record of all reports dealing with sexual abuse. We further recommend that
       the SBC (CC) endeavor to acquire sufficient information to allow compliance
       with mandatory reporting requirements.
12(b). Audit Record Retention Protocols: We recommend that the SBC EC conduct
       a regular audit of its record retention protocols to ensure it is maintaining a
       centralized complaint management system that records instances of reports
       through the RP, the Sexual Abuse Hotline and any instances of complaints or
       discipline against SBC EC officers or staff. We recommend that the document
       retention policy should include an exemption for sexual abuse so these
       records will be retained indefinitely.
12(c). Periodic Audit Complaints and Mandatory Reports: We recommend that the
       SBC EC conduct an audit of complaint handling and mandatory reports on a
       periodic basis to ensure that all mandatory reports have been made to the
       authorities as required by law.
12(d). Oversight: We recommend that the new Administrative Entity (if created) be
       responsible for implementation and oversight of document review policies, in
       conjunction with the CECO.
12(e). Use of SBC EC Emails: We recommend that SBC EC Trustees and Officers
       be assigned an SBC EC email account, and that all SBC EC business be
       required to be conducted via their SBC EC email account rather than a
       personal, church or other email account.


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Recommendation EC-13: Enhance SBC EC Compliance Policies



 EC-13. Enhance SBC EC Compliance Policies
 13(a). Employee Written Policies: We recommend enhancing and developing SBC
        EC employee policies with respect to sexual abuse and harassment, including
        defining terms including sexual harassment, explaining specific protocols and
        procedures for reporting including where to report (including a tip line), how to
        report, and using the CC RP.
 13(b). Managerial Policies: We recommend enhancing and developing SBC EC
        managerial policies and procedures to address complaints in areas of
        harassment, employee conduct, workplace conflict or other inappropriate
        employee behavior, employee discipline including guidance regarding
        conduct warranting warnings (verbal or written), memorialization of any
        warnings, the escalation of disciplinary action if the misconduct persists, and
        whistleblower protections.
 13(c). Investigation Policies: We recommend developing written policies regarding
        decision-making authority with respect to opening or closing an investigation,
        imposing disciplinary action, or, if appropriate, notifying the SBC EC Trustees
        about an investigation, documenting findings.



Recommendation EC-14: Create a Media Plan to Bring Awareness to Issues of
Sexual Abuse


Awareness of sexual abuse issues within the church is an important part of preventing
future problems and reducing vulnerabilities. The Commission and the SBC EC should
consider facilitating a media plan including the conveyance of a genuine apology to
survivors of abuse and assault, and create plans and execute a listening tour on the
issues of sexual abuse and related misconduct and more.

 EC-14. Create a Communications Plan to Bring Awareness to Issues of Sexual
        Abuse.
 14(a). Utilize Baptist Press: Baptist Press should consider increasing their
        publication of articles to highlight the sexual abuse crisis in the SBC and
        response by the SBC through a variety of articles and the use of social media.
 14(b). Link to Resources: On a regular basis, Baptist Press publications should
        include links to the Credentials Committee Reporting Portal, OIS, the


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         Resource Toolbox and other relevant sexual abuse resources and publish the
         Sexual Abuse Hotline telephone number.
14(c).   Promote Reporting Mechanisms: Develop and execute a media campaign
         advertising the RP and Sexual Abuse Hotline, including how to report sexual
         abuse, and suggestions regarding posting of information regarding the RP
         and Sexual Abuse Hotline.
14(d).   Posting of Information: The SBC EC should encourage churches to voluntarily
         post basic information about the new Administrative Entity (if created),
         including its contact and website information, in a location that will be easily
         seen by congregation members.
14(e).   Increase Awareness via Annual Meeting App: Consider increasing awareness
         of sexual abuse by promoting the Southern Baptist Convention Annual
         Meeting app to convey and collect information and elevate resources dealing
         with sexual abuse, which includes livestream features, Book of Reports,
         various resources, Officer names, nominees for various offices, convention
         schedule, maps, video archives, and social medial links. The Annual Survey
         posted after the Annual Convention should include relevant questions such
         as, “Have you completed the Caring Well challenge?” or “Would you like to be
         contacted about sexual abuse training?” The Annual Meeting app should
         include links to the OIS, RP, Toolbox and other relevant resources including
         the Sexual Abuse Hotline telephone number.
14(f).   Designate a Sunday on SBC Calendar: The SBC EC should consider adding
         a “Survivor Sunday” to the annual denominational calendar so all Southern
         Baptists can unite for a Sunday of prayer for Survivors (perhaps in April during
         Sexual Assault Awareness month). Churches could be encouraged to bring
         abuse awareness and the importance of Caring Well for survivors on this
         Sunday, and may collect offerings that can be given directly to the Survivor
         Compensation Fund overseen by the Administrative Entity.


Recommendation EC-15: Acknowledge the Survivors of SBC Clergy Sexual Abuse


EC-15. Acknowledge the Survivors of SBC Clergy Sexual Abuse
15(a). Written Apology: We recommend that SBC EC leadership and the SBC
       President issue a sincere written and spoken apology for past failures,
       identifying specific survivors such as Christa Brown, Jules Woodson, Tiffany
       Thigpen and others. The apology should include details as to how the SBC
       EC will work to support survivors and to assist churches to become safer
       spaces.
15(b). Memorial: We recommend consideration of a formal and permanent
       acknowledgement at the front of the SBC offices in Nashville relating to sexual
       abuse. Specifically, the SBC EC should consider a tangible gesture such as
       sculpture or garden as a way to publicly acknowledge mistakes in the past
       and the SBC’s commitment to reform.


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Recommendation EC-16: Enhance Awareness of Sexual Abuse within SBC Entities

 EC-16. Enhance Awareness of Sexual Abuse within SBC Entities
 16(a). Each SBC entity, state convention, local association and church should
        voluntarily play a part to enhance awareness and work towards making the
        Convention a safe space for children, youth and adults. (See Appendix H.)

Recommendation EC-17: Implement Principles for Baptist Press

 EC17.    Implement Principles for Baptist Press
 17(a).   Baptist Press should commit to seek and report truth by: acting independently,
          ensuring accuracy, verifying information, and using original sources where
          possible.
 17(b).   Baptist Press should minimize harm by balancing the public’s need for
          information against potential harm or discomfort. Baptist Press should use
          heightened sensitivity when dealing with juveniles, victims of sex crimes, and
          sources or subjects who are inexperienced or unable to give consent.



ALTERNATIVE RECOMMENDATIONS IF NO NEW ADMINISTRATIVE ENTITY IS
CREATED


If the SBC decides that a new Administrative Entity will not be established, we recommend
that the SBC commit to implementing the recommendations listed above in the following
manner:
 EC-A.    Create and oversee a Sexual Abuse Prevention Program to include policies,
          training, and a Resource Toolbox: We recommend that the ERLC, SBC EC
          and Lifeway should share in this responsibility in overseeing a sexual abuse
          prevention program in the following manner: the SBC EC’s Sexual Abuse
          Prevention Liaison/Support Care Specialist should perform an audit of the
          ERLC Caring Well curriculum, suggest improvements and/or modifications
          and then create the Resource Toolbox and quick reference guides. We
          recommend that Lifeway take responsibility for publishing and distributing all
          resources.


 EC-B.    Create and oversee the creation of a publicly available Offender Information
          System (OIS).



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B(1).   Creation: We recommend that the SBC EC establish a Sexual Abuse and
        Prevention Staff with subject matter experts to collaborate with the ERLC to
        create and establish written criteria to establish the minimum standards
        required for inclusion on the OIS.

B(2).   Maintenance of Data: We recommend that Lifeway oversee the
        implementation of the criteria established by the SBC EC Sexual Abuse and
        Prevention Staff and the ERLC as they coordinate with state conventions for
        ACP data.

B(3).   System Maintenance: We recommend that the SBC EC fund the system in
        perpetuity and coordinate with a third-party vendor for maintenance and
        system improvements.


EC-C.   Serve as an advisory resource to state conventions, local associations,
        entities, and churches on best practices in sexual assault and related
        misconduct.
C(1).   Funding and staffing: We recommend that the SBC EC fund and sufficiently
        resource an SBC EC Sexual Abuse Prevention Staff to serve as an advisory
        resource to SBC entities and on an as needed basis when requested by state
        conventions, local associations, and churches.
C(2).   Guidance to seminaries: We recommend that the SBC EC’s Sexual Abuse
        Prevention staff establish written criteria and consult and make
        recommendations to seminaries regarding the conferral and revocation of
        degrees from identified offenders of sexual abuse. We recommend that
        information related to revocation of degrees be reported to the SBC EC and
        entered into the OIS.
C(3).   Guidance to state and local conventions/churches: We recommend that the
        SBC EC’s Sexual Abuse and Prevention Staff, assisted by the ERLC and
        Lifeway, establish model standards for ordination and revocation of ordination
        for identified offenders and these materials be maintained in the Resource
        Toolbox.
C(4).   Background checks: We recommend that the SBC EC’s Sexual Abuse and
        Prevention Staff establish written model criteria, create resources, and make
        recommendations for screening, background checks for state conventions,
        local associations, and churches who voluntarily choose to implement and
        request assistance. We further recommend that the SBC EC and CC and
        other entities implement these criteria and employee resources, and that the
        SBC EC continue to support collaboration with Lifeway to facilitate an
        economical option for in-depth background checks.
C(5).   Hiring guidance: We recommend that the SBC EC support the use of the
        ERLC’s Caring Well Hiring Guide that is currently found on the Caring Well
        website.
C(6).   Survivor support: We recommend that the Sexual Abuse and Prevention Staff
        manage a Survivor Support and Assistance Program (SSAP) which will
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         include Survivor Care Support Specialist (SCSS); that the CC and all SBC
         entities identify a point of contact to liaison with the SSAP; and that the SBC
         EC provide adequate funding and staffing for the Survivor Care and Support
         Specialists.
C(7).    Survivor Compensation Fund: We recommend that the SBC EC establish and
         facilitate a Survivor Compensation Fund Program and the SBC EC will retain
         an independent Fund Administrator or special master to administer the fund.

C(8).    ERLC: We recommend that the SBC EC support the ERLC to continue their
         ongoing work with continuing education and research on the issue of sexual
         abuse in SBC affiliated churches.

C(9).    Resource Toolbox: The ERLC and the SBC EC’s Sexual Abuse and
         Prevention Staff will assist if requested to create resources found in the
         Resource Toolbox including sexual abuse trainings, protocols, best practices,
         curriculums, and templates. Lifeway will collaborate with training through
         publishing of training materials as needed and the Baptist Press will support
         the creation of these resources by promoting availability through reoccurring
         blogs or advertisement.
C(10).   Self-certification programs: We recommend that the SBC EC’s Sexual Abuse
         and Prevention Staff facilitate and create written model criteria for the
         voluntary self-certification programs for churches and seminaries.
C(11).   Advisory group: We recommend that the SBC EC’s Sexual Abuse and
         Prevention Staff coordinate the formation of the advisory group consisting of
         the prevention and response administrators/liaisons from SBC entities.
C(12).   Disfellowship criteria: We recommend that an SBC EC Sexual Abuse and
         Prevention Staff’s subject matter expert review, revise, and establish new
         written criteria for the CC’s mandate for church disfellowship; and that the
         Commission oversee the establishment of this newly defined criteria and
         approved the standards prior to implementation.
C(13).   Reporting Portal process: We recommend that a SCSS housed under the
         SBC EC’s Sexual Abuse and Prevention Staff will serve in the same capacity
         as the Administrative Entity SCSS outlined in the previous section on RP
         Process.
C(14).   Inquires: We recommend that the Commission ensure that the SBC EC fund
         the CC’s ability to engage and consult with experts as set forth in
         Recommendation CC-11.
C(15).   Media plan: We recommend that the Commission and the ERLC prepare the
         SBC President’s annual convention address. We further recommend that the
         SBC EC’s Sexual Abuse and Prevention Staff collaborate with the
         Commission to develop and execute the listening tour. We further recommend
         that the SBC EC’s Sexual Abuse and Prevention Staff collaborate with the
         Committee on Resolutions to develop Resolutions presented by the SBC EC.




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Credentials Committee Recommendations

Based on our observations above, we present the following recommendations for
changes to the CC’s structure and procedures to ensure that the CC effectively handles
submissions relating to sexual abuse. These recommendations aim to empower the CC
to better communicate with survivors and churches, collect and review relevant
information, and render informed decisions in a timely manner, consistent with SBC polity.


Recommendation CC-1: Consider the Ideal Composition of the CC to Support
Sexual Abuse Submissions


 CC-1.      Consider the ideal composition of the CC to support sexual abuse
            submissions.
 1(a).      Composition of CC: To ensure the effective handling of CC submissions
            related to sexual abuse, the CC should be comprised of some members
            with expertise in sexual abuse/trauma and theology for faith/practice issues
            related to sexual abuse. A sample membership could include: a
            survivor/advocate member with personal experience; counselor/social work
            expert; pastors; theologian; and layperson.

            The Committee on Nominations should consider having a gender balance
            on the CC, with at least 4 of 9 members (if membership numbers stay the
            same) be women, in order to have enough representation to speak to
            female submitters/survivors.

            The CC Chair should be someone who can devote sufficient volunteer time
            to lead this committee, given the consistent flow of action items to be
            addressed on a weekly basis.

Recommendation CC-2: Improve Onboarding for CC Members


 CC-2.      Improve onboarding for CC members.
 2(a).      Background Information Provided to CC: We recommend that each
            prospective CC member should be instructed as to what the role involves
            (a description that outlines the responsibilities, monthly duties, time
            commitment, types of submissions reviewed). Candidates should have a
            clear understanding of the nature of the work, which includes sensitive
            materials and potentially troubling or triggering information.




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2(b).     Formal Orientation: We recommend that the CC provide an improved formal
          orientation every July, that includes new and old CC members, so that
          returning CC members can share their experiences with new CC members
          and also get a refresher on processes and procedures.
2(c).     Topics for Orientation: The orientation for the full CC should cover topics
          such as key technology used by the CC; understanding the Access
          database and the CC review portal; roles and responsibilities of CC
          members; confidentiality; CC procedures; sexual abuse and trauma
          training; and theological training as it relates specifically to the CC. The CC
          should also be presented with written guidance, such as the finalized CC
          procedures document and flow chart that is currently in draft form.
2(d).     Special Topics for New Members: New CC members should have an
          additional orientation on governance documents related to the CC’s work,
          including the Bylaws, SBC Constitution, and the Baptist Faith and Message.

Recommendation CC-3: Provide Trauma and Sexual Abuse Training for CC
Members


CC-3.     Provide trauma and sexual abuse training for CC members.
3(a).     Training Requirements: All CC members should complete trauma and
          sexual abuse training such as Caring Well, ERLC standards of hiring,
          trauma care, reporting procedures, and how to interact with/care for
          survivors/submitters. New CC members should complete sex abuse
          training/Caring Well before the first CC member orientation meeting.
3(b).     Training Expert: If the Convention establishes a new Administrative Entity,
          the trauma-informed experts on staff with the new Administrative Entity
          should provide training to CC members, including training on the definition
          of abuse in the context of church/resolutions. If the Administrative Entity is
          not established, the EC should contract with a third-party trauma-informed
          expert to provide formal training to the CC.




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Recommendation CC-4: Increase the Number of CC Staff and Provide Greater
Support for Them


Our audit revealed that there were periods of time that the CC needed more EC staff
support to make the process more expedient, especially during the spring and summer
seasons leading up to the Annual meeting when EC staff have heavy workloads. Having
two staff members would give them the ability to consult with each other and troubleshoot
problems. In the past, because of the sensitive nature of the issues and the confidentiality
requirements, the lone staff member felt isolated in not being able to discuss the work
responsibilities with any other staff. Counseling should be provided to CC staff and CC
members, who may need support given the nature of their duties. This may also minimize
high turnover rate in the CC.


 CC-4.       Increase the number of CC staff and provide greater support for them.
 4(a).       Number: Consider having at least 2 staff members assigned to the CC: one
             EC staff member to manage the CC administrative work and one trained
             Survivor Care Support Specialist (SCSS). The SCSS would be a new
             position on staff at the EC, or on staff at the Administrative Entity (in the
             case the Convention approves the formation of the Administrative Entity).
 4(b).       Counseling: We recommend that counseling should be provided to CC
             staff and CC members, who may need support given the nature of their
             duties.
 4(c).       Automatic Notification to SCSS: We recommend that the SCSS receive
             automatic notifications of sex abuse related submissions to the CC through
             the Reporting Portal (RP) and call the submitter/survivor within 72 hours of
             receipt.




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4(d).      Care Provided by SCSS: Consider having the SCSS provide trauma-
           informed care and communication to submitters/survivors, informing them
           of the CC process and timelines from the beginning so they know what to
           expect, and follow up within 24 hours of the call with a formal email with
           the same important information discussed, to serve as a record of
           communication. The email should state information including:
               • Receipt confirmation for the submission, and acknowledgment that
                  the submission will be reviewed by the CC during its next meeting
               • Contact information for the SCSS
               • Resources
               • Detailed outline of CC processes, procedures and timelines
               • Link to a secure Dropbox or email, where the submitter/survivor can
                  send documents and additional information related to their
                  submission
4(e).      Local Reporting Assistance: We recommend that the SCSS could assist
           the submitter/survivor through local reporting processes as needed and
           point them to resources.
4(f).      Survivor Updates: We recommend that the SCSS would continue to stay
           in touch with the survivor, providing regular updates until a determination
           has been made on the submission.
4(g).      Local Resource Assistance: We recommend that the SCSS serve the role
           that the Babb Center counselor initially did for some submitters and also
           provide resources to the submitter/survivor of other counseling centers as
           needed.
4(h).      Information Gathering: Although the CC itself cannot currently investigate
           under Bylaw 8, consider having the SCSS ask questions of persons
           involved in the submission in a trauma-informed manner. This would allow
           a survivor the opportunity to share their history with the CC. The advisor
           could also contact the church pastor, state convention, and local
           associations at the direction of the CC.

Recommendation CC-5: Give the CC Access to Outside Resources to Support Their
Decision-making Processes


CC-5.   Give the CC access to outside resources to support their decision-making
        processes.
5(a).   Outside Advisory Groups: The CC should have the option to retain outside
        advisory groups that can help with:
           • Faith and Practice – Panel of Theologians to consult on a regular basis
              with respect to issues relating to sexual abuse and SBC governing
              documents
           • Sex Abuse – a Survivor Care Support Specialist on the Administrative
              Entity (if approved)


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 5(b).    Legal Counsel: The CC should have the ability to retain legal counsel separate
          from the EC. Counsel should be present at the CC meetings.

Recommendation CC-6: Formalize and Improve the CC’s Processes and
Procedures


The informal nature of the CC's processes and procedures negatively impacted the CC's
ability to function effectively.


 CC-6.    Formalize and improve the CC’s processes and procedures.
 6(a).    Finalize Manual: Finalize the overall CC processes and procedures manual
          before the July 2022 orientation.
 6(b).    Review and Revise Templates and Letters with Expert Advisors:
              • All template notices, including the confirmation of receipt of submission,
                 inquiry letter, voluntary withdraw notice, decline to review notice and
                 decision letter templates, should be reviewed and revised by trauma-
                 informed and theological experts.
              • Though a template is used, inquiry letters should be tailored carefully for
                 each submission. In addition, CC members who are pastors should be
                 more involved with writing the inquiry letters to the churches.
 6(c).    Documentation of Phone Calls: CC procedures should require written
          documentation of phone calls including date, time, names, and conversation
          notes for any calls the CC members or EC staff member liaisons make or
          receive.
 6(d).    Procedures for Survivor Communication for Key Milestones: CC procedures
          should require that no matter the circumstances, a letter memorializing key
          milestones (confirmation of receipt of submission, inquiry letter, decision letter,
          etc.) be sent to the submitter/survivor. In the past, some submissions did not
          have a formal record of a communication because the CC member or EC staff
          member liaison may have had a phone call.
 6(e).    Standard Timelines: CC should adopt standard guidelines on when/how often
          the CC will provide updates to the churches/submitters who are waiting for a
          decision, as well as a standard timeline for information gathering and
          correspondence with church/submitter/state conventions or local associations.
 6(f).    Survivor Care Support Specialist: The CC should connect the survivor with the
          SCSS, to serve as the survivor’s point of contact/liaison with the CC throughout
          their review process. This staff member would be a trauma-informed care
          trained professional that can directly communicate with and support the
          submitter/survivor through the CC process. The SCSS would act as a
          submitter/survivor liaison and work with assisting with more in-depth fact-
          finding inquires as needed.



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6(g).   Special EC Meetings: We recommend that the CC should be empowered to
        recommend churches to EC for disfellowship more often than three times per
        year at EC meetings. If the CC has many churches that they have determined
        to recommend to the EC, but the meeting is 3 months in the future, the CC
        should consider convening a specially-called EC meeting via Zoom.

Recommendation CC-7: Formalize CC Meeting Structure and Agendas


CC-7.   Formalize CC meeting structure and agendas.
7(a).   Agenda: We recommend that the EC staff member liaison send the next CC
        meeting agenda and action items to CC members 10 days before the next
        meeting, to give CC members sufficient time to review all active submission
        files to discuss at the meeting.
7(b).   Summary of Submissions: At the start of each CC meeting, we recommend
        that the EC staff member liaison(s) give a brief summary of each submission
        to be discussed.
7(c).   Survivor/Submitter Testimonies: The CC should allow survivors/submitters to
        share personal testimonies with the CC at the meeting in-person or in writing,
        if they so desire.

Recommendation CC-8: Adopt Standards for CC Determinations


CC-8.   Adopt standards for CC determinations.
8(a).   Develop Uniform Standards: The Credentials Committee should work with
        others, including experts in Baptist theology, trauma, and abuse issues, to
        develop standards and criteria that they will follow when making
        determinations on whether a church is not in friendly cooperation with the
        Convention.




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8(b).   Potential Criteria: When determining appropriate criteria for determining if a
        church is not in friendly cooperation, it is recommended that the CC criteria
        includes items such as:
               • Retention of a pastor, minister, church leader, staff member or
                   professor who is a convicted sex offender or included on the SBC
                   Offender Information System
               • Allowing a convicted sex offender to work with minors in any church
                   ministry
               • Continuing to employ a person or recognize as a pastor, deacon or
                   elder of the church, someone who unlawfully concealed from law
                   enforcement information regarding the sexual abuse of any person
                   by an employee or volunteer of the church
               • Failure to investigate a report of child sexual abuse and related
                   misconduct
               • Failure to implement any safeguards to create a safe church
                   environment
               • A knowing failure to notify another church of an employee or
                   volunteer’s history of abuse
               • Willfully disregarding compliance with mandatory child abuse
                   reporting laws as a church
               • A survivor’s decision to not pursue criminal sanctions related to an
                   abuse allegation in a church, shall not prevent the CC from
                   considering a church for disfellowship
               • Failure of a church or its leaders to cooperate with the work of the
                   Administrative Entity or Credentials Committee
               • Willfully disregarding a report of sexual abuse or related misconduct
                   and failing to initiate an investigation




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8(c).    Additional areas that the CC should define: The CC should consider more
         detailed definitions of status and determinations applied to submissions.
            • Decline further consideration: When the CC declines further
                consideration on a church, the Survivor Care Support Specialist will call
                the submitter/survivor within 72 hours to notify them of the decision and
                next steps in the process. The SCSS will notify the CC once the
                conversation has occurred, and the CC will email the submitter/survivor
                a formal notice to decline that includes the reasons for the decision and
                reconsideration options.
            • Closed without recommendation: When the CC makes the decision to
                close the submission without recommending the church to the EC, the
                Survivor Care Support Specialist will call the submitter/survivor within
                72 hours to notify them of the decision and next steps in the process.
                The SCSS will notify the CC once the conversation has occurred, and
                the CC will email the submitter/survivor a formal notice to close without
                recommendation that includes the reasons for the decision and
                appeals options.
            • Appeals: The Commission will receive and review appeals of CC
                decisions of “no recommendation” for disfellowship, as well as, review
                and appeal EC decisions to decline CC recommendations.



Recommendation CC-9: Improve the Online Reporting Portal (RP) and Website to
Make It More User-friendly for Submitters


CC-9.    Improve the Online Reporting Portal (RP) and website to make it more user-
         friendly for submitters.
9(a).    Promote Link: Prominently highlight the RP link on SBC websites including
         the CC website on the homepage of SBC.net, EC, and other Entity websites.
9(b).    Improve User Experience: Review the user interface/experience for the
         submission portal. Have a trauma-informed professional and IT professional
         audit the website and make it user-friendly for submitters/survivors, ensuring
         that necessary information is displayed prominently.
9(c).    Update Website Formatting: Update the formatting of the Statement of
         Assignment to make the information more readable, highlighting the important
         information.
9(d).    Update Website Language:
             • Separate out the sentence in the Statement of Assignment that states
                 “the Credentials Committee will not be able to consider anonymous
                 submissions about a church,” and explain the necessity of having a
                 point of contact for the CC to send formal notices and explain that an
                 advocate can be listed as the contact or that the SCSS can be
                 contacted to serve as the survivor’s liaison.


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            •  Post a clear and thorough explanation of the submission and review
               process on the CC and Administrative Entity (if approved) websites with
               criteria for mandatory time frames for responses to submitters of cases
               to the RP including immediate automated responses to submitters
               upon submission, live responses by the SCSS within 72 hours of the
               original submission, assigned points of contact and confidentiality for
               submitters, and mandatory reporting requirements.
9(e).    Functionality: Conduct regular audits and correct website glitches and repair
         any broken links.
9(f).    Auto-Referral: When a submission pertaining to sexual abuse or related
         misconduct is submitted, the submitter should check a box on the form
         which will then automatically route the submission to the SCSS who will call
         the submitter within 72 hours.

Recommendation CC-10: Improve the Online Reporting Portal (RP), Access
Database and Website to Improve CC Functionality, Auditability, and Response


CC-10. Improve the Online Reporting Portal (RP), Access Database and website to
       improve CC functionality, auditability, and response.
10(a). Conduct Audit of Functionality: An analysis should be completed on the
       submission form on the CC webpage, CC secure portal and Access database,
       to determine system functionalities and capabilities for automation with regard
       to submission information input and syncing information between the CC
       secure portal and the EC server.
10(b). Access Database Enhancements: Consider password protection and
       encryption of Access database, for further security of sensitive information.

Recommendation CC- 11: If necessary, give the CC the Ability to Engage and
Consult with Experts on an Extensive Inquiry for a Submission


CC-11. If necessary, give the CC the ability to engage and consult with experts on
       an extensive inquiry for a submission
11(a). Discretion for Extensive Inquiry: The CC shall have the discretion to engage
       and consult with the Commission or Administrative Entity (if approved) and
       rely on their subject matter expertise, to request the Administrative Entity (or
       third-party advisor) to conduct an extensive inquiry (including composition of
       the inquiry letter) and advise the CC regarding the determination of whether
       a church followed the appropriate process in dealing with allegations of
       sexual abuse and related misconduct based on best practices. A report
       submitted by an advisor outside the CC would allow the CC to make more
       informed decisions, and the CC would feel more confident about the validity
       of the sex abuse policies and procedures that a church submits.


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Recommendation CC-12: Provide Timely and Transparent Decisions


CC-12.    Provide timely and transparent decisions.
12(a).    Communication with EC: Prior to each EC meeting, the CC should provide
          the Commission with a report on behalf of the EC, with the criteria for the
          report to be defined by the Commission. The CC’s report shall include the
          work, decisions, and rationale of the CC for each submission made to it
          related to sexual abuse and related misconduct, and the results of each
          inquiry. If unsatisfied by the content of the report of the CC, the Commission
          shall have the authority to inquire of the CC or EC and received a detailed
          explanation as to any churches under inquiry for a sexual abuse and related
          misconduct submission.
12(b).    Recommendations for Disfellowship: Within 24 hours of notifying the church
          of their inquiry status, the SCSS will call the submitter/survivor to notify them
          of the update and next steps in the process. The SCSS will notify the CC
          once the conversation has occurred, and the CC will email a formal
          notification of inquiry to the submitter/survivor.
12(c).    Process for Notification: After the inquiry process, when the CC makes the
          decision to recommend the church to the EC for disfellowship, the following
          will occur:
              • A CC member should call the submitter/survivor informing them of the
                  decision to recommend the church to the EC for disfellowship and
                  send a follow up decision letter.
              • If the EC decides to disfellowship the church, the EC will send a formal
                  decision letter to the submitter/survivor. Baptist Press should create
                  and publish a press release announcing the disfellowship, clearly
                  stating the reason for the disfellowship.
              • Lifeway will be notified to update the SBC Workspace to remove the
                  church from SBC affiliated church directory.

Recommendation CC-13: Audit CC Processes to Ensure all Submissions Have
Been Addressed


CC-13. Audit CC processes to ensure all submissions have been addressed.
13(a). Audit Trail in Reporting Portal: Create an audit trail on CC forms to ensure that
       all submissions are included and properly tracked.
13(b). Audit Plan: Create an audit plan for all submissions to provide quality control.




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Recommendation CC-14: Conduct a Full Audit of Submissions Since the Inception
of the CC


 CC-14. Conduct a full audit of submissions since the inception of the CC.
 14(a). Full Audit: Conduct a full audit of all submissions since the inception of the CC
        to identify any previously reported sexual abuse submission that may have
        been missed due to system error, and these will be carefully reviewed by the
        Commission or Administrative Entity (if approved) according to the current
        policy.

Recommendation CC-15: Communicate the Processes and Procedures of the CC
to the Messengers and the General Public


In order to make the purpose of the CC and its processes and procedures more
transparent to Southern Baptists, the CC should develop a communication plan. This will
also assist submitters to better understand the method to report allegations and have
realistic expectations about the CC timeline.


 CC-15. Communicate the processes and purpose of the CC to the Messengers and
        the General Public.
 15(a). Overall Communications Plan: Develop an overall communications plan to
        raise awareness of the CC. The communications plan should include the use
        of Baptist Press, the SBC website and the SBC Annual Meeting app to give
        clarity to the Messengers/submitters/Southern Baptists as to what the CC is
        meant to accomplish.
 15(b). Media Campaign: The communications plan should include a media
        campaign for the CC that welcomes/encourage submissions. The campaign
        should highlight the CC’s role in identifying churches in/not-in friendly
        cooperation by utilizing SBC.net, state convention websites, and a social
        media manager.
 15(c). Public Awareness: We recommend the creation of a CC 101 layman’s guide
        for understanding the CC process. Candidates for CC nomination should
        review CC 101 before committing to the assignment.
 15(d). Links to Reporting Portal: Consider placing a link to the Reporting Portal (RP)
        to each SBC website, including all Entity websites. Place a link to CC 101 on
        the RP.




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Recommendation CC-16: Provide the CC with Adequate Funding


In 2019, there was no budget line for the CC, and the current budget is minimal. Sufficient
funding should be provided for the Credentials Committee to complete an increased
workload.


 CC-16.     Provide the CC with adequate funding.

 16(a).     Conduct Annual Review of Budget: Review the appropriate budget on an
            annual basis to support the CC functions.

 16(b).     Key Factors for Budget: At a minimum, the budget should include funds for
            the CC to retain its own legal counsel when necessary, trainings,
            communication programs, staff resources and third-party investigation
            consulting when necessary.




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